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               Case 23-02734-5-JNC                 Doc 68 Filed 10/17/23 Entered 10/17/23 21:36:17                                                Page 2 of
                                                                   228

 Fill in this information to identify the case:
 Debtor name JSmith Civil, LLC
 United States Bankruptcy Court for the: EASTERN DISTRICT OF NORTH                                                                           Check if this is an
                                                CAROLINA
 Case number (if known):         23-02734-5                                                                                                  amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Bridgepoint                                                                   Contingent                                                                      $559,484.42
 Construction                                                                  Unliquidated
 Services                                                                      Disputed
 Attn: Manager,
 Agent, Officer
 600 N. Duke Street
 Durham, NC 27701
 BridgePoint General                                                           Contingent                                                                      $559,484.42
 Contracting                                                                   Unliquidated
 Attn: Manager,                                                                Disputed
 Agent, Officer
 600 N. Duke Street
 Durham, NC 27701
 Bullington                                                                    Disputed                                                                        $189,042.69
 Construction Inc
 Attn: Manager,
 Agent, Officer
 164 American Drive
 Oakboro, NC 28129
 Capital City Curb &                                                           Disputed                                                                        $187,350.26
 Gutter, LLC
 Attn: Manager,
 Agent, Officer
 2607 Leighton Ridge
 Drive
 Wake Forest, NC
 27587
 Copperhead Cove                                                               Disputed                                                                        $140,242.16
 Marine, Inc.
 Attn: Manager,
 Agent, Officer
 2971 Vicky Drive
 Dillon, SC 29536




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
               Case 23-02734-5-JNC                 Doc 68 Filed 10/17/23 Entered 10/17/23 21:36:17                                                Page 3 of
                                                                   228


 Debtor    JSmith Civil, LLC                                                                         Case number (if known)         23-02734-5
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 David McConnell                                                               Contingent                                                                      $559,484.42
 White                                                                         Unliquidated
 1520 Crenshaw                                                                 Disputed
 Point
 Wake Forest, NC
 27587
 Eastern NC                                                                    Disputed                                                                        $194,072.00
 Underground Inc
 Attn: Manager,
 Agent, Officer
 96 Red Angus Drive
 Smithfield, NC
 27577
 First Citizens Bank                                                           Disputed                                                                        $131,265.03
 Attn: Manager,
 Agent, Officer
 PO Box 63068
 Charlotte, NC
 28263-3068
 Fulcher Electric of                                                           Disputed                                                                        $155,154.00
 Fayetteville
 Attn: Manager,
 Agent, Officer
 PO Box 2799
 Fayetteville, NC
 28302
 Gomez & Sons                                                                  Disputed                                                                        $204,825.50
 Construction, LLC
 Attn: Manager,
 Agent, Officer
 375 Madison
 Avenue
 Princeton, NC 27569
 Martin Marietta                                                               Disputed                                                                        $153,369.52
 Attn: Manager,
 Agent, Officer
 PO Box 935043
 Atlanta, GA
 31193-5043
 Oldcastle Precast                                                             Disputed                                                                      $1,435,824.98
 Inc.
 Attn: Manager,
 Agent, Officer
 PO Box 402721
 Atlanta, GA
 30384-2721
 Ruston Paving                                                                 Disputed                                                                        $201,976.42
 Company, Inc.
 Attn: Manager,
 Agent, Officer
 3874 South Alston
 Ave, Ste. 101
 Durham, NC 27713

Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
               Case 23-02734-5-JNC                 Doc 68 Filed 10/17/23 Entered 10/17/23 21:36:17                                                Page 4 of
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 Debtor    JSmith Civil, LLC                                                                         Case number (if known)         23-02734-5
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 S.T. Wooten                                         Construction              Disputed                                                                        $246,537.01
 Corporation                                         Services (U.S.
 Attn: Manager,                                      Highway 117
 Agent, Officer                                      Project)
 PO Box 2408
 Wilson, NC 27893
 Shelley McPhatter                                                             Contingent                                                                      $559,484.42
 1520 Crenshaw                                                                 Unliquidated
 Point                                                                         Disputed
 Wake Forest, NC
 27587
 Smith-Rowe, LLC                                                               Disputed                                                                        $178,959.27
 Attn: Manager,
 Agent, Officer
 639 Old US 52 South
 Mount Airy, NC
 27030
 Synergi Partners                                                              Disputed                                                                        $279,964.92
 Inc.
 Attn: Manager,
 Agent, Officer
 PO Box 5599
 Florence, SC
 29502-5599
 Vertical Walls, Inc.                                                          Disputed                                                                        $331,887.80
 Attn: Manager,
 Agent, Officer
 710 W. Lane Street
 Raleigh, NC 27603
 Vortex Drainage                                                               Disputed                                                                        $727,490.32
 Systems, LLC
 Attn: Manager,
 Agent, Officer
 1113 Fairview Street
 Durham, NC 27707
 Westfield Insurance                                 Indemnification           Contingent             $11,594,051.41                          $0.00        $11,594,051.41
 Company                                             Agreement - See           Unliquidated
 Attn: Manager,                                      UCC Financing             Disputed
 Agent, Officer                                      Statement
 PO Box 5001
 Westfield Center,
 OH 44251




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3
            Case 23-02734-5-JNC                                       Doc 68 Filed 10/17/23 Entered 10/17/23 21:36:17                                                                    Page 5 of
                                                                                      228
 Fill in this information to identify the case:

 Debtor name            JSmith Civil, LLC

 United States Bankruptcy Court for the:                       EASTERN DISTRICT OF NORTH CAROLINA

 Case number (if known)               23-02734-5
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $            18,930.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $        8,889,428.15

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $        8,908,358.15


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $       22,956,867.55


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$       10,504,727.14


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         33,461,594.69




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
          Case 23-02734-5-JNC                     Doc 68 Filed 10/17/23 Entered 10/17/23 21:36:17                                       Page 6 of
                                                                  228
Fill in this information to identify the case:

Debtor name         JSmith Civil, LLC

United States Bankruptcy Court for the:     EASTERN DISTRICT OF NORTH CAROLINA

Case number (if known)       23-02734-5
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number


          3.1.     First Citizens Bank                               Operating Account                     4606                                             $0.00




          3.2.     First Citizens Bank                               Payroll Account                       4614                                     $8,260.90




          3.3.     Wells Fargo Bank                                  Payroll Account                       2269                                    $10,401.69




          3.4.     Wells Fargo Bank                                  Checking                              4844                                     $5,314.64




          3.5.     Applied Bank                                      Checking                              7552                                  $313,500.85



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                   $337,478.08
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments

Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                                        page 1
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                                                                 228
Debtor           JSmith Civil, LLC                                                        Case number (If known) 23-02734-5
                 Name

6. Does the debtor have any deposits or prepayments?

      No. Go to Part 3.
      Yes Fill in the information below.

7.        Deposits, including security deposits and utility deposits
          Description, including name of holder of deposit
                   Windle Terry Bimbo Construction Law
          7.1.     Retainer                                                                                                        $107,296.86



8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
          Description, including name of holder of prepayment
                   Second Wind Consultants, Inc.
          8.1.     Prepayment under Business Consulting Agreement                                                                  $247,000.00




9.        Total of Part 2.                                                                                                       $254,296.86
          Add lines 7 through 8. Copy the total to line 81.

Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.

11.       Accounts receivable
          11a. 90 days old or less:                           0.00     -                                 0.00 = ....                      $0.00
                                        face amount                         doubtful or uncollectible accounts




12.       Total of Part 3.                                                                                                             $0.00
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:          Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:          Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.


Part 6:          Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:          Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?
Official Form 206A/B                                  Schedule A/B Assets - Real and Personal Property                                    page 2
          Case 23-02734-5-JNC                   Doc 68 Filed 10/17/23 Entered 10/17/23 21:36:17                                 Page 8 of
                                                                228
Debtor       JSmith Civil, LLC                                                              Case number (If known) 23-02734-5
             Name



      No. Go to Part 8.
      Yes Fill in the information below.

          General description                                            Net book value of          Valuation method used   Current value of
                                                                         debtor's interest          for current value       debtor's interest
                                                                         (Where available)

39.       Office furniture
          Office Furniture, Desks, Fixtures, and
          Appliances                                                                      $0.00                                       $20,000.00



40.       Office fixtures

41.       Office equipment, including all computer equipment and
          communication systems equipment and software
          Computers, Monitors, Electronics, Printers,
          Scanners, and other Office Equipment                                            $0.00                                       $10,000.00



42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
          books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
          collections; other collections, memorabilia, or collectibles

43.       Total of Part 7.                                                                                                            $30,000.00
          Add lines 39 through 42. Copy the total to line 86.

44.       Is a depreciation schedule available for any of the property listed in Part 7?
             No
             Yes

45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
             No
             Yes

Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.

          General description                                            Net book value of          Valuation method used   Current value of
          Include year, make, model, and identification numbers          debtor's interest          for current value       debtor's interest
          (i.e., VIN, HIN, or N-number)                                  (Where available)

47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

          47.1.    SEE ATTACHED EXHIBIT A                                                 $0.00                                     $2,097,500.00



48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
          floating homes, personal watercraft, and fishing vessels

49.       Aircraft and accessories


50.       Other machinery, fixtures, and equipment (excluding farm
          machinery and equipment)
                                                                                                                                    $5,696,946.20
          SEE ATTACHED EXHIBIT B                                                          $0.00


Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                        page 3
           Case 23-02734-5-JNC                  Doc 68 Filed 10/17/23 Entered 10/17/23 21:36:17                                Page 9 of
                                                                228
Debtor        JSmith Civil, LLC                                                           Case number (If known) 23-02734-5
              Name



51.        Total of Part 8.                                                                                                       $7,794,446.20
           Add lines 47 through 50. Copy the total to line 87.

52.        Is a depreciation schedule available for any of the property listed in Part 8?
               No
              Yes

53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
              No
              Yes

Part 9:       Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.

55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of           Nature and             Net book value of             Valuation method used   Current value of
           property                              extent of              debtor's interest             for current value       debtor's interest
           Include street address or other       debtor's interest      (Where available)
           description such as Assessor          in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1. 28.27 +/- Acres -
                    Belfast Road,
                    Pikeville NC
                    BK 3520-PG557                                                       $0.00         Tax Value                          $10,690.00


           55.2.    4.28 +/- Acres -
                    Carolina Commerce
                    Drive, Pikeville NC
                    BK 3520-PG 560                                                      $0.00         Tax Value                            $7,420.00


           55.3.    5.45 +/- Acres -
                    Belfast Road (Rear),
                    Pikeville NC
                    BK 3837 -PG 499                                                     $0.00         Tax Value                              $820.00




56.        Total of Part 9.                                                                                                            $18,930.00
           Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
           Copy the total to line 88.

57.        Is a depreciation schedule available for any of the property listed in Part 9?
              No
              Yes

58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
              No
              Yes

Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                              page 4
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                                                                228
Debtor        JSmith Civil, LLC                                                            Case number (If known) 23-02734-5
              Name



      No. Go to Part 11.
      Yes Fill in the information below.


Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.

                                                                                                                           Current value of
                                                                                                                           debtor's interest


71.        Notes receivable
           Description (include name of obligor)

72.        Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

73.        Interests in insurance policies or annuities

74.        Causes of action against third parties (whether or not a lawsuit
           has been filed)

75.        Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

76.        Trusts, equitable or future interests in property

77.        Other property of any kind not already listed Examples: Season tickets,
           country club membership
           Earned Income Tax Credit from Internal Revenue
           Service                                                                                                                $1,094,981.95




78.        Total of Part 11.                                                                                                   $1,094,981.95
           Add lines 71 through 77. Copy the total to line 90.

79.        Has any of the property listed in Part 11 been appraised by a professional within the last year?
              No
              Yes




Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                      page 5
          Case 23-02734-5-JNC                              Doc 68 Filed 10/17/23 Entered 10/17/23 21:36:17                                                 Page 11 of
                                                                           228
Debtor          JSmith Civil, LLC                                                                                   Case number (If known) 23-02734-5
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                          $337,478.08

81. Deposits and prepayments. Copy line 9, Part 2.                                                               $387,296.86

82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                          $30,000.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                  $7,794,446.20

88. Real property. Copy line 56, Part 9.........................................................................................>                          $18,930.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +              $1,094,981.95

91. Total. Add lines 80 through 90 for each column                                                         $8,889,428.15            + 91b.               $18,930.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $8,908,358.15




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                        page 6
                                                                                                           JSMITH CIVIL, LLC
                                               Case 23-02734-5-JNC            Doc 68 Filed 10/17/23
                                                                                     BK CASE             Entered 10/17/23 21:36:17
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                                                                                                228
                                                                                     EXHIBIT A TO SCHEDULE A/B


Equipment Code                          Description          VIN/Serial #     Year           Make                    Type                Model          Miles                           Lienholder                       Lien Amount     Fair Market Value
    113.001      Chevrolet Traverse                      1GNEVKKW6JJ103642    2018          Chevrolet                SUV                Traverse       102,000                Truist Equipment Finance Corp.             $923,377.97
                                                                                                                                                                                                                                            $12,000.00
   151.001       Kenworth W900L                         1NKWGGGG30J439252     2014          Kenworth              Haul Truck             W900L         412,500             First-Citizens Bank & Trust Company            $44,911.17
                                                                                                                                                                                                                                            $75,000.00
   155.011       L250T Leeboy Tack Trailer                   250-163856       2017            Leeboy               Tac Trailer                                                             N/A                              $0.00
                                                                                                                                                                                                                                             $9,000.00
   155.006       Prol Trailer                            5SPTD2323W700151     2014                                   Trailer                                                               N/A                              $0.00
                                                                                                                                                                                                                                             $3,000.00
   155.010       Explorer Enclosed Trailer               4D6EB12265A018792    2005           Explorer                Trailer                                                               N/A                              $0.00
                                                                                                                                                                                                                                             $6,000.00
   155.018       PJ TJT2082 Tilt Equipment Trailer       4P5TJ2027M3050055    2021              PJ                   Trailer                                                               N/A                              $0.00
                                                                                                                                                                                                                                             $4,000.00
   155.020       Carry -on/ Patriot Tilt-bed Trailer     4YMBU2229MG112023    2021            Patriot                Trailer                                                               N/A                              $0.00
                                                                                                                                                                                                                                             $4,200.00
   155.022       Trailer                                 4YMBU2027MG089490    2021      PATRIOT CARRY ON             Trailer                                                               N/A                              $0.00
                                                                                                                                                                                                                                             $4,200.00
   155.002       Talbert Lowboy Trailer                  40FSK664671026121    2007            Talbert            Trailer Lowboy                                                            N/A                              $0.00
                                                                                                                                                                                                                                            $20,000.00
   121.003       Chevrolet Silverado 1500               3GCPCREC0JG223956     2019          Chevrolet                Truck              Silverado      154,802             First-Citizens Bank & Trust Company           $7,524,385.55
                                                                                                                                                                                                                                            $15,000.00
   121.005       Chevrolet Silverado 1500               1GCPCNEC1HF193533     2017          Chevrolet                Truck              Silverado      158,659             First-Citizens Bank & Trust Company           $7,524,385.55
                                                                                                                                                                                                                                            $11,000.00
   121.006       Chevrolet Silverado 1500               3GCPCREC8JG623196     2018          Chevrolet                Truck              Silverado      77,627                 Truist Equipment Finance Corp.             $923,377.97
                                                                                                                                                                                                                                            $12,500.00
   121.007       Chevrolet Silverado 1500               3GCPCREC0JG644589     2018          Chevrolet                Truck              Silverado      133,957             First-Citizens Bank & Trust Company            $79,805.26
                                                                                                                                                                                                                                            $16,000.00
   121.008       Ram Tradesman 1500 Ext Cab              1C6RR6FG3MS534003    2021             RAM                   Truck                1500         36,779              First-Citizens Bank & Trust Company           $175,452.00
                                                                                                                                                                                                                                            $14,000.00
   123.004       GMC Sierra 1500                         1GTR2UEA7BZ191473    2011             GMC                   Truck             Sierra 1500     242184              First-Citizens Bank & Trust Company           $7,524,385.55
                                                                                                                                                                                                                                             $2,500.00
   123.005       Chevrolet Silverado 1500               3GCPKSEA5DG291831     2013          Chevrolet                Truck            Silverado 1500   269507              First-Citizens Bank & Trust Company           $7,524,385.55
                                                                                                                                                                                                                                             $2,500.00
   123.007       Chevrolet Silverado 1500               3GCUYDED1LG265278     2020          Chevrolet                Truck              Silverado      129,052                      Ally Financial, Inc.                  $19,773.77
                                                                                                                                                                                                                                            $20,000.00
   123.011       Ram 1500 CREW                           1C6SRFFT9MN567939    2021            Dodge                  Truck              Ram 1500       91,519              First-Citizens Bank & Trust Company            $23,412.14
                                                                                                                                                                                                                                            $23,000.00
   126.003       GMC Sierra 2500                         1GT11REG5GF111680    2016             GMC                   Truck             Sierra 2500     219346                              N/A                              $0.00
                                                                                                                                                                                                                                            $10,000.00
   126.006       Chevrolet Silverado HD Crew 2500        1GC1CREG7KF187646    2019          Chevrolet                Truck              Silverado      165,933             First-Citizens Bank & Trust Company            $79,805.26
                                                                                                                                                                                                                                            $25,000.00
   127.001       Chevrolet Silverado 2500               1GC1KUEG8GF289440     2016          Chevrolet                Truck                2500         240956                              N/A                              $0.00
                                                                                                                                                                                                                                             $7,500.00
   127.002       Chevrolet Silverado 2500                1GB1KUEG1GF226197    2016          Chevrolet                Truck                2500         244157                              N/A                              $0.00
                                                                                                                                                                                                                                             $7,500.00
   127.005       Ram 2500                                3C6UR5FL6JG224433    2018            Dodge                  Truck              Ram 2500       196,135             First-Citizens Bank & Trust Company            $79,805.26
                                                                                                                                                                                                                                            $25,000.00
   127.011       Ram 2500                                3C6UR5HJ3LG309468    2020            Dodge                  Truck              Ram 2500       111,648             First-Citizens Bank & Trust Company            $25,148.23
                                                                                                                                                                                                                                            $20,000.00
   128.002       Chevrolet Silverado 3500                1GB4KYC80GF280168    2016          Chevrolet                Truck              Silverado      135,396             First-Citizens Bank & Trust Company            $22,246.92
                                                                                                                                                                                                                                            $20,000.00
   129.001       Dodge Ram 4500                         3C7WRKFL4GG116937     2016            Dodge                  Truck              Ram 4500       240308                              N/A                              $0.00
                                                                                                                                                                                                                                            $25,000.00
   131.001       Dodge Ram 4500                         3C7WRKFLXGG387985     2016            Dodge                  Truck              Ram 4500       243,500             First-Citizens Bank & Trust Company           $7,524,385.55
                                                                                                                                                                                                                                            $25,000.00
   127.014       Chevrolet 2500HD                        1GC4YPEY7LF118811    2020          Chevrolet                Truck                2500                                Truist Equipment Finance Corp.              $79,805.26
                                                                                                                                                                                                                                            $40,000.00
   149.001       GMC C6500 Dump Truck                    1GDJ7H1P7WJ505543    1998             GMC           Dump Truck Single-Axle      C6500                             First-Citizens Bank & Trust Company           $7,524,385.55
                                                                                                                                                                                                                                            $10,000.00
   113.004       GMC Acadia                              1GKKNMLS1LZ166028    2020             GMC                    SUV                Acadia        30,000                 Truist Equipment Finance Corp.             $923,377.97
                                                                                                                                                                                                                                            $15,000.00
   155.025       Vaccum Trailer                          7NWH19A68PK050208    2023           Vactron            Vaccum Trailer         LP873SDT         N/A         Wells Fargo Bank, N.A. d/b/a Wells Fargo Equipment   $106,661.58
                                                                                                                                                                                         Finance                                           $100,000.00
   151.002       Kenworth                               1NKWGGGG80J255067     2018          Kenworth              Truck Haul             W900L         244,500                   PNC Equipment Finance                    $30,512.37
                                                                                                                                                                                                                                            $80,000.00
   123.017       Dodge Ram 1500 4x4 Crew Cab             1C6SRFFT3MN685730    2021            Dodge                  Truck                1500         34,218              First-Citizens Bank & Trust Company           $176,670.61
                                                                                                                                                                                                                                            $32,500.00
   155.014       Carhauler Load Trailer                  4ZECH2024K1182765    2019                                   Trailer                                                               N/A                              $0.00
                                                                                                                                                                                                                                             $4,200.00
   126.005       Chevrolet Silverado 2500                1GC4WLE72LF162205    2019          Chevrolet                Truck            Silverado 2500   95,249                 Truist Equipment Finance Corp.             $923,377.97
                                                                                                                                                                                                                                            $21,000.00
   127.006       Dodge Ram 4500 Truck                    3C7WRLFL1JG375673    2018             Ram                   Truck             RAM 4500        146,908             First-Citizens Bank & Trust Company            $79,805.26
                                                                                                                                                                                                                                            $40,000.00
   127.007       GMC Sierra 2500 HD Truck                1GT12NEY7KF221475    2019             GMC                   Truck             RAM 2500        134255              First-Citizens Bank & Trust Company            $79,805.26
                                                                                                                                                                                                                                            $20,000.00
   127.009       Dodge Ram 2500 Crew Cab Truck           3C6UR5HJ8LG192101    2020            Dodge                  Truck             RAM 2500        68,837              First-Citizens Bank & Trust Company            $22,037.03
                                                                                                                                                                                                                                            $27,500.00
   127.010       Dodge Ram 2500 Truck                    3C6UR5CLXLG269155    2020            Dodge                  Truck             RAM 2500        96,396              First-Citizens Bank & Trust Company            $27,849.96
                                                                                                                                                                                                                                            $30,000.00
   127.012       Dodge Ram 2500 CREW                     3C6UR5HJ2MG533252    2021            Dodge                  Truck             RAM 2500        76,680              First-Citizens Bank & Trust Company           $176,670.61
                                                                                                                                                                                                                                            $35,000.00
   128.001       Chevrolet Silverado 3500                1GB4CYCY0HF156366    2017          Chevrolet                Truck            Silverado 3500   163,028                Truist Equipment Finance Corp.             $923,377.97
                                                                                                                                                                                                                                            $30,000.00
   113.008       Jeep Wrangler                           1J4GB39128L517875    2008             Jeep               Truck Jeep          Jeep Wrangler    240000                              N/A                              $0.00
                                                                                                                                                                                                                                             $7,200.00
   113.005       Chevrolet Equinox                       3GNAXKEV0LS713761    2020          Chevrolet             Truck SUV              Equinox       21198                               N/A                              $0.00
                                                                                                                                                                                                                                            $12,000.00
   161.002       Ford F-350                             1FT8W3DTXCEC68097     2012             Ford             Truck Mechanics           F-350        303,968                   PNC Equipment Finance                     $3,475.62
                                                                                                                                                                                                                                            $20,000.00
   155.023       MOT Trailer                             5VGFB2029NL008848    2022          Kauffamn                 Trailer                                                               N/A                              $0.00
                                                                                                                                                                                                                                             $6,000.00
   123.009       Dodge Ram 1500 CREW                     1C6SRFFT6LN358026    2020            Dodge                  Truck             RAM 1500        67,000              First-Citizens Bank & Trust Company            $22,101.97
                                                                                                                                                                                                                                            $20,000.00
   123.014       Dodge Ram 1500 Crew Cab 4X4             1C6SRFFT8MN566913    2021            Dodge                  Truck             RAM 1500        27,198              First-Citizens Bank & Trust Company           $176,670.61
                                                                                                                                                                                                                                            $30,000.00
   123.015       Dodge Ram Tradesman 1500 Crew Cab       1C6RR7FG9MS507863    2021            Dodge                  Truck             RAM 1500        38,138              First-Citizens Bank & Trust Company           $176,670.61
                                                                                                                                                                                                                                            $25,000.00
   123.016       Dodge Ram 1500 4X4 Crew Cab             1C6SRFFT2MN636986    2021          Chevrolet                Truck             RAM 1500        55,635              First-Citizens Bank & Trust Company           $176,670.61
                                                                                                                                                                                                                                            $35,000.00
   127.013       Dodge Ram Tradesman 2500 4X4            3C6UR5HJ8MG556020    2021            Dodge                  Truck              Ram 2500       59,065              First-Citizens Bank & Trust Company           $176,670.61
                                                                                                                                                                                                                                            $35,000.00
   161.001       International 4400                      1HTMKAAN35H113383    2005         International        Truck Mechanics           4400         420441              First-Citizens Bank & Trust Company           $7,524,385.55
                                                                                                                                                                                                                                            $12,000.00
   138.001       Water Truck                            1FVACXDT8DHBZ3585     2013          Freightliner          Truck Water            M2-106        19,461              First-Citizens Bank & Trust Company            $28,333.12
                                                                                                                                                                                                                                            $50,000.00
   155.019       PJ 16K Tilt Eq trailer                   4P5TJ2220L3041418   2020             PJ                     Trailer                                                              N/A                               $0.00           $5,000.00
   155.024       MOT Trailer                             5VGFB2028NL008856    2022          Kauffamn                  Trailer                                                              N/A                               $0.00           $6,000.00
   155.026       Deckover trailer                        1XNBE2026N2024281                                            Trailer                                                              N/A                               $0.00           $4,200.00
   155.013       XL Lowboy Trailer w/ Stinger Axle       4U3J05336HL016596    2017                               Trailer Lowboy                         N/A                      PNC Equipment Finance                     $6,770.05        $40,000.00
   121.002       Chevrolet Silverado 1500               3GCPCREC4JG177127     2018          Chevrolet                 Truck             Silverado         125,184               Citizens One Auto Finance                  $6,520.76        $15,000.00
   123.001       Chevrolet Silverado 1500               3GCUKRECXHG203200     2017          Chevrolet                 Truck             Silverado         230,898                          N/A                               $0.00
                                                                                                                                                                                                                                            $15,000.00
   123.002       Chevrolet Silverado 1500               3GCUYAEF5KG100591     2020          Chevrolet                Truck              Silverado          98,497             Truist Equipment Finance Corp.             $923,377.97
                                                                                                                                                                                                                                            $20,000.00
   123.003       Chevrolet Silverado 1500               3GCUKREC4JG158907     2018          Chevrolet                Truck              Silverado         210,509          First-Citizens Bank & Trust Company           $7,524,385.55
                                                                                                                                                                                                                                            $12,000.00
   123.006       Chevrolet Silverado 1500               3GCUYGEL1KG306824     2019          Chevrolet                Truck              Silverado          85,880          First-Citizens Bank & Trust Company            $79,805.26
                                                                                                                                                                                                                                            $22,000.00
   123.012       Dodge Ram 1500 Big Horn 4X4             1C6SRFFT5MN567498    2021            Dodge                  Truck              Ram 1500           70,370          First-Citizens Bank & Trust Company            $26,349.45
                                                                                                                                                                                                                                            $30,000.00
   127.003       Chevrolet Silverado 2500 HD             1GC4YNE72LF101121    2020          Chevrolet                Truck            Silverado 2500      133,726                PNC Equipment Finance                    $15,816.64
                                                                                                                                                                                                                                            $25,000.00
   127.008       Ford Super Duty F-250                   1FT7W2BN3LED29476    2020             Ford                  Truck                F-250            94,053                   Ally Financial, Inc.                  $24,858.32
                                                                                                                                                                                                                                            $25,000.00
   128.003       Dodge Ram 3500                         3C7WRTCLXLG145198     2020            Dodge                  Truck              Ram 3500           74,151                   Ally Financial, Inc.                  $31,012.85
                                                                                                                                                                                                                                            $32,000.00
   129.002       Dodge Ram 4500                         3C7WRKFL8HG520468     2017             Ram                   Truck              Ram 4500          201,348          First-Citizens Bank & Trust Company           $7,524,385.55
                                                                                                                                                                                                                                            $22,000.00




                                                                                     ITEMIZED LISTING OF VEHICLES AND TRAILERS                                                                                                                               1
                                                                                                                       JSMITH CIVIL, LLC
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129.003     Ford 450 Super Duty                           1FDOW4GT3HED28299           2017                   Ford               Truck              F-450     200,118    Wells Fargo Dealer Services, Inc.     $5,833.14
                                                                                                                                                                                                                              $20,000.00
129.004     Dodge Ram 4500                                 3C7WRLFL1JG185873          2018                   Dodge              Truck             Ram 4500   162,810   First-Citizens Bank & Trust Company   $7,524,385.55
                                                                                                                                                                                                                              $25,000.00
161.003     Dodge Ram 5500 Mechanic/Lube Truck            3C7WRNBLXKG664683           2019                   Dodge          Truck Mechanics         5500      63,030     Truist Equipment Finance Corp.      $923,377.97
                                                                                                                                                                                                                              $70,000.00
161.004     Dodge Ram 5500 Mechanics Truck                3C7WRNBL1KG664684           2019                   Dodge          Truck Mechanics         5500      66,356     Truist Equipment Finance Corp.      $923,377.97
                                                                                                                                                                                                                              $65,000.00
113.003     Chevrolet Equinox                              3GNAXHEV7KS643760          2019              Chevrolet             Truck SUV           Equinox              First-Citizens Bank & Trust Company   $7,524,385.55
                                                                                                                                                                                                                              $12,000.00
138.002     Ford F750 Water Truck                          3FRXF7FA7DV026455          2013               Ford 750             Truck Water          F-750       5,943     Truist Equipment Finance Corp.      $923,377.97      $27,500.00
138.003     Freightliner Water Truck                      1FVACXDT1EHFR6986           2014              Freightliner          Truck Water                     20,034     Truist Equipment Finance Corp.      $923,377.97
                                                                                                                                                   M2-106                                                                     $32,500.00
127.018     Dodge Ram 2500 Tradesman 4X4 CC Truck          3C6UR5HJ0MG647718          2021                   Dodge              Truck             Ram 2500       -      Enterprise Fleet Management, Inc.     $18,735.47      $20,000.00
            Dodge Ram 2500 Tradesman 4X4 CC Truck                                                            Dodge                                Ram 2500                                                    $18,768.95      $20,000.00
127.022                                                    3C6UR5HJ4MG647639          2021                                      Truck                            -      Enterprise Fleet Management, Inc.
            Dodge Ram 2500 Truck                                                                             Dodge                                Ram 2500                                                    $20,978.89      $25,000.00
127.019                                                    3C6UR5JJ8MG647721          2021                                      Truck                            -      Enterprise Fleet Management, Inc.
            Dodge Ram 2500 Tradesman 4X4 CC Truck                                                            Dodge                                Ram 2500                                                    $20,772.49      $25,000.00
127.015                                                    3C6UR5JJ8MG647722          2021                                      Truck                                   Enterprise Fleet Management, Inc.
            Dodge Ram 1500 Truck**                                                                           Dodge                                Ram 1500                                                    $23,029.25      $20,000.00
123.018                                                    1C6SRFFT9MN764741          2021                                      Truck                         80,795    Enterprise Fleet Management, Inc.
            Dodge Ram 2500 Truck                                                                             Dodge                                Ram 2500                                                    $20,000.00      $25,000.00
127.023                                                    3C6UR5HJ5NG129878          2021                                      Truck                        107,270    Enterprise Fleet Management, Inc.
            Dodge Ram 2500 Truck**                                                                           Dodge                                Ram 2500                                                    $25,992.74      $30,000.00
126.008                                                    3C6UR4CJ0NG200776          2022                                      Truck                         27,644    Enterprise Fleet Management, Inc.
            Dodge Ram 2500 Truck                                                                             Dodge                                Ram 2500                                                    $30,000.00      $30,000.00
127.025                                                    3C6UR5JL3NG272520          2022                                      Truck                         32,092    Enterprise Fleet Management, Inc.
            Dodge Ram 2500 Truck                                                                             Dodge                                Ram 2500                                                    $37,837.61      $35,000.00
127.026                                                    3C6UR5JL1NG272578          2022                                      Truck                            -      Enterprise Fleet Management, Inc.
            Dodge Ram Big Horn 2500 Truck**                                                                  Dodge                                Ram 2500                                                    $39,214.87      $40,000.00
127.027                                                    3C6UR5DL9NG272663          2022                                      Truck                         50,037    Enterprise Fleet Management, Inc.
            Dodge Ram 2500 Truck                                                                             Dodge                                Ram 2500                                                    $36,324.52      $45,000.00
                                                           3C6UR5DL9NG272664          2022                                      Truck                         50,037    Enterprise Fleet Management, Inc.
            Dodge Ram 3500 Truck                                                                             Dodge                                Ram 3500                                                    $38,792.40      $45,000.00
128.005                                                    3C63R3GL8NG206827          2022                                      Truck                            -      Enterprise Fleet Management, Inc.
            Dodge Ram 3500 Truck**                                                                           Dodge                                Ram 3500                                                    $40,903.13      $56,000.00
128.004                                                    3C63R3GL6NG206826          2022                                      Truck                         38,114    Enterprise Fleet Management, Inc.


          ** VEHICLES WERE SOLD POST-PETITION, WITHOUT THE KNOWLEDGE, CONSENT OR APPROVAL OF THE DEBTOR AND IN VIOLATION OF THE AUTOMATIC STAY,                                                                 TOTAL        $2,097,500.00
            BY ENTERPRISE FLEET MANAGEMENT, INC.:
                          JSC EQUIPMENT CODE                   SALE DATE                       SALE PRICE
                                    128.004                     9/25/2023                       $56,000.00
                                    123.018                     10/3/2023                        Unknown
                                    127.027                     10/3/2023                        Unknown
                                    126.008                     10/6/2023                        Unknown




                                                                                             ITEMIZED LISTING OF VEHICLES AND TRAILERS                                                                                                       2
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Equipment Code                               Description                                 VIN/Serial No.         Make                   Type             Model       Year   Miles/Hours      First Lienholder/Secured Creditor                 Lien Amount     Fair Market Value
    172.001      CAT D3K2LGP Dozer                                                         KLL00129           Caterpillar              Dozer           D3K2 LGP     2012       7583         First-Citizens Bank & Trust Company               $7,524,385.55       $40,000.00
   172.002       CAT D3GLGP Dozer                                                   CAT00D3GKCFF00678         Caterpillar              Dozer            D3G LGP     2003      3026          First-Citizens Bank & Trust Company               $7,524,385.55      $20,000.00
   174.001       CAT D5K2 Dozer w/ GPS                                                     KY207356           Caterpillar              Dozer            D5K2LGP     2019      3376        Caterpillar Financial Services Corporation           $31,375.08       $125,000.00
   175.001       CAT Dozer D6K2LGP W/GPS                                                   EL703096           Caterpillar              Dozer            D6K2LGP     2019      3267            Truist Equipment Finance Corp.                  $117,491.00       $134,040.00
   175.002       CAT Dozer D6K2LGP W/GPS                                                   EL703523           Caterpillar              Dozer            D6K2LGP     2020      2720            Truist Equipment Finance Corp.                  $923,377.97       $175,000.00
   175.003       CAT Dozer D6K2                                                            EL700485           Caterpillar              Dozer            D6K2LGP     2019      3319        Caterpillar Financial Services Corporation          $117,491.00       $135,599.40
   190.001       Hyundai HL740 Loader                                               HHKHLN06KE0000045          Hyundai                Loader           HL740TM-9A   2012      5495          First-Citizens Bank & Trust Company               $7,524,385.55      $20,000.00
   190.002       Hyundai HL740 Loader                                                HHKHLN06VF0000164         Hyundai                Loader           HL740TM-9A   2015      4938          First-Citizens Bank & Trust Company               $7,524,385.55      $20,000.00
   192.001       Hyundai HL940 Loader                                               HHKHW401HH0000081          Hyundai                Loader             HL940      2017      2804          First-Citizens Bank & Trust Company               $7,524,385.55      $35,000.00
   192.002       Hyundai HL940 Loader                                               HHKHW401VJ0000194          Hyundai                Loader             HL940      2018      2646          First-Citizens Bank & Trust Company               $7,524,385.55      $45,000.00
   197.001       John Deere 310 Backhoe                                                     197768           John Deere               Backhoe             310                 3769          First-Citizens Bank & Trust Company                $79,805.00        $22,000.00
   201.001       Yanmar SV100-2B Excavator                                                   2A169             Yanmar                Excavator          SV100-2B    2015      5975          First-Citizens Bank & Trust Company               $7,524,385.55      $35,000.00
   201.003       Hyundai HX60 Excavator                                             HHKHML04KG0000534          Hyundai               Excavator           HX60       2016      4348          First-Citizens Bank & Trust Company               $7,524,385.55      $20,000.00
   201.003       Hyundai R60 Excavator                                              HHKHML04JG0000535          Hyundai               Excavator         R60CR-9A     2016      4058          First-Citizens Bank & Trust Company               $7,524,385.55      $21,000.00
   201.004       Yanmar VIO55-6A Excavator                                          YMRV1055VKAJAG235          Hyundai               Excavator          VIO55-6A    2019      3204          First-Citizens Bank & Trust Company                $18,244.00        $20,000.00
   202.001       Hyundai HX145 Excavator                                            HHKHZ406JD00000927         Hyundai               Excavator           HX145      2013      7061          First-Citizens Bank & Trust Company               $7,524,385.55      $12,500.00
   202.002       Hyundai R140 Excavator                                             HHKHZ409KF0000499          Hyundai               Excavator         R140LC-9A    2015      5600          First-Citizens Bank & Trust Company               $7,524,385.55      $19,500.00
   206.001       Hyundai HX220Excavator                                              HHKHZ610JE0000210         Hyundai               Excavator         R220LC-9A    2014      6746          First-Citizens Bank & Trust Company               $7,524,385.55      $10,000.00
   206.002       Hyundai HX220 Excavator                                             HHKHK601TG0000124         Hyundai               Excavator          HX220L      2016      6153          First-Citizens Bank & Trust Company               $7,524,385.55      $30,000.00
   206.004       Hyundai HX220 Excavator                                            HHKHK601VG0000244          Hyundai               Excavator          HX220L      2016      5669          First-Citizens Bank & Trust Company               $7,524,385.55      $32,500.00
   206.006       Hyundai HX220 Excavator                                            HHKHK601VH0000715          Hyundai               Excavator           HX220      2018      4636          First-Citizens Bank & Trust Company               $7,524,385.55      $42,500.00
   206.007       Hyundai HX220 Excavator                                            HHKHK601VH0000682          Hyundai               Excavator           HX220      2018      3582          First-Citizens Bank & Trust Company               $7,524,385.55      $40,000.00
   212.005       Hyundai R380 Excavator                                             HHKHZA03CD0000019          Hyundai               Excavator         R380LC-9A    2014      6767          First-Citizens Bank & Trust Company               $7,524,385.55      $45,000.00
   230.003       Bell Off Road Truck 25 T                                            B93A625ET02007290           Bell               Offroad Truck        B25E       2015                           PNC Equipment Finance                       $23,169.38        $90,000.00
   230.004       Volvo A25C Off Road Truck                                               5350V8663              Volvo           Off Road Water Truck     A25C       1994     11932          First-Citizens Bank & Trust Company               $7,524,385.55      $30,000.00
   230.007       John Deere Off Road Truck                                           1DW310EXAJF685855       John Deere            Off Road Truck                   2018      4721          First-Citizens Bank & Trust Company               $356,966.07       $130,000.00
   240.001       Hyundai HR70C-9 Roller                                                25011231E117455         Hyundai                 Roller           HR70C-9     2016      558           First Citizens Bank & Trust Company               $7,524,385.55      $21,000.00
   240.002       Hyundai HR30T-9 Roller                                                36003110E119515         Hyundai                 Roller           HR30T-9     2016      1586          First-Citizens Bank & Trust Company               $7,524,385.55      $7,000.00
   242.001       Hyundai 120C-9 Roller                                                 26012311E117380         Hyundai                 Roller           HR120C-9    2015      541           First Citizens Bank & Trust Company               $7,524,385.55      $12,000.00
   242.002       Hyundai 120C-9 Roller                                                 26012311E117581         Hyundai                 Roller           HR120C-9    2016      1890          First Citizens Bank & Trust Company               $7,524,385.55      $18,000.00
   242.003       Hyundai 120C-9 Roller                                                 26012411E120271         Hyundai                 Roller           HR120C-9    2019      1984                   Bank of the West                          $29,660.99        $25,000.00
   242.004       Sakai SV544T 84" SF roller with SD kit                                  3SV56-10414            Sakai                  Roller          SV544T 84"   2020      646           First-Citizens Bank & Trust Company               $176,570.00        $60,000.00
   242.005       Sakai SV544T 84" SF roller with SD kit                                  3SV56-10399            Sakai                  Roller           SV544T      2020      986             Truist Equipment Finance Corp.                  $176,570.00        $60,000.00
   250.001       Massey Ferguson Tractor                                            AGCMC040CG5032009      Massey Ferguson            Tractor             4707      2017      1631          First-Citizens Bank & Trust Company               $7,524,385.55      $12,500.00
   253.001       Sweeper Broom Tractor                                                      033306                                 Broom Tractor          8HC       2011      1453            Truist Equipment Finance Corp.                  $7,524,385.55       $9,175.20
   253.002       Broce Sweeper Broom Tractor                                                304544              Broce              Broom Tractor        BB-2502     2013      358             Truist Equipment Finance Corp.                  $923,377.97         $7,500.00
   253.003       Kubota Broom Tractor w/Box Blade                                            42770             Kubota              Broom Tractor       L4760HSTC    2020      812        Bank of the West Bundle (253.003/253.004)             $69,209.00        $20,000.00
   253.004       Kubota Broom Tractor w/Box Blade                                   KBUL5CHCKK8G42700          Kubota              Broom Tractor       L4760HSTC              284        Bank of the West Bundle (253.003/253.004)             $69,209.00        $20,000.00
   253.005       John Deere Broom Tractor                                            1LV4052RJGG400467       John Deere            Broom Tractor         4052R                2452          First-Citizens Bank & Trust Company               $7,524,385.55      $20,000.00
   253.006       Sweeper Ride on 8' Windrow 3 Wheel                                          35790            Lay-Mor              Broom Tractor         SM300      2015      681           First-Citizens Bank & Trust Company               $7,524,385.55      $10,000.00
   253.007       Sweeper Ride on 8' Windrow 3 Wheel                                          35684             Lay-Mor             Broom Tractor         SM300      2015      537           First-Citizens Bank & Trust Company               $7,524,385.55      $10,000.00
   282.001       Connex Container                                                         RX1900108            Connex                Container                                              First-Citizens Bank & Trust Company               $7,524,385.55       $2,000.00
   282.003       Connex Container                                                  IPXU3453103 / SEA22G1       Connex                Container                                              First-Citizens Bank & Trust Company               $7,524,385.55       $2,000.00
   282.004       Connex Misc.                                                          PSXU200231G-9           Connex                Container                                              First-Citizens Bank & Trust Company               $7,524,385.55       $2,000.00
   282.005       Connex 40' Container                                                    FSCU4526944           Connex                Container                                              First-Citizens Bank & Trust Company               $7,524,385.55       $3,000.00
   282.006       Connex Container                                                       MEDU4222400            Connex                Container                                              First-Citizens Bank & Trust Company               $7,524,385.55       $2,000.00
   500.001       LeeBoy                                                                      8515E          8515-163854                Paver                        2017      1483          First-Citizens Bank & Trust Company               $7,524,385.55      $40,000.00
   704.002       Polaris UTV                                                              RZ9500042            Polaris                 UTV                                                  First-Citizens Bank & Trust Company               $7,524,385.55       $2,500.00
   704.004       EZ-GO UTV                                                                5000610853           EZ-GO                   UTV                                                  First-Citizens Bank & Trust Company               $7,524,385.55       $3,000.00
   706.001       Light Tower                                                               B001544                                  Light Tower                               8114          First-Citizens Bank & Trust Company               $7,524,385.55       $1,989.00
   706.002       Light Tower                                                         5AJLS161XBB009079     Magnum Power             Light Tower                     2011     48829          First-Citizens Bank & Trust Company               $7,524,385.55       $1,000.00
   706.003       Light Tower                                                                1203089        Magnum Power             Light Tower                     2012      7256          First-Citizens Bank & Trust Company               $7,524,385.55       $1,000.00
   706.004       Light Tower                                                                                                        Light Tower                               3555          First-Citizens Bank & Trust Company               $7,524,385.55       $1,000.00
   706.005       Light Tower                                                         5XFLN0517DN003658     Wacker Neuson            Light Tower                     2013      4600          First-Citizens Bank & Trust Company               $7,524,385.55       $1,500.00
   706.007       Light Tower                                                         5XFLN0512EN001351     Wacker Neuson            Light Tower                     2014      3342          First-Citizens Bank & Trust Company               $7,524,385.55       $1,500.00
   706.008       Light Tower                                                         5XFLN0515EN003160     Wacker Neuson            Light Tower                     2014      3180          First-Citizens Bank & Trust Company               $7,524,385.55       $1,500.00
   706.009       Light Tower                                                         5AJLS1412FB500500       Magnum Pro             Light Tower                     2015                    First-Citizens Bank & Trust Company               $7,524,385.55       $1,000.00
   709.005       Katolight 60 KW Stationary Generator                                    128019-0706        Katolight/MTU            Generator                      2006                    First-Citizens Bank & Trust Company               $7,524,385.55       $2,000.00
   721.000       Rock Box                                                                   18-5121        SPEEDSHORE                Rock Box                                               First-Citizens Bank & Trust Company               $7,524,385.55       $1,500.00
   721.001       Rock Box                                                                   18-5102        SPEEDSHORE                Rock Box                                               First-Citizens Bank & Trust Company               $7,524,385.55       $1,500.00
   721.002       Rock Box                                                                   18-5103        SPEEDSHORE                Rock Box                                               First-Citizens Bank & Trust Company               $7,524,385.55       $1,500.00
   721.003       Rock Box                                                                                                            Rock Box                                               First-Citizens Bank & Trust Company               $7,524,385.55       $1,500.00
   721.005       Rock Box                                                                                                            Rock Box                                               First-Citizens Bank & Trust Company               $7,524,385.55       $1,500.00
   721.006       Rock Box                                                                    BCP1                                    Rock Box                                               First-Citizens Bank & Trust Company               $7,524,385.55       $1,500.00
   724.009       Trench Box 8' X 24' (6" SKE) Knife Edge                                  M22041421                                 Trench Box                                              First-Citizens Bank & Trust Company               $7,524,385.55      $10,000.00
   724.010       Trench Box 8' x 24 'x 4" Flat Bottom                                     M22041423                                 Trench Box                                              First-Citizens Bank & Trust Company               $7,524,385.55       $8,000.00
   724.011       MANHOLE BOX 8' X 10' Knife Edge                                          M22041420                                 Trench Box                                              First-Citizens Bank & Trust Company               $7,524,385.55       $4,000.00
   724.012       Trench Box 8' x 20' (6" SKE) Knife Edge                                  M22041422                                 Trench Box                                              First-Citizens Bank & Trust Company               $7,524,385.55       $7,500.00
   724.013       Trench Box 8' x 20' (4" FB) Flat Bottom                                 M22041427G                                 Trench Box                                              First-Citizens Bank & Trust Company               $7,524,385.55       $7,000.00
   724.014       MANHOLE BOX 8' X 10' Knife Edge                                          M22041419                                 Trench Box                                              First-Citizens Bank & Trust Company               $7,524,385.55       $5,000.00
   727.005       Bomag BMP8500                                                           10172031930           Bomag               Trench Roller        BMP8500     2018      479                 PNC Equipment Finance                        $5,421.60         $12,500.00
   727.006       Bomag BMP8500                                                           101720131911          Bomag               Trench Roller        BMP8500     2018      560                 PNC Equipment Finance                                          $12,500.00
   727.007                                                                                   20129034
                 Roller 24-33"" Walkbehind Wacker (has new remote but it needs to be repogrammed)          Wacker Neuson           Trench Roller        RT-82-SC    2012      833           First-Citizens Bank & Trust Company               $7,524,385.55      $12,500.00
   727.009       Bomag BMP8500                                                           101720131862          Bomag               Trench Roller        BMP8500     2018      799             Truist Equipment Finance Corp.                  $923,377.97        $15,000.00




                                                                                                                                     EXHIBIT B TO SCHEDULE A/B
                                                                                                                            ITEMIZED LISTING OF MACHINERY & EQUIPMENT
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727.011   Bomag Trench Roller                                        101720133633          Bomag              Trench Roller                 2019   805       Bank of the West (727.011/727.012)                 $21,328.21     $17,500.00
727.012   Bomag Trench Roller                                        101720133731          Bomag              Trench Roller                 2019   522       Bank of the West (727.011/727.012)                 $21,328.21     $17,500.00
727.013   ROLLER 24-33" WALKBEHIND PAD                               101720131278          Bomag              Trench Roller     BMP8500     2018   841      First Citizens Bank (727.013/727.014)               $36,442.73     $16,692.60
727.014   ROLLER 24-33" WALKBEHIND PAD                               101720133783          Bomag              Trench Roller     BMP8500     2020   711      First Citizens Bank (727.013/727.014)               $36,442.73     $12,500.00
729.001   Takeuchi TL10 Skid Steer                                   201003169/39         Takeuchii            Skid Steer         TL10      2016            First Citizens Bank & Trust Company                $7,524,385.55   $18,000.00
729.002   Takeuchii TL103CRH Skid Steer Loader                         201003314          Takeuchii            Skid Steer       TL103CRH    2017   2810     First-Citizens Bank & Trust Company                $7,524,385.55   $22,000.00
729.003   John Deere 325G Skid Steer Loader                       1T0325GMEMJ390815      John Deere            Skid Steer          325G     2020   1372     First Citizens Bank (727.013/727.014)                $36,442.73    $25,000.00
729.004   John Deere333G Skid Steer Loader                        1T0333GMLLF371360      John Deere            Skid Steer          333G     2020   1614         Truist Equipment Finance Corp.                 $7,524,385.55   $60,000.00
729.005   John Deere 333G Skid Steer Loader                       1T0333GMCKF362197      John Deere            Skid Steer          333G     2020   1553         Truist Equipment Finance Corp.                  $923,377.97    $45,000.00
729.006   John Deere 317G Skid Steer Loader                        1T0317GJTKJ352781     John Deere            Skid Steer          317G            1448                 Bank of the West                         $34,866.87    $28,000.00
742.002   GPS Base                                                     1448-12357          TopCon                GPS             HiPer VR                   First-Citizens Bank & Trust Company                $7,524,385.55    $2,500.00
742.005   GPS Base                                                     1448-13813          TopCon                GPS             Hiper VR                   First-Citizens Bank & Trust Company                $7,524,385.55    $2,500.00
742.006   GPS Base                                                     1122-25748          TopCon                GPS             Hyper V                  PNC Equipment Finance (742.006/743.006)                $31,374.76     $2,500.00
742.007   GPS Base                                                     1122-20065          TopCon                GPS             Hyper V                    First-Citizens Bank & Trust Company                $7,524,385.55    $2,500.00
742.009   GPS Base                                                     1448-26064          TopCon                GPS             Hiper VR                   First-Citizens Bank & Trust Company                $7,524,385.55    $2,500.00
742.010   GPS Rover                                                   1448-17816          TopCon                  GPS            Hiper VR                    First-Citizens Bank & Trust Company               $7,524,385.55    $2,500.00
742.011   GPS Base                                                    1448-27699          TopCon                  GPS            Hiper VR                    First-Citizens Bank & Trust Company               $7,524,385.55    $2,500.00
742.012   GPS Base                                                    1448-1049              25                   GPS            Hiper VR                    First-Citizens Bank & Trust Company               $7,524,385.55    $2,500.00
742.013   GPS Base                                                    1448-17819          TopCon                  GPS            Hiper VR                    First-Citizens Bank & Trust Company               $7,524,385.55    $2,500.00
743.002   GPS Rover                                                   1448-22553          TopCon                  GPS            Hiper VR                    First-Citizens Bank & Trust Company               $7,524,385.55    $5,000.00
743.004   GPS Rover                                                   1448-21530          TopCon                  GPS            HiPer VR                    First-Citizens Bank & Trust Company               $7,524,385.55    $2,500.00
743.005   GPS Rover                                                   1448-13820          TopCon                  GPS            HiPer VR                    First-Citizens Bank & Trust Company               $7,524,385.55    $2,500.00
743.006   GPS Rover                                                   1122-25739          TopCon                  GPS            Hyper V           N/A             PNC Equipment Finance                        $31,374.76      $2,500.00
743.007   GPS Rover                                                   1143-12742          TopCon                  GPS            Hyper V                     First-Citizens Bank & Trust Company               $7,524,385.55    $2,500.00
743.009   GPS Rover                                                   1448-26038          TopCon                  GPS            Hiper VR                          PNC Equipment Finance                        $2,155.24
                                                                                                                                                                                                                                $2,500.00
743.011   GPS Rover                                                   1448-17775          TopCon                  GPS            HiperVR                           PNC Equipment Finance
745.000   Data Collector                                                281245         Juniper Systems            GPS                                        First-Citizens Bank & Trust Company               $7,524,385.55    $2,000.00
745.003   Data Collector                                                281056            TopCon                  GPS            FC-6000                     First-Citizens Bank & Trust Company               $7,524,385.55    $2,000.00
745.004   Data Collector                                                303928            TopCon                  GPS            FC-6000                     First-Citizens Bank & Trust Company               $7,524,385.55    $2,000.00
745.005   Data Collector                                                263342            TopCon                  GPS            FC-5000                     First-Citizens Bank & Trust Company               $7,524,385.55    $2,000.00
745.007   Data Collector                                                245087            TopCon                  GPS                                        First-Citizens Bank & Trust Company               $7,524,385.55    $2,000.00
745.008   Data Collector Tablet                                  86HWW46B0XXG21J0361      TopCon                  GPS             Tablet                     First-Citizens Bank & Trust Company               $7,524,385.55    $3,000.00
745.010   Data Collector                                                325559            TopCon                  GPS            FC-6000                     First-Citizens Bank & Trust Company               $7,524,385.55    $2,000.00
745.011   Data Collector                                                281243            TopCon                  GPS            FC-6001                     First-Citizens Bank & Trust Company               $7,524,385.55    $2,000.00
 N/A      CAT Excavator 336FL                                         SSN00310           Caterpillar            Excavator         336FL     2016   6332    Caterpillar Financial Services Corporation          $101,535.00     $100,000.00
 N/A      CAT Excavator 336FL                                         SSN00275           Caterpillar            Excavator         336FL     2016           Caterpillar Financial Services Corporation          $101,535.00     $90,000.00
 N/A      CAT Excavator 336FL                                         SSN00260           Caterpillar            Excavator         336FL                    Caterpillar Financial Services Corporation          $101,000.00     $150,000.00
 N/A      Hyundai 220 Excavator                                   HHKHK607VE0000228       Hyundai               Excavator       HX220AL     2021                 ENGS Commerical Finance                       $100,000.00     $100,000.00
 N/A      Hyundai 220 Excavator                                   HHKHK608KE0000038       Hyundai               Excavator        HX235A     2021                 ENGS Commerical Finance                                       $108,000.00
 N/A      Yanmar SV100 Excavator                                        AF797            Excavator              Excavator         SV100     2020                 ENGS Commerical Finance                                       $66,000.00
 N/A      Yanmar 55 Excavator                                           AH919              Yanmar               Excavator        VI055-6A   2021                 ENGS Commerical Finance                                       $48,000.00
 N/A      Yanmar 100 Excavator                                          AG914            Excavator              Excavator         SV100                            ENGS Commerical Finance                     $223,409.80     $48,000.00
 N/A      Traffic Barrels & Cones Barricades                                                                                                                 First-Citizens Bank & Trust Company               $7,524,385.55   $25,000.00
 N/A      Excavator Buckets & Attachments                                                                                                                    First-Citizens Bank & Trust Company               $7,524,385.55   $10,000.00
 N/A      Broom Attachement- Skid Steer Loader                                                                                                               First-Citizens Bank & Trust Company               $7,524,385.55    $1,200.00
 N/A      Milling Attachement - Skid Steer Loader                                                                                                            First-Citizens Bank & Trust Company               $7,524,385.55    $1,000.00
 N/A      Miscellaneous Tools (Shovels, Chains, Hammers, etc.)                                                                                               First-Citizens Bank & Trust Company               $7,524,385.55   $15,000.00
 N/A      Propane Forklift                                                                                                                                   First-Citizens Bank & Trust Company               $7,524,385.55    $3,000.00
 N/A      Water Wagon Trailer                                                                                                                                                 N/A                                  $0.00        $1,500.00
 N/A      Cement Mixer                                                                                                                                      First-Citizens Bank & Trust Company                $7,524,385.55    $2,000.00
 N/A      CAT 336FL Excavator                                         RKB01928           Caterpillar            Excavator         336FL     2016   6166    Caterpillar Financial Services Corporation           $98,070.00     $125,000.00
 N/A      Hyundai 940 Loader                                      HHKHWL41CL0000033        Loader                HL940            2021      2021                 ENGS Commerical Finance
 N/A      Hyundai 235 Excavator                                   HHKHK60EL0000612        Hyundai               HX235A            2021      2021                 ENGS Commerical Finance
 N/A      Yanmar 100 Excavator                                   YMRSV100LANAJAH647        Yanmar               Excavator       SV100-2A    2022                 ENGS Commerical Finance
 N/A      Yanmar 100 Excavator                                   YMRSV100LANAJAH648        Yanmar               Excavator       SV100-2A    2022                 ENGS Commerical Finance                                       $490,000.00
 N/A      Yanmar 10356-6A Excavator                                    AK240               Yanmar               Excavator       V10356-6A   2019                 ENGS Commerical Finance
 N/A      Yanmar VO1I55 Excavator                                      AH923               Yanmar               Excavator        VI055-6A   2021                 ENGS Commerical Finance
 N/A      Yanmar VI035 Excavator                                       AL445               Yanmar               Excavator        VI035-6A   2020                 ENGS Commerical Finance
 N/A      Miscellaneous Tractor Parts & Implements                                                                                                           First-Citizens Bank & Trust Company               $223,409.90
 N/A      Bushhog Attachment                                                                                                                                 First-Citizens Bank & Trust Company               $7,524,385.55     $250.00
 N/A      1 8x 20 Road Plate                                                                                                                                 First-Citizens Bank & Trust Company               $7,524,385.55    $5,000.00
 N/A      Semi Box Trailer - Storage                                                                                                                                          N/A                                  $0.00        $2,500.00
 N/A      Truck Fuel Tanks                                                                                                                                   First-Citizens Bank & Trust Company               $7,524,385.55   UNKNOWN
 N/A      Water Sleighed and Pump                                                                                                                            First-Citizens Bank & Trust Company               $7,524,385.55   UNKNOWN
 N/A      Traffic Safety / Arrow Boards (5 Total)                                                                                                            First-Citizens Bank & Trust Company               $7,524,385.55   $15,000.00
 N/A      Traffic Satety Message Boards (4 Total)                                                                                                            First-Citizens Bank & Trust Company               $7,524,385.55   $10,000.00
 N/A      Five (5) Misc. Excvator Buckets                                                                                                                    First-Citizens Bank & Trust Company               $7,524,385.55    $2,500.00
 N/A      Shop Ice Machine                                                                                                                                   First-Citizens Bank & Trust Company               $7,524,385.55     $500.00
 N/A      Shop Air Compressors                                                                                                                               First-Citizens Bank & Trust Company               $7,524,385.55    $1,000.00
 N/A      2 Concrete Floor Saws                                                                                                                              First-Citizens Bank & Trust Company               $7,524,385.55    $1,000.00
 N/A      CAT Asphault Roller                                                            Caterpillar         Asphault Roller                                 First-Citizens Bank & Trust Company               $7,524,385.55   $15,000.00
 N/A      Misc Equipment Parts and Filters                                                                                                                   First-Citizens Bank & Trust Company               $7,524,385.55    $7,500.00
 N/A      Yanmar 100 Excavator                                          AG959            Excavator               SV100                      2020                  ENGS Commerical Finance                        $90,000.00    $90,000.00
 N/A      Manitou MLA-6 Articulated Loader                       MMCMLA6HD00060413        Loader            MLA-6 Articulated               2022                    PNC Equipment Finance                       $110,332.46    $75,000.00
 N/A      Hyundai 940XT Loader                                   HHKHW400CL0001189        Hyundai                Loader           940XT                           ENGS Commerical Finance
 N/A      Hyundai HX220 Excavator                                HHKHK607EL0000121        Hyundai              Excavator         HX220AL    2021                  ENGS Commerical Finance
 N/A      Hyundai HL940 Loader                                   HHKHWL41AL0000012        Loader                 HL940            HL940     2021                  ENGS Commerical Finance
 N/A      Hyundai 955 Loader                                     HHKHWL50AL0000095        Loader                 HL955            HL955     2021                  ENGS Commerical Finance
 N/A      Hyundai HX145 Excavator                                HHKHK404VE0001583       Excavator            HX145LCR          HX145LCR    2021                  ENGS Commerical Finance                      $810,000.00     $810,000.00
 N/A      Bell B30E Off Road ADT                                  B93A631EK02008471         Bell             Offroad Truck        B30E      2018   4179         Truist Equipment Finance Corp.                 $356,966.07     $125,000.00
 N/A      Bell B30E Off Road ADT                                  B93A631EP03010102         Bell             Off Road Truck       B30E      2022                  First Financial Holdings, LLC                                $250,000.00
 N/A      Bell B30E Off Road ADT                                 B93A631EH03010188,         Bell             Off Road Truck       B30E      2022                  First Financial Holdings, LLC                                $250,000.00




                                                                                                                EXHIBIT B TO SCHEDULE A/B
                                                                                                       ITEMIZED LISTING OF MACHINERY & EQUIPMENT
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N/A   Bell B30E Off Road ADT              B93A631EC03010184     Bell         Off Road Truck   B30E   2022          First Financial Holdings, LLC                    $250,000.00
N/A   Bell B30E Off Road ADT              B93A631EL03010190     Bell         Off Road Truck   B30E   2022          First Financial Holdings, LLC          Unknown   $250,000.00


                                                                                                                                                           TOTAL    $5,696,946.20




                                                                                EXHIBIT B TO SCHEDULE A/B
                                                                       ITEMIZED LISTING OF MACHINERY & EQUIPMENT
          Case 23-02734-5-JNC                        Doc 68 Filed 10/17/23 Entered 10/17/23 21:36:17                                        Page 17 of
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Fill in this information to identify the case:

Debtor name         JSmith Civil, LLC

United States Bankruptcy Court for the:           EASTERN DISTRICT OF NORTH CAROLINA

Case number (if known)             23-02734-5
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                  12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
Part 1:     List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
2.1   Ally Financial, Inc.                         Describe debtor's property that is subject to a lien                   $19,773.77                $20,000.00
      Creditor's Name                              2020 Chevrolet Silverado 1500 (VIN 5278)
      Attn: Manager, Agent,
      Officer
      PO Box 380901
      Minneapolis, MN 55438
      Creditor's mailing address                   Describe the lien

                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.



2.2   Ally Financial, Inc.                         Describe debtor's property that is subject to a lien                   $24,858.32                $25,000.00
      Creditor's Name                              2020 Ford F-250 Super Duty Truck (VIN 9476)
      Attn: Manager, Agent,
      Officer
      PO Box 380901
      Minneapolis, MN 55438
      Creditor's mailing address                   Describe the lien

                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number




Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                              page 1 of 34
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                                                                    228
Debtor      JSmith Civil, LLC                                                                     Case number (if known)     23-02734-5
            Name

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.3   Ally Financial, Inc.                        Describe debtor's property that is subject to a lien                     $31,012.85       $32,000.00
      Creditor's Name                             2020 Dodge RAM 3500 Truck (VIN 5198)
      Attn: Manager, Agent,
      Officer
      PO Box 380901
      Minneapolis, MN 55438
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.4   Bank of the West                            Describe debtor's property that is subject to a lien                     $34,866.67       $28,000.00
      Creditor's Name                             John Deere 317G
      Attn: Manager, Agent,                       SN: 1T0317GJTKJ352781
      Officer
      1625 West Fountainhead
      Parkway
      Tempe, AZ 85282
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.5   Bank of the West                            Describe debtor's property that is subject to a lien                     $69,209.00       $40,000.00




Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                             page 2 of 34
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                                                                    228
Debtor      JSmith Civil, LLC                                                                     Case number (if known)     23-02734-5
            Name

      Creditor's Name                             Kubota L4760 47HP Hydrostatic Drive (SN
      Attn: Manager, Agent,                       42700)
      Officer                                     Kubota L4760 460HP Hydrostatic Drive (SN
      1625 West Fountainhead                      42770)
      Parkway
      Tempe, AZ 85282
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.6   Bank of the West                            Describe debtor's property that is subject to a lien                     $29,660.99       $25,000.00
      Creditor's Name                             2019 Hyundai 120C-9 Roller (SN
      Attn: Manager, Agent,                       26012411E120271)
      Officer
      1625 West Fountainhead
      Parkway
      Tempe, AZ 85282
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.7   Bank of the West                            Describe debtor's property that is subject to a lien                     $21,328.21       $34,000.00
      Creditor's Name                             2019 Bomag Trench Roller (SN
      Attn: Manager, Agent,                       101720133633)
      Officer                                     2019 Bomag Trench Roller (SN
      1625 West Fountainhead                      101720133731)
      Parkway
      Tempe, AZ 85282
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?

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Debtor      JSmith Civil, LLC                                                                     Case number (if known)      23-02734-5
            Name

      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



      Caterpillar Financial
2.8                                                                                                                         $98,070.00      $125,000.00
      Services Corp                               Describe debtor's property that is subject to a lien
      Creditor's Name                             2016 CAT 336FL Large Hydraulic Excavator
      Attn: Manager, Agent,                       (SN RKB01928)
      Officer
      2120 West End Ave
      Nashville, TN 37209
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



      Caterpillar Financial
2.9                                               Describe debtor's property that is subject to a lien                     $101,535.00      $100,000.00
      Services Corp
      Creditor's Name                             CAT 336FL Large Hydraulic Excavator (SN
      Attn: Manager, Agent,                       SSN00310)
      Officer
      2120 West End Ave
      Nashville, TN 37209
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.




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Debtor      JSmith Civil, LLC                                                                     Case number (if known)      23-02734-5
            Name

2.1   Caterpillar Financial
0     Services Corp                               Describe debtor's property that is subject to a lien                     $101,000.00      $150,000.00
      Creditor's Name                             2016 CAT 336FL Large Hydraulic Excavator
      Attn: Manager, Agent,                       (SN SSN00260)
      Officer
      2120 West End Ave
      Nashville, TN 37209
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.1   Caterpillar Financial
1     Services Corp                               Describe debtor's property that is subject to a lien                     $101,535.00       $90,000.00
      Creditor's Name                             2016 CAT 336FL Large Hydraulic Excavator
      Attn: Manager, Agent,                       (SN SSN00275)
      Officer
      2120 West End Ave
      Nashville, TN 37209
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.1   Caterpillar Financial
2     Services Corp                               Describe debtor's property that is subject to a lien                      $31,375.08      $125,000.00
      Creditor's Name                             2019 CAT D5K2LGP Track Type Tractor (SN
      Attn: Manager, Agent,                       KY207356)
      Officer
      2120 West End Ave
      Nashville, TN 37209
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known             Yes

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Debtor      JSmith Civil, LLC                                                                     Case number (if known)      23-02734-5
            Name

                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.1   Caterpillar Financial
3     Services Corp                               Describe debtor's property that is subject to a lien                     $117,491.00      $200,000.00
      Creditor's Name                             2019 CAT Dozer D6K2LGP (SN: EL700485)
      Attn: Manager, Agent,
      Officer
      2120 West End Ave
      Nashville, TN 37209
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.1
4     Citizens One Auto Finance                   Describe debtor's property that is subject to a lien                       $6,520.76       $15,000.00
      Creditor's Name                             2018 Chevrolet Silverado (VIN 7127)
      Attn: Manager, Agent,
      Officer
      PO Box 42113
      Providence, RI 02940-2113
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



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Debtor      JSmith Civil, LLC                                                                     Case number (if known)      23-02734-5
            Name



2.1   De Lage Landen Financial
5     Services                                    Describe debtor's property that is subject to a lien                           $0.00            $0.00
      Creditor's Name                             All Collateral Relating to Lease No.
      Attn: Manager, Agent,                       500-50288231
      Officer
      1111 Old Eagle School Rd
      Wayne, PA 19087
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.1   Engs Commercial Finance
6     Co.                                         Describe debtor's property that is subject to a lien                     $100,000.00      $100,000.00
      Creditor's Name                             Hyundai HX220AL Excvator (SN
      Attn: Manager, Agent,                       HHKHK607VE0000228)
      Officer
      PO Box 128
      Itasca, IL 60143
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      11/2021                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      6895
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.1   Engs Commercial Finance
7     Co.                                         Describe debtor's property that is subject to a lien                     $100,000.00      $100,000.00
      Creditor's Name                             Hyundai HX220AL Excvator (SN
      Attn: Manager, Agent,                       HHKHK607EL0000121)
      Officer
      PO Box 128
      Itasca, IL 60143
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No

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Debtor      JSmith Civil, LLC                                                                     Case number (if known)      23-02734-5
            Name

      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      11/4/2021                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      6896
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.1   Engs Commercial Finance
8     Co.                                         Describe debtor's property that is subject to a lien                      $90,000.00       $90,000.00
      Creditor's Name                             Hyundai HL940XT Wheel Loader (SN
      Attn: Manager, Agent,                       HHKHW400CL0001189)
      Officer
      PO Box 128
      Itasca, IL 60143
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.1   Engs Commercial Finance
9     Co.                                         Describe debtor's property that is subject to a lien                     $223,409.80      $490,000.00
      Creditor's Name                             Yanmar V1035-6A Excavator; Yanmar SV100
                                                  Hydraulic Excavator; Yanmar SV100
                                                  Hydraulic Excavator; Yanmar V1035-6A
      Attn: Manager, Agent,                       Excavator; Yanmar SV100 Hydraulic
      Officer                                     Excavator; Yanmar V1055-6A Excavator;
      PO Box 128                                  Yanmar V1035-6A Excavator
      Itasca, IL 60143
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply




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Debtor      JSmith Civil, LLC                                                                     Case number (if known)      23-02734-5
            Name

          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.2   Engs Commercial Finance
0     Co.                                         Describe debtor's property that is subject to a lien                     $810,000.00      $810,000.00
      Creditor's Name                             Two (2) 2021 Hyundai HL940 Wheel Loaders
                                                  ($120,000); One (1) 2021 Hyundai HL955
                                                  Wheel Loader ($170,000); One (1) 2021
      Attn: Manager, Agent,                       Hyundai HX145LCR Excavator ($100,000);
      Officer                                     Two (2) 2021 Hyundai HX235A Hyudraulic
      PO Box 128                                  Excavators ($150,000)
      Itasca, IL 60143
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      06/02/2021                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      4860
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.2   Engs Commercial Finance
1     Co.                                         Describe debtor's property that is subject to a lien                     $180,000.00      $180,000.00
      Creditor's Name                             Two (2) Yanmar SV100 Hydraulic Excavators
      Attn: Manager, Agent,                       with 36" Bucket, Thumb & 48" Tilt Bucket
      Officer
      PO Box 128
      Itasca, IL 60143
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      08/02/2022                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      0876
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.2   Enterprise Fleet
2     Management, Inc.                            Describe debtor's property that is subject to a lien                      $18,735.47       $20,000.00



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Debtor      JSmith Civil, LLC                                                                     Case number (if known)     23-02734-5
            Name

      Creditor's Name                             Dodge Ram 2500 Tradesman 4X4 CC Truck
      Attn: Manager, Agent,
      Officer
      PO Box 800089
      Kansas City, MO 64180
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.2   Enterprise Fleet
3     Management, Inc.                            Describe debtor's property that is subject to a lien                     $18,768.95       $20,000.00
      Creditor's Name                             Dodge Ram 2500 Tradesman 4X4 CC Truck
      Attn: Manager, Agent,                       (VIN 7639)
      Officer
      PO Box 800089
      Kansas City, MO 64180
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.2   Enterprise Fleet
4     Management, Inc.                            Describe debtor's property that is subject to a lien                     $20,978.89       $25,000.00
      Creditor's Name                             2021 Dodge Ram 2500 Truck (VIN 7721)
      Attn: Manager, Agent,
      Officer
      PO Box 800089
      Kansas City, MO 64180
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred

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Debtor      JSmith Civil, LLC                                                                     Case number (if known)     23-02734-5
            Name

                                                     No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.2   Enterprise Fleet
5     Management, Inc.                            Describe debtor's property that is subject to a lien                     $20,000.00       $20,000.00
      Creditor's Name                             2021 Dodge Ram 2500 Truck (VIN 9878)
      Attn: Manager, Agent,
      Officer
      PO Box 800089
      Kansas City, MO 64180
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.2   Enterprise Fleet
6     Management, Inc.                            Describe debtor's property that is subject to a lien                     $23,029.25       $20,000.00
      Creditor's Name                             2021 Dodge Ram 1500 Truck (VIN 4741)
      Attn: Manager, Agent,
      Officer
      PO Box 800089
      Kansas City, MO 64180
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.




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Debtor      JSmith Civil, LLC                                                                     Case number (if known)     23-02734-5
            Name

2.2   Enterprise Fleet
7     Management, Inc.                            Describe debtor's property that is subject to a lien                     $20,772.49       $25,000.00
      Creditor's Name                             2021 Dodge Ram 2500 Tradesman 4X4 CC
      Attn: Manager, Agent,                       Truck (VIN 7722)
      Officer
      PO Box 800089
      Kansas City, MO 64180
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.2   Enterprise Fleet
8     Management, Inc.                            Describe debtor's property that is subject to a lien                     $25,992.74       $35,000.00
      Creditor's Name                             2022 Dodge Ram 2500 Truck (VIN 0776)
      Attn: Manager, Agent,
      Officer
      PO Box 800089
      Kansas City, MO 64180
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.2   Enterprise Fleet
9     Management, Inc.                            Describe debtor's property that is subject to a lien                     $30,000.00       $35,000.00
      Creditor's Name                             2022 Dodge Ram 2500 Truck (VIN 2520)
      Attn: Manager, Agent,
      Officer
      PO Box 800089
      Kansas City, MO 64180
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known             Yes

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Debtor      JSmith Civil, LLC                                                                     Case number (if known)     23-02734-5
            Name

                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.3   Enterprise Fleet
0     Management, Inc.                            Describe debtor's property that is subject to a lien                     $37,837.61       $35,000.00
      Creditor's Name                             2022 Dodge Ram 2500 Truck (VIN 2578)
      Attn: Manager, Agent,
      Officer
      PO Box 800089
      Kansas City, MO 64180
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.3   Enterprise Fleet
1     Management, Inc.                            Describe debtor's property that is subject to a lien                     $39,214.87       $40,000.00
      Creditor's Name                             2022 Dodge Ram Big Horn 2500 Truck (VIN
      Attn: Manager, Agent,                       2663)
      Officer
      PO Box 800089
      Kansas City, MO 64180
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



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Debtor      JSmith Civil, LLC                                                                     Case number (if known)     23-02734-5
            Name



2.3   Enterprise Fleet
2     Management, Inc.                            Describe debtor's property that is subject to a lien                     $36,324.52       $45,000.00
      Creditor's Name                             2022 Dodge Ram 2500 Truck (VIN 2664)
      Attn: Manager, Agent,
      Officer
      PO Box 800089
      Kansas City, MO 64180
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.3   Enterprise Fleet
3     Management, Inc.                            Describe debtor's property that is subject to a lien                     $38,792.40       $45,000.00
      Creditor's Name                             2022 Dodge Ram 3500 Truck (VIN 6827)
      Attn: Manager, Agent,
      Officer
      PO Box 800089
      Kansas City, MO 64180
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.3   Enterprise Fleet
4     Management, Inc.                            Describe debtor's property that is subject to a lien                     $40,903.13       $56,000.00
      Creditor's Name                             2022 Dodge Ram 3500 Truck (VIN 6826)
      Attn: Manager, Agent,
      Officer
      PO Box 800089
      Kansas City, MO 64180
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No

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Debtor      JSmith Civil, LLC                                                                     Case number (if known)     23-02734-5
            Name

      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.3
5     Ferguson Enterprises, Inc.                  Describe debtor's property that is subject to a lien                          $0.00            $0.00
      Creditor's Name                             PMSI in Construction Related Materials (See
      Attn: Manager, Agent,                       UCC Financing Statement)
      Officer
      190 North Oberlin Ave
      Lakewood, NJ 08701
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.3   First Citizens Bank & Trust
6     Co                                          Describe debtor's property that is subject to a lien                     $18,397.89            $0.00
      Creditor's Name
      Attn: Manager, Agent,
      Officer
      PO Box 25187
      Raleigh, NC 27611-5187
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      0001
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply




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Debtor      JSmith Civil, LLC                                                                     Case number (if known)      23-02734-5
            Name

          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.3   First Citizens Bank & Trust
7     Co                                          Describe debtor's property that is subject to a lien                     $171,054.09        Unknown
      Creditor's Name
      Attn: Manager, Agent,
      Officer
      PO Box 25187
      Raleigh, NC 27611-5187
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      05/14/2020                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      9933
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.3   First Citizens Bank & Trust
8     Co                                          Describe debtor's property that is subject to a lien                      $22,037.03       $30,000.00
      Creditor's Name                             2020 Dodge RAM Tradesman (VIN 2101)
      Attn: Manager, Agent,
      Officer
      PO Box 25187
      Raleigh, NC 27611-5187
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      10/08/2020                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      oan3
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.3   First Citizens Bank & Trust
9     Co                                          Describe debtor's property that is subject to a lien                      $22,101.97       $20,000.00




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Debtor      JSmith Civil, LLC                                                                     Case number (if known)     23-02734-5
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      Creditor's Name                             2020 Dodge Ram 1500 (VIN 8026)
      Attn: Manager, Agent,
      Officer
      PO Box 25187
      Raleigh, NC 27611-5187
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      10/15/2020                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      oan4
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.4   First Citizens Bank & Trust
0     Co                                          Describe debtor's property that is subject to a lien                     $27,849.96       $28,000.00
      Creditor's Name                             2020 Dodge RAM 2500 (VIN 9155)
      Attn: Manager, Agent,
      Officer
      PO Box 25187
      Raleigh, NC 27611-5187
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      11/4/2020                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      oan5
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.4   First Citizens Bank & Trust
1     Co                                          Describe debtor's property that is subject to a lien                     $28,023.42       $50,000.00
      Creditor's Name                             2013 Freightliner Water Truck (VIN 3585)
      Attn: Manager, Agent,
      Officer
      PO Box 25187
      Raleigh, NC 27611-5187
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred

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Debtor      JSmith Civil, LLC                                                                     Case number (if known)     23-02734-5
            Name

                                                     No
      12/02/2020                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      oan6
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.4   First Citizens Bank & Trust
2     Co                                          Describe debtor's property that is subject to a lien                     $23,412.14       $23,000.00
      Creditor's Name                             2021 Dodge RAM 1500 (VIN 7939)
      Attn: Manager, Agent,
      Officer
      PO Box 25187
      Raleigh, NC 27611-5187
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      12/31/2020                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      oan7
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.4   First Citizens Bank & Trust
3     Co                                          Describe debtor's property that is subject to a lien                     $36,061.16       $75,000.00
      Creditor's Name                             2014 Kenworth W900L (VIN 9252)
      Attn: Manager, Agent,
      Officer
      PO Box 25187
      Raleigh, NC 27611-5187
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      02/19/2021                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      oan8
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.




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Debtor      JSmith Civil, LLC                                                                     Case number (if known)     23-02734-5
            Name


2.4   First Citizens Bank & Trust
4     Co                                          Describe debtor's property that is subject to a lien                     $26,562.31       $35,000.00
      Creditor's Name                             2021 RAM 1500 Big Horn (VIN 7498)
      Attn: Manager, Agent,
      Officer
      PO Box 25187
      Raleigh, NC 27611-5187
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      02/19/2021                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      oan9
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.4   First Citizens Bank & Trust
5     Co                                          Describe debtor's property that is subject to a lien                     $18,399.02       $25,000.00
      Creditor's Name                             2016 Chevrolet Silverado 3500 (VIN 0168)
      Attn: Manager, Agent,
      Officer
      PO Box 25187
      Raleigh, NC 27611-5187
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      02/19/2021                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      an10
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.4   First Citizens Bank & Trust
6     Co                                          Describe debtor's property that is subject to a lien                     $25,352.30            $0.00
      Creditor's Name
      Attn: Manager, Agent,
      Officer
      PO Box 25187
      Raleigh, NC 27611-5187
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No


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Debtor      JSmith Civil, LLC                                                                     Case number (if known)    23-02734-5
            Name

      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      6236
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.4   First Citizens Bank & Trust
7     Co                                          Describe debtor's property that is subject to a lien                 $1,414,173.14     $4,000,000.00
      Creditor's Name                             All Equipment and Vehicles on Exhibits 1 and
      Attn: Manager, Agent,                       2 Attached
      Officer
      PO Box 25187
      Raleigh, NC 27611-5187
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      0680
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.4   First Citizens Bank & Trust
8     Co                                          Describe debtor's property that is subject to a lien                 $2,536,620.85     $4,000,000.00
      Creditor's Name                             All Equipment and Identified Vehicles on
      Attn: Manager, Agent,                       Exhibits 1 and 2 Attached
      Officer
      PO Box 25187
      Raleigh, NC 27611-5187
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      2901
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply




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Debtor      JSmith Civil, LLC                                                                     Case number (if known)      23-02734-5
            Name

          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.4   First Citizens Bank & Trust
9     Co                                          Describe debtor's property that is subject to a lien                      $37,254.12       $30,000.00
      Creditor's Name                             Two (2) Bomag BMP8500 Rollers
      Attn: Manager, Agent,                       S/N 101720131278/101720133783)
      Officer
      PO Box 25187
      Raleigh, NC 27611-5187
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      9/7/2021                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      2666
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.5   First Citizens Bank & Trust
0     Co                                          Describe debtor's property that is subject to a lien                 $2,041,969.41       $4,000,000.00
      Creditor's Name                             All Equipment and Identified Vehicles on
      Attn: Manager, Agent,                       Exhibits 1 and 2 Attached
      Officer
      PO Box 25187
      Raleigh, NC 27611-5187
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      2057
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.5   First Citizens Bank & Trust
1     Co                                          Describe debtor's property that is subject to a lien                     $176,785.30      $160,000.00




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            Name

      Creditor's Name                             2021 Dodge RAM 1500 (VIN 5730); 2021
                                                  Dodge RAM 2500 (VIN 3252); 2021 Dodge
                                                  RAM 1500 (VIN 6913); 2021 Dodge Tradesman
      Attn: Manager, Agent,                       2500 (VIN 6020); 2021 Dodge Tradesman 1500
      Officer                                     (VIN 4003); 2021 Dodge Ram 1500 CC (VIN
      PO Box 25187                                7863)
      Raleigh, NC 27611-5187
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      04/29/2021                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      2668
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.5   First Citizens Bank & Trust
2     Co                                          Describe debtor's property that is subject to a lien                     $79,805.26      $141,000.00
      Creditor's Name                             2018 Chevrolet Silverado 1500 (VIN3956);
                                                  2017 Chevrolet Silverado 1500 (VIN3533);
      Attn: Manager, Agent,                       2017 Dodge Ram 4500 (VIN0468); 2018 Dodge
      Officer                                     Ram 4500 (VIN5873); 2016 Dodge Ram 4500
      PO Box 25187                                (VIN7985)
      Raleigh, NC 27611-5187
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      3844
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.5   First Financial Holdings,
3     LLC                                         Describe debtor's property that is subject to a lien                     Unknown        $1,000,000.00
      Creditor's Name                             Four (4) Bell B30E Articulated Dump Trucks
      Attn: Manager, Agent,                       (SN B93A631EP03010102,
      Officer                                     B93A631EH03010188, B93A631EC03010184,
      750 The City Drive S., Ste.                 & B93A631EL03010190)
      300
      Orange, CA 92868
      Creditor's mailing address                  Describe the lien




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Debtor      JSmith Civil, LLC                                                                     Case number (if known)    23-02734-5
            Name

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      1001
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.5   Gregory Poole Equipment
4     Co.                                         Describe debtor's property that is subject to a lien                     Unknown             $0.00
      Creditor's Name                             CATERPILLAR 336 HYD Excavator (SN
      Attn: Manager, Agent,                       YBN10041)
      Officer
      4807 Beryl Road
      Raleigh, NC 27606
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
      priority.                                      Disputed




2.5   Heavy Equipment Leasing
5     of NC                                       Describe debtor's property that is subject to a lien                        $0.00            $0.00
      Creditor's Name                             See UCC Financing Statement 20230047976A
      Attn: Manager, Agent,
      Officer
      101 Preston Road
      Smithfield, NC 27577
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply




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Debtor      JSmith Civil, LLC                                                                     Case number (if known)   23-02734-5
            Name

          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
      priority.                                      Disputed




2.5   Heavy Equipment Leasing
6     of NC                                       Describe debtor's property that is subject to a lien                       $0.00            $0.00
      Creditor's Name                             See UCC Financing Statement 20230047977A
      Attn: Manager, Agent,
      Officer
      101 Preston Road
      Smithfield, NC 27577
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.5   Heavy Equipment Leasing
7     of NC                                       Describe debtor's property that is subject to a lien                       $0.00            $0.00
      Creditor's Name                             See UCC Financing Statement 20230047980G
      Attn: Manager, Agent,
      Officer
      101 Preston Road
      Smithfield, NC 27577
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
      priority.                                      Disputed




2.5   Heavy Equipment Leasing
8     of NC                                       Describe debtor's property that is subject to a lien                       $0.00            $0.00




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         Case 23-02734-5-JNC                        Doc 68 Filed 10/17/23 Entered 10/17/23 21:36:17                                  Page 41 of
                                                                    228
Debtor      JSmith Civil, LLC                                                                     Case number (if known)   23-02734-5
            Name

      Creditor's Name                             See UCC Financing Statement 20230047983K
      Attn: Manager, Agent,
      Officer
      101 Preston Road
      Smithfield, NC 27577
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
      priority.                                      Disputed




2.5   Komatsu Financial Limited
9     Part                                        Describe debtor's property that is subject to a lien                       $0.00            $0.00
      Creditor's Name                             Komatsu D39PXi-24 Crawler Dozer (SN
      Attn: Manager, Agent,                       96851)
      Officer
      8770 West Bryn Mawr Ave
      Ste 100
      Chicago, IL 60631
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.6   Komatsu Financial Limited
0     Part                                        Describe debtor's property that is subject to a lien                       $0.00            $0.00
      Creditor's Name                             Komtasu D61PXi-24 Crawler Dozer (SN
      Attn: Manager, Agent,                       B61346)
      Officer
      8771 West Bryn Mawr Ave
      Ste 100
      Chicago, IL 60631
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known             Yes

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         Case 23-02734-5-JNC                        Doc 68 Filed 10/17/23 Entered 10/17/23 21:36:17                                  Page 42 of
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Debtor      JSmith Civil, LLC                                                                     Case number (if known)   23-02734-5
            Name

                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.6   Komatsu Financial Limited
1     Part                                        Describe debtor's property that is subject to a lien                       $0.00            $0.00
      Creditor's Name                             Komtasu D51PXi-24 Crawler Dozer (SN
      Attn: Manager, Agent,                       B61346)
      Officer
      8772 West Bryn Mawr Ave
      Ste 100
      Chicago, IL 60631
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.6   Komatsu Financial Limited
2     Part                                        Describe debtor's property that is subject to a lien                       $0.00            $0.00
      Creditor's Name                             Komtasu D71PXi-24 Crawler Dozer (SN
      Attn: Manager, Agent,                       70616) & Rear Ripper
      Officer
      8773 West Bryn Mawr Ave
      Ste 100
      Chicago, IL 60631
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply




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Debtor      JSmith Civil, LLC                                                                     Case number (if known)      23-02734-5
            Name

          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.6   Komatsu Financial Limited
3     Part                                        Describe debtor's property that is subject to a lien                           $0.00            $0.00
      Creditor's Name                             Komtasu PC360LCi-11 Hydraulic Excavator
      Attn: Manager, Agent,                       (SN A38653) with 60" Bucket
      Officer
      8774 West Bryn Mawr Ave
      Ste 100
      Chicago, IL 60631
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.6   PNC Equipment Finance,
4     LLC                                         Describe debtor's property that is subject to a lien                     $212,398.21            $0.00
      Creditor's Name                             See attached Exhibits 1 and 2
      Attn: Manager, Agent,
      Officer
      995 Dalton Avenue
      Cincinnati, OH 45203
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.6   PNC Equipment Finance,
5     LLC                                         Describe debtor's property that is subject to a lien                      $27,728.27       $80,000.00




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Debtor      JSmith Civil, LLC                                                                     Case number (if known)     23-02734-5
            Name

      Creditor's Name                             2018 Kenworth W900L (VIN 5067)
      Attn: Manager, Agent,
      Officer
      995 Dalton Avenue
      Cincinnati, OH 45203
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      5211
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.6   PNC Equipment Finance,
6     LLC                                         Describe debtor's property that is subject to a lien                     $22,778.09        $2,500.00
      Creditor's Name                             TopCon Positioning (GPS Grading System)
      Attn: Manager, Agent,
      Officer
      995 Dalton Avenue
      Cincinnati, OH 45203
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      5212
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.6   PNC Equipment Finance,
7     LLC                                         Describe debtor's property that is subject to a lien                      $2,155.24        $2,500.00
      Creditor's Name                             i. Survey Kit HiPer V Rover GD Digital UHF
                                                  with Upgrades (GC5000 Atom GEO Cell N.
                                                  America, Cradle, and Pocket 3D PSWD) (SN
                                                  1122-25748)
      Attn: Manager, Agent,                       ii. Survey Kit HiPer V Rover GD Digital UHF
      Officer                                     with Upgrades (GC5000 Atom GEO Cell N.
      995 Dalton Avenue                           America, Cradle, and
      Cincinnati, OH 45203
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No

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Debtor      JSmith Civil, LLC                                                                     Case number (if known)    23-02734-5
            Name

      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      5214
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.6   PNC Equipment Finance,
8     LLC                                         Describe debtor's property that is subject to a lien                     $5,421.60       $25,000.00
      Creditor's Name                             2018 Bomag Roller 24-33 Walkbehind Pad
      Attn: Manager, Agent,                       Model BMP8500 (SN 101720131911)
      Officer                                     2018 Bomag Roller 24-33 Walkbehind Pad
      995 Dalton Avenue                           Model BMP8500 (SN 10172031930)
      Cincinnati, OH 45203
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      5213
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.6   PNC Equipment Finance,
9     LLC                                         Describe debtor's property that is subject to a lien                     $5,152.23       $40,000.00
      Creditor's Name                             2017 XL110 Hydraulic Detachable Gooseneck
      Attn: Manager, Agent,                       53" OAL Trailer (VIN 6596)
      Officer
      995 Dalton Avenue
      Cincinnati, OH 45203
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      5215
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply




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Debtor      JSmith Civil, LLC                                                                     Case number (if known)     23-02734-5
            Name

          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.7   PNC Equipment Finance,
0     LLC                                         Describe debtor's property that is subject to a lien                      $2,645.15       $20,000.00
      Creditor's Name                             2012 Ford F-350 SD Crew Cab Pickup 4Dr
      Attn: Manager, Agent,                       (VIN8097)
      Officer
      995 Dalton Avenue
      Cincinnati, OH 45203
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      5216
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.7   PNC Equipment Finance,
1     LLC                                         Describe debtor's property that is subject to a lien                     $20,120.46       $90,000.00
      Creditor's Name                             Bell B25E Off Road Truck 25-Ton (S/N
      Attn: Manager, Agent,                       B93A625ET02007290)
      Officer
      995 Dalton Avenue
      Cincinnati, OH 45203
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      5217
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.7   PNC Equipment Finance,
2     LLC                                         Describe debtor's property that is subject to a lien                     $16,064.71       $25,000.00




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Debtor      JSmith Civil, LLC                                                                     Case number (if known)      23-02734-5
            Name

      Creditor's Name                             2020 Chevrolet Silverado (VIN1121)
      Attn: Manager, Agent,
      Officer
      995 Dalton Avenue
      Cincinnati, OH 45203
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      5218
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.7   PNC Equipment Finance,
3     LLC                                         Describe debtor's property that is subject to a lien                     $110,332.46       $75,000.00
      Creditor's Name                             i. 2022 Manitou MLA-6 Articulated Loader
      Attn: Manager, Agent,                       (MMCMMLA6HD00060413)
      Officer                                     ii. 84" Bucket (SN ATTBKT)
      995 Dalton Avenue                           iii. 60" HD Pallet Forks (SN 3003382)
      Cincinnati, OH 45203
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      6423
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.7   Truist Equipment Finance
4     Corp                                        Describe debtor's property that is subject to a lien                     $923,377.97      $473,100.00
      Creditor's Name                             Vehicles & Equipment / See Exhibit 1 and
      Attn: Manager, Agent,                       Exhibit 2 (Security Interest and Lien
      Officer                                     Disputed)
      PO Box 4418
      Atlanta, GA 30302
      Creditor's mailing address                  Describe the lien
                                                  Promissory Note (11/19/21) & Security
                                                  Agreement (11/18/21)
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known             Yes


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Debtor      JSmith Civil, LLC                                                                     Case number (if known)      23-02734-5
            Name

                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.7   Truist Equipment Finance
5     Corp                                        Describe debtor's property that is subject to a lien                     $356,966.07      $255,000.00
      Creditor's Name                             i. 2018 Bell B30E Off Road Truck (SN ****8471)
      Attn: Manager, Agent,                       ii. 2018 John Deere Off Road Truck (SN
      Officer                                     ****5855)
      PO Box 4418
      Atlanta, GA 30302
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.7   Truist Equipment Finance
6     Corp                                        Describe debtor's property that is subject to a lien                     $176,324.82      $120,000.00
      Creditor's Name                             i. Sakai SV544T 84" SF Roller with SD Kit (SN
      Attn: Manager, Agent,                       *****0399)
      Officer                                     ii. Sakai SV544T 84" SF Roller with SD Kit (SN
      PO Box 4418                                 *****0414)
      Atlanta, GA 30302
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



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Debtor      JSmith Civil, LLC                                                                     Case number (if known)      23-02734-5
            Name



2.7
7     Wells Fargo Bank, N.A.                      Describe debtor's property that is subject to a lien                     $106,661.58      $100,000.00
      Creditor's Name                             2023 Vactron Vacuum Trailer, Model No. LP
      Attn: Manager, Agent,                       873SDT (VIN 0208)
      Officer
      800 Walnut Street
      Des Moines, IA 50309
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.7   Wells Fargo Dealer
8     Services                                    Describe debtor's property that is subject to a lien                       $5,833.14       $20,000.00
      Creditor's Name                             2017 Ford 450 Super Duty Truck (VIN 8299)
      Attn: Manager, Agent,
      Officer
      PO Box 17900
      Denver, CO 80217-0900
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.7   Westfield Insurance
9     Company                                     Describe debtor's property that is subject to a lien               $11,594,051.41               $0.00
      Creditor's Name                             Indemnification Agreement - See UCC
      Attn: Manager, Agent,                       Financing Statement
      Officer
      PO Box 5001
      Westfield Center, OH 44251
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No

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Debtor      JSmith Civil, LLC                                                                     Case number (if known)       23-02734-5
            Name

      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
      priority.                                      Disputed




                                                                                                                           $22,956,867.
3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                      55

Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity




Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 34 of 34
          Case 23-02734-5-JNC                       Doc 68 Filed 10/17/23 Entered 10/17/23 21:36:17                                             Page 51 of
                                                                    228
Fill in this information to identify the case:

Debtor name        JSmith Civil, LLC

United States Bankruptcy Court for the:         EASTERN DISTRICT OF NORTH CAROLINA

Case number (if known)           23-02734-5
                                                                                                                                               Check if this is an
                                                                                                                                               amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                              12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.

      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                 Total claim           Priority amount

2.1       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                             Unknown           $0.00
          Antonio Vega Avila                                  Check all that apply.
          3753 Arrington Bridge Rd                               Contingent
          Seven Springs, NC 28578                                Unliquidated
                                                                 Disputed

          Date or dates debt was incurred                     Basis for the claim:


          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                 Yes


2.2       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                             Unknown           $0.00
          Ashley Henderson                                    Check all that apply.
          240 Sambo Road                                         Contingent
          Goldsboro, NC 27530                                    Unliquidated
                                                                 Disputed

          Date or dates debt was incurred                     Basis for the claim:


          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                 Yes




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                                                                                                              56040
         Case 23-02734-5-JNC                       Doc 68 Filed 10/17/23 Entered 10/17/23 21:36:17                                     Page 52 of
                                                                   228
Debtor      JSmith Civil, LLC                                                                        Case number (if known)   23-02734-5
            Name

2.3      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                         Unknown     $0.00
         Christian Acosta                                   Check all that apply.
         4069 County Line Road                                 Contingent
         La Grange, NC 28551                                   Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.4      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         City of Goldsboro                                  Check all that apply.
         Attn: Manager, Agent, Officer                         Contingent
         200 N Center Street                                   Unliquidated
         Goldsboro, NC 27530                                   Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.5      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                         Unknown     $0.00
         Daniel Zepeda Cossio                               Check all that apply.
         131 Bridgers Road                                     Contingent
         Princeton, NC 27569                                   Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.6      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                         Unknown     $0.00
         Efrain Herrera                                     Check all that apply.
         105 Spring Drive                                      Contingent
         Dudley, NC 28333                                      Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 2 of 87
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Debtor      JSmith Civil, LLC                                                                        Case number (if known)   23-02734-5
            Name

2.7      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                         Unknown     $0.00
         Eric Torres                                        Check all that apply.
         9400 Triston Court                                    Contingent
         Kenly, NC 27542                                       Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.8      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                         Unknown     $0.00
         Fredy Valencia Guzman                              Check all that apply.
         439 Old Jason Rd                                      Contingent
         La Grange, NC 28551                                   Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.9      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                         Unknown     $0.00
         Guadalupe Gonzalez-Pineda                          Check all that apply.
         122 Nuggett Drive                                     Contingent
         Dudley, NC 28333                                      Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.10     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Internal Revenue Service                           Check all that apply.
         Attn: Manager, Agent, Officer                         Contingent
         PO Box 7346                                           Unliquidated
         Philadelphia, PA 19101-7346                           Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes




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Debtor      JSmith Civil, LLC                                                                        Case number (if known)   23-02734-5
            Name

2.11     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                         Unknown   $0.00
         Jeremy Smith                                       Check all that apply.
         118 Crosswinds Drive                                  Contingent
         Goldsboro, NC 27530                                   Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.12     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                         Unknown   $0.00
         Jose E. Sanchez                                    Check all that apply.
         203 Big Daddy's Rd                                    Contingent
         Pikeville, NC 27863                                   Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.13     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                         Unknown   $0.00
         Juan Rodriguez Sanchez                             Check all that apply.
         109 Nuggett Drive                                     Contingent
         Dudley, NC 28333                                      Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.14     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                         Unknown   $0.00
         Juan Sandoval Carrasco                             Check all that apply.
         1709 Harrell Street                                   Contingent
         Goldsboro, NC 27530                                   Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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         Case 23-02734-5-JNC                       Doc 68 Filed 10/17/23 Entered 10/17/23 21:36:17                                     Page 55 of
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Debtor      JSmith Civil, LLC                                                                        Case number (if known)   23-02734-5
            Name

2.15     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                         Unknown     $0.00
         Larry C. Parker                                    Check all that apply.
         106 Fort Street                                       Contingent
         Pikeville, NC 27863                                   Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.16     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                         Unknown     $0.00
         Marco Lopez Perez                                  Check all that apply.
         1839 N. McCullen Road                                 Contingent
         Faison, NC 28341                                      Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.17     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                         Unknown     $0.00
         Margarito Maldonado-Morales                        Check all that apply.
         425 Chelsea Drive                                     Contingent
         Snow Hill, NC 28580                                   Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.18     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         NC Department of Revenue                           Check all that apply.
         Office Serv. Div, Bankruptcy Unit                     Contingent
         P.O. Box 1168                                         Unliquidated
         Raleigh, NC 27602-1168                                Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes




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Debtor      JSmith Civil, LLC                                                                        Case number (if known)   23-02734-5
            Name

2.19     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                         Unknown   $0.00
         Orlando Villapando                                 Check all that apply.
         109 Nuggett Drive                                     Contingent
         Dudley, NC 28333                                      Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.20     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                         Unknown   $0.00
         Peggy Person                                       Check all that apply.
         3750 NC Highway 111 N                                 Contingent
         Pikeville, NC 27863                                   Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.21     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                         Unknown   $0.00
         Raul Tolentino Andres                              Check all that apply.
         102 Burl Drive                                        Contingent
         Princeton, NC 27569                                   Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.22     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                         Unknown   $0.00
         Roberto Lopez Avila                                Check all that apply.
         570 Bogue Road                                        Contingent
         Fremont, NC 27830                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                     Page 6 of 87
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Debtor        JSmith Civil, LLC                                                                          Case number (if known)          23-02734-5
              Name

2.23       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                       Unknown    $0.00
           Rodrigo Castaneda-Garcia                             Check all that apply.
           408 Lucky Oak Rd                                        Contingent
           Goldsboro, NC 27530                                     Unliquidated
                                                                   Disputed

           Date or dates debt was incurred                      Basis for the claim:


           Last 4 digits of account number                      Is the claim subject to offset?
           Specify Code subsection of PRIORITY                     No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                   Yes


2.24       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                       Unknown    $0.00
           Servando Castaneda-Herrera                           Check all that apply.
           2546 Indian Springs Rd                                  Contingent
           Dudley, NC 28333                                        Unliquidated
                                                                   Disputed

           Date or dates debt was incurred                      Basis for the claim:


           Last 4 digits of account number                      Is the claim subject to offset?
           Specify Code subsection of PRIORITY                     No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                   Yes


2.25       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                          $0.00   $0.00
           Wayne County Tax Collector                           Check all that apply.
           Attn: Manager, Agent, Officer                           Contingent
           224 E. Walnut Street                                    Unliquidated
           Goldsboro, NC 27530                                     Disputed

           Date or dates debt was incurred                      Basis for the claim:


           Last 4 digits of account number                      Is the claim subject to offset?
           Specify Code subsection of PRIORITY                     No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                   Yes



Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

3.1       Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.                  $892.50
          1st & Goal Hauling Inc.                                                 Contingent
          Attn: Manager, Agent, Officer                                           Unliquidated
          1735 Chatham Ridge Cir Unit 307
                                                                                  Disputed
          Charlotte, NC 28273
                                                                              Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                     Is the claim subject to offset?     No       Yes

3.2       Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.                $1,098.91
          64 Portables Inc.                                                       Contingent
          Attn: Manager, Agent, Officer                                           Unliquidated
          280 Cunningham Brickyard Rd
                                                                                  Disputed
          Lexington, NC 27292
                                                                              Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                     Is the claim subject to offset?     No       Yes



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Debtor      JSmith Civil, LLC                                                               Case number (if known)            23-02734-5
            Name

3.3      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         A & M Construction Services, Inc.                            Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 4277
                                                                      Disputed
         Asheboro, NC 27204
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.4      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $200.75
         A&B Portable Toilets                                         Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         2544 Alamance Church Road
                                                                      Disputed
         Greensboro, NC 27406
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         A-1 Sandrock Inc.                                            Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 77077
                                                                      Disputed
         Greensboro, NC 27417-7077
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $60,274.52
         AA Grading Construction LLC                                  Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         1930 Gurganus Rd
                                                                      Disputed
         Snow Hill, NC 28580
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         AAA Paving of Winston-Salem                                  Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         120 Peddycord Park Drive
                                                                      Disputed
         Kernersville, NC 27284
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $69.76
         Adams Products                                               Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 281479
                                                                      Disputed
         Atlanta, GA 30384-1479
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Advance Auto Parts                                           Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 742063
                                                                      Disputed
         Atlanta, GA 30374-2063
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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Debtor      JSmith Civil, LLC                                                               Case number (if known)            23-02734-5
            Name

3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Advance Concrete LLC                                         Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         4500 Waterfield Drive
                                                                      Disputed
         Garner, NC 27529
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Advanced Portable Toilets                                    Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         321 Jeffreys Road
                                                                      Disputed
         Rocky Mount, NC 27804
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $150.00
         Aero Photo                                                   Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         100 Cessna Lane
                                                                      Disputed
         Spicewood, TX 78669
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $412.50
         Aguila's Masonry Services                                    Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 837
                                                                      Disputed
         Siler City, NC 27344
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,631.31
         Ahern Rentals                                                Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 271390
                                                                      Disputed
         Las Vegas, NV 89127-1390
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Airflow Products Company, Inc.                               Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         100 Oak Tree Drive
                                                                      Disputed
         Selma, NC 27576
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,303.40
         Airgas USA, LLC                                              Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 734672
                                                                      Disputed
         Dallas, TX 75373-4672
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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                                                               228
Debtor      JSmith Civil, LLC                                                               Case number (if known)            23-02734-5
            Name

3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,706.03
         Alcrete Industries LLC                                       Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         620 Mildred Thomas Court
                                                                      Disputed
         Jacksonville, NC 28540
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $55,594.00
         All Carolina Crane Rental                                    Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         6108 Triangle Drive
                                                                      Disputed
         Raleigh, NC 27617
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Alliance Hose & Tube Works Inc.                              Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         6212-A West Gate Rd
                                                                      Disputed
         Raleigh, NC 27617
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.20     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,007.10
         Allied Fence Company of Raleigh                              Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         5840 Lease Lane
                                                                      Disputed
         Raleigh, NC 27617
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.21     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $85.80
         Allied Trailers - Raleigh                                    Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 427
                                                                      Disputed
         Savage, MD 20763
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.22     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Ally Bank                                                    Contingent
         Attn: Payment Processing Center                              Unliquidated
         PO Box 9001951
                                                                      Disputed
         Louisville, KY 40290-1951
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.23     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Alonso's Construction Company                                Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         536 Madison Ave
                                                                      Disputed
         Princeton, NC 27569
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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3.24     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         ALP Industries, Inc.                                         Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 781712
                                                                      Disputed
         Philadelphia, PA 19178-1712
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.25     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $789.00
         ALS of North Carolina, LLC                                   Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         502 Klumac Road
                                                                      Disputed
         Salisbury, NC 28144
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.26     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         American Materials Company, LLC                              Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 745852
                                                                      Disputed
         Atlanta, GA 30374-5258
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.27     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $69,116.50
         Amezquita Construction LLC                                   Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         201 Meadow Lane                                              Disputed
         Clayton, NC 27520
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.28     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Arborex Tree Services                                        Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         4605 Windy Know Road
                                                                      Disputed
         Raleigh, NC 27616
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.29     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $954.15
         Ascendum Machinery Inc.                                      Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         3561 Jones Sausage Road
                                                                      Disputed
         Garner, NC 27529
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.30     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,027.85
         Asphalt Emulsion Industries, LLC                             Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         3617 Nine Mile Road
                                                                      Disputed
         Richmond, VA 23223
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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3.31     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Asphalt Services on Demand Inc                               Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         959 Short Journey Road
                                                                      Disputed
         Smithfield, NC 27577
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.32     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Atlantic Surveying PA                                        Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         111 S. Queen Street
                                                                      Disputed
         Kinston, NC 28501
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.33     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Auto Value Parts Stores                                      Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 30170
                                                                      Disputed
         Rochester, NY 14603-3170
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.34     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         B&K Grading and Paving, LLC                                  Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         2929 Quality Drive
                                                                      Disputed
         Petersburg, VA 23805
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.35     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Balfour Beatty Construction                                  Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         406 S. McDowell Street, Ste. 200
                                                                      Disputed
         Raleigh, NC 27601
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.36     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $10,384.74
         Bank of America                                              Contingent
         Attn: Equipment Finance                                      Unliquidated
         PO Box 7167
                                                                      Disputed
         Pasadena, CA 91109-7167
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.37     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $25,015.90
         Bank of the West                                             Contingent
         Attn: Equipment Finance                                      Unliquidated
         PO Box 7167
                                                                      Disputed
         Pasadena, CA 91109-7167
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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3.38     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Barbco Inc.                                                  Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 30189
                                                                      Disputed
         East Canton, OH 44730
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.39     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $62,380.15
         Barnes Hauling Company, LLC                                  Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         3640 Eagle Farm Drive N
                                                                      Disputed
         Wilson, NC 27896
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.40     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Barnes Transportation Services Inc.                          Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         2309 Whitley Road
                                                                      Disputed
         Wilson, NC 27896
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.41     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Barnhill Contracting Company                                 Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         800 Tiffany Blvd, Ste. 200
                                                                      Disputed
         Rocky Mount, NC 27804
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.42     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Batteries of NC, LLC                                         Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 1969
                                                                      Disputed
         Lillington, NC 27546
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.43     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $12,905.00
         Bee Legend Grading and Construction                          Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         195 Eatmon Rd
                                                                      Disputed
         Zebulon, NC 27597
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.44     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Benchmark Tool & Supply, Inc.                                Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         2720 Discovery Drive                                         Disputed
         Raleigh, NC 27616
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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3.45     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,116.50
         Best Logistics Group                                         Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         829 Graves Street
                                                                      Disputed
         Kernersville, NC 27284
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.46     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $4,550.14
         Black's Tire Service                                         Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 919
                                                                      Disputed
         Whiteville, NC 28472
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.47     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Blackhawk Network, Inc.                                      Contingent
         c/o Wells Fargo                                              Unliquidated
         420 Montgomery Street
                                                                      Disputed
         San Francisco, CA 94104
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.48     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Blackmon Companies                                           Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         724 S. 3rd Street
                                                                      Disputed
         Smithfield, NC 27577
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.49     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,053.00
         Blackstock Consulting, Inc.                                  Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         2228 Colony Road
                                                                      Disputed
         Charlotte, NC 28209
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.50     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $547.50
         Blue Stream Environmental LLC                                Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         2591 King William Drive
                                                                      Disputed
         Kernersville, NC 27284
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.51     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Booth Trucking                                               Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         146 Slate Top Road
                                                                      Disputed
         Clayton, NC 27520
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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3.52     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Borco Inc.                                                   Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         216 Estuary Court
                                                                      Disputed
         Winnabow, NC 28479
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.53     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Branch Civil, Inc.                                           Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 40004
                                                                      Disputed
         Roanoke, VA 24022
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.54     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $559,484.42
         Bridgepoint Construction Services                            Contingent
         Attn: Manager, Agent, Officer
                                                                      Unliquidated
         600 N. Duke Street
         Durham, NC 27701                                             Disputed

         Date(s) debt was incurred                                 Basis for the claim:
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.55     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $559,484.42
         BridgePoint General Contracting                              Contingent
         Attn: Manager, Agent, Officer
                                                                      Unliquidated
         600 N. Duke Street
         Durham, NC 27701                                             Disputed

         Date(s) debt was incurred                                 Basis for the claim:
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.56     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $204.26
         Brightspeed                                                  Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 6102
                                                                      Disputed
         Carol Stream, IL 60197-6102
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.57     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Brodie Contractors                                           Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         3901 Computer Drive
                                                                      Disputed
         Raleigh, NC 27609
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.58     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Bruce Spears                                                 Contingent
         7605 Jenks Road                                              Unliquidated
         Apex, NC 27523
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.59     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $189,042.69
         Bullington Construction Inc                                  Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         164 American Drive
                                                                      Disputed
         Oakboro, NC 28129
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.60     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $675.00
         Burtch Trucking Company                                      Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         605 Indian Camp Rd
                                                                      Disputed
         Smithfield, NC 27577
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.61     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Busbee Concrete Services Inc.                                Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 106
                                                                      Disputed
         Benson, NC 27504
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.62     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         C & R Tree Service, Inc.                                     Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         522 North 3rd Street
                                                                      Disputed
         Saint Pauls, NC 28384
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.63     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         C&B Piping Inc                                               Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 942
                                                                      Disputed
         Leeds, AL 35094
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.64     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         C&C Industrial Inc.                                          Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         7991 Beasley Road
                                                                      Disputed
         Whitakers, NC 27891
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.65     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Caliber Builders, LLC                                        Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         3924 Browning Place
                                                                      Disputed
         Raleigh, NC 27609
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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3.66     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $7,864.67
         Campbell Oil Company, Inc.                                   Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO 637
                                                                      Disputed
         Elizabethtown, NC 28337
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.67     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $790.14
         Canady's Heavy Truck Parts, Inc.                             Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         5779 Hwy 70 West
                                                                      Disputed
         La Grange, NC 28551
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.68     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $8,837.13
         Cape Fear Precast, LLC                                       Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 98
                                                                      Disputed
         Jacksonville, NC 28541
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.69     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $187,350.26
         Capital City Curb & Gutter, LLC                              Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         2607 Leighton Ridge Drive
                                                                      Disputed
         Wake Forest, NC 27587
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.70     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Carolina Cat                                                 Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 75054
                                                                      Disputed
         Charlotte, NC 28275-0054
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.71     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,874.30
         Carolina Containers & Transport                              Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         3608 S. Wilmington Street
                                                                      Disputed
         Raleigh, NC 27603
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.72     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,980.10
         Carolina Drilling Inc.                                       Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         326 Railroad Street
                                                                      Disputed
         Mocksville, NC 27028
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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3.73     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $52.50
         Carolina Environmental Contracting                           Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 1905
                                                                      Disputed
         Mount Airy, NC 27030
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.74     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Carolina Form & Shoring Supply                               Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 155
                                                                      Disputed
         Eola, IL 60519
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.75     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $484.50
         Carolina Ice Co., Inc.                                       Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         2466 Old Poole Road
                                                                      Disputed
         Kinston, NC 28504
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.76     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Carolina Multifamily Construction                            Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         403 Corporate Center Dr Ste 201
                                                                      Disputed
         Stockbridge, GA 30281
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.77     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Carolina Pavement Technology, Inc.                           Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         930 West Chatham Street
                                                                      Disputed
         Cary, NC 27511
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.78     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $18,736.73
         Carolina Sunrock LLC                                         Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         200 Horizon Drive, Ste. 100
                                                                      Disputed
         Raleigh, NC 27615
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.79     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $66.79
         Carquest Auto Parts                                          Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 404875
                                                                      Disputed
         Atlanta, GA 30384-4875
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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Debtor      JSmith Civil, LLC                                                               Case number (if known)            23-02734-5
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3.80     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $89,979.56
         Cat Financial Services                                       Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 730681
                                                                      Disputed
         Dallas, TX 75373
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.81     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $587.20
         CCS                                                          Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         5428 NC Hwy 96 W
                                                                      Disputed
         Youngsville, NC 27596
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.82     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,428.13
         Central Carolina Seeding Inc.                                Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         7255 US Hwy 64E
                                                                      Disputed
         Lexington, NC 27292
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.83     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         CenturyLink                                                  Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 2348
                                                                      Disputed
         Seattle, WA 98111-2348
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.84     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Certified Concrete Construction Inc                          Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 91298
                                                                      Disputed
         Raleigh, NC 27675
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.85     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Certified Laboratories Division                              Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         23261 Network Place
                                                                      Disputed
         Chicago, IL 60673
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.86     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $753.17
         Chandler Concrete Co., Inc.                                  Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 131
                                                                      Disputed
         Burlington, NC 27216
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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Debtor      JSmith Civil, LLC                                                               Case number (if known)            23-02734-5
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3.87     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $38,740.85
         Chase Ink                                                    Contingent
         Card Member Services                                         Unliquidated
         PO Box 1423
                                                                      Disputed
         Charlotte, NC 28201-1423
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.88     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Chase Sapphire                                               Contingent
         Card Member Services                                         Unliquidated
         PO Box 1423
                                                                      Disputed
         Charlotte, NC 28201-1423
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.89     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,379.46
         Childers Concrete Company                                    Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         200 Wise Avenue
                                                                      Disputed
         High Point, NC 27260
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.90     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $76,944.86
         CIT                                                          Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         21146 Network Place
                                                                      Disputed
         Chicago, IL 60673-1211
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.91     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         CITI, LLC                                                    Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 33758
                                                                      Disputed
         Charlotte, NC 28233
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.92     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,446.68
         Citizens One Auto Finance                                    Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 42113
                                                                      Disputed
         Providence, RI 02940-2113
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.93     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,322.31
         City of Durham                                               Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 30041                                                 Disputed
         Durham, NC 27702-3041
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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3.94     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         City of Fayetteville                                         Contingent
         Safelite Program                                             Unliquidated
         PO Box 742503
                                                                      Disputed
         Cincinnati, OH 45274-2503
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.95     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         City of Greenville                                           Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         200 West Fifth Street
                                                                      Disputed
         Greenville, NC 27858
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.96     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         City of High Point                                           Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 230
                                                                      Disputed
         High Point, NC 27261
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.97     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         City of Jacksonville                                         Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 128
                                                                      Disputed
         Jacksonville, NC 28541
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.98     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $75.50
         City of Raleigh                                              Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 71081                                                 Disputed
         Charlotte, NC 28272-1081
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.99     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         City of Thomasville                                          Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         10 Salem Street
                                                                      Disputed
         Thomasville, NC 27360
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.100    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         City of Winston-Salem                                        Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 2511
                                                                      Disputed
         Winston Salem, NC 27102
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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3.101    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Clancy & Theys Construction Co                               Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         516 West Cabarrus Street
                                                                      Disputed
         Raleigh, NC 27603
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.102    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $406.34
         Clark Pavement Marking, Inc.                                 Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 1029
                                                                      Disputed
         Apex, NC 27502
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.103    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $5,752.37
         Classic Chrysler Dodge Jeep Ram                              Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         306 N. Oak Forest Road
                                                                      Disputed
         Goldsboro, NC 27534
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.104    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $13,339.79
         Clear-Con, LLC                                               Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         5423 US 70 Bus W
                                                                      Disputed
         Clayton, NC 27520
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.105    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $24,529.18
         ClearElectric                                                Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 2676
                                                                      Disputed
         Hickory, NC 28603
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.106    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $34,678.98
         Clearwater, Inc                                              Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 1469
                                                                      Disputed
         Hickory, NC 28603
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.107    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,825.83
         Coastal Carolina Pumping Inc.                                Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 7767
                                                                      Disputed
         Charlotte, NC 28241
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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3.108    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $4,875.00
         Coastal Cleaning & Grading Inc                               Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 412
                                                                      Disputed
         Pantego, NC 27860
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.109    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Coastal Lasers Inc.                                          Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         1406-1 Castle Hayne Road
                                                                      Disputed
         Wilmington, NC 28401
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.110    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Colonial Oil Industries Inc.                                 Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 744934
                                                                      Disputed
         Atlanta, GA 30374-4934
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.111    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Commercial Ready Mix Products Inc                            Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 189
                                                                      Disputed
         Winton, NC 27986
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.112    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Concrete Pipe & Precast                                      Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         210 Stone Spring Road
                                                                      Disputed
         Harrisonburg, VA 22801
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.113    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $859.08
         Concrete Supply Co., LLC                                     Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 890568
                                                                      Disputed
         Charlotte, NC 28289-0568
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.114    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Conequip Parts & Equipment                                   Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         2712 West Avenue
                                                                      Disputed
         Newfane, NY 14108
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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3.115    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,145.00
         Conner Gwyn Schenck PLLC                                     Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         3141 John Humphries Wynd Ste 100
                                                                      Disputed
         Raleigh, NC 27612
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.116    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $57,035.77
         Consolidated Pipe & Supply Co., Inc                          Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 2153
                                                                      Disputed
         Birmingham, AL 35287-3147
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.117    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,788.75
         Construction Software Solutions                              Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         4195 Douglas Ave Unit 570
                                                                      Disputed
         Sedalia, CO 80135
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.118    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Cooper Electrical Constuction Co                             Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 20282
                                                                      Disputed
         Greensboro, NC 27420-0282
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.119    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $140,242.16
         Copperhead Cove Marine, Inc.                                 Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         2971 Vicky Drive
                                                                      Disputed
         Dillon, SC 29536
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.120    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $280.79
         CopyPro                                                      Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         3103 Landmark Street
                                                                      Disputed
         Greenville, NC 27834
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.121    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,701.31
         Cor Supply and Rental                                        Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         220 Airport Road
                                                                      Disputed
         Greenville, NC 27834
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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3.122    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,390.80
         Core & Main, LP                                              Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 28330
                                                                      Disputed
         Saint Louis, MO 63146
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.123    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $7,516.25
         County of Brunswick                                          Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 249
                                                                      Disputed
         Bolivia, NC 28422
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.124    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         County of Montgomery                                         Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         102 East Spring Street
                                                                      Disputed
         Troy, NC 27371
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.125    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Court One                                                    Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         59 Craftsman Drive
                                                                      Disputed
         Youngsville, NC 27596
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.126    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,906.36
         Covenant Crew Construction, LLC                              Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         245 Beckwith Ave
                                                                      Disputed
         Clayton, NC 27527
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.127    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Cozart Company, Inc.                                         Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         7260 Schooner Road
                                                                      Disputed
         Bailey, NC 27807
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.128    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Creative Contrete Construction                               Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         608 White Oak Pond Rd
                                                                      Disputed
         Apex, NC 27523
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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3.129    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Crowder Trucking                                             Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         6776 St. Julian Way
                                                                      Disputed
         Fayetteville, NC 28314
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.130    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $127.50
         Crown Screening                                              Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 10748
                                                                      Disputed
         Goldsboro, NC 27532
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.131    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $23,785.64
         Cruz Brothers Concrete, Inc.                                 Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         1572 Payne Road, Lot 75
                                                                      Disputed
         Graham, NC 27253
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.132    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,850.00
         CS Tree Services, Inc.                                       Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         1612 Burgess Hill Court
                                                                      Disputed
         Apex, NC 27539
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.133    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         CSC Awnings, Inc                                             Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         3950 N. Liberty Street
                                                                      Disputed
         Winston Salem, NC 27105
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.134    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         CSX Transportation, Inc.                                     Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         500 Water Street (C-115)
                                                                      Disputed
         Jacksonville, FL 32202
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.135    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $0.00
         Cumberland County Tax Collector                              Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         117 Dick Street, Rm 530                                      Disputed
         Fayetteville, NC 28301
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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Debtor      JSmith Civil, LLC                                                               Case number (if known)            23-02734-5
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3.136    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Curtin Co                                                    Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         11900 Goodrich Drive
                                                                      Disputed
         Charlotte, NC 28273
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.137    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         D&A Lincoln's Trucking                                       Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 48416
                                                                      Disputed
         Cumberland, NC 28331
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.138    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         D&J Sand and Gravel Inc                                      Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         226 Old Grantham Road
                                                                      Disputed
         Goldsboro, NC 27530
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.139    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $30,960.00
         Daigh Company, Inc.                                          Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         84 Buford Dam Road
                                                                      Disputed
         Cumming, GA 30040
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.140    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $11,447.70
         Datagroup Technologies, Inc.                                 Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         100 Fox Haven Drive
                                                                      Disputed
         Greenville, NC 27858
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.141    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $559,484.42
         David McConnell White                                        Contingent
         1520 Crenshaw Point
                                                                      Unliquidated
         Wake Forest, NC 27587
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number                           Basis for the claim:

                                                                   Is the claim subject to offset?     No       Yes

3.142    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Davidson and Jones Construction                              Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         1207 Front Street, Ste. 200
                                                                      Disputed
         Raleigh, NC 27609
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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3.143    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,234.00
         Dean's Inc.                                                  Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         3200 Northside Drive
                                                                      Disputed
         Raleigh, NC 27615
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.144    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,650.00
         Dean's Wrecker Service, Inc.                                 Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         6901 Old Wake Forest Road
                                                                      Disputed
         Raleigh, NC 27616
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.145    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         DeLage Landen Financial                                      Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 41602
                                                                      Disputed
         Philadelphia, PA 19101-1602
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.146    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Dell Business Credit                                         Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 5275
                                                                      Disputed
         Carol Stream, IL 60197-5275
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.147    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Delta Contracting, Inc.                                      Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         580 Trollingwood Road
                                                                      Disputed
         Haw River, NC 27258
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.148    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $41,415.00
         Denton Contracting                                           Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         2916 Nahunta Rd
                                                                      Disputed
         Pikeville, NC 27863
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.149    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $32,202.90
         Digiacomo Land Surveying PLLC                                Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         4845 Frankie Road
                                                                      Disputed
         Fuquay Varina, NC 27526
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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3.150    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Dillard's Tree Service LLC                                   Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         6862 Brookbank Rad
                                                                      Disputed
         Summerfield, NC 27358
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.151    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,305.74
         Dillon Supply Co                                             Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 896595
                                                                      Disputed
         Charlotte, NC 28289-6595
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.152    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,656.68
         Directional Services, Inc.                                   Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 385
                                                                      Disputed
         Hope Mills, NC 28348
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.153    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $501.15
         Dixon Paving and Milling, Inc.                               Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 598
                                                                      Disputed
         Zebulon, NC 27597
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.154    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $835.00
         Double R Vending Inc.                                        Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         2624 Hamlin Road
                                                                      Disputed
         Durham, NC 27704
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.155    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Draper Aden Associates                                       Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         1030 Wilmer Ave
                                                                      Disputed
         Richmond, VA 23227
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.156    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Driven Contractors                                           Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         701 W. Dr. Martin Luther King Jr Dr
                                                                      Disputed
         Maxton, NC 28364
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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3.157    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Duke Realty                                                  Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         8001 T W Alexander Drive
                                                                      Disputed
         Raleigh, NC 27617
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.158    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $4,270.29
         Dun-Right Services Inc.                                      Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         1516 West Palmetto Street
                                                                      Disputed
         Florence, SC 29501
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.159    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,232.29
         DWB Speed & Custom, LLC                                      Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         1176 Gibson Branch Road
                                                                      Disputed
         Maysville, NC 28555
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.160    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $21,075.00
         E R Lewis Construction Co Inc.                               Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 565
                                                                      Disputed
         Greenville, NC 27835
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.161    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $25,064.00
         E S Chachi Concrete, LLC                                     Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         4423 Pine Need Lane
                                                                      Disputed
         Sophia, NC 27350
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.162    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $800.00
         E. Zurdo Trucking, Inc.                                      Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         302 Indian Trail
                                                                      Disputed
         Wendell, NC 27591
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.163    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $7,114.11
         Eagle Rock 50, LLC                                           Contingent
         2nd Floor 21 York Place                                      Unliquidated
         2900 Highwoods Blvd
                                                                      Disputed
         Raleigh, NC 27604
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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3.164    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $9,578.82
         Eagle Rock Concrete LLC                                      Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         8311 Bandford Way Ste. 007
                                                                      Disputed
         Raleigh, NC 27615
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.165    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Earthtec of NC Inc.                                          Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 130
                                                                      Disputed
         Sanford, NC 27331
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.166    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $94,488.00
         East Coast Drilling & Blasting Inc.                          Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         481 Airport Rd
                                                                      Disputed
         Louisburg, NC 27549
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.167    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $346.94
         Eastern Access & Security LLC                                Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         5488 Gilbert School Rd
                                                                      Disputed
         Grifton, NC 28530
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.168    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,794.68
         Eastern Earthscapes & Construction                           Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         3109 NC Hwy 222 E
                                                                      Disputed
         Stantonsburg, NC 27883
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.169    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $194,072.00
         Eastern NC Underground Inc                                   Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         96 Red Angus Drive
                                                                      Disputed
         Smithfield, NC 27577
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.170    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $5,139.60
         ECLS Global Inc.                                             Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 1029                                                  Disputed
         Coats, NC 27521
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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3.171    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,678.65
         EcoTurf Inc                                                  Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 91505
                                                                      Disputed
         Raleigh, NC 27675
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.172    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Edwards Inc.                                                 Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         3530 US 421 North
                                                                      Disputed
         Wilmington, NC 28401
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.173    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         EJ USA, Inc.                                                 Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 644873
                                                                      Disputed
         Pittsburgh, PA 15264-4873
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.174    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $62,814.45
         Electrical Contracting Svcs of NC                            Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         7630 US Hwy 117 N
                                                                      Disputed
         Fremont, NC 27830
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.175    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $40,452.50
         Ellington Contractors Inc.                                   Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         4617 Zebulon Road
                                                                      Disputed
         Zebulon, NC 27597
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.176    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Ellington Digital Forensics, LLC                             Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 1202
                                                                      Disputed
         Wake Forest, NC 27587
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.177    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $510.75
         Enhanced Protective Industrial Coat                          Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 38338
                                                                      Disputed
         Greensboro, NC 27438
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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3.178    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Environmental Conservation Lab                               Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         10775 Central Port Drive
                                                                      Disputed
         Orlando, FL 32824
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.179    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         EPC Material Placement LLC                                   Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         1000 Duncan Farm Rd
                                                                      Disputed
         Siler City, NC 27344
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.180    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $9,339.00
         EquipmentWatch                                               Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         24653 Network Place
                                                                      Disputed
         Chicago, IL 60673-1246
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.181    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $27,092.60
         Erosion Control Solutions LLC                                Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         10340 Globe Road
                                                                      Disputed
         Morrisville, NC 27560
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.182    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $719.50
         Erosion Supply Company                                       Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 125
                                                                      Disputed
         Jensen Beach, FL 34958
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.183    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Etowah Explosives LLC                                        Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 3081
                                                                      Disputed
         Cartersville, GA 30120
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.184    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,484.00
         Evelyn Baysden Trucking Inc.                                 Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 799
                                                                      Disputed
         Gloucester, VA 23061
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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3.185    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Evoqua Water Technologies LLC                                Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         2650 Tallevast Rd
                                                                      Disputed
         Sarasota, FL 34243
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.186    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,191.76
         Excel Concrete Cutting Inc.                                  Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         8801 Durant Nixon Road
                                                                      Disputed
         Linden, NC 28356
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.187    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Excel Hose & Hydraulics                                      Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 848
                                                                      Disputed
         Farmville, VA 23901
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.188    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Extra Duty Solutions                                         Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         1 Waterview Drive Ste 101
                                                                      Disputed
         Shelton, CT 06484
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.189    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Extra Space Management Inc.                                  Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         2795 E. Cottonwood Pkwy #400
                                                                      Disputed
         Salt Lake City, UT 84121
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.190    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         F and S Land Management, LLC                                 Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         439 Eva James Road
                                                                      Disputed
         Warsaw, NC 28398
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.191    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         F&S Grading Company, LLC                                     Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         439 Eva James Road
                                                                      Disputed
         Warsaw, NC 28398
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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3.192    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Faidley Consulting and Investments                           Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         920 NW 132 Avenue
                                                                      Disputed
         Sunrise, FL 33325
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.193    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Falcon Engineering, Inc.                                     Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 4309
                                                                      Disputed
         Cary, NC 27519
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.194    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,324.00
         FastMed Urgent Care                                          Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         935 Shotwell Rd., Ste. 108
                                                                      Disputed
         Clayton, NC 27520-5598
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.195    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Faulconer Construction Co                                    Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         2496 Old Ivy Road
                                                                      Disputed
         Charlottesville, VA 22903
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.196    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Fayetteville PWC                                             Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         955 Old Wilmington Rd
                                                                      Disputed
         Fayetteville, NC 28302
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.197    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $7,079.25
         FEI                                                          Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 8774
                                                                      Disputed
         Greensboro, NC 27419
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.198    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $128,183.21
         Ferguson Enterprises                                         Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 100289
                                                                      Disputed
         Atlanta, GA 30384-0286
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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3.199    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $876.09
         First Citizens Bank                                          Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         Mail Code CLN82
                                                                      Disputed
         Raleigh, NC 27603
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.200    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $131,265.03
         First Citizens Bank                                          Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 63068
                                                                      Disputed
         Charlotte, NC 28263-3068
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.201    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,411.93
         First Citizens Bank & Trust Co                               Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 25187
                                                                      Disputed
         Raleigh, NC 27611-5187
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.202    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         First Citizens Credit Card                                   Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 63001
                                                                      Disputed
         Charlotte, NC 28263-3001
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.203    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $9,632.55
         First Horizon                                                Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         1 Corporate Drive, Ste. 360
                                                                      Disputed
         Lake Zurich, IL 60047-8945
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.204    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Fitzgerald Truck Parts                                       Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         1225 Livingston Hwy
                                                                      Disputed
         Byrdstown, TN 38549
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.205    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $12,151.50
         Fogleman Landfill                                            Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         4005 Intermere Road
                                                                      Disputed
         Durham, NC 27704
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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3.206    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $19,274.86
         Ford Companies, Inc.                                         Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         35 Syphrona Circle
                                                                      Disputed
         Clayton, NC 27527
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.207    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $40,586.85
         Forever Clean Portable Toilets, Inc                          Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         116 West Academy Street
                                                                      Disputed
         Fuquay Varina, NC 27526
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.208    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $27,121.61
         Fortiline, Inc.                                              Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 744053
                                                                      Disputed
         Atlanta, GA 30384-4053
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.209    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Fourth Elm Construction LLC                                  Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         408 E. Mountain Street
                                                                      Disputed
         Kernersville, NC 27824
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.210    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $21,850.00
         Fred Adams Paving Co., Inc.                                  Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 227
                                                                      Disputed
         Morrisville, NC 27560
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.211    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Freeman Concrete Co Inc                                      Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 402
                                                                      Disputed
         Rocky Point, NC 28457
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.212    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $584.00
         Frye Fence Co., Inc.                                         Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         3221 Durham Drive, Ste. 115
                                                                      Disputed
         Raleigh, NC 27603
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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3.213    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $155,154.00
         Fulcher Electric of Fayetteville                             Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 2799
                                                                      Disputed
         Fayetteville, NC 28302
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.214    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $5,582.24
         G Civil Erosion Control LLC                                  Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         703 Anson Street
                                                                      Disputed
         Wilson, NC 27893
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.215    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $27,423.45
         Gaines Oil Company                                           Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 421                                                   Disputed
         Goldston, NC 27252
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.216    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Garcia's Masonry                                             Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         156 W. Shaw Mill Road
                                                                      Disputed
         Saint Pauls, NC 28384
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.217    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Garley Rebar, LLC                                            Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 836
                                                                      Disputed
         Smithfield, NC 27577
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.218    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $25,683.77
         Garris Grading & Paving, Inc.                                Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         5950 Gay Road
                                                                      Disputed
         Farmville, NC 27828
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.219    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $5,154.10
         Garrison Enterprises, Inc.                                   Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         211 West Elmer Road
                                                                      Disputed
         Vineland, NJ 08360
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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3.220    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Gaskins Design Group Inc.                                    Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         420 W. Hanrahan Road
                                                                      Disputed
         Grifton, NC 28530
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.221    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         GATS Investments, LLC                                        Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         135 Buckthorn Court
                                                                      Disputed
         Mount Gilead, NC 27306
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.222    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Geneva Capital                                               Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         1311 Broadway Street
                                                                      Disputed
         Alexandria, MN 56308
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.223    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $18,527.10
         Geolnnovation, PC                                            Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         402 Jewell Point
                                                                      Disputed
         Wilmington, NC 28411
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.224    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,863.87
         George's Body Shop                                           Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         175 Claridge Nursery Road                                    Disputed
         Goldsboro, NC 27530
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.225    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $836.00
         Geotechnics Inc.                                             Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         544 Braddock Ave
                                                                      Disputed
         East Pittsburgh, PA 15112
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.226    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $4,079.35
         GETSCo, Inc.                                                 Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 159
                                                                      Disputed
         Middlesex, NC 27557
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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3.227    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Global Crane Services                                        Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 18624
                                                                      Disputed
         Greensboro, NC 27419
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.228    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Global Industrial                                            Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         29833 Network Place
                                                                      Disputed
         Chicago, IL 60673-1298
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.229    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,090.00
         GM Financial                                                 Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 78143
                                                                      Disputed
         Phoenix, AZ 85062-8143
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.230    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $85.00
         Gomez & Son's Construction Inc.                              Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         147 Meghan Circle
                                                                      Disputed
         Selma, NC 27576
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.231    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $204,825.50
         Gomez & Sons Construction, LLC                               Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         375 Madison Avenue
                                                                      Disputed
         Princeton, NC 27569
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.232    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Gon & Clark Group, LLC                                       Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         29 Reilly Court
                                                                      Disputed
         Metuchen, NJ 08840
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.233    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Goodall Brazier Ltd.                                         Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         Leeds UK LS1 4BN
                                                                      Disputed
         ENGLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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3.234    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Goshen Medical Center Inc                                    Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 187
                                                                      Disputed
         Faison, NC 28341-0187
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.235    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         GPAC, LLC                                                    Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         116 W. 69 Street Ste 200
                                                                      Disputed
         Sioux Falls, SD 57108
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.236    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Grahams Construction Inc.                                    Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         27278 Andrew Jackson Hwy E, Ste. D
                                                                      Disputed
         Delco, NC 28436
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.237    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $7,986.42
         GreatAmerica Financial Services                              Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 660831
                                                                      Disputed
         Dallas, TX 75266-0831
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.238    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $15,982.30
         Green Resource LLC                                           Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 429
                                                                      Disputed
         Colfax, NC 27235
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.239    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Greenville Utilities Commission                              Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 1432
                                                                      Disputed
         Charlotte, NC 28201-1432
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.240    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Gregory Poole Equipment Co.                                  Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 60457
                                                                      Disputed
         Charlotte, NC 28260
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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Debtor      JSmith Civil, LLC                                                               Case number (if known)            23-02734-5
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3.241    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Griffeth Auto Glass Surfside Inc.                            Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         203 Cilmar Court
                                                                      Disputed
         Hampstead, NC 28443
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.242    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $75,087.50
         Gulley's Backhoe Service LLP                                 Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         108 Rossell Park Circle
                                                                      Disputed
         Garner, NC 27529
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.243    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $29,650.01
         Gutierrez Asphalt Company                                    Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         5041 Derry Down Lane
                                                                      Disputed
         Apex, NC 27539
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.244    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         H&A Directional Boring, LLC                                  Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         225 Sheep Rock Rd
                                                                      Disputed
         Snow Camp, NC 27349
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.245    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Hall's Tree Service                                          Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         977 Ellis Road
                                                                      Disputed
         Lumber Bridge, NC 28357
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.246    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $6,626.44
         Hanes Geo Components                                         Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 60984
                                                                      Disputed
         Charlotte, NC 28260
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.247    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $86,300.73
         HCSS                                                         Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 734695
                                                                      Disputed
         Dallas, TX 75373-4695
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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3.248    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,688.77
         HDR Engineering Inc of the Carolina                          Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 74008202
                                                                      Disputed
         Chicago, IL 60674-8202
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.249    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,185.86
         Heidelberg Materials Southeast                               Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         300 East John Carpenter Freeway
                                                                      Disputed
         Irving, TX 75062
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.250    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Herc Rentals, Inc.                                           Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 936257
                                                                      Disputed
         Atlanta, GA 31193-6257
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.251    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $630.00
         Heritage Transportation Company                              Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 2115
                                                                      Disputed
         Albemarle, NC 28002
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.252    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Highland Paving Co LLC                                       Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 1843
                                                                      Disputed
         Fayetteville, NC 28302
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.253    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Highland Tank LLC                                            Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 645620
                                                                      Disputed
         Pittsburgh, PA 15264-5620
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.254    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,496.25
         Hilco Transport, Inc.                                        Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 6307
                                                                      Disputed
         Hermitage, PA 16148-0923
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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3.255    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $125.00
         Hinnant's Electrical Service LLC                             Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         313 Parkins Drive
                                                                      Disputed
         Emerald Isle, NC 28594
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.256    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $4,468.06
         Hoke Emergency Group PC                                      Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         210 Medical Pavilion Drive
                                                                      Disputed
         Raeford, NC 28376
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.257    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Hurley Backhoe Services, Inc.                                Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         116 Rock Hill Drive
                                                                      Disputed
         Star, NC 27356
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.258    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         HydroExcavators LLC                                          Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         2095 Plunkett Rd
                                                                      Disputed
         Conyers, GA 30012
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.259    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Imperium Global Search Ltd                                   Contingent
         Sedulo, Ground Floor                                         Unliquidated
         St. Paul's House, 23 Park Square
                                                                      Disputed
         Leeds UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.260    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $4,060.69
         Insight Branding                                             Contingent
         Finance Department                                           Unliquidated
         4173 Raphael Street
                                                                      Disputed
         Covington, GA 30014
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.261    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $18,268.58
         Insightsoftware, LLC                                         Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         8529 Six Forks Road, Ste. 400
                                                                      Disputed
         Raleigh, NC 27615
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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3.262    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $7,887.19
         Intragrade                                                   Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         4617 Zebulon Road
                                                                      Disputed
         Zebulon, NC 27597
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.263    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $36,977.19
         J & A Utilities LLC                                          Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         169 Madison Avenue
                                                                      Disputed
         Princeton, NC 27569
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.264    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         J & N Hauling, LLC                                           Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         109 May Drive
                                                                      Disputed
         Smithfield, NC 27577
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.265    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $978.72
         J&M Executive Leasing LLC                                    Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 790448
                                                                      Disputed
         Saint Louis, MO 63179-0448
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.266    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         J.R. Hoe & Sons, Inc.                                        Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box1737
                                                                      Disputed
         Middlesboro, KY 40965
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.267    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         James L. Morgan Trucking Inc.                                Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         2090 Turkey Trap Rd SW
                                                                      Disputed
         Supply, NC 28462
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.268    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $4,468.06
         James Rd Stump Dump                                          Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         420 James Road
                                                                      Disputed
         Clemmons, NC 27012
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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3.269    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $4,945.61
         James River Equipment                                        Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 745475
                                                                      Disputed
         Atlanta, GA 30374-5475
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.270    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $37,985.44
         Jarco Supply LLC                                             Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 688
                                                                      Disputed
         Youngsville, NC 27596
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.271    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,816.27
         JENNS, LLC                                                   Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         1809 Colwell Ave
                                                                      Disputed
         Wilmington, NC 28403
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.272    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Jeremy Smith                                                 Contingent
         118 Crosswinds Drive                                         Unliquidated
         Goldsboro, NC 27530                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.273    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $802.50
         Jernigan Oil Company                                         Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 688
                                                                      Disputed
         Ahoskie, NC 27910
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.274    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         John Deere Financial                                         Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 4450
                                                                      Disputed
         Carol Stream, IL 60197
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.275    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,000.00
         John R. Adams Co., Inc.                                      Contingent
         Attn: CT Corporation Sys, Reg Agent                          Unliquidated
         160 Mine Lake Court, Ste 200
                                                                      Disputed
         Raleigh, NC 27615
                                                                   Basis for the claim: Engineering/Survey Services (U.S. Highway 117
         Date(s) debt was incurred
                                                                   Project)
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.276    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $15,915.28
         Jones and Associates                                         Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         4966 Old Tar Road
                                                                      Disputed
         Winterville, NC 28590
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.277    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $16,399.76
         JRT Asphalt LLC                                              Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         104 Harvest Lane
                                                                      Disputed
         Goldsboro, NC 27530
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.278    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         JWC Environmental Inc.                                       Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         2850 S. Red Hill Ave, Ste. 125
                                                                      Disputed
         Santa Ana, CA 92705
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.279    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Jymco Construction Company                                   Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         1586 Yelverton Grover Road
                                                                      Disputed
         Smithfield, NC 27577
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.280    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Kaufman Trailers of NC                                       Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         702B N Silver Street
                                                                      Disputed
         Lexington, NC 27292
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.281    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         KCI Associates of North Carolina                             Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 791479
                                                                      Disputed
         Baltimore, MD 21279-1479
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.282    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Keith Grading and Hauling Inc.                               Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         51 Morning Chase Lane
                                                                      Disputed
         Clayton, NC 27527
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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3.283    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $4,341.80
         Kennedy Water Works                                          Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         125 6th Street, Suite 100
                                                                      Disputed
         Mount Laurel, NJ 08054
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.284    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Kevin Battle Trucking                                        Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 801
                                                                      Disputed
         Greenville, NC 27835
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.285    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $556.63
         King Tutt Graphics                                           Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         1113 Transport Drive
                                                                      Disputed
         Raleigh, NC 27603
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.286    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $6,429.14
         Knapheide Truck Equipment                                    Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         3613 Jones Sausage Road
                                                                      Disputed
         Garner, NC 27529
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.287    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $126,188.59
         Komatsu Financial                                            Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 99303
                                                                      Disputed
         Chicago, IL 60693
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.288    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         L.G. Jordan Oil Co., Inc.                                    Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 220
                                                                      Disputed
         Apex, NC 27502
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.289    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         L.L. Vann Electric, Inc.                                     Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         833 Purser Drive
                                                                      Disputed
         Raleigh, NC 27603
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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3.290    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $319.00
         LabCorp                                                      Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 12140
                                                                      Disputed
         Burlington, NC 27216-2140
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.291    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Land Levelers LLC                                            Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 916
                                                                      Disputed
         Morrisville, NC 27560
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.292    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $457.80
         Leaf                                                         Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 5066
                                                                      Disputed
         Hartford, CT 06102-5066
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.293    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Lehigh Hanson                                                Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 412345
                                                                      Disputed
         Boston, MA 02241-2345
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.294    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Lemon's Backhoe & Loader Service                             Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 422
                                                                      Disputed
         Troy, NC 27371
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.295    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Lennar Companies                                             Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         1100 Perimeter Park Dr Ste 112
                                                                      Disputed
         Morrisville, NC 27560
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.296    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $9,819.11
         Linder Industrial Machinery                                  Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 743637
                                                                      Disputed
         Atlanta, GA 30374-3637
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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Debtor      JSmith Civil, LLC                                                               Case number (if known)            23-02734-5
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3.297    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Lindsay Precast LLC                                          Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 580
                                                                      Disputed
         Franklinton, NC 27525
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.298    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         LKC Engineering, PLLC                                        Contingent
         Attn: Adam P. Kiker, Reg. Agent                              Unliquidated
         140 Aqua Shed Court
                                                                      Disputed
         Aberdeen, NC 28315
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.299    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $64,436.05
         LMJ Pavement Marking LLC                                     Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         76 Oak Fern Lane
                                                                      Disputed
         Willow Spring, NC 27592
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.300    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $24,426.00
         Lucas Pavement Maintenance & Constr                          Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         1101 Diane Blvd
                                                                      Disputed
         Kinston, NC 28504
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.301    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Luna's Welding & Construction LLC                            Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         1429 W Hanrahan Rd
                                                                      Disputed
         Ayden, NC 28513
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.302    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $89,025.14
         Mac Jones Construction LLC                                   Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 610
                                                                      Disputed
         Pine Level, NC 27568
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.303    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Mac-Con Concrete Construction Inc                            Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 1689
                                                                      Disputed
         Clayton, NC 27528
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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Debtor      JSmith Civil, LLC                                                               Case number (if known)            23-02734-5
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3.304    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $27,724.13
         Mack Industries                                              Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 936468
                                                                      Disputed
         Atlanta, GA 31193-6468
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.305    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           Unknown
         Mainline Construction, LLC                                   Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         332 Potters Hill Rd
                                                                      Disputed
         Richlands, NC 28574
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.306    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $14,693.72
         Mangum's                                                     Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 7177
                                                                      Disputed
         Wilson, NC 27895
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.307    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           Unknown
         Mangum's Towing and Road Service                             Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         2811 Yukon Road
                                                                      Disputed
         Wilson, NC 27893
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.308    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,607.88
         Marshall's Construction Asphalt                              Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         3983 W. Old Spring Hope Road
                                                                      Disputed
         Nashville, NC 27856
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.309    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $153,369.52
         Martin Marietta                                              Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 935043
                                                                      Disputed
         Atlanta, GA 31193-5043
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.310    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           Unknown
         Marvin Joseph Beaman, Jr.                                    Contingent
         1240 O'Berry Road                                            Unliquidated
         Mount Olive, NC 28365
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      JSmith Civil, LLC                                                               Case number (if known)            23-02734-5
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3.311    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,850.00
         MC Turrone, Inc.                                             Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 403                                                   Disputed
         Simpson, NC 27879
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.312    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $12,876.25
         McDavid Associates, Inc.                                     Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Drawer 49
                                                                      Disputed
         Farmville, NC 27828
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.313    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $714.00
         McGriff Insurance Services Inc                               Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         214 N Tryon Street 46
                                                                      Disputed
         Charlotte, NC 28202
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.314    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         McLamb Development, LLC                                      Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 105
                                                                      Disputed
         Smithfield, NC 27577
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.315    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Mecklenburg Restoration, LLC                                 Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         4012 N. Graham Street
                                                                      Disputed
         Charlotte, NC 28206
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.316    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Mercer Transportation Co.                                    Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 644011
                                                                      Disputed
         Pittsburgh, PA 15264-4011
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.317    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $593.25
         Metalcrafters of Wayne Co Inc.                               Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         584 Isaac Smith Road
                                                                      Disputed
         Goldsboro, NC 27530
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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3.318    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         METCON                                                       Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         3050 Hammond Business Place
                                                                      Disputed
         Raleigh, NC 27603
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.319    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $46,347.33
         MHC Kenworth-Clinton                                         Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 879269
                                                                      Disputed
         Kansas City, MO 64187-9269
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.320    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Michael Page International, Inc.                             Contingent
         Attn: 392604                                                 Unliquidated
         500 Ross Street 154-0460
                                                                      Disputed
         Pittsburgh, PA 15262-0001
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.321    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $14,000.00
         Micro-Comm Inc                                               Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         15895 S. Pflumm Rd
                                                                      Disputed
         Olathe, KS 66062
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.322    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,641.37
         Mike Oehler Trucking, Inc.                                   Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         12310 Jimmy Oehler Road
                                                                      Disputed
         Charlotte, NC 28269
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.323    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $27,500.00
         MKH Search Limited                                           Contingent
         71-75 Shelton Street                                         Unliquidated
         London, Greater London WC2H 9JQ
                                                                      Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.324    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Mobile Mini Inc                                              Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         4646 E Van Buren St., Ste 400
                                                                      Disputed
         Phoenix, AZ 85008
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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Debtor      JSmith Civil, LLC                                                               Case number (if known)            23-02734-5
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3.325    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Monteith Construction Corp.                                  Contingent
         Attn: N. John Monteith, Reg. Agent                           Unliquidated
         208 Princess Street
                                                                      Disputed
         Wilmington, NC 28401
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.326    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Mr. Rooter Plumbing of Pitt & Wake                           Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         4735 J Reedy Branch Rd
                                                                      Disputed
         Winterville, NC 28590
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.327    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Nash County Tax Collector                                    Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         120 W Washington Street Ste 2058
                                                                      Disputed
         Nashville, NC 27856
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.328    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         National Equipment Dealers LLC                               Contingent
         Dept 720049                                                  Unliquidated
         PO Box 1335
                                                                      Disputed
         Charlotte, NC 28201-1335
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.329    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,056.01
         National Trench Safety                                       Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 750963
                                                                      Disputed
         Houston, TX 77275-0963
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.330    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         NAWIC                                                        Contingent
         c/o Custom Building Co                                       Unliquidated
         PO Box 781
                                                                      Disputed
         Greenville, NC 27835
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.331    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         NC Department of Transportation                              Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         1 S. Wilmington Street
                                                                      Disputed
         Raleigh, NC 27601
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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3.332    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $6,495.99
         NC Earthworks Inc                                            Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         4221 NC 11 North
                                                                      Disputed
         Greenville, NC 27834
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.333    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         NC Elite Contracting LLC                                     Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         175 Batten Pond Rd
                                                                      Disputed
         Selma, NC 27576
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.334    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         NCCU                                                         Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         616 E. Lawson Street
                                                                      Disputed
         Durham, NC 27701
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.335    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         NCDPS Central Engineering                                    Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         2020 Yonkers Road
                                                                      Disputed
         Raleigh, NC 27699
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.336    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Nehrenz Enterprises                                          Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         7001 Cedric Drive
                                                                      Disputed
         Raleigh, NC 27603
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.337    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Neuse Colony Association Inc                                 Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         112 Jasmine Drive
                                                                      Disputed
         Clayton, NC 27527
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.338    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         New Atlantic Contracting Inc                                 Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         2635 Reynolds Road
                                                                      Disputed
         Winston Salem, NC 27106
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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Debtor      JSmith Civil, LLC                                                               Case number (if known)            23-02734-5
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3.339    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $38,952.96
         New Field Inc                                                Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         10451 Dow-Gil Road
                                                                      Disputed
         Ashland, VA 23005
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.340    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $3,750.00
         Next Level Cleaning Services                                 Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 30822
                                                                      Disputed
         Greenville, NC 27833
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.341    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         NextCare North Carolina                                      Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 843833
                                                                      Disputed
         Los Angeles, CA 90084-3833
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.342    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Nickelston Industries, Inc.                                  Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 83
                                                                      Disputed
         Lawsonville, NC 27022
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.343    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $7,945.06
         Nixon Contracting                                            Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         5072 Glendale Road
                                                                      Disputed
         Kenly, NC 27542
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.344    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $99.00
         Noble Oil Services                                           Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 4419
                                                                      Disputed
         Sanford, NC 27331
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.345    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $21,991.75
         Norman Retaining Walls                                       Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         117 Trackside Road
                                                                      Disputed
         Troutman, NC 28166
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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Debtor      JSmith Civil, LLC                                                               Case number (if known)            23-02734-5
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3.346    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           Unknown
         NWR Construction, LLC                                        Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         127 Scaleybark Rd
                                                                      Disputed
         Charlotte, NC 28209
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.347    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           Unknown
         NYC Underground Construction Inc.                            Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         106 East Health Ave
                                                                      Disputed
         Smithfield, NC 27577
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.348    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $1,435,824.98
         Oldcastle Precast Inc.                                       Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 402721
                                                                      Disputed
         Atlanta, GA 30384-2721
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.349    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $688.74
         On-Site Hose Inc.                                            Contingent
         2nd Floor 21 York Place                                      Unliquidated
         1001-102 Goodworth Road
                                                                      Disputed
         Apex, NC 27539
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.350    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           Unknown
         Optum Bank                                                   Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         12921 S Vista Station Blvd
                                                                      Disputed
         Draper, UT 84020
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.351    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           Unknown
         Ormond Energy                                                Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         9535 US 70
                                                                      Disputed
         Princeton, NC 27569
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.352    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $49.00
         PA Turnpike Toll By Plate                                    Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 645631
                                                                      Disputed
         Pittsburgh, PA 15264-5254
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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3.353    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,200.00
         PAB Logistics LLC                                            Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 536801
                                                                      Disputed
         Pittsburgh, PA 15253-6800
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.354    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $37,847.66
         Pacific Trucking Inc.                                        Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         1110 Navaho Drive Ste 107
                                                                      Disputed
         Raleigh, NC 27609
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.355    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,260.00
         Paul D. Williams                                             Contingent
         PO Box 1385                                                  Unliquidated
         Dunn, NC 28335
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.356    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $6,979.37
         Paveway Systems Inc.                                         Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         114 Indian Lakes Lane
                                                                      Disputed
         Florahome, FL 32140
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.357    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Penhall Company                                              Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 842911
                                                                      Disputed
         Los Angeles, CA 90084-2911
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.358    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Pete Duty & Associates                                       Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         2219 Leah Drive
                                                                      Disputed
         Hillsborough, NC 27278
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.359    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Phelps Tree Service, Inc.                                    Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         320 Furlough Road
                                                                      Disputed
         Creswell, NC 27928
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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3.360    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $11,307.76
         Piedmont Automation, Inc                                     Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         154 Kapp Street
                                                                      Disputed
         Winston Salem, NC 27105
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.361    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Pineville West                                               Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         23 Waltrus Drive
                                                                      Disputed
         Clayton, NC 27527
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.362    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $6,894.00
         Pinion Grading and Clearing Inc                              Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         1390 Langdon Road
                                                                      Disputed
         Angier, NC 27501
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.363    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,000.00
         Pipeline Restoration Services                                Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         1725 Corcus Ferry Road
                                                                      Disputed
         Hampstead, NC 28443
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.364    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $3,531.67
         Pirtek Sound End                                             Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         3401 Saint Vardell Lane, Ste. K
                                                                      Disputed
         Charlotte, NC 28217
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.365    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $3,475.31
         PNC Bank                                                     Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 3180
                                                                      Disputed
         Pittsburgh, PA 15230-3180
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.366    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         PNC Commercial Loan                                          Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 340777
                                                                      Disputed
         Pittsburgh, PA 15230-7777
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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3.367    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         PNC Credit Card                                              Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 3180
                                                                      Disputed
         Pittsburgh, PA 15230-3180
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.368    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         PNC Equipment Finance                                        Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 94931
                                                                      Disputed
         Cleveland, OH 44101-4931
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.369    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $3,469.27
         Powertrain Products                                          Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         2501 Route 73 South                                          Disputed
         Cinnaminson, NJ 08077
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.370    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Precast Solutions                                            Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 127
                                                                      Disputed
         Browns Summit, NC 27214
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.371    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Precision Earth & Pipe LLC                                   Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         2000 Brentwood Rd Unit #9
                                                                      Disputed
         Raleigh, NC 27604
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.372    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,148.84
         Preston H. Roberts, Inc.                                     Contingent
         DBA CJGeo/Concrete Jack                                      Unliquidated
         3402 Acorn Street, Ste. 101
                                                                      Disputed
         Williamsburg, VA 23188
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.373    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $45,358.60
         ProClean Property Management                                 Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 617                                                   Disputed
         Tarboro, NC 27886
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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3.374    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Professional Touch                                           Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         31 Brook Meadow
                                                                      Disputed
         La Grange, NC 28551
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.375    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         ProSite, LLC                                                 Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         675 Ervin Farm Rd
                                                                      Disputed
         Mooresville, NC 28115
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.376    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Protecs                                                      Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         5110 Campus Drive
                                                                      Disputed
         Plymouth Meeting, PA 19462
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.377    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Public Works Commission                                      Contingent
         PWC Operations Complex                                       Unliquidated
         955 Old Wilmington Road
                                                                      Disputed
         Fayetteville, NC 28301
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.378    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Purpose Driven Seeding & Mulching                            Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         1337 Brayboy Rd
                                                                      Disputed
         Rowland, NC 28383
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.379    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $6,041.59
         Quality Asphalt Service Inc                                  Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 1170
                                                                      Disputed
         Coats, NC 27521
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.380    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Quality Oil Company LLC                                      Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 2736
                                                                      Disputed
         Winston Salem, NC 27102
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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3.381    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Quality Pavement Repair                                      Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 930134
                                                                      Disputed
         Atlanta, GA 31193-0134
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.382    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Ragland Productions                                          Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         250 West Main Street
                                                                      Disputed
         Clayton, NC 27520
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.383    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Rah Trucking                                                 Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         2432 Impatien Drive
                                                                      Disputed
         Charlotte, NC 28215
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.384    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         RailPros Field Services, Inc.                                Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         1320 Greenway Drive, Ste. 490
                                                                      Disputed
         Irving, TX 75038
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.385    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $36,353.33
         Rain for Rent                                                Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         4350 Golf Acres Drive
                                                                      Disputed
         Charlotte, NC 28208
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.386    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Raleigh Office 1, LLC                                        Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         150 Greenwich Street, FL 52
                                                                      Disputed
         New York, NY 10007-2446
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.387    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         RamTool Construction Supply Co                               Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 743487
                                                                      Disputed
         Atlanta, GA 30374-3487
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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3.388    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,425.00
         Ranger Engineering Consulting Inc                            Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         3111 N. Caden Ct., Ste. 200
                                                                      Disputed
         Flagstaff, AZ 86004
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.389    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $55,707.76
         Razorback Boring, Inc.                                       Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 1010
                                                                      Disputed
         Morrisville, NC 27560
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.390    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Ready Mix Concrete Company                                   Contingent
         Argos USA LLC                                                Unliquidated
         PO Box 733134
                                                                      Disputed
         Dallas, TX 75373-3134
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.391    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,593.75
         Ricasha, Inc.                                                Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 1771
                                                                      Disputed
         Robbinsville, NC 28771
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.392    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $8,100.12
         RoadSafe Traffic Systems, Inc.                               Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         8750 W Bryn Mawr Ave #400
                                                                      Disputed
         Chicago, IL 60631
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.393    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Roadworks Construction Company                               Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         5401 Buckwood Drive
                                                                      Disputed
         Apex, NC 27539
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.394    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Rob's Hydraulics, Inc.                                       Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 636
                                                                      Disputed
         Grimesland, NC 27837
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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3.395    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $3,634.75
         Robinsons Water Works                                        Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         196 Johnnie Smith Road
                                                                      Disputed
         Deep Run, NC 28525
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.396    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           Unknown
         Rogers Tapping Service                                       Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         2808 Connector Drive
                                                                      Disputed
         Wake Forest, NC 27587
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.397    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $337.50
         Ronald Moore                                                 Contingent
         326 Crantock Road                                            Unliquidated
         Smithfield, NC 27577
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.398    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           Unknown
         Ruppert Companies                                            Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         23601 Laytonsville Road
                                                                      Disputed
         Laytonsville, MD 20882
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.399    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $201,976.42
         Ruston Paving Company, Inc.                                  Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         3874 South Alston Ave, Ste. 101
                                                                      Disputed
         Durham, NC 27713
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.400    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           Unknown
         S & S Contracting and Landscaping                            Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         6349 River Road
                                                                      Disputed
         Fuquay Varina, NC 27526
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.401    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,901.48
         S & W Ready Mix Concrete Co                                  Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 930266
                                                                      Disputed
         Atlanta, GA 31193-0266
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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3.402    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           Unknown
         S&ME, Inc.                                                   Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 277523
                                                                      Disputed
         Atlanta, GA 30384-7523
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.403    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $246,537.01
         S.T. Wooten Corporation                                      Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 2408
                                                                      Disputed
         Wilson, NC 27893
                                                                   Basis for the claim: Construction Services (U.S. Highway 117 Project)
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.404    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $230.95
         Sadler Landscaping, LLC                                      Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         8122 NC Hwy 32 S
                                                                      Disputed
         Plymouth, NC 27962
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.405    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           Unknown
         Saf-Cut Concrete Cutting, Inc.                               Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         1317-108 Kirkland Road
                                                                      Disputed
         Raleigh, NC 27603
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.406    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           Unknown
         Samet Corporation                                            Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         309 Gallimore Dairy Rd Ste 102
                                                                      Disputed
         Greensboro, NC 27409
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.407    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,943.00
         Samson Storm and Sewer                                       Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 1196
                                                                      Disputed
         Benson, NC 27504
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.408    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           Unknown
         Second Wind Consultants                                      Contingent
         Attn: Manager, Agent, Officer
                                                                      Unliquidated
         136 West Street
         Northampton, MA 01060                                        Disputed

         Date(s) debt was incurred                                 Basis for the claim:
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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Debtor      JSmith Civil, LLC                                                               Case number (if known)            23-02734-5
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3.409    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $64,003.82
         Secure Traffic Control Inc.                                  Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         102 E. Heath Ave
                                                                      Disputed
         Smithfield, NC 27577
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.410    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $393.53
         Seegars Fence Co of Raleigh                                  Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 98206
                                                                      Disputed
         Raleigh, NC 27624
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.411    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Seegars Fence Co. - Greensboro                               Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 19406
                                                                      Disputed
         Greensboro, NC 27419
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.412    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $673.27
         Sharpe Business Systems                                      Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         Dept AT 40322
                                                                      Disputed
         Atlanta, GA 31192-0322
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.413    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $3,369.20
         Sharpe Co.                                                   Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 90028
                                                                      Disputed
         Charlotte, NC 28290
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.414    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $185.00
         Shaun Lakey Excavating LLC                                   Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         309 Johnson Farm Rd
                                                                      Disputed
         Hiddenite, NC 28636
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.415    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Shawmine LLC                                                 Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 3167
                                                                      Disputed
         Wilmington, NC 28406
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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Debtor      JSmith Civil, LLC                                                               Case number (if known)            23-02734-5
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3.416    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           Unknown
         Shelco                                                       Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         3600 Glenwood Ave., Ste. 300
                                                                      Disputed
         Raleigh, NC 27612
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.417    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $559,484.42
         Shelley McPhatter                                            Contingent
         1520 Crenshaw Point
                                                                      Unliquidated
         Wake Forest, NC 27587
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number                           Basis for the claim:

                                                                   Is the claim subject to offset?     No       Yes

3.418    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $49.31
         Sherwin Williams                                             Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         101 West Prospect Ave
                                                                      Disputed
         Cleveland, OH 44115
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.419    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           Unknown
         Simmons Public Utility Site Work                             Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         6545 Dothan Road
                                                                      Disputed
         Tabor City, NC 28463
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.420    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           Unknown
         Site Shots LLC                                               Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         2515 Straford Crossing Rd
                                                                      Disputed
         Winston Salem, NC 27103
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.421    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           Unknown
         Sitebox Storage                                              Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         4340 S West Street
                                                                      Disputed
         Wichita, KS 67217
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.422    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $61,976.98
         SiteOne Landscape Supply Inc.                                Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         300 Colonial Center Parkway, #600
                                                                      Disputed
         Roswell, GA 30076
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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3.423    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         SiteOne Landscape Supply LLC                                 Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         24110 Network Place
                                                                      Disputed
         Chicago, IL 60673-1241
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.424    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,991.75
         Skyrock Construction LLC                                     Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         1000 Olde Milburnie Rd., Ste. A
                                                                      Disputed
         Raleigh, NC 27604
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.425    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Slurry Pavers, Inc.                                          Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         3617 Nine Mile Road
                                                                      Disputed
         Richmond, VA 23223
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.426    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Smelcer Contractor Inc.                                      Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         3209 Boone Trail
                                                                      Disputed
         Fayetteville, NC 28306
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.427    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Smith Brothers Gas Co.                                       Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 219
                                                                      Disputed
         Magnolia, NC 28453
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.428    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $11,461.58
         Smith Terry Johnson & Windle                                 Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         11525 N Community House Rd #425
                                                                      Disputed
         Charlotte, NC 28277
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.429    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Smith-Midland                                                Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         654 Freeway
                                                                      Disputed
         Reidsville, NC 27320
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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3.430    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $178,959.27
         Smith-Rowe, LLC                                              Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         639 Old US 52 South
                                                                      Disputed
         Mount Airy, NC 27030
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.431    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           Unknown
         Smithfield Sign Design, Inc.                                 Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         331 Peedin Road
                                                                      Disputed
         Smithfield, NC 27577
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.432    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           Unknown
         Soilworks Inc.                                               Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         1109 Sumter Court
                                                                      Disputed
         Salisbury, NC 28144
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.433    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $22,762.50
         Soule Law Firm PLLC                                          Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 97552
                                                                      Disputed
         Raleigh, NC 27624
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.434    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $30,705.79
         Southern Auto Parts                                          Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         101 NW Railroad Street
                                                                      Disputed
         Pikeville, NC 27863
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.435    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $133.44
         Southern Sign of NC                                          Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         119 Carriage Road
                                                                      Disputed
         Goldsboro, NC 27534
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.436    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           Unknown
         Southern Stone and Block LLC                                 Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         120 East Morehouse Ave
                                                                      Disputed
         Mooresville, NC 28117
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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3.437    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $190.00
         Spence Water Systems                                         Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         1407 Rhem Street
                                                                      Disputed
         Kinston, NC 28501
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.438    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Square Solutions LLC                                         Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         125 Sambar Deer Lane
                                                                      Disputed
         Garner, NC 27529
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.439    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Stafford Land Company, Inc.                                  Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         246 Valleyvield Lane
                                                                      Disputed
         Southern Pines, NC 28387
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.440    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Stamford International LTD                                   Contingent
         Montacs, Intl House, Kingsfield Ct                           Unliquidated
         Chester Business House, CH4 9RF
                                                                      Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.441    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         State Electric Supply Company                                Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         2010 2nd Avenue
                                                                      Disputed
         Huntington, WV 25703
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.442    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $11,520.39
         Stay Alert                                                   Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 467
                                                                      Disputed
         Kernersville, NC 27285-0467
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.443    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,625.60
         Stay Safe Traffic Control, LLC                               Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         2027 West Garner Road
                                                                      Disputed
         Garner, NC 27529
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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3.444    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Stone Throwers LLC                                           Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         504 Olive Branch Road
                                                                      Disputed
         Durham, NC 27703
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.445    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Stormwater Concepts Inc                                      Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         4441-106 Six Forks Road #278
                                                                      Disputed
         Raleigh, NC 27609
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.446    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Strickland Waterproofing Co., Inc.                           Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         500 North Hoskins Road
                                                                      Disputed
         Charlotte, NC 28216
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.447    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Subsurface Construction Company                              Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         1107 Fuller Street
                                                                      Disputed
         Raleigh, NC 27603
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.448    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $6,650.00
         Summit Design and Engineering                                Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         320 Executive Court
                                                                      Disputed
         Hillsborough, NC 27278
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.449    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,155.55
         Sunbelt Rentals, Inc.                                        Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 409211
                                                                      Disputed
         Atlanta, GA 30384-9211
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.450    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $10,147.64
         Super Cast Inc                                               Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 1894
                                                                      Disputed
         Goldsboro, NC 27534
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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3.451    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           Unknown
         Superior Concrete                                            Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         5351 Reedy Branch Rd
                                                                      Disputed
         Winterville, NC 28590
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.452    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $810.54
         Superior Plus Propane                                        Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         1870 Winston Road South Ste200
                                                                      Disputed
         Rochester, NY 14618
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.453    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,050.00
         Surveying Solutions, P.C.                                    Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         307 East Main Street
                                                                      Disputed
         Youngsville, NC 27596
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.454    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           Unknown
         Suttles Surveying, P.A.                                      Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         40 S. Main Street Ste 200
                                                                      Disputed
         Marion, NC 28752
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.455    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $6,284.91
         SW Promotions                                                Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         601-A North James Street
                                                                      Disputed
         Goldsboro, NC 27530
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.456    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $279,964.92
         Synergi Partners Inc.                                        Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 5599
                                                                      Disputed
         Florence, SC 29502-5599
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.457    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,468.06
         T-Mobile                                                     Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 37380
                                                                      Disputed
         Albuquerque, NM 87176-4380
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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3.458    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         T.D. Goodwin Construction                                    Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 3462
                                                                      Disputed
         Greenville, NC 27836
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.459    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         TA Loving Company                                            Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Drawer 919
                                                                      Disputed
         Goldsboro, NC 27533
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.460    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Takeuchi Financial Services                                  Contingent
         Bank of the West                                             Unliquidated
         PO Box 7167
                                                                      Disputed
         Pasadena, CA 91109-7167
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.461    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         TamRon's Hauling, Grading/Landscape                          Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         51 Lou Court
                                                                      Disputed
         Willow Spring, NC 27592
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.462    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Tarheel Concrete                                             Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 67
                                                                      Disputed
         Warsaw, NC 28398
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.463    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Tarheel Tooling & Precision Mach                             Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 1063
                                                                      Disputed
         Smithfield, NC 27577
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.464    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,155.00
         TBI Trucking                                                 Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 128
                                                                      Disputed
         Ayden, NC 28513
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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3.465    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         TCA Durham Logistics Center                                  Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         440 S. Church Street Ste 800
                                                                      Disputed
         Charlotte, NC 28202
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.466    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Team Work Safety, LLC                                        Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         1006B N Bragg Blvd Ste 194
                                                                      Disputed
         Spring Lake, NC 28390
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.467    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Tech USA LLC                                                 Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         8334 Veterans Highway
                                                                      Disputed
         Millersville, MD 21108
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.468    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Terracon                                                     Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 959673
                                                                      Disputed
         Saint Louis, MO 63195-9673
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.469    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         The Car Park                                                 Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 781
                                                                      Disputed
         Raleigh, NC 27602
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.470    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $960.00
         The East Group, PA                                           Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         324 Evans Street
                                                                      Disputed
         Greenville, NC 27858
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.471    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $3,721.77
         The Erosion Company, LLC                                     Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         3207 South Cherokee Lane
                                                                      Disputed
         Woodstock, GA 30188
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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3.472    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $11,502.50
         The John R McAdams Company                                   Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         621 Hillsborough Street Ste 500
                                                                      Disputed
         Raleigh, NC 27603
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.473    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         The Wooten Company                                           Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         300 S. Main Street
                                                                      Disputed
         Winston Salem, NC 27101
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.474    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,342.77
         Thomas Concrete of Carolina, Inc.                            Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         DEPT AT 952698
                                                                      Disputed
         Atlanta, GA 31192-2698
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.475    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Thomas Construction                                          Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         1022 Ashes Drive Ste 200
                                                                      Disputed
         Wilmington, NC 28405
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.476    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $14,462.49
         Thompson-Arthur Division                                     Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 21088                                                 Disputed
         Greensboro, NC 27420-1088
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.477    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Tina Smith                                                   Contingent
         118 Crosswinds Drive                                         Unliquidated
         Goldsboro, NC 27530                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.478    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Tom Cat Trucking, Inc.                                       Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         4162 Kivett Drive
                                                                      Disputed
         Jamestown, NC 27282
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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3.479    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $700.00
         Tom E. Chestnut & Son, LLC                                   Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 2972
                                                                      Disputed
         Shallotte, NC 28459
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.480    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Town of Apex                                                 Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         73 Hunter Street
                                                                      Disputed
         Apex, NC 27502
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.481    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $13,611.06
         Town of Cary                                                 Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         316 North Academy                                            Disputed
         Cary, NC 27513
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.482    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Town of Faison                                               Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 365
                                                                      Disputed
         Faison, NC 28341-0365
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.483    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Town of Farmville                                            Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 86
                                                                      Disputed
         Farmville, NC 27828
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.484    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $14,573.86
         Town of Holly Springs                                        Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         128 South Main Street                                        Disputed
         Holly Springs, NC 27540
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.485    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Town of Knightdale                                           Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         950 Steeple Square Court
                                                                      Disputed
         Knightdale, NC 27545
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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3.486    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Town of Magnolia                                             Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 459
                                                                      Disputed
         Magnolia, NC 28453
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.487    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Town of Middlesex                                            Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 69
                                                                      Disputed
         Middlesex, NC 27557
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.488    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Town of Mount Olive                                          Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         114 East James Street
                                                                      Disputed
         Mount Olive, NC 28365
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.489    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Town of Pikeville                                            Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         105 W School Street
                                                                      Disputed
         Pikeville, NC 27863
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.490    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Town of Princeton                                            Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         503 Doctor Donnie H Jones Dr Blvd W
                                                                      Disputed
         Princeton, NC 27569
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.491    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Town of Selma                                                Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         114 N. Raiford Street
                                                                      Disputed
         Selma, NC 27576
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.492    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Town of Smithfield                                           Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 761
                                                                      Disputed
         Smithfield, NC 27577
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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3.493    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Town of St. Pauls                                            Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         210 W Blue Street
                                                                      Disputed
         Saint Pauls, NC 28384
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.494    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Town of Windsor                                              Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 508
                                                                      Disputed
         Windsor, NC 27983
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.495    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Town of Zebulon                                              Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         1003 N. Arendell Ave
                                                                      Disputed
         Zebulon, NC 27597
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.496    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $231.50
         Traffic Control Safety Services Inc                          Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 24511
                                                                      Disputed
         Winston Salem, NC 27114
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.497    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $3,469.27
         Transaxle, LLC                                               Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 825382
                                                                      Disputed
         Philadelphia, PA 19182-5382
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.498    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Trejo Construction LLC                                       Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         2130 Gurganus Road
                                                                      Disputed
         Snow Hill, NC 28580
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.499    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Trench Drain Supply                                          Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         5621 Raby Road
                                                                      Disputed
         Norfolk, VA 23502
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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3.500    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Trew Backflow Testing & Irrigation                           Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         1531 Rains Crossroads
                                                                      Disputed
         Princeton, NC 27569
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.501    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $9,100.62
         Tri-State Utilities                                          Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         2111 Smith Avenue
                                                                      Disputed
         Chesapeake, VA 23320
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.502    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $23,898.18
         Triangle Area Earth Corporation                              Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         336 Deton Lane
                                                                      Disputed
         Zebulon, NC 27597
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.503    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Triangle Pond Management, LLC                                Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 61207
                                                                      Disputed
         Raleigh, NC 27661
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.504    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Triple AAA Portable Toilets                                  Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         5779 Manlley Smith Road
                                                                      Disputed
         Nakina, NC 28455
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.505    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Tripp Auto and Cycle Sales, Inc.                             Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         5823 NC 33E
                                                                      Disputed
         Grimesland, NC 27837
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.506    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $88,948.48
         Tripp Bro's Inc.                                             Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 128
                                                                      Disputed
         Ayden, NC 28513
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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3.507    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Truist Bank                                                  Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 896024
                                                                      Disputed
         Charlotte, NC 28289-6024
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.508    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Turf Services, LLC                                           Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         403 Pickens Drive
                                                                      Disputed
         Goldsboro, NC 27530
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.509    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,903.89
         Unifirst Corporation                                         Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 650481
                                                                      Disputed
         Dallas, TX 75265-0481
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.510    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         United Rentals                                               Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 100711
                                                                      Disputed
         Atlanta, GA 30384-0711
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.511    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $27,500.00
         Universal Search Group Limited                               Contingent
         2nd Floor, 21 York Place                                     Unliquidated
         Leeds LS1 2EX
                                                                      Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.512    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $699.40
         US Standard Products                                         Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 5509
                                                                      Disputed
         Englewood, NJ 07631
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.513    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,872.40
         Utilities Conservation Company                               Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box C
                                                                      Disputed
         North East, MD 21901
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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3.514    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           Unknown
         Vance-Granville Community College                            Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         210 W. Ridgeway Street
                                                                      Disputed
         Warrenton, NC 27589
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.515    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           Unknown
         Vermeer All Roads                                            Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         925 Merritt Blvd
                                                                      Disputed
         Dundalk, MD 21222
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.516    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           Unknown
         Vernon Stapleton                                             Contingent
         549 Siloam Lane                                              Unliquidated
         South Shore, KY 41175
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.517    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $331,887.80
         Vertical Walls, Inc.                                         Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         710 W. Lane Street
                                                                      Disputed
         Raleigh, NC 27603
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.518    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           Unknown
         Vision NC                                                    Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         7424 ACC Blvd., Ste. 106
                                                                      Disputed
         Raleigh, NC 27617
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.519    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $727,490.32
         Vortex Drainage Systems, LLC                                 Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         1113 Fairview Street
                                                                      Disputed
         Durham, NC 27707
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.520    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $6,894.24
         Vulcan Construction Materials, LLC                           Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 75219
                                                                      Disputed
         Charlotte, NC 28275
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 81 of 87
        Case 23-02734-5-JNC                   Doc 68 Filed 10/17/23 Entered 10/17/23 21:36:17                                            Page 132 of
                                                               228
Debtor      JSmith Civil, LLC                                                               Case number (if known)            23-02734-5
            Name

3.521    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $10,128.58
         W W Landscaping Inc                                          Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         4403 NC 122 S                                                Disputed
         Macclesfield, NC 27852
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.522    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Wade Moore Equipment Co                                      Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         9712 Dorval Avenue
                                                                      Disputed
         Upper Marlboro, MD 20772
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.523    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Wake County Tax Collector                                    Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         P.O. Box 2331
                                                                      Disputed
         Raleigh, NC 27602
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.524    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,743.31
         Wake Stone Corporation                                       Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 190
                                                                      Disputed
         Knightdale, NC 27545
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.525    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $6,523.65
         Wall Recycling, LLC                                          Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 749566
                                                                      Disputed
         Atlanta, GA 30374-9566
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.526    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Walter Heilig Trucking                                       Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         12815 Old Beatty Ford Road
                                                                      Disputed
         Rockwell, NC 28138
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.527    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $52,400.90
         Ward and Smith, P.A.                                         Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 867                                                   Disputed
         New Bern, NC 28563-0867
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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Debtor      JSmith Civil, LLC                                                               Case number (if known)            23-02734-5
            Name

3.528    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $70,402.80
         Water & Waste Systems Construction                           Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         14 Apothecary Court
                                                                      Disputed
         Garner, NC 27529
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.529    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Water Works, Inc.                                            Contingent
         Kennedy Culvert & Supply                                     Unliquidated
         125 Sixth Avenue, Ste. 100
                                                                      Disputed
         Mount Laurel, NJ 08054
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.530    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Waterproofing Specialities, Inc.                             Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         8086 Waterford Drive
                                                                      Disputed
         Stanley, NC 28164
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.531    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $65,237.35
         Watson Electrical Construction Co                            Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         1500 Charleston St SE
                                                                      Disputed
         Wilson, NC 27893
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.532    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Wayne Grissett                                               Contingent
         1001 Russtown Road NW                                        Unliquidated
         Ocean Isle Beach, NC 28469
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.533    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Weaver Trucking LLC                                          Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 985
                                                                      Disputed
         Angier, NC 27501
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.534    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $10,863.65
         Wells Fargo Bank, NA                                         Contingent
         Equipment & Vendor Finance                                   Unliquidated
         PO Box 77101
                                                                      Disputed
         Minneapolis, MN 55480-7101
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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Debtor      JSmith Civil, LLC                                                               Case number (if known)            23-02734-5
            Name

3.535    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $3,965.72
         Wells Fargo Dealer Services                                  Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 17900
                                                                      Disputed
         Denver, CO 80217-0900
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.536    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         West Lawn & Landscaping LLC                                  Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         284 Reedy Creek Road
                                                                      Disputed
         Four Oaks, NC 27524
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.537    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Wex Bank                                                     Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 6293
                                                                      Disputed
         Carol Stream, IL 60197-6293
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.538    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,872.00
         WG Lewis Trucking, Inc.                                      Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 7081
                                                                      Disputed
         High Point, NC 27264
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.539    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,652.80
         White Cap, L.P.                                              Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 4852
                                                                      Disputed
         Orlando, FL 32802-4852
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.540    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $873.89
         White's International                                        Contingent
         White/Herring Tractor & Truck                                Unliquidated
         PO Box 3817
                                                                      Disputed
         Wilson, NC 27895
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.541    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,022.97
         White's Tractor & Truck                                      Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 3817
                                                                      Disputed
         Wilson, NC 27895
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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Debtor      JSmith Civil, LLC                                                               Case number (if known)            23-02734-5
            Name

3.542    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $350.00
         Whitehurst Sand Company                                      Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         233 Woodville Road                                           Disputed
         Hertford, NC 27944
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.543    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Wiarcom, Inc.                                                Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         6001 Savoy Drive, Ste. 202
                                                                      Disputed
         Houston, TX 77036
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.544    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         William Parrish Plumbing Inc                                 Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         504 Lewis Drive
                                                                      Disputed
         Carolina Beach, NC 28428
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.545    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Williams Land Clearing Grading                               Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 41671
                                                                      Disputed
         Raleigh, NC 27629
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.546    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Williams Mullen                                              Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 800
                                                                      Disputed
         Richmond, VA 23218-0800
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.547    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $3,461.81
         Williams Scotsman, Inc.                                      Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         901 S Bond Street, Ste. 600
                                                                      Disputed
         Baltimore, MD 21231
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.548    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Willoughby 2000, PLLC                                        Contingent
         Attn: Manager, Agent, Officer                                Unliquidated
         PO Box 2255
                                                                      Disputed
         Davidson, NC 28036
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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             Name

3.549     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                Unknown
          Wilson Clearing & Mulching                                          Contingent
          Attn: Manager, Agent, Officer                                       Unliquidated
          5948 New Hope Church Road
                                                                               Disputed
          Wade, NC 28395
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?      No       Yes

3.550     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $27,040.39
          Xylem Dewatering Solutions, Inc.                                    Contingent
          Attn: Manager, Agent, Officer                                       Unliquidated
          26717 Network Place
                                                                               Disputed
          Chicago, IL 60673-1267
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?      No       Yes

3.551     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                Unknown
          Young Construction Company, Inc.                                    Contingent
          Attn: Manager, Agent, Officer                                       Unliquidated
          2808 Connector Drive
                                                                               Disputed
          Wake Forest, NC 27587
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?      No       Yes

3.552     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                Unknown
          Zachary Construction                                                Contingent
          Attn: Manager, Agent, Officer                                       Unliquidated
          8870 Westgate Drive
                                                                               Disputed
          Raleigh, NC 27617
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?      No       Yes

3.553     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                Unknown
          Zachary Industrial                                                  Contingent
          Attn: Manager, Agent, Officer                                       Unliquidated
          200 Regency Forest Drive
                                                                               Disputed
          Cary, NC 27518
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?      No       Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                    related creditor (if any) listed?              account number, if
                                                                                                                                                   any
4.1       Matthew K. Lilly
          Bradley Arant Boult Cummings LLP                                                          Line     3.55
          214 North Tryon Street 3700
                                                                                                           Not listed. Explain
          Charlotte, NC 28202-1078

4.2       Matthew K. Lilly
          Bradley Arant Boult Cummings LLP                                                          Line     3.54
          214 North Tryon Street 3700
                                                                                                           Not listed. Explain
          Charlotte, NC 28202-1078



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Debtor      JSmith Civil, LLC                                                           Case number (if known)        23-02734-5
            Name

          Name and mailing address                                                     On which line in Part1 or Part 2 is the      Last 4 digits of
                                                                                       related creditor (if any) listed?            account number, if
                                                                                                                                    any
4.3       Matthew K. Lilly
          Bradley Arant Boult Cummings LLP                                             Line     3.417
          214 North Tryon Street 3700
                                                                                              Not listed. Explain
          Charlotte, NC 28202-1078

4.4       Matthew K. Lilly
          Bradley Arant Boult Cummings LLP                                             Line     3.141
          214 North Tryon Street 3700
                                                                                              Not listed. Explain
          Charlotte, NC 28202-1078

4.5       R. Lee Robertson, Jr.
          Robertson & Associates, PA                                                   Line     3.422
          2730 East W T Harris Blvd #101
                                                                                              Not listed. Explain
          Charlotte, NC 28213


Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                         Total of claim amounts
5a. Total claims from Part 1                                                              5a.        $                         0.00
5b. Total claims from Part 2                                                              5b.    +   $                10,504,727.14

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                   5c.        $                   10,504,727.14




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Fill in this information to identify the case:

Debtor name       JSmith Civil, LLC

United States Bankruptcy Court for the:     EASTERN DISTRICT OF NORTH CAROLINA

Case number (if known)     23-02734-5
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or            Master Lease
           lease is for and the nature of        Agreement and Option
           the debtor's interest                 to Purchase
                                                 Term: 60 months
               State the term remaining                                             Civil Contracting, LLC
                                                                                    Attn: Matthew P. Jones, Reg. Agent
           List the contract number of any                                          101 Preston Road
                 government contract                                                Smithfield, NC 27577


2.2.       State what the contract or            Office Lease of 3733
           lease is for and the nature of        U.S. Highway 117 N.,
           the debtor's interest                 Goldsboro NC 27530

               State the term remaining                                             JSC Holdings, LLC
                                                                                    Attn: HLG Agent, LLC, Reg. Agent
           List the contract number of any                                          701 Corporate Center Dr Ste 250
                 government contract                                                Raleigh, NC 27607


2.3.       State what the contract or            Letter Agreement -
           lease is for and the nature of        Accounting services
           the debtor's interest

               State the term remaining                                             Markham, Mitchell & Stroud, PLLC
                                                                                    Attn: Ralph D. Stroud, Jr.
           List the contract number of any                                          PO Box 10788
                 government contract                                                Goldsboro, NC 27532


2.4.       State what the contract or            Master Lease
           lease is for and the nature of        Agreement and Option
           the debtor's interest                 to Purchase
                                                 Term: 48 months
               State the term remaining                                             Marks Clearing and Grading, Inc
                                                                                    Attn: Tyler Marks, Reg. Agent
           List the contract number of any                                          5537 Watkins Road
                 government contract                                                Wendell, NC 27591




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 2
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Debtor 1 JSmith Civil, LLC                                                       Case number (if known)   23-02734-5
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.5.      State what the contract or        Engagement Letter -
          lease is for and the nature of    Legal services
          the debtor's interest

             State the term remaining                                   Windel Terry Bimbo Construction Law
                                                                        Attn: Don Terry
          List the contract number of any                               150 Milestone Way, Suite C
                government contract                                     Greenville, SC 29615




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                Page 2 of 2
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                                                             228
Fill in this information to identify the case:

Debtor name      JSmith Civil, LLC

United States Bankruptcy Court for the:   EASTERN DISTRICT OF NORTH CAROLINA

Case number (if known)   23-02734-5
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    Jeremy Smith                118 Crosswinds Drive                                      First Citizens Bank &              D   2.36
                                      Goldsboro, NC 27530                                       Trust Co                           E/F
                                                                                                                                   G




   2.2    Jeremy Smith                118 Crosswinds Drive                                      First Citizens Bank &              D   2.37
                                      Goldsboro, NC 27530                                       Trust Co                           E/F
                                                                                                                                   G




   2.3    Jeremy Smith                118 Crosswinds Drive                                      First Citizens Bank &              D   2.38
                                      Goldsboro, NC 27530                                       Trust Co                           E/F
                                                                                                                                   G




   2.4    Jeremy Smith                118 Crosswinds Drive                                      First Citizens Bank &              D   2.39
                                      Goldsboro, NC 27530                                       Trust Co                           E/F
                                                                                                                                   G




   2.5    Jeremy Smith                118 Crosswinds Drive                                      First Citizens Bank &              D   2.40
                                      Goldsboro, NC 27530                                       Trust Co                           E/F
                                                                                                                                   G




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 8
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Debtor    JSmith Civil, LLC                                                       Case number (if known)   23-02734-5


         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                          Column 2: Creditor



  2.6     Jeremy Smith             118 Crosswinds Drive                                First Citizens Bank &              D   2.41
                                   Goldsboro, NC 27530                                 Trust Co                           E/F
                                                                                                                          G




  2.7     Jeremy Smith             118 Crosswinds Drive                                First Citizens Bank &              D   2.42
                                   Goldsboro, NC 27530                                 Trust Co                           E/F
                                                                                                                          G




  2.8     Jeremy Smith             118 Crosswinds Drive                                First Citizens Bank &              D   2.43
                                   Goldsboro, NC 27530                                 Trust Co                           E/F
                                                                                                                          G




  2.9     Jeremy Smith             118 Crosswinds Drive                                First Citizens Bank &              D   2.44
                                   Goldsboro, NC 27530                                 Trust Co                           E/F
                                                                                                                          G




  2.10    Jeremy Smith             118 Crosswinds Drive                                First Citizens Bank &              D   2.45
                                   Goldsboro, NC 27530                                 Trust Co                           E/F
                                                                                                                          G




  2.11    Jeremy Smith             118 Crosswinds Drive                                First Citizens Bank &              D   2.46
                                   Goldsboro, NC 27530                                 Trust Co                           E/F
                                                                                                                          G




  2.12    Jeremy Smith             118 Crosswinds Drive                                First Citizens Bank &              D   2.47
                                   Goldsboro, NC 27530                                 Trust Co                           E/F
                                                                                                                          G




  2.13    Jeremy Smith             118 Crosswinds Drive                                First Citizens Bank &              D   2.48
                                   Goldsboro, NC 27530                                 Trust Co                           E/F
                                                                                                                          G




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         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                          Column 2: Creditor



  2.14    Jeremy Smith             118 Crosswinds Drive                                First Citizens Bank &              D   2.49
                                   Goldsboro, NC 27530                                 Trust Co                           E/F
                                                                                                                          G




  2.15    Jeremy Smith             118 Crosswinds Drive                                First Citizens Bank &              D   2.50
                                   Goldsboro, NC 27530                                 Trust Co                           E/F
                                                                                                                          G




  2.16    Jeremy Smith             118 Crosswinds Drive                                First Citizens Bank &              D   2.51
                                   Goldsboro, NC 27530                                 Trust Co                           E/F
                                                                                                                          G




  2.17    Jeremy Smith             118 Crosswinds Drive                                First Citizens Bank &              D   2.52
                                   Goldsboro, NC 27530                                 Trust Co                           E/F
                                                                                                                          G




  2.18    JSC Enterprises,         Attn: Manager, Agent, Officer                       First Citizens Bank &              D   2.36
          LLC                      PO Box 857                                          Trust Co                           E/F
                                   Goldsboro, NC 27533
                                                                                                                          G




  2.19    JSC Enterprises,         Attn: Manager, Agent, Officer                       First Citizens Bank &              D   2.37
          LLC                      PO Box 857                                          Trust Co                           E/F
                                   Goldsboro, NC 27533
                                                                                                                          G




  2.20    JSC Enterprises,         Attn: Manager, Agent, Officer                       First Citizens Bank &              D   2.38
          LLC                      PO Box 857                                          Trust Co                           E/F
                                   Goldsboro, NC 27533
                                                                                                                          G




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          Column 1: Codebtor                                                          Column 2: Creditor



  2.21    JSC Enterprises,         Attn: Manager, Agent, Officer                       First Citizens Bank &              D   2.39
          LLC                      PO Box 857                                          Trust Co                           E/F
                                   Goldsboro, NC 27533
                                                                                                                          G




  2.22    JSC Enterprises,         Attn: Manager, Agent, Officer                       First Citizens Bank &              D   2.40
          LLC                      PO Box 857                                          Trust Co                           E/F
                                   Goldsboro, NC 27533
                                                                                                                          G




  2.23    JSC Enterprises,         Attn: Manager, Agent, Officer                       First Citizens Bank &              D   2.41
          LLC                      PO Box 857                                          Trust Co                           E/F
                                   Goldsboro, NC 27533
                                                                                                                          G




  2.24    JSC Enterprises,         Attn: Manager, Agent, Officer                       First Citizens Bank &              D   2.42
          LLC                      PO Box 857                                          Trust Co                           E/F
                                   Goldsboro, NC 27533
                                                                                                                          G




  2.25    JSC Enterprises,         Attn: Manager, Agent, Officer                       First Citizens Bank &              D   2.43
          LLC                      PO Box 857                                          Trust Co                           E/F
                                   Goldsboro, NC 27533
                                                                                                                          G




  2.26    JSC Enterprises,         Attn: Manager, Agent, Officer                       First Citizens Bank &              D   2.44
          LLC                      PO Box 857                                          Trust Co                           E/F
                                   Goldsboro, NC 27533
                                                                                                                          G




  2.27    JSC Enterprises,         Attn: Manager, Agent, Officer                       First Citizens Bank &              D   2.45
          LLC                      PO Box 857                                          Trust Co                           E/F
                                   Goldsboro, NC 27533
                                                                                                                          G




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          Column 1: Codebtor                                                          Column 2: Creditor



  2.28    JSC Enterprises,         Attn: Manager, Agent, Officer                       First Citizens Bank &              D   2.46
          LLC                      PO Box 857                                          Trust Co                           E/F
                                   Goldsboro, NC 27533
                                                                                                                          G




  2.29    JSC Enterprises,         Attn: Manager, Agent, Officer                       First Citizens Bank &              D   2.47
          LLC                      PO Box 857                                          Trust Co                           E/F
                                   Goldsboro, NC 27533
                                                                                                                          G




  2.30    JSC Enterprises,         Attn: Manager, Agent, Officer                       First Citizens Bank &              D   2.48
          LLC                      PO Box 857                                          Trust Co                           E/F
                                   Goldsboro, NC 27533
                                                                                                                          G




  2.31    JSC Enterprises,         Attn: Manager, Agent, Officer                       First Citizens Bank &              D   2.49
          LLC                      PO Box 857                                          Trust Co                           E/F
                                   Goldsboro, NC 27533
                                                                                                                          G




  2.32    JSC Enterprises,         Attn: Manager, Agent, Officer                       First Citizens Bank &              D   2.50
          LLC                      PO Box 857                                          Trust Co                           E/F
                                   Goldsboro, NC 27533
                                                                                                                          G




  2.33    JSC Enterprises,         Attn: Manager, Agent, Officer                       First Citizens Bank &              D   2.51
          LLC                      PO Box 857                                          Trust Co                           E/F
                                   Goldsboro, NC 27533
                                                                                                                          G




  2.34    JSC Enterprises,         Attn: Manager, Agent, Officer                       First Citizens Bank &              D   2.52
          LLC                      PO Box 857                                          Trust Co                           E/F
                                   Goldsboro, NC 27533
                                                                                                                          G




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         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                          Column 2: Creditor



  2.35    JSC Holdings,            Attn: Manager, Agent, Officer                       First Citizens Bank &              D   2.36
          LLC                      PO Box 857                                          Trust Co                           E/F
                                   Goldsboro, NC 27533
                                                                                                                          G




  2.36    JSC Holdings,            Attn: Manager, Agent, Officer                       First Citizens Bank &              D   2.37
          LLC                      PO Box 857                                          Trust Co                           E/F
                                   Goldsboro, NC 27533
                                                                                                                          G




  2.37    JSC Holdings,            Attn: Manager, Agent, Officer                       First Citizens Bank &              D   2.38
          LLC                      PO Box 857                                          Trust Co                           E/F
                                   Goldsboro, NC 27533
                                                                                                                          G




  2.38    JSC Holdings,            Attn: Manager, Agent, Officer                       First Citizens Bank &              D   2.39
          LLC                      PO Box 857                                          Trust Co                           E/F
                                   Goldsboro, NC 27533
                                                                                                                          G




  2.39    JSC Holdings,            Attn: Manager, Agent, Officer                       First Citizens Bank &              D   2.40
          LLC                      PO Box 857                                          Trust Co                           E/F
                                   Goldsboro, NC 27533
                                                                                                                          G




  2.40    JSC Holdings,            Attn: Manager, Agent, Officer                       First Citizens Bank &              D   2.41
          LLC                      PO Box 857                                          Trust Co                           E/F
                                   Goldsboro, NC 27533
                                                                                                                          G




  2.41    JSC Holdings,            Attn: Manager, Agent, Officer                       First Citizens Bank &              D   2.42
          LLC                      PO Box 857                                          Trust Co                           E/F
                                   Goldsboro, NC 27533
                                                                                                                          G




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         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                          Column 2: Creditor



  2.42    JSC Holdings,            Attn: Manager, Agent, Officer                       First Citizens Bank &              D   2.43
          LLC                      PO Box 857                                          Trust Co                           E/F
                                   Goldsboro, NC 27533
                                                                                                                          G




  2.43    JSC Holdings,            Attn: Manager, Agent, Officer                       First Citizens Bank &              D   2.44
          LLC                      PO Box 857                                          Trust Co                           E/F
                                   Goldsboro, NC 27533
                                                                                                                          G




  2.44    JSC Holdings,            Attn: Manager, Agent, Officer                       First Citizens Bank &              D   2.45
          LLC                      PO Box 857                                          Trust Co                           E/F
                                   Goldsboro, NC 27533
                                                                                                                          G




  2.45    JSC Holdings,            Attn: Manager, Agent, Officer                       First Citizens Bank &              D   2.46
          LLC                      PO Box 857                                          Trust Co                           E/F
                                   Goldsboro, NC 27533
                                                                                                                          G




  2.46    JSC Holdings,            Attn: Manager, Agent, Officer                       First Citizens Bank &              D   2.47
          LLC                      PO Box 857                                          Trust Co                           E/F
                                   Goldsboro, NC 27533
                                                                                                                          G




  2.47    JSC Holdings,            Attn: Manager, Agent, Officer                       First Citizens Bank &              D   2.48
          LLC                      PO Box 857                                          Trust Co                           E/F
                                   Goldsboro, NC 27533
                                                                                                                          G




  2.48    JSC Holdings,            Attn: Manager, Agent, Officer                       First Citizens Bank &              D   2.49
          LLC                      PO Box 857                                          Trust Co                           E/F
                                   Goldsboro, NC 27533
                                                                                                                          G




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          Column 1: Codebtor                                                          Column 2: Creditor



  2.49    JSC Holdings,            Attn: Manager, Agent, Officer                       First Citizens Bank &              D   2.50
          LLC                      PO Box 857                                          Trust Co                           E/F
                                   Goldsboro, NC 27533
                                                                                                                          G




  2.50    JSC Holdings,            Attn: Manager, Agent, Officer                       First Citizens Bank &              D   2.51
          LLC                      PO Box 857                                          Trust Co                           E/F
                                   Goldsboro, NC 27533
                                                                                                                          G




  2.51    JSC Holdings,            Attn: Manager, Agent, Officer                       First Citizens Bank &              D   2.52
          LLC                      PO Box 857                                          Trust Co                           E/F
                                   Goldsboro, NC 27533
                                                                                                                          G




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Fill in this information to identify the case:

Debtor name         JSmith Civil, LLC

United States Bankruptcy Court for the:   EASTERN DISTRICT OF NORTH CAROLINA

Case number (if known)     23-02734-5
                                                                                                                            Check if this is an
                                                                                                                            amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                          04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,           Sources of revenue                     Gross revenue
      which may be a calendar year                                                   Check all that apply                   (before deductions and
                                                                                                                            exclusions)

      From the beginning of the fiscal year to filing date:                              Operating a business                      $15,557,702.00
      From 1/01/2023 to Filing Date
                                                                                         Other


      For prior year:                                                                    Operating a business                      $60,231,702.88
      From 1/01/2022 to 12/31/2022
                                                                                         Other


      For year before that:                                                              Operating a business                      $56,800,257.00
      From 1/01/2021 to 12/31/2021
                                                                                         Other


      For the fiscal year:                                                               Operating a business                      $34,787,683.00
      From 1/01/2020 to 12/31/2020
                                                                                         Other


      For the fiscal year:                                                               Operating a business                      $19,372,312.00
      From 1/01/2019 to 12/31/2019
                                                                                         Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                     Description of sources of revenue      Gross revenue from
                                                                                                                            each source
                                                                                                                            (before deductions and
                                                                                                                            exclusions)




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                                                                                       Description of sources of revenue               Gross revenue from
                                                                                                                                       each source
                                                                                                                                       (before deductions and
                                                                                                                                       exclusions)
      From the beginning of the fiscal year to filing date:                            See Exhibit 1 for Itemized
      From 1/01/2023 to Filing Date                                                    Accounting of Income
                                                                                       generated from Construction
                                                                                       Projects and Paid Directly to
                                                                                       Westfield Insurance
                                                                                       Company per Indemnity
                                                                                       Agreement                                               $6,746,909.56


Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                  Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                         Check all that apply
      3.1.
              See Attached Exhibit 2.1 for Transfers                                                            ---           Secured debt
              made by JSmith Civil, LLC                                                                                       Unsecured loan repayments
                                                                                                                              Suppliers or vendors
                                                                                                                              Services
                                                                                                                              Other


      3.2.
              See Attached Exhibit 2.2 for Transfers                                                            ---           Secured debt
              Made by Westfield Insurance for                                                                                 Unsecured loan repayments
              Benefit                                                                                                         Suppliers or vendors
              of JSmith Civil, LLC                                                                                            Services
                                                                                                                              Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor
      4.1.    See Exhibits 2.1, 2.2 and 3 Attached                                                         $0.00


5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                  Value of property

      See Attached Exhibit 4                                                                                                                       Unknown



6. Setoffs
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    List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
    of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
    debt.

          None

      Creditor's name and address                       Description of the action creditor took                         Date action was                Amount
                                                                                                                        taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

              Case title                                Nature of case              Court or agency's name and                Status of case
              Case number                                                           address
      7.1.    Black's Tire Service, Inc. v.             Collection                  Wayne County District                        Pending
              JSmith Civil, LLC                                                     Court                                        On appeal
              23 CVD 1294
                                                                                                                                 Concluded

      7.2.    First-Citizens Bank & Trust               Collection; Claim           Wayne County Superior                        Pending
              Company v. JSmith Civil,                  & Delivery                  Court                                        On appeal
              LLC, Jeremy A. Smith, JSC
                                                                                                                                 Concluded
              Holdings, LLC, and JSC
              Enterprises, LLC
              23 CVS 1398

      7.3.    Mack Industries, Inc. v.                  Collection; Breach          Wake County Superior                         Pending
              JSmith Civil, LLC and                     of Contract                 Court                                        On appeal
              Westfield Insurance Company
                                                                                                                                 Concluded
              23CV018474-910

      7.4.    SiteOne Landscape Supply,                 Collection; Breach          Wake County Superior                         Pending
              LLC v. JSmith Civil, LLC and              of Contract                 Court                                        On appeal
              Westfield Insurance Company
                                                                                                                                 Concluded
              23CVS16617-910

      7.5.    TGA TCA Durham Logistics                  Collection                  Durham County Superior                       Pending
              Center, LLC d/b/a TCA                                                 Court                                        On appeal
              Durham Logistics Center,
                                                                                                                                 Concluded
              LLC v. JSmith Civil, LLC
              23 CVS 3443

      7.6.    JSmith Civil, LLC v. Barnhill             Collection                  Wake County Superior                         Pending
              Contracting Company and                                               Court                                        On appeal
              Travelers Casualty and Surety
                                                                                                                                 Concluded
              Company of America
              22CV015003

      7.7.    JSmith Civil, LLC v. Montieth             Collection; Breach          Moore County Superior                        Pending
              Construction Corp., Moore                 of Contract;                Court                                        On appeal
              County Board of Education,                Negligence
                                                                                                                                 Concluded
              and LKC Engineering, PLLC
              22 CVS 693

      7.8.    JSmith Civil, LLC v. Caliber              Collection; Breach          Wayne County Superior                        Pending
              Builders, LLC and Adair                   of Contract                 Court                                        On appeal
              Place, LP
                                                                                                                                 Concluded
              22 CVS 1312

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
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    receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

               Recipient's name and address             Description of the gifts or contributions                 Dates given                       Value


Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and              Amount of payments received for the loss                  Dates of loss         Value of property
      how the loss occurred                                                                                                                          lost
                                                        If you have received payments to cover the loss, for
                                                        example, from insurance, government compensation, or
                                                        tort liability, list the total received.

                                                        List unpaid claims on Official Form 106A/B (Schedule
                                                        A/B: Assets – Real and Personal Property).
      Yanmar SV100-2B Exvacator                         N/A                                                       August 2023                 $35,000.00
      (Theft)


Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

                Who was paid or who received              If not money, describe any property transferred               Dates            Total amount or
                the transfer?                                                                                                                     value
                Address
      11.1.     Buckmiller, Boyette & Frost,
                PLLC
                Attn: Manager, Agent, Officer             *See additional information contained in
                4700 Six Forks Road, Ste. 150             the Affidavit attached to the Application
                Raleigh, NC 27609                         for Employment of Attorney for the Debtor                     05/12/2023            $50,000.00

                Email or website address


                Who made the payment, if not debtor?




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                Who was paid or who received              If not money, describe any property transferred              Dates                Total amount or
                the transfer?                                                                                                                        value
                Address
      11.2.     Second Wind Consultants
                Attn: Manager, Agent, Officer
                136 West Street                                                                                        Various
                Northampton, MA 01060                                                                                  Dates                   $287,000.00

                Email or website address


                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                             Describe any property transferred                   Dates transfers               Total amount or
                                                                                                              were made                              value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

               Who received transfer?                  Description of property transferred or                    Date transfer              Total amount or
               Address                                 payments received or debts paid in exchange               was made                            value
      13.1 See Attached Exhibits 2.1, 2.2
      .    & 3.


               Relationship to debtor




 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

                Address                                                                                            Dates of occupancy
                                                                                                                   From-To
      14.1.     1202 Parkway Drive
                Goldsboro, NC 27534

      14.2.     3109 Poplarwood Court
                Suite 300
                Raleigh, NC 27604

Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?
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           No. Go to Part 9.
           Yes. Fill in the information below.


               Facility name and address                Nature of the business operation, including type of services                If debtor provides meals
                                                        the debtor provides                                                         and housing, number of
                                                                                                                                    patients in debtor’s care

Part 9:     Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?

                       No Go to Part 10.
                      Yes. Fill in below:
                    Name of plan                                                                        Employer identification number of the plan
                    John Hancock                                                                        EIN:

                    Has the plan been terminated?
                       No
                       Yes


Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and            Last 4 digits of           Type of account or          Date account was                  Last balance
              Address                                   account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.




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Debtor      JSmith Civil, LLC                                                                   Case number (if known) 23-02734-5




         None

      Facility name and address                             Names of anyone with                  Description of the contents                   Does debtor
                                                            access to it                                                                        still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                            Court or agency name and              Nature of the case                            Status of case
      Case number                                           address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

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Debtor      JSmith Civil, LLC                                                                   Case number (if known) 23-02734-5



26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                              Date of service
                                                                                                                                    From-To
      26a.1.        Markham, Mitchell & Stroud, PLLC
                    Attn: Ralph D. Stroud, Jr.
                    206-B Malloy Street
                    Goldsboro, NC 27534

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address
      26d.1.        First Citizens Bank & Trust Co
                    Attn: Manager, Agent, Officer
                    PO Box 25187
                    Raleigh, NC 27611-5187
      26d.2.        Truist Equipment Finance Corp
                    Attn: Manager, Agent, Officer
                    PO Box 4418
                    Atlanta, GA 30302
      26d.3.        First Financial Holdings, LLC
                    Attn: Manager, Agent, Officer
                    750 The City Drive S., Ste. 300
                    Orange, CA 92868
      26d.4.        Fifth Third Bank
                    Attn: Manager, Agent, Officer
                    38 Fountain Square Plaza
                    Cincinnati, OH 45263

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.




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Debtor      JSmith Civil, LLC                                                                  Case number (if known) 23-02734-5



             Name of the person who supervised the taking of the                   Date of inventory        The dollar amount and basis (cost, market,
             inventory                                                                                      or other basis) of each inventory
      27.1 Jeremy Smith
      .                                                                            09/19/2023

             Name and address of the person who has possession of
             inventory records
             Jeremy Smith



      27.2 Karol Kwiklinski
      .                                                                            January 2023

             Name and address of the person who has possession of
             inventory records
             Karol Kwiklinski



28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Jeremy Smith                           118 Crosswinds Drive                                Manager                                 100
                                             Goldsboro, NC 27530



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

             Name and address of recipient            Amount of money or description and value of               Dates               Reason for
                                                      property                                                                      providing the value
      30.1 Jeremy Smith
      .    118 Crosswinds Drive                                                                                                     Salary and
             Goldsboro, NC 27530                      $264,120                                                  2022-2023           Compensation

             Relationship to debtor
             Manager/President


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                     Employer Identification number of the parent
                                                                                                      corporation




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XXx
X
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                                                                                               EXHIBIT

                                                                                                 SOFA 1
JSMITH CIVIL, LLC
BK CASE NO. 23-02734-5-JNC
EXHIBIT 1 TO STATEMENT OF FINANCIAL AFFAIRS

          ITEMIZED ACCOUNTING OF RECEIPTS FROM CONSTRUCTION PROJECTS
                  PAID DIRECTLY TO WESTFILED INSURANCE COMPANY
                    [REFERENCE: PART I -- INCOME / ITEM NOS. 1-2]

Construction Project                                 Total Receipts as of Petition Date
20.108 - NC DOT Hwy 117 Widening                   $                       636,394.70
20.114 - West Millbrook Middle Sch
21.100 - Carolina Springs Pump Sta
21.102 - Magnolia MHP Sanitary Sewer
21.109 - Hank's Branch
21.115 - Town of Windsor Wastewater
21.117 - EPA-RTP Entrance Gate Imp
21.119 - Apex Western Transmission
21.123 - Woods Creek - Site Work
21.125 - Pleasant Grove Ch Rd Industrial
21.126 - On Site Utilities Wood's Creek
21.127 - Off Site Utilities Wood's Creek
21.128 - Atlantic Ave Widening-Raleigh             $                        79,135.20
21.132 - Montlieu Ave Roadway & Utility            $                       990,904.53
22.102 - UPS Mebane - Samet                        $                     2,941,786.96
22.104 - NCDOT Brunswick County                    $                       319,983.64
22.105 - NCDOT Pitt County C204070                 $                     1,294,456.17
22.106 - Cumberland C204404                        $                       395,001.45
Job Costs
NC DOT - New Hanover                               $                        89,246.91
Overhead
Grand Total                                                              6,746,909.56
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                                                                                                                            EXHIBIT
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                                                AP Check Register by Date                                                      SOFA 2.1
    Paid Dates: 06/21/23 - 09/19/23                    CM Accounts: 8 - 8                              All CM Refs
                                     Print Deduct Recap? Y            Print Pay Type Recap? Y

CMRef        Paid Date Vendor                                                        Supplier
Trans AP Ref       Inv Date Description                                     Gross         Discount        Deducts              Net
CM Company: 1             CM Account: 8
Checks
     53            06/23/23    10066 - Belfast Patetown Sanitary District
   94     45373 June 23   05/24/23   45373 June 2023                         38.32             0.00            0.00           38.32
   95     56843 June 23   05/24/23   56843 June 2023                         59.43             0.00            0.00           59.43
                                                                                            Total For CMRef     53:           97.75
     54            06/23/23    11088 - Kimberley Radford
  184     062323          06/23/23   Pymt 10                              1,000.00             0.00            0.00        1,000.00
                                                                                            Total For CMRef     54:        1,000.00
     56            06/29/23    10213 - Eastern Emergency Equipment
 1539     5796            10/25/22   Equipment/Parts                        234.85             0.00            0.00          234.85
  160     5809            11/02/22   Equipment/Parts                        960.75             0.00            0.00          960.75
  986     5912            01/11/23   Equipment/Parts                        960.75             0.00            0.00          960.75
  987     5900            01/16/23   Equipment/Parts                         85.40             0.00            0.00           85.40
 1285     5939            01/31/23   Equipment/Parts                         57.59             0.00            0.00           57.59
 1524     5933            01/27/23   Equipment/Parts                        717.32             0.00            0.00          717.32
  187     5946            02/03/23   Equipment/Parts                        875.35             0.00            0.00          875.35
  645     5960            02/23/23   Equipment/Parts                      1,567.09             0.00            0.00        1,567.09
  646     5961            02/23/23   Equipment/Parts                        581.74             0.00            0.00          581.74
  106     6014            04/05/23   Equipment/Parts                        811.30             0.00            0.00          811.30
  515     6050            04/25/23   Equipment/Parts                      1,521.19             0.00            0.00        1,521.19
                                                                                            Total For CMRef     56:        8,373.33
     57            07/05/23    10773 - Jeremy Smith
    2     063023          07/01/23   Monthly Distribution-July        12,000.00                0.00            0.00       12,000.00
                                     2023
                                                                                            Total For CMRef     57:       12,000.00
     58            07/05/23    10491 - PNC Commercial Loan
  134     051523          05/05/23   35245677 JSC Holdings                3,039.81             0.00            0.00        3,039.81
                                     May 2023
  139     608466341June 06/20/23     June 2023                              752.32             0.00            0.00          752.32
  140     607691142June 06/20/23     June-JSC Holdings                    3,039.81             0.00            0.00        3,039.81
                                                                                            Total For CMRef     58:        6,831.94
     59            07/03/23    11088 - Kimberley Radford
    3     070323          07/03/23   Pymt 11                              1,000.00             0.00            0.00        1,000.00
                                                                                            Total For CMRef     59:        1,000.00
     60            07/05/23    10644 - Turf Services, LLC
  357     053123          05/31/23   Office                                 735.00             0.00            0.00          735.00
  294     63023           06/30/23   Office                                 555.00             0.00            0.00          555.00
                                                                                            Total For CMRef     60:        1,290.00
     61            07/07/23    11088 - Kimberley Radford
   32     070723          07/07/23   Pymt 12                              1,000.00             0.00            0.00        1,000.00
                                                                                            Total For CMRef     61:        1,000.00
     62            06/28/23    10696 - Wex Bank
  303     89316017        06/14/23   May 2023                         52,153.29                0.00       47,504.52        4,648.77
     Deducts Recap               PrevPaid:           47,504.52
                                                                                            Total For CMRef     62:        4,648.77
     63            07/07/23    10176 - Datagroup Technologies, Inc
  170     DTI-25189       05/03/23   Office                               1,112.00             0.00            0.00        1,112.00

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                                                  AP Check Register by Date
    Paid Dates: 06/21/23 - 09/19/23                     CM Accounts: 8 - 8                               All CM Refs
                                     Print Deduct Recap? Y              Print Pay Type Recap? Y

CMRef        Paid Date Vendor                                                          Supplier
Trans AP Ref       Inv Date Description                                      Gross          Discount        Deducts                  Net
CM Company: 1            CM Account: 8                                                                                           - Continued
Checks                                                                                                                            - Continued
                                                                                              Total For CMRef        63:        1,112.00
     64            07/07/23   10176 - Datagroup Technologies, Inc
   12     SaaS-25753     07/01/23     Office                                 729.15              0.00              0.00           729.15
                                                                                              Total For CMRef        64:          729.15
     65            07/14/23   11088 - Kimberley Radford
   93     071423         07/14/23     Pymt 13                               1,000.00             0.00              0.00         1,000.00
                                                                                              Total For CMRef        65:        1,000.00
     66            07/20/23   11088 - Kimberley Radford
  141     072023         07/20/23     Pymt 14                               1,000.00             0.00              0.00         1,000.00
                                                                                              Total For CMRef        66:        1,000.00
     67            07/24/23   10491 - PNC Commercial Loan
   51     607691142July2 07/06/23     July 2023 JSC Holdings                3,039.81             0.00              0.00         3,039.81
  140     608466341July2 07/07/23     July 2023 JSC Holdings                  752.32             0.00              0.00           752.32
                                                                                              Total For CMRef        67:        3,792.13
     68            07/24/23   10662 - Viewpoint, Inc
  206     VU426909       04/12/23     OFFICE                                  227.84             0.00              0.00           227.84
  207     VU426908       04/12/23     OFFICE                                2,848.52             0.00              0.00         2,848.52
  208     VU426911       04/12/23     OFFICE                                  800.90             0.00              0.00           800.90
  209     VU426910       04/12/23     OFFICE                                1,364.72             0.00              0.00         1,364.72
                                                                                              Total For CMRef        68:        5,241.98
     69            07/24/23   11305 - Gaines Oil Company
  211     139824         03/06/23     SHOP                                  1,146.07             0.00               0.00        1,146.07
  212     139809         03/06/23     SHOP                                  3,520.01             0.00           3,419.00          101.01
     Deducts Recap                  Balance:           3,419.00
  885 152523             03/27/23     SHOP                               1,795.85                0.00              0.00          1,795.85
  187 152954             04/05/23     SHOP                               1,273.66                0.00              0.00          1,273.66
  519 153086             04/10/23     SHOP                              -1,198.65                0.00              0.00         -1,198.65
  265 143787C            05/02/23     SHOP                              -1,873.42                0.00              0.00         -1,873.42
  306 144332             05/17/23     SHOP                              -1,244.52                0.00              0.00         -1,244.52
                                                                                              Total For CMRef        69:            0.00
     70            07/25/23   10818 - Intragrade
  806     22450          11/30/22     Northlake                         15,800.00                0.00              0.00         15,800.00
  208     44589          04/21/23     Joint Check Carolina Multi       -15,800.00                0.00              0.00        -15,800.00
                                      Fam
                                                                                              Total For CMRef        70:            0.00
     71            07/25/23   10729 - Ruston Paving Company, Inc.
 1120     36360REV       09/20/21     Woods Creek                     -104,349.00                0.00      -99,131.55           -5,217.45
     Deducts Recap              PrevPaid:            -99,131.55
 1121 36360COR           09/20/21     Woods Creek                      104,349.00                0.00       99,131.55           5,217.45
     Deducts Recap              PrevPaid:            99,131.55
                                                                                              Total For CMRef        71:            0.00
     72            07/25/23   10104 - Capital City Curb & Gutter, LLC
  192     14488          11/03/21     Northlake                         12,353.95                0.00       11,118.55           1,235.40
     Deducts Recap              PrevPaid:             11,118.55
  401 14544              11/17/21     Northlake                         48,402.65                0.00       43,562.38           4,840.27
     Deducts Recap              PrevPaid:            43,562.38

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                                                  AP Check Register by Date
    Paid Dates: 06/21/23 - 09/19/23                     CM Accounts: 8 - 8                              All CM Refs
                                      Print Deduct Recap? Y             Print Pay Type Recap? Y

CMRef        Paid Date Vendor                                                         Supplier
Trans AP Ref       Inv Date Description                                     Gross          Discount        Deducts                  Net
CM Company: 1             CM Account: 8                                                                                         - Continued
Checks                                                                                                                           - Continued
     72              07/25/23   10104 - Capital City Curb & Gutter, LLC                                                            - Continued
  267     14653            12/09/21   Northlake                         38,090.15               0.00       34,281.13           3,809.02
     Deducts Recap                PrevPaid:           34,281.13
  617 14687                12/14/21   Northlake                         25,013.75               0.00       22,512.37           2,501.38
     Deducts Recap                PrevPaid:           22,512.37
  686 14736                12/22/21   Northlake                         12,963.55               0.00       11,667.19           1,296.36
     Deducts Recap                PrevPaid:          11,667.19
  209 44519                04/07/23   Joint Check Carolina Multi       -13,682.43               0.00              0.00        -13,682.43
                                      Fam
                                                                                             Total For CMRef        72:            0.00
     73              07/25/23   10746 - ProClean Property Management
 1326     10704            01/20/23   21.103 Gresham                    22,200.00               0.00           7,237.50       14,962.50
     Deducts Recap                Balance:            7,237.50
  210 44548                04/14/23   Joint Check Carolina Multi       -14,962.50               0.00              0.00        -14,962.50
                                      Fam
                                                                                             Total For CMRef        73:            0.00
     74              07/25/23   10746 - ProClean Property Management
 1326     10704            01/20/23   21.103 Gresham                    22,200.00               0.00       14,962.50           7,237.50
     Deducts Recap                PrevPaid:         14,962.50
  211 44583                04/14/23   Joint CHeck Carolina Multi          -7,237.50             0.00              0.00         -7,237.50
                                      Fam
                                                                                             Total For CMRef        74:            0.00
     75              07/25/23   10104 - Capital City Curb & Gutter, LLC
  145     13882            06/07/21   Gresham Apartments                37,762.50               0.00       33,986.25           3,776.25
     Deducts Recap                PrevPaid:           33,986.25
  398 13938                06/16/21   Gresham Apts                      10,505.65               0.00           9,455.08        1,050.57
     Deducts Recap                PrevPaid:         9,455.08
  197 13998                07/08/21   Gresham Apartments               118,256.10               0.00      106,430.49          11,825.61
     Deducts Recap                PrevPaid:          106,430.49
  209 14130                08/13/21   Gresham Apts                      19,540.55               0.00       17,586.49           1,954.06
     Deducts Recap                PrevPaid:           17,586.49
  649 16474                12/12/22   Gresham                              823.25               0.00              0.00            823.25
  650 16475                12/12/22   Gresham                            4,696.00               0.00              0.00          4,696.00
  760 16604                01/17/23   Gresham Apartments                 6,847.50               0.00              0.00          6,847.50
  902 16603                01/17/23   GRESHAM APARTMENTS                19,985.00               0.00              0.00         19,985.00
  212 44518                04/07/23   Joint Check Carolina Multi       -50,958.24               0.00              0.00        -50,958.24
                                      Fam
                                                                                             Total For CMRef        75:            0.00
     76              07/25/23   10049 - B&K Grading and Paving, LLC
 1024     21.103.1         08/31/21   Gresham                          403,723.28               0.00      383,537.12          20,186.16
     Deducts Recap                PrevPaid:         383,537.12
  757 21.103.2             01/12/23   Gresham                           48,318.36               0.00              0.00         48,318.36
  213 44584                04/14/23   Joint Check Carolina Multi       -68,504.52               0.00              0.00        -68,504.52
                                      Fam
                                                                                             Total For CMRef        76:            0.00
     77              07/26/23   10431 - NC Quick Pass
  358     17563925496      09/05/22   Shop                                    6.49              0.00              0.00             6.49
  557     17616958972      09/19/22   Shop                                  141.65              0.00              0.00           141.65
  836     17611573123      09/18/22   Shop                                   45.09              0.00              0.00            45.09
  878     17639808559      09/25/22   Shop                                   32.00              0.00              0.00            32.00

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                                            AP Check Register by Date
    Paid Dates: 06/21/23 - 09/19/23              CM Accounts: 8 - 8                           All CM Refs
                                    Print Deduct Recap? Y        Print Pay Type Recap? Y

CMRef        Paid Date Vendor                                                 Supplier
Trans AP Ref       Inv Date Description                              Gross         Discount     Deducts              Net
CM Company: 1            CM Account: 8                                                                            - Continued
Checks                                                                                                             - Continued
     77          07/26/23     10431 - NC Quick Pass                                                                  - Continued
 1117     17658200749    09/29/22   Shop                              90.70            0.00        0.00             90.70
  207     17665308483    10/01/22   Shop                             312.15            0.00        0.00            312.15
  357     17676486714    10/04/22   Shop                             160.98            0.00        0.00            160.98
  388     17699617178    10/10/22   Shop                              31.00            0.00        0.00             31.00
 1275     17765932414    10/30/22   Shop                              26.67            0.00        0.00             26.67
 1324     17745427804    10/24/22   Shop                              13.14            0.00        0.00             13.14
 1325     17741468824    10/23/22   Shop                              10.25            0.00        0.00             10.25
  571     17789860455    11/05/22   Shop                             325.11            0.00        0.00            325.11
  572     17781759034    11/03/22   Shop                              82.45            0.00        0.00             82.45
  573     17797906753    11/07/22   Shop                             281.39            0.00        0.00            281.39
  574     17818955040    11/13/22   Shop                               6.00            0.00        0.00              6.00
  896     17870356022    11/27/22   Shop                              62.75            0.00        0.00             62.75
 1079     17866134192    11/26/22   Shop                               9.92            0.00        0.00              9.92
 1091     17888953477    12/03/22   Shop                              18.12            0.00        0.00             18.12
 1092     17934877331    12/11/22   SHOP                             497.91            0.00        0.00            497.91
 1093     17925876661    12/09/22   SHOP                             123.69            0.00        0.00            123.69
 1094     17913229384    12/09/22   SHOP                              89.88            0.00        0.00             89.88
 1095     17966871895    12/18/22   Shop                               6.00            0.00        0.00              6.00
 1457     18033841682    12/31/22   SHOP                              12.83            0.00        0.00             12.83
  756     18037637338    01/01/23   SHOP                              29.92            0.00        0.00             29.92
  943     18069046556    01/01/23   SHOP                              56.35            0.00        0.00             56.35
  951     18071456802    01/07/23   SHOP                              38.03            0.00        0.00             38.03
  952     18105650830    01/08/23   SHOP                              10.42            0.00        0.00             10.42
 1338     18113566438    01/16/23   SHOP                             612.87            0.00        0.00            612.87
 1339     18101387737    01/13/23   SHOP                             246.98            0.00        0.00            246.98
  389     18217405958    02/05/23   Equipment                         61.35            0.00        0.00             61.35
  405     18217448837    02/05/23   Equipment                         41.02            0.00        0.00             41.02
  406     18213179724    02/04/23   Equipment                         24.24            0.00        0.00             24.24
  672     18247835396    02/11/23   SHOP                              44.96            0.00        0.00             44.96
  676     18253605064    02/12/23   SHOP                              12.80            0.00        0.00             12.80
  751     35421713047    03/07/23   SHOP                             196.19            0.00        0.00            196.19
  775     35421940677    03/15/23   OFFICE                           541.58            0.00        0.00            541.58
  776     35421853187    03/13/23   SHOP                             117.75            0.00        0.00            117.75
 1080     18090875739    01/11/23   SHOP                             100.24            0.00        0.00            100.24
  527     35422975726    04/13/23   SHOP                             451.58            0.00        0.00            451.58
  528     35423006259    04/13/23   SHOP                              33.87            0.00        0.00             33.87
  529     35423005212    04/13/23   SHOP                             202.86            0.00        0.00            202.86
  530     35423005233    04/13/23   SHOP                              25.80            0.00        0.00             25.80
  531     35422979740    04/13/23   SHOP                              91.20            0.00        0.00             91.20
  532     35423106500    04/18/23   SHOP                              32.00            0.00        0.00             32.00
  539     35423164813    04/20/23   SHOP                              31.00            0.00        0.00             31.00
  541     35422603083    04/03/23   SHOP                              57.90            0.00        0.00             57.90
  543     35422590670    04/02/23   SHOP                              58.62            0.00        0.00             58.62
  544     35422570748    04/02/23   SHOP                               6.00            0.00        0.00              6.00
  546     35422846392    04/10/23   SHOP                              58.06            0.00        0.00             58.06
  547     35422837919    04/10/23   SHOP                              36.92            0.00        0.00             36.92
  264     35423313651    04/26/23   SHOP                              24.32            0.00        0.00             24.32
  273     35423630852    05/08/23   SHOP                              31.00            0.00        0.00             31.00
  274     35423640450    05/08/23   SHOP                              20.22            0.00        0.00             20.22
  312     35423653230    05/09/23   SHOP                              25.56            0.00        0.00             25.56
  366     35423931109    05/19/23   Shop                              19.16            0.00        0.00             19.16
  367     35423935025    05/19/23   Shop                               8.46            0.00        0.00              8.46
  373     35423861461    05/17/23   Shop                             317.03            0.00        0.00            317.03
   33     35424065088    05/24/23   SHOP                               0.50            0.00        0.00              0.50

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                                     Print Deduct Recap? Y              Print Pay Type Recap? Y

CMRef        Paid Date Vendor                                                          Supplier
Trans AP Ref       Inv Date Description                                      Gross          Discount        Deducts                 Net
CM Company: 1            CM Account: 8                                                                                           - Continued
Checks                                                                                                                            - Continued
     77             07/26/23   10431 - NC Quick Pass                                                                                - Continued
  130     35424301871     06/01/23   SHOP                                      39.84             0.00              0.00            39.84
  265     35424623191     06/13/23   Shop                                       6.00             0.00              0.00             6.00
  266     35424636858     06/14/23   Shop                                      27.17             0.00              0.00            27.17
   56     35424951024     06/24/23   Shop                                      38.72             0.00              0.00            38.72
   57     35424953749     06/24/23   Shop                                       0.66             0.00              0.00             0.66
   58     35424871004     06/22/23   Shop                                      60.50             0.00              0.00            60.50
   63     35424826454     06/20/23   Equipment                                 95.40             0.00              0.00            95.40
   69     35424967182     06/24/23   Equipment                                 31.00             0.00              0.00            31.00
   73     35425095192     06/29/23   Equipment                                  6.00             0.00              0.00             6.00
   84     35424206271     05/29/23   Shop                                     -25.13             0.00              0.00           -25.13
  216     35425241776     07/04/23   Equipment                                 14.69             0.00              0.00            14.69
  217     35425153403     07/01/23   Equipment                                  6.00             0.00              0.00             6.00
  218     35425330880     07/07/23   Equipment                                 12.00             0.00              0.00            12.00
                                                                                              Total For CMRef        77:        6,365.78
     78             07/26/23   10255 - Garrison Enterprise, Inc.
  362     NC04622         07/08/22   NCCU School of Business                1,560.00             0.00           1,482.00           78.00
     Deducts Recap               PrevPaid:           1,482.00
  228 000463              06/21/23   Joint Check Barnhill                     -78.00             0.00              0.00           -78.00
                                                                                              Total For CMRef        78:            0.00
     79             07/26/23   10651 - United Rentals
  460     215417242-002 03/07/23     21.116 NCCU SCHOOL OF                   526.32              0.00              0.00           526.32
                                     BUSINESS
  229     000460          06/21/23   Joint Check Barnhill                    -526.32             0.00              0.00          -526.32
                                                                                              Total For CMRef        79:            0.00
     80             07/26/23   11316 - Thomas Concrete of Carolina, Inc.
  671     194713          03/16/23   21.116 NCCU SCHOOL OF                   718.10              0.00              0.00           718.10
                                     BUSINESS
  230     000461          06/21/23   Joint Check Barnhill                    -718.10             0.00              0.00          -718.10
                                                                                              Total For CMRef        80:            0.00
     81             07/26/23   10229 - Erosion Control Solutions, LLC
  863     33778           05/24/21   NCCU                                   4,955.76             0.00           4,707.97          247.79
     Deducts Recap               PrevPaid:          4,707.97
 1025 33819               06/21/21   NCCU School of Business                 817.20              0.00            776.34            40.86
     Deducts Recap               PrevPaid:          776.34
  245 33865               07/14/21   NCCU School OF Business                 913.50              0.00            867.82            45.68
     Deducts Recap               PrevPaid:           867.82
 1025 34337               04/22/22   NCCU School of Business                 340.00              0.00            323.00            17.00
     Deducts Recap               PrevPaid:             323.00
  231 000462              06/21/23   Joint Check Barnhill                    -351.33             0.00              0.00          -351.33
                                                                                              Total For CMRef        81:            0.00
     82             07/26/23   11131 - Erosion Supply Company
  363     434335          11/11/22   NCCU School of Business                   96.24             0.00              0.00            96.24
 1147     434680          12/23/22   NCCU School of Business                  157.15             0.00              0.00           157.15
   78     434723          01/04/23   NCCU School of Business                5,442.19             0.00              0.00         5,442.19
  461     435103          02/16/23   21.116 NCCU SCHOOL OF                    132.78             0.00              0.00           132.78
                                     BUSINESS
  989     435236          03/01/23   21.116 NCCU School of                   196.84              0.00              0.00           196.84
                                     Business
  661     435480          03/24/23   21.116 NCCU SOB                          71.86              0.00              0.00            71.86

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                                      Print Deduct Recap? Y               Print Pay Type Recap? Y

CMRef        Paid Date Vendor                                                            Supplier
Trans AP Ref       Inv Date Description                                        Gross          Discount        Deducts                  Net
CM Company: 1             CM Account: 8                                                                                            - Continued
Checks                                                                                                                              - Continued
     82              07/26/23   11131 - Erosion Supply Company                                                                        - Continued
  232     000465           06/21/23   Joint Check Barnhill                -6,097.06                0.00              0.00         -6,097.06
                                                                                                Total For CMRef        82:            0.00
     83              07/26/23   10358 - Land Levelers LLC
  824     984              11/28/22   NCCU School of Business                   598.12             0.00              0.00           598.12
  233     000464           06/21/23   Joint Check Barnhill                     -598.12             0.00              0.00          -598.12
                                                                                                Total For CMRef        83:            0.00
     84              07/26/23   11469 - Denton Contracting
  341     21.105.1         06/29/23  21.105 Downtown Cary                 18,415.00                0.00           8,415.00       10,000.00
                                     Park
     Deducts Recap                 Balance:          8,415.00
  234 0052975              06/23/23 Joint Check Balfour Beatty           -10,000.00                0.00              0.00        -10,000.00
                                                                                                Total For CMRef        84:            0.00
     85              07/26/23   11238 - Secure Traffic Control Inc
  271     1220             04/28/23  21.105 Downtown Cary                     1,800.00             0.00              0.00         1,800.00
                                     Park
  272     1231             05/05/23 21.105 Downtown Cary                      1,800.00             0.00              0.00         1,800.00
                                     Park
  273     1237             05/15/23 21.105 Downtown Cary                      7,200.00             0.00           1,420.91        5,779.09
                                     Park
     Deducts Recap                 Balance:          1,420.91
  235 529758               06/23/23 Joint Check Balfour Beatty            -9,379.09                0.00              0.00         -9,379.09
                                                                                                Total For CMRef        85:            0.00
     86              07/26/23   11429 - Eastern NC Underground Inc
  270     1183             04/28/23   21.105 Downtown Cary                37,450.00                0.00              0.00        37,450.00
                                      Park
  236     529759           06/23/23   Joint Check Balfour Beatty         -37,450.00                0.00              0.00        -37,450.00
                                                                                                Total For CMRef        86:            0.00
     87              07/26/23   11430 - Heidelberg Materials Southeast Agg LLC
  427     42014817         02/15/23   21.105 DOWNTOWN                          892.68              0.00              0.00           892.68
                                      CARY PARK
  431     42017259         02/16/23   21.105 DOWNTOWN                          291.33              0.00              0.00           291.33
                                      CARY PARK
  725     42024768         02/20/23   21.105 DOWNTOWN                          418.19              0.00              0.00           418.19
                                      CARY PARK
  730     42032807         02/23/23   21.105 DOWNTOWN                          908.60              0.00              0.00           908.60
                                      CARY PARK
  739     42035939         02/24/23   21.105 DOWNTOWN                         2,692.00             0.00              0.00         2,692.00
                                      CARY PARK
  782     42027860         02/21/23   21.105 DOWNTOWN                          889.68              0.00              0.00           889.68
                                      CARY PARK
  790     42030025         02/22/23   21.105 DOWNTOWN                          444.39              0.00              0.00           444.39
                                      CARY PARK
 1004     42042191         02/28/23   21.122 21.105 22.108                    2,743.63             0.00           2,527.56          216.07
     Deducts Recap                Balance:         2,527.56
  316 42047244             03/01/23   21.105 DOWNTOWN                          789.13              0.00              0.00           789.13
                                      CARY PARK
  320     42055864         03/06/23   21.105 DOWNTOWN                          293.26              0.00              0.00           293.26
                                      CARY PARK
  326     42058791         03/07/23   21.105 DOWNTOWN                          703.54              0.00              0.00           703.54
                                      CARY PARK
  337     42061714         03/08/23   21.105 DOWNTOWN                          604.00              0.00              0.00           604.00
                                      CARY PARK

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CMRef        Paid Date Vendor                                                        Supplier
Trans AP Ref       Inv Date Description                                    Gross          Discount        Deducts                  Net
CM Company: 1            CM Account: 8                                                                                         - Continued
Checks                                                                                                                          - Continued
     87            07/26/23   11430 - Heidelberg Materials Southeast Agg LLC                                                      - Continued
  338     42061715       03/08/23   21.105 DOWNTOWN                        504.34              0.00              0.00           504.34
                                    CARY PARK
  348     42064683       03/09/23   21.105 DOWNTOWN                        813.78              0.00              0.00           813.78
                                    CARY PARK
  456     42074535       03/14/23   21.105 DOWNTOWN                        369.41              0.00              0.00           369.41
                                    CARY PARK
  457     42074534       03/14/23   21.105 DOWNTOWN                        288.96              0.00              0.00           288.96
                                    CARY PARK
  583     42080250       03/16/23   21.105 DOWNTOWN                        219.02              0.00              0.00           219.02
                                    CARY PARK
  596     42087645       03/20/23   21.105 Downtown Cary                   435.25              0.00              0.00           435.25
                                    Park
  605     42090612       03/21/23   21.105 DOWNTOWN                        420.06              0.00              0.00           420.06
                                    CARY PARK
  611     42093635       03/22/23   21.105 DOWNTOWN                        307.02              0.00              0.00           307.02
                                    CARY PARK
  951     42114527       03/30/23   21.105 DOWNTOWN                        411.37              0.00              0.00           411.37
                                    CARY PARK
  968     42096368       03/23/23   21.105 DOWNTOWN                        292.62              0.00              0.00           292.62
                                    CARY PARK
  969     42104115       03/27/23   21.105 DOWNTOWN                        287.03              0.00              0.00           287.03
                                    CARY PARK
  973     42110668       03/23/23   21.105 DOWNTOWN                        599.85              0.00              0.00           599.85
                                    CARY PARK
  199     42128942       04/03/23   21.105 DOWNTOWN                        309.17              0.00              0.00           309.17
                                    CARY PARK
  201     42128944       04/06/23   21.105 DOWNTOWN                        142.91              0.00              0.00           142.91
                                    CARY PARK
  237     529756         06/23/23   Joint Check Balfour Beatty       -14,543.66                0.00              0.00        -14,543.66
                                                                                            Total For CMRef        87:            0.00
     88            07/26/23   10651 - United Rentals
  710     212698017-004 01/13/23    Equipment/Rentals                     1,996.43             0.00               0.00        1,996.43
  712     207444599-008 01/13/23    Equipment/Rentals                     3,584.76             0.00               0.00        3,584.76
  351     212698017-006 03/10/23    Equipment/Rentals                     1,996.43             0.00               0.00        1,996.43
  377     212698017-007 04/07/23    Equipment/Rentals                     1,996.43             0.00               0.00        1,996.43
  378     213709015-005 04/08/23    Equipment/Rentals                       363.80             0.00               0.00          363.80
  580     218195886-001 04/28/23    Equipment/Rentals                     3,715.77             0.00           1,907.62        1,808.15
     Deducts Recap              Balance:             1,907.62
  238 529755             06/23/23   Joint Check Balfour Beatty       -11,746.00                0.00              0.00        -11,746.00
                                                                                            Total For CMRef        88:            0.00
     89            07/27/23   10286 - Gregory Poole Equipment Company
  114     SCN105759      03/01/23   Credit 1448603                         -929.57             0.00              0.00          -929.57
  200     IN1452441      03/06/23   Equipment/Parts                         124.04             0.00              0.00           124.04
  281     IN1453382      03/07/23   Equipment/parts                         218.90             0.00              0.00           218.90
  282     SCN105946      03/07/23   Equipment/Parts                        -225.51             0.00              0.00          -225.51
  674     IN1450779      03/02/23   Equipment/Parts                         845.35             0.00              0.00           845.35
  239     IN1452441-Cred 03/06/23   Posting Issue                           -33.21             0.00              0.00           -33.21
                                                                                            Total For CMRef        89:            0.00
     90            07/28/23   11088 - Kimberley Radford
  253     072823         07/28/23   Pymt 15 & 16 FINAL                    1,750.00             0.00              0.00         1,750.00
                                                                                            Total For CMRef        90:        1,750.00
     91            07/31/23   10644 - Turf Services, LLC
  255     07312023       07/31/23   Office                                 900.00              0.00              0.00           900.00

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                                     Print Deduct Recap? Y             Print Pay Type Recap? Y

CMRef        Paid Date Vendor                                                         Supplier
Trans AP Ref       Inv Date Description                                     Gross          Discount        Deducts                 Net
CM Company: 1            CM Account: 8                                                                                          - Continued
Checks                                                                                                                           - Continued
                                                                                             Total For CMRef        91:          900.00
     92            07/31/23   10682 - Wayne Opportunity Center
  411     975473         02/15/23     OFFICE                                 40.00              0.00              0.00            40.00
  412     975472         02/15/23     OFFICE                                 40.00              0.00              0.00            40.00
  795     975639         03/24/23     OFFICE                                 40.00              0.00              0.00            40.00
  121     975663         04/04/23     OFFICE                                 40.00              0.00              0.00            40.00
  265     975701         04/12/23     OFFICE                                 40.00              0.00              0.00            40.00
  354     975939         05/24/23     Office                                 80.00              0.00              0.00            80.00
   33     976094         06/27/23     Office                                 40.00              0.00              0.00            40.00
                                                                                             Total For CMRef        92:          320.00
     93            07/31/23   11345 - Mangum's Fleet Maintenance, Inc.
  256     07312023       07/31/23     Equipment                             514.01              0.00              0.00           514.01
                                                                                             Total For CMRef        93:          514.01
     94            08/01/23   11468 - Spectrum Business
  259     0033431072223 07/22/23      Office                                124.98              0.00              0.00           124.98
                                                                                             Total For CMRef        94:          124.98
     95            08/01/23   10203 - Duke Energy Progress
  263     9182315384Jul2 07/17/23     3735 US HWY 117                       205.62              0.00              0.00           205.62
  264     9182315631Jul2 07/17/23     3733 HWY 117                          358.44              0.00              0.00           358.44
  265     9194329101Jul2 07/17/23     3757 US HWY 117                       217.93              0.00              0.00           217.93
                                                                                             Total For CMRef        95:          781.99
     96            08/01/23   10965 - Ashley Henderson
    2     080123         08/01/23     Reimbursements                        266.53              0.00              0.00           266.53
                                                                                             Total For CMRef        96:          266.53
     97            08/01/23   10773 - Jeremy Smith
    3     080123         08/01/23     August                           12,000.00                0.00              0.00        12,000.00
                                                                                             Total For CMRef        97:       12,000.00
     98            08/03/23   10659 - Verizon Wireless
  217     9937065589     06/11/23     Office                               3,827.19             0.00           1,630.84        2,196.35
     Deducts Recap                  Balance:           1,630.84
  218 9937065590         06/11/23     Office                                -196.35             0.00              0.00          -196.35
                                                                                             Total For CMRef        98:        2,000.00
     99            08/04/23   10821 - Peggy Person-Waddell
   17     PR080823a      08/03/23     PR WE 073023                          201.64              0.00              0.00           201.64
                                                                                             Total For CMRef        99:          201.64
    014            07/28/23   10426 - NC Child Support Centralized Collections
  244     07/23/23-0     07/28/23     Rowe 0007059195                       110.31              0.00              0.00           110.31
  245     07/23/23-1     07/28/23     Avila Torres 0008210224                74.31              0.00              0.00            74.31
                                                                                            Total For CMRef       014:           184.62
    015            09/01/23   10427 - NC Dept of Revenue
   15     08/27/23-1     09/01/23     North Carolina SIT                   1,012.00             0.00              0.00         1,012.00
                                                                                            Total For CMRef       015:         1,012.00
    017            09/01/23   10655 - US Treasury
   16     08/27/23-5     09/01/23     Federal Withholding                  1,974.34             0.00              0.00         1,974.34


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CMRef        Paid Date Vendor                                                         Supplier
Trans AP Ref       Inv Date Description                                     Gross          Discount       Deducts                 Net
CM Company: 1            CM Account: 8                                                                                         - Continued
Checks                                                                                                                          - Continued
    017             09/01/23   10655 - US Treasury                                                                                - Continued
   17     08/27/23-6      09/01/23   FICA SS - Employee                    1,759.53            0.00              0.00         1,759.53
   18     08/27/23-7      09/01/23   FICA Medicare - Employee                411.49            0.00              0.00           411.49
   19     08/27/23-8      09/01/23   FICA SS - Employer                    1,759.53            0.00              0.00         1,759.53
   20     08/27/23-9      09/01/23   FICA Medicare- Employer                 411.49            0.00              0.00           411.49
                                                                                            Total For CMRef      017:         6,316.38
    100             08/04/23   11506 - Samantha Sollars
   18     PR080823b       08/03/23   PR WE 073023                           759.94             0.00              0.00           759.94
                                                                                            Total For CMRef      100:           759.94
    101             08/04/23   11508 - Alec Pyburn
   21     080423          08/04/23   Reimb for NCDOT permit                  30.00             0.00              0.00            30.00
                                                                                            Total For CMRef      101:            30.00
    102             08/11/23   11506 - Samantha Sollars
   22     081123a         08/11/23   PRWE 080623                            759.94             0.00              0.00           759.94
                                                                                            Total For CMRef      102:           759.94
    103             08/15/23   11510 - Mozingo Transmission Center
   64     081523          08/15/23                                           76.93             0.00              0.00            76.93
                                                                                            Total For CMRef      103:            76.93
    104             08/16/23   10238 - First Citizens Bank**
   71     910009247753A 08/02/23     Aug                                   4,699.21            0.00              0.00         4,699.21
                                                                                            Total For CMRef      104:         4,699.21
    105             08/17/23   10659 - Verizon Wireless
  217     9937065589      06/11/23   Office                                3,827.19            0.00           2,196.35        1,630.84
     Deducts Recap               PrevPaid:            2,196.35
  156 9939432342          07/11/23   Office                                4,569.52            0.00              0.00         4,569.52
                                                                                            Total For CMRef      105:         6,200.36
    106             08/21/23   10491 - PNC Commercial Loan
   90     607691142Aug 08/04/23      Aug - Holdings                        3,039.81            0.00              0.00         3,039.81
   91     608466341Aug 08/07/23      Aug - Holdings                          752.32            0.00              0.00           752.32
                                                                                            Total For CMRef      106:         3,792.13
    107             08/21/23   10569 - Southern Farm Bureau
   92     014392833L      07/31/23   June & July                            985.21             0.00              0.00           985.21
                                                                                            Total For CMRef      107:           985.21
    108             08/23/23   11512 - Earth Improvement Technologies, Inc.
   95     2393            08/18/23   Slope erosion eval - Moore        11,913.60               0.00              0.00        11,913.60
                                     Co.
                                                                                            Total For CMRef      108:        11,913.60
    109             08/23/23   11513 - Safelite Auto Glass
   96     082223          08/22/23   glass repair                           533.71             0.00              0.00           533.71
                                                                                            Total For CMRef      109:           533.71
    110             08/23/23   11513 - Safelite Auto Glass
   97     082323          08/23/23   glass repair                           555.06             0.00              0.00           555.06
                                                                                            Total For CMRef      110:           555.06


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                                    Print Deduct Recap? Y          Print Pay Type Recap? Y

CMRef        Paid Date Vendor                                                      Supplier
Trans AP Ref       Inv Date Description                                  Gross          Discount        Deducts             Net
CM Company: 1            CM Account: 8                                                                                   - Continued
Checks                                                                                                                    - Continued
    111            08/25/23   10035 - Antony Rowe
   98     082423-11      08/24/23   PR WE 08.20.23                       977.78              0.00           0.00          977.78
                                                                                          Total For CMRef   111:          977.78
    112            08/24/23   11514 - Rodrigo Castaneda-Garica
   99     082523-310     08/25/23   PR WE 08.20.23                  1,283.62                 0.00           0.00        1,283.62
                                                                                         Total For CMRef    112:        1,283.62
    113            08/24/23   10821 - Peggy Person-Waddell
  101     082523-67      08/25/23   PR WE 08.20.23                       952.24              0.00           0.00          952.24
                                                                                         Total For CMRef    113:          952.24
    114            08/24/23   11221 - Eric Torres
  102     082523-153     08/25/23   PR WE 08.20.23                      1,211.29             0.00           0.00        1,211.29
                                                                                         Total For CMRef    114:        1,211.29
    115            08/24/23   11516 - Fredy Valencia Guzman
  103     082523-259     08/25/23   PR WE 08.20.23                       875.62              0.00           0.00          875.62
                                                                                         Total For CMRef    115:          875.62
    116            08/24/23   11517 - Antonio Vega Avila
  104     082523-324     08/25/23   PR WE 08.20.23                       938.24              0.00           0.00          938.24
                                                                                         Total For CMRef    116:          938.24
    117            08/24/23   11515 - Larry Parker
  100     082523-256     08/25/23   PR WE 08.20.23                  1,161.10                 0.00           0.00        1,161.10
                                                                                         Total For CMRef    117:        1,161.10
    118            08/24/23   10965 - Ashley Henderson
  106     082423         08/24/23   Reimbursement for tires              400.00              0.00           0.00          400.00
                                                                                         Total For CMRef    118:          400.00
    119            08/24/23   11405 - Efrain Herrera
  105     082523-294     08/25/23   PR WE 08.20.23                       872.70              0.00           0.00          872.70
                                                                                         Total For CMRef    119:          872.70
    120            08/30/23   11494 - Trimble Inc
   70     INV-26585      08/12/23   Office                          5,608.83                 0.00           0.00        5,608.83
                                                                                         Total For CMRef    120:        5,608.83
    121            09/01/23   11518 - Cristian Acosta
  121     090123-258     09/01/23   PR WE 08.27.23                  1,171.99                 0.00           0.00        1,171.99
                                                                                         Total For CMRef    121:        1,171.99
    122            09/01/23   11306 - Servando Castenada Herrera
  122     090123-42      09/01/23   PR WE 08.27.23                  1,594.21                 0.00           0.00        1,594.21
                                                                                         Total For CMRef    122:        1,594.21
    123            09/01/23   11514 - Rodrigo Castaneda-Garica
  123     090123-310     09/01/23   PR WE 08.27.23                  1,283.61                 0.00           0.00        1,283.61
                                                                                         Total For CMRef    123:        1,283.61
    124            09/01/23   11519 - Guadalupe Gonzalez Pineda
  124     090123-17      09/01/23   PR WE 08.27.23                  1,845.95                 0.00           0.00        1,845.95
                                                                                         Total For CMRef    124:        1,845.95

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                                     Print Deduct Recap? Y           Print Pay Type Recap? Y

CMRef        Paid Date Vendor                                                        Supplier
Trans AP Ref       Inv Date Description                                    Gross          Discount       Deducts              Net
CM Company: 1            CM Account: 8                                                                                     - Continued
Checks                                                                                                                      - Continued
    125             09/01/23   11405 - Efrain Herrera
  125    090123-294       09/01/23   PR WE 08.27.23                   1,023.49                0.00           0.00         1,023.49
                                                                                           Total For CMRef   125:         1,023.49
    126             09/01/23   11485 - Roberto Lopez Avila
  126    090123-154       09/01/23   PR WE 08.27.23                        969.24             0.00           0.00           969.24
                                                                                           Total For CMRef   126:           969.24
    127             09/01/23   11479 - Marco Lopez Perez
  127    090123-8         09/01/23   PR WE 08.27.23                   1,183.19                0.00           0.00         1,183.19
                                                                                           Total For CMRef   127:         1,183.19
    128             09/01/23   10887 - Margarito Maldonado Morales
  128    090123-343       09/01/23   PR WE 08.27.23                   1,060.92                0.00           0.00         1,060.92
                                                                                           Total For CMRef   128:         1,060.92
    129             09/01/23   11515 - Larry Parker
  129    090123-256       09/01/23   PR 08.27.23                      1,161.10                0.00           0.00         1,161.10
                                                                                           Total For CMRef   129:         1,161.10
    130             09/01/23   10821 - Peggy Person-Waddell
  130    090123-67        09/01/23   PR WE 08.27..23                       952.24             0.00           0.00           952.24
                                                                                           Total For CMRef   130:           952.24
    131             09/01/23   11520 - Juan Rodriguez Sanchez
  131    090123-345       09/01/23   PR WE 08.27.23                   1,279.61                0.00           0.00         1,279.61
                                                                                           Total For CMRef   131:         1,279.61
    132             09/01/23   10871 - Jose E Sanchez
  132    090123-36        09/01/23   PR WE 08.27.23                   1,136.48                0.00           0.00         1,136.48
                                                                                           Total For CMRef   132:         1,136.48
    133             09/01/23   10831 - Juan Sandoval Carrasco
  133    090123-92        09/01/23   PR WE 08.27.23                   1,050.42                0.00           0.00         1,050.42
                                                                                           Total For CMRef   133:         1,050.42
    134             09/01/23   11080 - Raul Tolentino Andres
  134    090123-339       09/01/23   PR WE 08.27.23                   1,133.50                0.00           0.00         1,133.50
                                                                                           Total For CMRef   134:         1,133.50
    135             09/01/23   11221 - Eric Torres
  135    090123-153       09/01/23   PR WE 08.27.23                       1,211.30            0.00           0.00         1,211.30
                                                                                           Total For CMRef   135:         1,211.30
    136             09/01/23   11516 - Fredy Valencia Guzman
  136    090123-259       09/01/23   PR WE 08.27.23                   1,028.34                0.00           0.00         1,028.34
                                                                                           Total For CMRef   136:         1,028.34
    137             09/01/23   11517 - Antonio Vega Avila
  137    090123-324       09/01/23   PR WE 08.27.23                   1,135.30                0.00           0.00         1,135.30
                                                                                           Total For CMRef   137:         1,135.30
    138             09/01/23   11521 - Orlando Villapando
  138    090123-346       09/01/23   PR WE 08.27.23                   1,201.35                0.00           0.00         1,201.35
                                                                                           Total For CMRef   138:         1,201.35

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                                     Print Deduct Recap? Y                Print Pay Type Recap? Y

CMRef        Paid Date Vendor                                                         Supplier
Trans AP Ref       Inv Date Description                                     Gross          Discount          Deducts               Net
CM Company: 1             CM Account: 8                                                                                        - Continued
Checks                                                                                                                          - Continued
    139             09/01/23    10869 - Daniel Zepeda Cossio
  139    090123-342       09/01/23   PR WE 08.27.23                        1,377.42             0.00              0.00        1,377.42
                                                                                            Total For CMRef       139:        1,377.42
    325             08/13/23    11507 - Baxter Protective Coatings, LLC
  296    22.102.1         06/26/23   22.102.1 UPS                         64,492.50             0.00              0.00       64,492.50
                                                                                            Total For CMRef       325:       64,492.50
    345             08/13/23    10578 - Stay Alert
                                                                               0.00             0.00              0.00            0.00   Void
                                                                                            Total For CMRef       345:            0.00
                                                                                                    Total For Checks:       213,734.65
                                                                                             Total For CM Account 8:        213,734.65
                                                                                                          Grand Total:      213,734.65

                                                         Pay Type Recap
Pay Type Description              GLCo GLAcct         Description                             Amount         Disc Taken               Net
Paid Month: 06/23
          1 AP Payable                 1 20100.10     Accounts Payable                       14,119.85              0.00        14,119.85
                                                        Total For Paid Month 06/23:          14,119.85              0.00        14,119.85
Paid Month: 07/23
          1 AP Payable                 1 20100.10     Accounts Payable                      -209,151.67             0.00       -209,151.67
          2 Job Payable                1 20100.10     Accounts Payable                       83,349.68              0.00        83,349.68
          3 Subcontractor Payab        1 20100.10     Accounts Payable                      111,612.14              0.00       111,612.14
          5 Retainage Payable          1 20200.10     Retainage Payable                      59,221.46              0.00        59,221.46
                                                        Total For Paid Month 07/23:          45,031.61              0.00        45,031.61
Paid Month: 08/23
          1 AP Payable                 1 20100.10     Accounts Payable                       59,962.65              0.00        59,962.65
          2 Job Payable                1 20100.10     Accounts Payable                       64,492.50              0.00        64,492.50
                                                        Total For Paid Month 08/23:         124,455.15              0.00       124,455.15
Paid Month: 09/23
          1 AP Payable                 1 20100.10     Accounts Payable                       30,128.04              0.00        30,128.04
                                                        Total For Paid Month 09/23:          30,128.04              0.00        30,128.04
                                                                         Grand Total:       213,734.65              0.00       213,734.65




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                                      Print Deduct Recap? Y              Print Pay Type Recap? Y

CMRef        Paid Date Vendor                                                          Supplier
Trans AP Ref       Inv Date Description                                      Gross          Discount           Deducts            Net
CM Company: 1             CM Account: 7
Checks
     09              07/19/23   11468 - Spectrum Business
  363     0033431052223 05/22/23      OFFICE                                 293.91              0.00             0.00          293.91
   67     0033431062223 06/22/23      Office                                 424.95              0.00             0.00          424.95
                                                                                              Total For CMRef      09:          718.86
    008              07/06/23   11350 - Flores & Associates, LLC
   56     435937           05/05/23   Cobra Admin Fee - May                  106.60              0.00             0.00          106.60
                                      2023
  300     06052023         06/05/23   Cobra Payment                          106.60              0.00             0.00          106.60
   11     452791           07/05/23   Cobra                                  106.60              0.00             0.00          106.60
                                                                                             Total For CMRef      008:          319.80
    1031             07/12/23   11498 - Purdee's Diesel Wrecker & Service
   53     71223            07/12/23   Equipment                             1,294.98             0.00             0.00        1,294.98
                                                                                             Total For CMRef     1031:        1,294.98
    1032             07/14/23   11499 - RNS Automotive
   92     071423           07/14/23   Alignment                               82.00              0.00             0.00           82.00
                                                                                             Total For CMRef     1032:           82.00
    1033             07/17/23   10438 - NCDMV
  101     1                07/17/23   Equipment                              234.30              0.00             0.00          234.30
                                                                                             Total For CMRef     1033:          234.30
    1034             07/18/23   10471 - Ormond Energy
  118     71823            07/18/23   Equipment                               32.00              0.00             0.00           32.00
                                                                                             Total For CMRef     1034:           32.00
    1035             07/18/23   11301 - Quinn Heating and Cooling LLC
  125     2023-104         07/18/23   122 Parkway                           3,398.40             0.00             0.00        3,398.40
                                                                                             Total For CMRef     1035:        3,398.40
    1036             07/21/23   11503 - Goldsboro Starter & Alternator
  175     72123            07/21/23   Equipment                              362.95              0.00             0.00          362.95
                                                                                             Total For CMRef     1036:          362.95
    1037             07/21/23   10066 - Belfast Patetown Sanitary District
  159     71323            07/13/23   Office                                  74.31              0.00             0.00           74.31
                                                                                             Total For CMRef     1037:           74.31
    1038             07/21/23   10438 - NCDMV
  183     07212023         07/21/23   Equipment                              129.42              0.00             0.00          129.42
                                                                                             Total For CMRef     1038:          129.42
    1039             07/21/23   10676 - Wayne Auto Salvage
  184     07212023         07/21/23   Equipment                              133.75              0.00             0.00          133.75
                                                                                             Total For CMRef     1039:          133.75
    1040             07/24/23   11505 - Adobe
  204     71123            07/11/23   Office                                  51.22              0.00             0.00           51.22
                                                                                             Total For CMRef     1040:           51.22
    1041             07/24/23   10057 - Banner Life Insurance
  203     181307084-202306/15/23      181307084-2023                         459.96              0.00             0.00          459.96
                                                                                             Total For CMRef     1041:          459.96

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                                    Print Deduct Recap? Y                 Print Pay Type Recap? Y

CMRef        Paid Date Vendor                                                         Supplier
Trans AP Ref       Inv Date Description                                     Gross          Discount           Deducts            Net
CM Company: 1            CM Account: 7                                                                                        - Continued
Checks                                                                                                                         - Continued
    1042          07/28/23    10238 - First Citizens Bank**
  342    910009247753Ju07/02/23     June                                   4,518.47             0.00             0.00        4,518.47
   49    247753 July 23 07/02/23    910009247753 July 2023                 4,518.47             0.00             0.00        4,518.47
                                                                                            Total For CMRef     1042:        9,036.94
    1043          08/01/23    10066 - Belfast Patetown Sanitary District
  257    73123           07/31/23   3733 US HWY 117                           74.31             0.00             0.00           74.31
                                                                                            Total For CMRef     1043:           74.31
    1044          08/03/23    10432 - NC Secretary of State
   20    20342024        08/02/23   Office                                    52.00             0.00             0.00           52.00
                                                                                            Total For CMRef     1044:           52.00
    1045          08/29/23    11515 - Larry Parker
  120    082923          08/29/23   Cash for tires                          505.00              0.00             0.00          505.00
                                                                                            Total For CMRef     1045:          505.00
                                                                                                   Total For Checks:        16,960.20
                                                                                             Total For CM Account 7:        16,960.20
                                                                                                         Grand Total:       16,960.20

                                                         Pay Type Recap
Pay Type Description           GLCo GLAcct            Description                            Amount         Disc Taken               Net
Paid Month: 07/23
         1 AP Payable                 1 20100.10      Accounts Payable                       16,328.89             0.00        16,328.89
                                                        Total For Paid Month 07/23:          16,328.89             0.00        16,328.89
Paid Month: 08/23
         1 AP Payable                 1 20100.10      Accounts Payable                          631.31             0.00           631.31
                                                        Total For Paid Month 08/23:             631.31             0.00           631.31
                                                                         Grand Total:        16,960.20             0.00        16,960.20




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    Paid Dates: 06/29/23 - 06/29/23                CM Accounts: 4 - 4                                  All CM Refs
                                    Print Deduct Recap? Y              Print Pay Type Recap? Y

CMRef        Paid Date Vendor                                                      Supplier
Trans AP Ref       Inv Date Description                                  Gross          Discount           Deducts            Net
CM Company: 1            CM Account: 4
Checks
    853          06/29/23     10631 - Travelers Insurance
  344    5418C4214Ju     06/30/23   June                               70,632.53             0.00             0.00       70,632.53
                                                                                         Total For CMRef      853:       70,632.53
    6422         06/29/23     10906 - JSmith Civil, LLC
                                                                            0.00             0.00             0.00            0.00   Void
                                                                                         Total For CMRef     6422:            0.00
    6423         06/29/23     10906 - JSmith Civil, LLC
                                                                            0.00             0.00             0.00            0.00   Void
                                                                                         Total For CMRef     6423:            0.00
                                                                                                Total For Checks:        70,632.53
                                                                                          Total For CM Account 4:        70,632.53
                                                                                                      Grand Total:       70,632.53

                                                          Pay Type Recap
Pay Type Description           GLCo GLAcct         Description                            Amount         Disc Taken               Net
Paid Month: 06/23
          1 AP Payable                1 20100.10   Accounts Payable                       70,632.53             0.00        70,632.53
                                                     Total For Paid Month 06/23:          70,632.53             0.00        70,632.53
                                                                      Grand Total:        70,632.53             0.00        70,632.53




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                                     Case 23-02734-5-JNC                      Doc 68 Filed 10/17/23 Entered 10/17/23 21:36:17                                                           Page 174 of
                                                                                               228                                                                                                    EXHIBIT
 JSmith Civil, LLC
 BK Case No. 23-02734-5-JNC
 EXHIBIT 2.2 TO STATEMENT OF FINANCIAL AFFAIRS
 References: Part 2, Item 3 & Part 6, Item 13                                                                                                                                                         SOFA 2.2
                                                                             Payments Made by Westfiled Insurance Company on behalf of Debtor (JSmith Civil, LLC)
                                                                                               Date Range-Period: 4/10/2023 -- 9/18/2023

 Project                                       Date     Account                                Num         Description                                              Memo                                     Amount
 Job Costs                                  6/23/2023   J Smith Civil 3032                    19149        WEX Bank                                                 Inv #89316017                         (47,504.52)
 20.108 - NC DOT Hwy 117 Widening            5/3/2023   J Smith Civil 3032                   wire    S     J Smith Civil                                            Payroll funding we 4/30/23            (11,429.68)
 20.108 - NC DOT Hwy 117 Widening            5/5/2023   J Smith Civil 3032                  19004     S    Complete Construction Site Management Co, LLC            Job #23-13 thru 4/30/23                (2,054.43)
 20.108 - NC DOT Hwy 117 Widening            5/5/2023   J Smith Civil 3032                    19010        Cruz Brothers Concrete, Inc                              Pay App #16 thru 3/22/23              (12,141.38)
 20.108 - NC DOT Hwy 117 Widening            5/8/2023   J Smith Civil 3032                   wire    S     S T Wooten Corporation                                   Inv #73401                            (11,704.30)
 20.108 - NC DOT Hwy 117 Widening            5/8/2023   J Smith Civil 3032                   wire    S     S T Wooten Corporation                                   Inv #73402                            (13,213.88)
 20.108 - NC DOT Hwy 117 Widening            5/8/2023   J Smith Civil 3032                   wire    S     S T Wooten Corporation                                   Inv #73403                            (16,259.08)
 20.108 - NC DOT Hwy 117 Widening            5/8/2023   J Smith Civil 3032                   wire    S     S T Wooten Corporation                                   Inv #73404                             (9,422.71)
 20.108 - NC DOT Hwy 117 Widening            5/8/2023   J Smith Civil 3032                   wire    S     S T Wooten Corporation                                   Inv #75452                            (24,266.02)
 20.108 - NC DOT Hwy 117 Widening            5/8/2023   J Smith Civil 3032                   wire    S     S T Wooten Corporation                                   Inv #75453                            (29,691.73)
 20.108 - NC DOT Hwy 117 Widening            5/8/2023   J Smith Civil 3032                   wire    S     S T Wooten Corporation                                   Inv #76041                            (33,644.61)
 20.108 - NC DOT Hwy 117 Widening            5/8/2023   J Smith Civil 3032                   wire    S     S T Wooten Corporation                                   Inv #78177                             (9,922.89)
 20.108 - NC DOT Hwy 117 Widening            5/8/2023   J Smith Civil 3032                   wire    S     S T Wooten Corporation                                   Inv #78179                            (41,919.70)
 20.108 - NC DOT Hwy 117 Widening            5/8/2023   J Smith Civil 3032                   wire    S     S T Wooten Corporation                                   Inv #78572                            (43,329.00)
 20.108 - NC DOT Hwy 117 Widening            5/8/2023   J Smith Civil 3032                   wire    S     S T Wooten Corporation                                   Inv #79348                            (10,434.52)
 20.108 - NC DOT Hwy 117 Widening            5/9/2023   J Smith Civil 3032                  19013     S    Tripp Bro's Inc.                                         Inv #245780                            (2,682.45)
 20.108 - NC DOT Hwy 117 Widening            5/9/2023   J Smith Civil 3032                  19013     S    Tripp Bro's Inc.                                         Inv #245791                           (12,705.75)
 20.108 - NC DOT Hwy 117 Widening            5/9/2023   J Smith Civil 3032                  19013     S    Tripp Bro's Inc.                                         Inv #245792                            (6,088.53)
 20.108 - NC DOT Hwy 117 Widening            5/9/2023   J Smith Civil 3032                  19013     S    Tripp Bro's Inc.                                         Inv #245793                            (7,760.38)
 20.108 - NC DOT Hwy 117 Widening            5/9/2023   J Smith Civil 3032                  19013     S    Tripp Bro's Inc.                                         Inv #245809                           (11,434.12)
 20.108 - NC DOT Hwy 117 Widening            5/9/2023   J Smith Civil 3032                  19013     S    Tripp Bro's Inc.                                         Inv #245813                            (1,344.28)
 20.108 - NC DOT Hwy 117 Widening            5/9/2023   J Smith Civil 3032                  19013     S    Tripp Bro's Inc.                                         Inv #245814                            (1,923.03)
 20.108 - NC DOT Hwy 117 Widening            5/9/2023   J Smith Civil 3032                  19013     S    Tripp Bro's Inc.                                         Inv #245815                           (15,565.11)
 20.108 - NC DOT Hwy 117 Widening            5/9/2023   J Smith Civil 3032                  19013     S    Tripp Bro's Inc.                                         Inv #245824                           (16,088.42)
 20.108 - NC DOT Hwy 117 Widening            5/9/2023   J Smith Civil 3032                  19013     S    Tripp Bro's Inc.                                         Inv #245845                            (3,874.42)
 20.108 - NC DOT Hwy 117 Widening           5/11/2023   J Smith Civil 3032                   wire    S     J Smith Civil                                            Payroll funding we 5/7/23             (10,958.23)
 20.108 - NC DOT Hwy 117 Widening           5/12/2023   J Smith Civil 3032                   wire    S     Couch Oil Company, Inc                                   Inv #619830                            (2,125.82)
 20.108 - NC DOT Hwy 117 Widening           5/12/2023   J Smith Civil 3032                   wire    S     Couch Oil Company, Inc                                   Inv #622775                              (916.28)
 20.108 - NC DOT Hwy 117 Widening           5/12/2023   J Smith Civil 3032                   wire    S     Couch Oil Company, Inc                                   Inv #624461                            (1,377.17)
 20.108 - NC DOT Hwy 117 Widening           5/12/2023   J Smith Civil 3032                   wire    S     Couch Oil Company, Inc                                   Inv #629690                            (1,493.48)
 20.108 - NC DOT Hwy 117 Widening           5/17/2023   J Smith Civil 3032                  19024     S    WEX Bank                                                                                        (4,023.87)
 20.108 - NC DOT Hwy 117 Widening           5/17/2023   J Smith Civil 3032                   wire    S     J Smith Civil                                            Payroll funding we 5/14/23            (13,462.07)
 20.108 - NC DOT Hwy 117 Widening           5/19/2023   J Smith Civil 3032                      wire       Watson Electrical Construction Co                        Estimate #13                          (66,300.00)
 20.108 - NC DOT Hwy 117 Widening           5/22/2023   J Smith Civil 3032                  19029     S    Complete Construction Site Management Co, LLC            Job #23-13 thru 5/14/23                (2,699.52)
 20.108 - NC DOT Hwy 117 Widening           5/24/2023   J Smith Civil 3032                    19030        The John R. McAdams Company, Inc.                        Invoice 136212, 3/13/23                (1,000.00)
 20.108 - NC DOT Hwy 117 Widening           5/24/2023   J Smith Civil 3032                  19038     S    GFL Environmental                                        Invoice 0060060582, 2/28/23              (118.94)
 20.108 - NC DOT Hwy 117 Widening           5/24/2023   J Smith Civil 3032                  19038     S    GFL Environmental                                        Invoice 0060209350, 3/20/23              (516.10)
 20.108 - NC DOT Hwy 117 Widening           5/24/2023   J Smith Civil 3032                  19038     S    GFL Environmental                                        Invoice 0060481539, 3/31/23              (118.94)
 20.108 - NC DOT Hwy 117 Widening           5/24/2023   J Smith Civil 3032                  19039     S    City of Goldsboro                                        Hydrant ME, 3/24/23, Acct 4173            (25.00)
 20.108 - NC DOT Hwy 117 Widening           5/24/2023   J Smith Civil 3032                  19039     S    City of Goldsboro                                        Hydrant ME, 4/24/23, Acct 4173            (25.00)
 20.108 - NC DOT Hwy 117 Widening           5/24/2023   J Smith Civil 3032                  19040     S    Parks Portable Toilets, Inc.                             Invoice A-118685, 12/2/22                (274.44)
 20.108 - NC DOT Hwy 117 Widening           5/24/2023   J Smith Civil 3032                  19040     S    Parks Portable Toilets, Inc.                             Invoice A-119528, 12/31/22               (284.25)
 20.108 - NC DOT Hwy 117 Widening           5/24/2023   J Smith Civil 3032                  19040     S    Parks Portable Toilets, Inc.                             Invoice A-120367, 1/28/23                (130.68)
 20.108 - NC DOT Hwy 117 Widening           5/24/2023   J Smith Civil 3032                  19040     S    Parks Portable Toilets, Inc.                             Invoice A-121217, 2/25/23                 (91.48)
 20.108 - NC DOT Hwy 117 Widening           5/24/2023   J Smith Civil 3032                  19040     S    Parks Portable Toilets, Inc.                             Invoice A-122119, 3/25/23                 (91.48)
 20.108 - NC DOT Hwy 117 Widening           5/24/2023   J Smith Civil 3032                  19040     S    Parks Portable Toilets, Inc.                             Invoice A-123006, 4/22/23                 (91.48)
 20.108 - NC DOT Hwy 117 Widening           5/24/2023   J Smith Civil 3032                  Wire     S     Heidelberg Materials Southeast Agg LLC                   Invoice 42030026                         (228.36)
 20.108 - NC DOT Hwy 117 Widening           5/24/2023   J Smith Civil 3032                  Wire     S     Heidelberg Materials Southeast Agg LLC                   Invoice 42080249                         (957.50)
 20.108 - NC DOT Hwy 117 Widening           5/24/2023   J Smith Civil 3032                  Wire     S     J Smith Civil                                            Payroll funding we 5/21/23            (12,818.97)
 20.108 - NC DOT Hwy 117 Widening           5/31/2023   J Smith Civil 3032                   wire    S     J Smith Civil                                            Payroll funding we 5/28/23            (24,124.93)
 20.108 - NC DOT Hwy 117 Widening            6/6/2023   J Smith Civil 3032                    19078        Cruz Brothers Concrete, Inc                              Pay App #17 thru 4/22/23              (50,252.23)
 20.108 - NC DOT Hwy 117 Widening            6/6/2023   J Smith Civil 3032                   wire    S     Couch Oil Company, Inc                                   Inv #634534                            (1,458.15)
 20.108 - NC DOT Hwy 117 Widening            6/6/2023   J Smith Civil 3032                   wire    S     Couch Oil Company, Inc                                   Inv #638167                            (1,221.07)
 20.108 - NC DOT Hwy 117 Widening            6/6/2023   J Smith Civil 3032                  19091     S    Joseph Beaman                                            Inv #1112                                 (65.00)
 20.108 - NC DOT Hwy 117 Widening            6/6/2023   J Smith Civil 3032                  19091     S    Joseph Beaman                                            Inv #0031                                 (75.00)




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 20.108 - NC DOT Hwy 117 Widening       6/6/2023   J Smith Civil 3032         19091    S   Joseph Beaman                                   Inv #0030                           (375.00)
 20.108 - NC DOT Hwy 117 Widening       6/7/2023   J Smith Civil 3032           19096      Triangle Area Earth Corporation                 Inv #5411                         (3,134.10)
 20.108 - NC DOT Hwy 117 Widening       6/7/2023   J Smith Civil 3032          wire   S    J Smith Civil                                   Payroll funding we 6/4/23        (14,290.17)
 20.108 - NC DOT Hwy 117 Widening      6/14/2023   J Smith Civil 3032         19124    S   Stay Alert Safety Services, LLC                 Inv #120957                       (1,056.83)
 20.108 - NC DOT Hwy 117 Widening      6/14/2023   J Smith Civil 3032         19124    S   Stay Alert Safety Services, LLC                 Inv #121307                         (941.80)
 20.108 - NC DOT Hwy 117 Widening      6/14/2023   J Smith Civil 3032          wire   S    J Smith Civil                                   Payroll funding we 6/11/23       (18,985.20)
 20.108 - NC DOT Hwy 117 Widening      6/16/2023   J Smith Civil 3032         19135    S   Complete Construction Site Management Co, LLC   Job #23-13 thru 5/28/23           (4,793.25)
 20.108 - NC DOT Hwy 117 Widening      6/21/2023   J Smith Civil 3032         19138    S   **VOID**Ram Rent-All, Inc.                      2378                                    -
 20.108 - NC DOT Hwy 117 Widening      6/21/2023   J Smith Civil 3032         19138    S   **VOID**Ram Rent-All, Inc.                      2426                                    -
 20.108 - NC DOT Hwy 117 Widening      6/21/2023   J Smith Civil 3032         19138    S   **VOID**Ram Rent-All, Inc.                      3088                                    -
 20.108 - NC DOT Hwy 117 Widening      6/21/2023   J Smith Civil 3032         19138    S   **VOID**Ram Rent-All, Inc.                      3599                                    -
 20.108 - NC DOT Hwy 117 Widening      6/21/2023   J Smith Civil 3032         19138    S   **VOID**Ram Rent-All, Inc.                      3880                                    -
 20.108 - NC DOT Hwy 117 Widening      6/21/2023   J Smith Civil 3032         19138    S   **VOID**Ram Rent-All, Inc.                      3947                                    -
 20.108 - NC DOT Hwy 117 Widening      6/21/2023   J Smith Civil 3032         19138    S   **VOID**Ram Rent-All, Inc.                      3893                                    -
 20.108 - NC DOT Hwy 117 Widening      6/21/2023   J Smith Civil 3032         19138    S   **VOID**Ram Rent-All, Inc.                      4157                                    -
 20.108 - NC DOT Hwy 117 Widening      6/21/2023   J Smith Civil 3032         19138    S   **VOID**Ram Rent-All, Inc.                      4185                                    -
 20.108 - NC DOT Hwy 117 Widening      6/21/2023   J Smith Civil 3032         19138    S   **VOID**Ram Rent-All, Inc.                      4193                                    -
 20.108 - NC DOT Hwy 117 Widening      6/21/2023   J Smith Civil 3032         19138    S   **VOID**Ram Rent-All, Inc.                      4248                                    -
 20.108 - NC DOT Hwy 117 Widening      6/21/2023   J Smith Civil 3032         19138    S   **VOID**Ram Rent-All, Inc.                      4512                                    -
 20.108 - NC DOT Hwy 117 Widening      6/21/2023   J Smith Civil 3032         19138    S   **VOID**Ram Rent-All, Inc.                      4897                                    -
 20.108 - NC DOT Hwy 117 Widening      6/21/2023   J Smith Civil 3032         19138    S   **VOID**Ram Rent-All, Inc.                      5431                                    -
 20.108 - NC DOT Hwy 117 Widening      6/21/2023   J Smith Civil 3032         19138    S   **VOID**Ram Rent-All, Inc.                      5448                                    -
 20.108 - NC DOT Hwy 117 Widening      6/21/2023   J Smith Civil 3032         19138    S   **VOID**Ram Rent-All, Inc.                      5605                                    -
 20.108 - NC DOT Hwy 117 Widening      6/21/2023   J Smith Civil 3032         19138    S   **VOID**Ram Rent-All, Inc.                      5695                                    -
 20.108 - NC DOT Hwy 117 Widening      6/21/2023   J Smith Civil 3032         19138    S   **VOID**Ram Rent-All, Inc.                      13031                                   -
 20.108 - NC DOT Hwy 117 Widening      6/21/2023   J Smith Civil 3032          wire   S    J Smith Civil                                   Payroll funding we 6/18/23       (25,154.65)
 20.108 - NC DOT Hwy 117 Widening      6/26/2023   J Smith Civil 3032         19154    S   Super Cast, Inc.                                Inv #1066                            (79.68)
 20.108 - NC DOT Hwy 117 Widening      6/26/2023   J Smith Civil 3032         19154    S   Super Cast, Inc.                                Inv #1233                           (582.86)
 20.108 - NC DOT Hwy 117 Widening      6/26/2023   J Smith Civil 3032         19154    S   Super Cast, Inc.                                Inv #1424                         (1,196.24)
 20.108 - NC DOT Hwy 117 Widening      6/26/2023   J Smith Civil 3032         19154    S   Super Cast, Inc.                                Inv #1449                           (530.16)
 20.108 - NC DOT Hwy 117 Widening      6/26/2023   J Smith Civil 3032         19154    S   Super Cast, Inc.                                Inv #1544                           (210.08)
 20.108 - NC DOT Hwy 117 Widening      6/26/2023   J Smith Civil 3032         19154    S   Super Cast, Inc.                                Inv #1597                           (299.27)
 20.108 - NC DOT Hwy 117 Widening      6/28/2023   J Smith Civil 3032         19166    S   Complete Construction Site Management Co, LLC   Job #23-13 thru 6/11/23           (8,749.43)
 20.108 - NC DOT Hwy 117 Widening      6/28/2023   J Smith Civil 3032          wire   S    J Smith Civil                                   Payroll funding we 6/25/23       (33,208.38)
 20.108 - NC DOT Hwy 117 Widening       7/6/2023   J Smith Civil 3032          wire   S    J Smith Civil                                   Payroll funding we 7/2/23        (22,405.15)
 20.108 - NC DOT Hwy 117 Widening       7/6/2023   J Smith Civil 3032           19178      Michael Biggins                                 5/26/23 Traffic Control             (225.00)
 20.108 - NC DOT Hwy 117 Widening       7/6/2023   J Smith Civil 3032           19179      Alexander Brogden                               5/26/23 Traffic Control             (225.00)
 20.108 - NC DOT Hwy 117 Widening       7/6/2023   J Smith Civil 3032           19180      Kyree Nye'l Williams                            5/26/23 Traffic Control             (225.00)
 20.108 - NC DOT Hwy 117 Widening       7/6/2023   J Smith Civil 3032           19181      Zachary Kinlaw                                  5/26/23 Traffic Control             (225.00)
 20.108 - NC DOT Hwy 117 Widening      7/10/2023   J Smith Civil 3032         19189    S   WEX Bank                                        Account #0496-00-743624-9         (7,467.02)
 20.108 - NC DOT Hwy 117 Widening      7/10/2023   J Smith Civil 3032         19193    S   GETSCo, Inc.                                    Inv #0157620                      (2,003.06)
 20.108 - NC DOT Hwy 117 Widening      7/10/2023   J Smith Civil 3032         19193    S   GETSCo, Inc.                                    Inv #0158692                      (5,778.17)
 20.108 - NC DOT Hwy 117 Widening      7/10/2023   J Smith Civil 3032         19193    S   GETSCo, Inc.                                    Inv #0158815                       3,701.88
 20.108 - NC DOT Hwy 117 Widening      7/10/2023   J Smith Civil 3032         19199    S   Ram Rent-All, Inc.                              2378                                (250.86)
 20.108 - NC DOT Hwy 117 Widening      7/10/2023   J Smith Civil 3032         19199    S   Ram Rent-All, Inc.                              2426                                 (81.13)
 20.108 - NC DOT Hwy 117 Widening      7/10/2023   J Smith Civil 3032         19199    S   Ram Rent-All, Inc.                              3088                                 (58.71)
 20.108 - NC DOT Hwy 117 Widening      7/10/2023   J Smith Civil 3032         19199    S   Ram Rent-All, Inc.                              3599                                (217.77)
 20.108 - NC DOT Hwy 117 Widening      7/10/2023   J Smith Civil 3032         19199    S   Ram Rent-All, Inc.                              3880                                (117.43)
 20.108 - NC DOT Hwy 117 Widening      7/10/2023   J Smith Civil 3032         19199    S   Ram Rent-All, Inc.                              3947                                (117.43)
 20.108 - NC DOT Hwy 117 Widening      7/10/2023   J Smith Civil 3032         19199    S   Ram Rent-All, Inc.                              3893                                (176.14)
 20.108 - NC DOT Hwy 117 Widening      7/10/2023   J Smith Civil 3032         19199    S   Ram Rent-All, Inc.                              4157                                (217.77)
 20.108 - NC DOT Hwy 117 Widening      7/10/2023   J Smith Civil 3032         19199    S   Ram Rent-All, Inc.                              4185                                 (64.05)
 20.108 - NC DOT Hwy 117 Widening      7/10/2023   J Smith Civil 3032         19199    S   Ram Rent-All, Inc.                              4193                                 (52.31)
 20.108 - NC DOT Hwy 117 Widening      7/10/2023   J Smith Civil 3032         19199    S   Ram Rent-All, Inc.                              4248                                 (52.31)
 20.108 - NC DOT Hwy 117 Widening      7/10/2023   J Smith Civil 3032         19199    S   Ram Rent-All, Inc.                              4512                                (117.43)
 20.108 - NC DOT Hwy 117 Widening      7/10/2023   J Smith Civil 3032         19199    S   Ram Rent-All, Inc.                              4897                                (496.39)
 20.108 - NC DOT Hwy 117 Widening      7/10/2023   J Smith Civil 3032         19199    S   Ram Rent-All, Inc.                              5431                                (117.43)
 20.108 - NC DOT Hwy 117 Widening      7/10/2023   J Smith Civil 3032         19199    S   Ram Rent-All, Inc.                              5448                                (170.80)
 20.108 - NC DOT Hwy 117 Widening      7/10/2023   J Smith Civil 3032         19199    S   Ram Rent-All, Inc.                              5605                                (117.43)
 20.108 - NC DOT Hwy 117 Widening      7/10/2023   J Smith Civil 3032         19199    S   Ram Rent-All, Inc.                              5695                                (117.43)
 20.108 - NC DOT Hwy 117 Widening      7/10/2023   J Smith Civil 3032         19199    S   Ram Rent-All, Inc.                              13031                               (101.41)
 20.108 - NC DOT Hwy 117 Widening      7/11/2023   J Smith Civil 3032         19200    S   Complete Construction Site Management Co, LLC   Job #23-13 thru 6/25/23          (13,758.26)




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 20.108 - NC DOT Hwy 117 Widening      7/12/2023   J Smith Civil 3032                  wire    S    J Smith Civil                                           Payroll funding we 7/9/23         (22,610.56)
 20.108 - NC DOT Hwy 117 Widening      7/14/2023   J Smith Civil 3032                   19204       Heidelberg Materials Southeast Agg LLC                  Invoice 42360648                     (612.87)
 20.108 - NC DOT Hwy 117 Widening      7/18/2023   J Smith Civil 3032                   19208       Burtch Trucking Inc.                                    6/22/23 Invoice                    (2,590.00)
 20.108 - NC DOT Hwy 117 Widening      7/19/2023   J Smith Civil 3032                 19217     S   Tripp Bro's Inc.                                        Invoice 245943                    (14,982.28)
 20.108 - NC DOT Hwy 117 Widening      7/19/2023   J Smith Civil 3032                 19217     S   Tripp Bro's Inc.                                        Invoice 245950                       (291.00)
 20.108 - NC DOT Hwy 117 Widening      7/19/2023   J Smith Civil 3032                 19220     S   Adams Products Company by and through its attorneys Tharrington
                                                                                                                                                            Invoice 302728638                    (362.95)
 20.108 - NC DOT Hwy 117 Widening      7/19/2023   J Smith Civil 3032                  wire    S    J Smith Civil                                           Payroll funding we 7/16/23        (22,829.86)
 20.108 - NC DOT Hwy 117 Widening      7/24/2023   J Smith Civil 3032                 19232     S   Core & Main, LP                                         S369638                              (911.36)
 20.108 - NC DOT Hwy 117 Widening      7/24/2023   J Smith Civil 3032                 19232     S   Core & Main, LP                                         S375503                              (479.44)
 20.108 - NC DOT Hwy 117 Widening      7/24/2023   J Smith Civil 3032                 19234     S   GFL Environmental                                       Inv #0060845890                      (123.94)
 20.108 - NC DOT Hwy 117 Widening      7/24/2023   J Smith Civil 3032                 19234     S   GFL Environmental                                       Inv #0061410557                      (118.94)
 20.108 - NC DOT Hwy 117 Widening      7/24/2023   J Smith Civil 3032                 19234     S   GFL Environmental                                       Inv #0061821399                      (123.94)
 20.108 - NC DOT Hwy 117 Widening      7/24/2023   J Smith Civil 3032                 19244     S   Tripp Bro's Inc.                                        Invoice 245962                     (2,910.00)
 20.108 - NC DOT Hwy 117 Widening      7/24/2023   J Smith Civil 3032                 19244     S   Tripp Bro's Inc.                                        Invoice 245963                       (582.00)
 20.108 - NC DOT Hwy 117 Widening      7/25/2023   J Smith Civil 3032                 19253     S   Complete Construction Site Management Co, LLC           Job #23-13 thru 7/9/23            (11,024.84)
 20.108 - NC DOT Hwy 117 Widening      7/26/2023   J Smith Civil 3032                  wire    S    J Smith Civil                                           Payroll funding we 7/23/23        (24,199.54)
 20.108 - NC DOT Hwy 117 Widening      7/27/2023   J Smith Civil 3032                   19255       Cruz Brothers Concrete, Inc                             Pay App #18 thru 5/22/23          (36,942.10)
 20.108 - NC DOT Hwy 117 Widening      7/31/2023   J Smith Civil 3032                 19267     S   James River Equipment                                   P30314                               (484.79)
 20.108 - NC DOT Hwy 117 Widening      7/31/2023   J Smith Civil 3032                 19267     S   James River Equipment                                   P32016                             (1,322.24)
 20.108 - NC DOT Hwy 117 Widening      7/31/2023   J Smith Civil 3032                 19267     S   James River Equipment                                   P32825                               (904.32)
 20.108 - NC DOT Hwy 117 Widening      7/31/2023   J Smith Civil 3032                 19267     S   James River Equipment                                   P31639                                (88.12)
 20.108 - NC DOT Hwy 117 Widening      7/31/2023   J Smith Civil 3032                 19267     S   James River Equipment                                   P34119                               (126.10)
 20.108 - NC DOT Hwy 117 Widening      7/31/2023   J Smith Civil 3032                 19267     S   James River Equipment                                   P34922                                (28.38)
 20.108 - NC DOT Hwy 117 Widening      7/31/2023   J Smith Civil 3032                 19267     S   James River Equipment                                   P34761                               (358.15)
 20.108 - NC DOT Hwy 117 Widening      7/31/2023   J Smith Civil 3032                 19267     S   James River Equipment                                   P23099                               (660.31)
 20.108 - NC DOT Hwy 117 Widening      7/31/2023   J Smith Civil 3032                 19267     S   James River Equipment                                   P38015                               (196.52)
 20.108 - NC DOT Hwy 117 Widening      7/31/2023   J Smith Civil 3032                 19267     S   James River Equipment                                   P38173                               (289.25)
 20.108 - NC DOT Hwy 117 Widening      7/31/2023   J Smith Civil 3032                 19267     S   James River Equipment                                   P38627                               (415.98)
 20.108 - NC DOT Hwy 117 Widening      7/31/2023   J Smith Civil 3032                 19267     S   James River Equipment                                   P40002                                (18.75)
 20.108 - NC DOT Hwy 117 Widening      7/31/2023   J Smith Civil 3032                 19267     S   James River Equipment                                   P40119                                (52.70)
 20.108 - NC DOT Hwy 117 Widening       8/2/2023   J Smith Civil 3032                  wire    S    J Smith Civil                                           Payroll funding we 7/30/23        (18,546.04)
 20.108 - NC DOT Hwy 117 Widening       8/7/2023   J Smith Civil 3032                     wire      Watson Electrical Construction Co                       Estimate #35                      (23,237.60)
 20.108 - NC DOT Hwy 117 Widening       8/9/2023   J Smith Civil 3032                  wire    S    J Smith Civil                                           Payroll funding we 8/6/23         (25,592.80)
 20.108 - NC DOT Hwy 117 Widening       8/9/2023   J Smith Civil 3032                   19284       Lane Farms, Inc.                                        Inv #8123                          (6,878.97)
 20.108 - NC DOT Hwy 117 Widening      8/10/2023   J Smith Civil 3032                 19286     S   Tripp Bro's Inc.                                        Invoice 245969                    (40,157.10)
 20.108 - NC DOT Hwy 117 Widening      8/10/2023   J Smith Civil 3032                 19286     S   Tripp Bro's Inc.                                        Invoice 245978                     (5,570.23)
 20.108 - NC DOT Hwy 117 Widening      8/10/2023   J Smith Civil 3032                 19286     S   Tripp Bro's Inc.                                        Invoice 245979                    (42,371.57)
 20.108 - NC DOT Hwy 117 Widening      8/10/2023   J Smith Civil 3032                 19286     S   Tripp Bro's Inc.                                        Invoice 245989                    (13,121.03)
 20.108 - NC DOT Hwy 117 Widening      8/10/2023   J Smith Civil 3032                   19288       Heidelberg Materials Southeast Agg LLC                  Invoice 42407737                   (1,499.20)
 20.108 - NC DOT Hwy 117 Widening      8/11/2023   J Smith Civil 3032                   19294       Dan T. Rhodes Trucking LLC                              Inv #4903                            (561.48)
 20.108 - NC DOT Hwy 117 Widening      8/11/2023   J Smith Civil 3032                 19295     S   Burtch Trucking Inc.                                    45113                              (1,417.50)
 20.108 - NC DOT Hwy 117 Widening      8/11/2023   J Smith Civil 3032                 19295     S   Burtch Trucking Inc.                                    45120                                (495.00)
 20.108 - NC DOT Hwy 117 Widening      8/11/2023   J Smith Civil 3032                 19295     S   Burtch Trucking Inc.                                    45134                                (720.00)
 20.108 - NC DOT Hwy 117 Widening      8/11/2023   J Smith Civil 3032                 19295     S   Burtch Trucking Inc.                                    45135                                (675.00)
 20.108 - NC DOT Hwy 117 Widening      8/15/2023   J Smith Civil 3032                 19303     S   Couch Oil Company of Durham, Inc                        Inv #674487                        (1,016.70)
 20.108 - NC DOT Hwy 117 Widening      8/15/2023   J Smith Civil 3032                 19303     S   Couch Oil Company of Durham, Inc                        Inv #674488                        (2,248.15)
 20.108 - NC DOT Hwy 117 Widening      8/16/2023   J Smith Civil 3032                  wire    S    J Smith Civil                                           Payroll funding we 8/13/23        (12,042.27)
 20.108 - NC DOT Hwy 117 Widening      8/22/2023   J Smith Civil 3032                 19315     S   **VOID**Complete Construction Site Management Co, LLC Job #23-13 thru 7/23/23                    -
 20.108 - NC DOT Hwy 117 Widening      8/22/2023   J Smith Civil 3032                 19316     S   Complete Construction Site Management Co, LLC           Job #23-13 thru 7/23/23           (16,866.52)
 20.108 - NC DOT Hwy 117 Widening      8/22/2023   J Smith Civil 3032                 19317     S   Complete Construction Site Management Co, LLC           Job #23-13 thru 8/6/23            (18,805.07)
 20.108 - NC DOT Hwy 117 Widening      8/23/2023   J Smith Civil 3032                  wire    S    J Smith Civil                                           Payroll funding we 8/20/23        (12,034.50)
 20.108 - NC DOT Hwy 117 Widening      8/30/2023   J Smith Civil 3032                 19330     S   Cruz Brothers Concrete, Inc                             Inv #14186                        (92,064.06)
 20.108 - NC DOT Hwy 117 Widening      8/30/2023   J Smith Civil 3032                 19330     S   Cruz Brothers Concrete, Inc                             Inv #14187                         (6,017.98)
 20.108 - NC DOT Hwy 117 Widening       9/6/2023   J Smith Civil 3032                   19332       Heidelberg Materials Southeast Agg LLC                  Invoice 42425023                     (343.91)
 20.108 - NC DOT Hwy 117 Widening       9/7/2023   J Smith Civil 3032                 19333     S   Complete Construction Site Management Co, LLC           Job #23-13 thru 8/20/23           (17,109.26)
 20.108 - NC DOT Hwy 117 Widening      9/14/2023   J Smith Civil 3032                 19336     S   The John R. McAdams Company, Inc.                       Invoice 139294                       (807.50)
 20.108 - NC DOT Hwy 117 Widening      9/14/2023   J Smith Civil 3032                 19336     S   The John R. McAdams Company, Inc.                       Invoice 140402                     (2,850.00)
 20.108 - NC DOT Hwy 117 Widening      9/14/2023   J Smith Civil 3032                 19340     S   Couch Oil Company of Durham, Inc                        Inv #682528                        (1,489.80)
 20.108 - NC DOT Hwy 117 Widening      9/14/2023   J Smith Civil 3032                 19340     S   Couch Oil Company of Durham, Inc                        Inv #682530                        (1,069.48)
 20.108 - NC DOT Hwy 117 Widening      9/14/2023   J Smith Civil 3032                 19342     S   Cruz Brothers Concrete Inc.                             Invoice 14235                     (77,198.66)
 20.108 - NC DOT Hwy 117 Widening      9/14/2023   J Smith Civil 3032                 19342     S   Cruz Brothers Concrete Inc.                             Invoice 14236                      (8,069.76)
 20.108 - NC DOT Hwy 117 Widening      4/21/2023   Westfield Direct Receipts & Pmts    2576187      Cruz Brothers Concrete, Inc                                                               (23,785.64)




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 Project                                    Date     Account                       Num       Description                                     Memo                                 Amount
 20.114 - West Millbrook Middle Sch       5/3/2023   J Smith Civil 3032          wire   S    J Smith Civil                                   Payroll funding we 4/30/23         (6,310.35)
 20.114 - West Millbrook Middle Sch       5/5/2023   J Smith Civil 3032         19004    S   Complete Construction Site Management Co, LLC   Job #23-13 thru 4/30/23            (4,108.86)
 20.114 - West Millbrook Middle Sch      5/11/2023   J Smith Civil 3032          wire   S    J Smith Civil                                   Payroll funding we 5/7/23          (3,908.86)
 20.114 - West Millbrook Middle Sch      5/15/2023   J Smith Civil 3032         19020    S   Gulley's Backhoe Service                        Inv #22477                        (17,991.50)
 20.114 - West Millbrook Middle Sch      5/15/2023   J Smith Civil 3032         19020    S   Gulley's Backhoe Service                        Inv #22478                         (8,496.00)
 20.114 - West Millbrook Middle Sch      5/15/2023   J Smith Civil 3032         19020    S   Gulley's Backhoe Service                        Inv #22480                         (6,937.50)
 20.114 - West Millbrook Middle Sch      5/15/2023   J Smith Civil 3032         19020    S   Gulley's Backhoe Service                        Inv #22475                         (1,165.50)
 20.114 - West Millbrook Middle Sch      5/15/2023   J Smith Civil 3032         19020    S   Gulley's Backhoe Service                        Inv #22481                        (14,136.00)
 20.114 - West Millbrook Middle Sch      5/15/2023   J Smith Civil 3032         19020    S   Gulley's Backhoe Service                        Inv #22441                         (1,026.75)
 20.114 - West Millbrook Middle Sch      5/15/2023   J Smith Civil 3032         19020    S   Gulley's Backhoe Service                        Inv #22479                        (21,776.00)
 20.114 - West Millbrook Middle Sch      5/17/2023   J Smith Civil 3032         19024    S   WEX Bank                                                                           (1,013.19)
 20.114 - West Millbrook Middle Sch      5/17/2023   J Smith Civil 3032          wire   S    J Smith Civil                                   Payroll funding we 5/14/23           (809.93)
 20.114 - West Millbrook Middle Sch      5/18/2023   J Smith Civil 3032         19025    S   Thomas Concrete, Inc                            Inv #194305                        (3,702.27)
 20.114 - West Millbrook Middle Sch      5/18/2023   J Smith Civil 3032         19025    S   Thomas Concrete, Inc                            Inv #194326                          (952.38)
 20.114 - West Millbrook Middle Sch      5/18/2023   J Smith Civil 3032         19025    S   Thomas Concrete, Inc                            Inv #194611                          (950.24)
 20.114 - West Millbrook Middle Sch      5/19/2023   J Smith Civil 3032         19026    S   Wake Stone Corporation                          K96925                               (122.71)
 20.114 - West Millbrook Middle Sch      5/19/2023   J Smith Civil 3032         19026    S   Wake Stone Corporation                          K97044                               (677.14)
 20.114 - West Millbrook Middle Sch      5/19/2023   J Smith Civil 3032         19026    S   Wake Stone Corporation                          K97403                               (118.11)
 20.114 - West Millbrook Middle Sch      5/19/2023   J Smith Civil 3032         19026    S   Wake Stone Corporation                          K97515                               (309.82)
 20.114 - West Millbrook Middle Sch      5/19/2023   J Smith Civil 3032         19026    S   Wake Stone Corporation                          K97611                             (1,949.72)
 20.114 - West Millbrook Middle Sch      5/19/2023   J Smith Civil 3032         19026    S   Wake Stone Corporation                          K99916                             (1,484.49)
 20.114 - West Millbrook Middle Sch      5/19/2023   J Smith Civil 3032         19026    S   Wake Stone Corporation                          K00121                               (593.25)
 20.114 - West Millbrook Middle Sch      5/19/2023   J Smith Civil 3032         19026    S   Wake Stone Corporation                          K00216                             (1,590.39)
 20.114 - West Millbrook Middle Sch      5/19/2023   J Smith Civil 3032         19026    S   Wake Stone Corporation                          K00305                             (1,499.61)
 20.114 - West Millbrook Middle Sch      5/19/2023   J Smith Civil 3032         19026    S   Wake Stone Corporation                          K00417                             (1,244.46)
 20.114 - West Millbrook Middle Sch      5/19/2023   J Smith Civil 3032         19026    S   Wake Stone Corporation                          K00529                               (739.10)
 20.114 - West Millbrook Middle Sch      5/22/2023   J Smith Civil 3032         19029    S   Complete Construction Site Management Co, LLC   Job #23-13 thru 5/14/23            (3,293.67)
 20.114 - West Millbrook Middle Sch      5/24/2023   J Smith Civil 3032         19037    S   Wade Moore Equipment Company                    Invoice 12989, 11/14/22            (5,902.30)
 20.114 - West Millbrook Middle Sch      5/24/2023   J Smith Civil 3032         19037    S   Wade Moore Equipment Company                    Invoice 13139, 12/12/22            (8,045.70)
 20.114 - West Millbrook Middle Sch      5/24/2023   J Smith Civil 3032         19037    S   Wade Moore Equipment Company                    Invoice 13156, 12/19/22            (1,703.00)
 20.114 - West Millbrook Middle Sch      5/24/2023   J Smith Civil 3032         19037    S   Wade Moore Equipment Company                    Invoice 13227, 12/26/22            (8,664.40)
 20.114 - West Millbrook Middle Sch      5/24/2023   J Smith Civil 3032         19037    S   Wade Moore Equipment Company                    Invoice 13246, 12/31/22            (1,336.00)
 20.114 - West Millbrook Middle Sch      5/24/2023   J Smith Civil 3032         19037    S   Wade Moore Equipment Company                    Invoice 13368, 1/16/23            (13,321.14)
 20.114 - West Millbrook Middle Sch      5/24/2023   J Smith Civil 3032         19037    S   Wade Moore Equipment Company                    Invoice 13372, 1/23/23            (11,700.56)
 20.114 - West Millbrook Middle Sch      5/24/2023   J Smith Civil 3032         19037    S   Wade Moore Equipment Company                    Invoice 13433, 2/13/23             (9,701.44)
 20.114 - West Millbrook Middle Sch      5/24/2023   J Smith Civil 3032         19037    S   Wade Moore Equipment Company                    Invoice 13911, 3/13/23               (340.00)
 20.114 - West Millbrook Middle Sch      5/24/2023   J Smith Civil 3032         19037    S   Wade Moore Equipment Company                    Invoice 13093, 11/21/22           (11,049.40)
 20.114 - West Millbrook Middle Sch      5/24/2023   J Smith Civil 3032         19037    S   Wade Moore Equipment Company                    Invoice 13297, 1/9/23                (354.28)
 20.114 - West Millbrook Middle Sch      5/24/2023   J Smith Civil 3032         Wire    S    J Smith Civil                                   Payroll funding we 5/21/23         (3,957.23)
 20.114 - West Millbrook Middle Sch      5/25/2023   J Smith Civil 3032         19051    S   LMJ Pavement Marking, LLC                       Invoice 1546                       (2,510.37)
 20.114 - West Millbrook Middle Sch      5/25/2023   J Smith Civil 3032         19051    S   LMJ Pavement Marking, LLC                       Invoice 1715                         (188.54)
 20.114 - West Millbrook Middle Sch      5/25/2023   J Smith Civil 3032         19051    S   LMJ Pavement Marking, LLC                       Invoice 1865                       (3,186.00)
 20.114 - West Millbrook Middle Sch      5/25/2023   J Smith Civil 3032         19051    S   LMJ Pavement Marking, LLC                       Invoice 1930                      (16,972.82)
 20.114 - West Millbrook Middle Sch      5/31/2023   J Smith Civil 3032           19056      E.S. Chachi Concrete LLC                        Inv #405                          (15,260.00)
 20.114 - West Millbrook Middle Sch      5/31/2023   J Smith Civil 3032          wire   S    J Smith Civil                                   Payroll funding we 5/28/23         (6,849.58)
 20.114 - West Millbrook Middle Sch       6/2/2023   J Smith Civil 3032         19063    S   United Rentals (North America), Inc.            214510956-002                      (3,305.05)
 20.114 - West Millbrook Middle Sch       6/2/2023   J Smith Civil 3032         19063    S   United Rentals (North America), Inc.            213792192-002                      (3,054.02)
 20.114 - West Millbrook Middle Sch       6/2/2023   J Smith Civil 3032         19063    S   United Rentals (North America), Inc.            214510956-003                      (2,524.80)
 20.114 - West Millbrook Middle Sch       6/2/2023   J Smith Civil 3032         19063    S   United Rentals (North America), Inc.            213792192-003                      (3,054.02)
 20.114 - West Millbrook Middle Sch       6/2/2023   J Smith Civil 3032         19063    S   United Rentals (North America), Inc.            213792192-004                      (3,054.02)
 20.114 - West Millbrook Middle Sch       6/2/2023   J Smith Civil 3032         19063    S   United Rentals (North America), Inc.            213792192-005                        (205.02)
 20.114 - West Millbrook Middle Sch       6/2/2023   J Smith Civil 3032         19063    S   United Rentals (North America), Inc.            197123062-022                      (3,017.69)
 20.114 - West Millbrook Middle Sch       6/2/2023   J Smith Civil 3032         19063    S   United Rentals (North America), Inc.            197123062-023                         108.59
 20.114 - West Millbrook Middle Sch       6/2/2023   J Smith Civil 3032         19063    S   United Rentals (North America), Inc.            218038498-001                      (3,576.48)
 20.114 - West Millbrook Middle Sch       6/2/2023   J Smith Civil 3032         19063    S   United Rentals (North America), Inc.            218038498-002                      (3,117.76)
 20.114 - West Millbrook Middle Sch       6/2/2023   J Smith Civil 3032         19070    S   Gregory Poole Equipment Company                 IN1398329                            (189.90)
 20.114 - West Millbrook Middle Sch       6/2/2023   J Smith Civil 3032         19070    S   Gregory Poole Equipment Company                 IN1399725                             (31.15)
 20.114 - West Millbrook Middle Sch       6/2/2023   J Smith Civil 3032         19070    S   Gregory Poole Equipment Company                 IN1421323                            (228.33)
 20.114 - West Millbrook Middle Sch       6/2/2023   J Smith Civil 3032         19070    S   Gregory Poole Equipment Company                 IN1423419                            (268.95)
 20.114 - West Millbrook Middle Sch       6/2/2023   J Smith Civil 3032         19070    S   Gregory Poole Equipment Company                 IN1423885                            (555.99)
 20.114 - West Millbrook Middle Sch       6/2/2023   J Smith Civil 3032         19070    S   Gregory Poole Equipment Company                 IN1423887                            (889.77)
 20.114 - West Millbrook Middle Sch       6/2/2023   J Smith Civil 3032         19070    S   Gregory Poole Equipment Company                 IN1423901                            (125.69)




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 20.114 - West Millbrook Middle Sch       6/2/2023   J Smith Civil 3032         19070     S   Gregory Poole Equipment Company                       IN1437541                         (1,128.26)
 20.114 - West Millbrook Middle Sch       6/2/2023   J Smith Civil 3032         19070     S   Gregory Poole Equipment Company                       IN1447338                           (948.00)
 20.114 - West Millbrook Middle Sch       6/6/2023   J Smith Civil 3032           19079       Gulley's Backhoe Service                              Inv #22540                          (696.00)
 20.114 - West Millbrook Middle Sch       6/6/2023   J Smith Civil 3032         19089     S   Mecklenburg Restoration, LLC                          Pay App #2                       (12,825.00)
 20.114 - West Millbrook Middle Sch       6/6/2023   J Smith Civil 3032         19089     S   Mecklenburg Restoration, LLC                          Pay App #3 - retainage            (3,950.00)
 20.114 - West Millbrook Middle Sch       6/6/2023   J Smith Civil 3032         19093     S   Dean's Inc                                            22-8551                             (550.00)
 20.114 - West Millbrook Middle Sch       6/6/2023   J Smith Civil 3032         19093     S   Dean's Inc                                            22-8552                             (825.00)
 20.114 - West Millbrook Middle Sch       6/6/2023   J Smith Civil 3032         19093     S   Dean's Inc                                            22-8754                             (550.00)
 20.114 - West Millbrook Middle Sch       6/6/2023   J Smith Civil 3032         19093     S   Dean's Inc                                            22-8755                             (550.00)
 20.114 - West Millbrook Middle Sch       6/6/2023   J Smith Civil 3032         19094     S   National Equipment Dealers                            3040116                           (3,159.06)
 20.114 - West Millbrook Middle Sch       6/6/2023   J Smith Civil 3032         19094     S   National Equipment Dealers                            3040539                             (318.98)
 20.114 - West Millbrook Middle Sch       6/7/2023   J Smith Civil 3032           19097       **VOID**Trew Backflow Testesting And Irrigation, Inc. Inv #1852                               -
 20.114 - West Millbrook Middle Sch       6/7/2023   J Smith Civil 3032           19104       Trew Backflow Testing And Irrigation, Inc.            Inv #1852                           (150.00)
 20.114 - West Millbrook Middle Sch       6/7/2023   J Smith Civil 3032          wire    S    J Smith Civil                                         Payroll funding we 6/4/23         (1,932.16)
 20.114 - West Millbrook Middle Sch       6/8/2023   J Smith Civil 3032         19109     S   Bolton & Menk, Inc.                                   50555.02 - 2                     (13,875.00)
 20.114 - West Millbrook Middle Sch       6/8/2023   J Smith Civil 3032         19109     S   Bolton & Menk, Inc.                                   50555.00 - 3                      (9,480.50)
 20.114 - West Millbrook Middle Sch       6/8/2023   J Smith Civil 3032         19109     S   Bolton & Menk, Inc.                                   50555.00 - 4                      (6,885.50)
 20.114 - West Millbrook Middle Sch       6/8/2023   J Smith Civil 3032         19109     S   Bolton & Menk, Inc.                                   50555.01 - 5                      (3,927.50)
 20.114 - West Millbrook Middle Sch      6/13/2023   J Smith Civil 3032           19116       S&S Contracting And Landscaping, Inc                  Inv #2023-14                     (48,750.00)
 20.114 - West Millbrook Middle Sch      6/14/2023   J Smith Civil 3032         19123     S   D&J Sand And Gravel, Inc.                             Inv #2316                        (11,386.09)
 20.114 - West Millbrook Middle Sch      6/14/2023   J Smith Civil 3032         19123     S   D&J Sand And Gravel, Inc.                             Inv #2420                           (803.52)
 20.114 - West Millbrook Middle Sch      6/14/2023   J Smith Civil 3032         19126     S   Wall Recycling, LLC                                   973171                            (3,068.58)
 20.114 - West Millbrook Middle Sch      6/14/2023   J Smith Civil 3032         19126     S   Wall Recycling, LLC                                   1011319                           (1,965.60)
 20.114 - West Millbrook Middle Sch      6/14/2023   J Smith Civil 3032         19126     S   Wall Recycling, LLC                                   1014886                             (436.80)
 20.114 - West Millbrook Middle Sch      6/14/2023   J Smith Civil 3032         19126     S   Wall Recycling, LLC                                   1015949                           (1,092.00)
 20.114 - West Millbrook Middle Sch      6/14/2023   J Smith Civil 3032         19126     S   Wall Recycling, LLC                                   1039093                             (218.40)
 20.114 - West Millbrook Middle Sch      6/14/2023   J Smith Civil 3032         19126     S   Wall Recycling, LLC                                   1038582                             (850.43)
 20.114 - West Millbrook Middle Sch      6/14/2023   J Smith Civil 3032          wire    S    J Smith Civil                                         Payroll funding we 6/11/23        (1,932.17)
 20.114 - West Millbrook Middle Sch      6/16/2023   J Smith Civil 3032         19135     S   Complete Construction Site Management Co, LLC         Job #23-13 thru 5/28/23           (3,560.27)
 20.114 - West Millbrook Middle Sch      6/16/2023   J Smith Civil 3032           19136       Pinion Grading And Clearing, LLC                      Inv #1329                         (1,140.00)
 20.114 - West Millbrook Middle Sch      6/21/2023   J Smith Civil 3032           19139       Ram Rent-All, Inc.                                    3032                                (378.09)
 20.114 - West Millbrook Middle Sch      6/21/2023   J Smith Civil 3032          wire    S    J Smith Civil                                         Payroll funding we 6/18/23        (1,438.93)
 20.114 - West Millbrook Middle Sch      6/26/2023   J Smith Civil 3032         19151     S   Capital City Curb And Gutter                          Inv #16502                       (36,052.38)
 20.114 - West Millbrook Middle Sch      6/26/2023   J Smith Civil 3032         19151     S   Capital City Curb And Gutter                          Inv #16632                        (6,158.93)
 20.114 - West Millbrook Middle Sch      6/26/2023   J Smith Civil 3032         19151     S   Capital City Curb And Gutter                          Inv #16758                        (6,058.65)
 20.114 - West Millbrook Middle Sch      6/28/2023   J Smith Civil 3032         19164     S   Colony Hardware Corporation Dba Jarco Supply          337474                            (1,142.75)
 20.114 - West Millbrook Middle Sch      6/28/2023   J Smith Civil 3032         19164     S   Colony Hardware Corporation Dba Jarco Supply          340281                            (1,378.16)
 20.114 - West Millbrook Middle Sch      6/28/2023   J Smith Civil 3032         19166     S   Complete Construction Site Management Co, LLC         Job #23-13 thru 6/11/23           (1,640.10)
 20.114 - West Millbrook Middle Sch      6/28/2023   J Smith Civil 3032          wire    S    J Smith Civil                                         Payroll funding we 6/25/23          (772.84)
 20.114 - West Millbrook Middle Sch      6/29/2023   J Smith Civil 3032         19175     S   Ferguson Waterworks                                   Inv #2143133                        (697.13)
 20.114 - West Millbrook Middle Sch      6/29/2023   J Smith Civil 3032         19175     S   Ferguson Waterworks                                   Inv #2146016                      (2,166.45)
 20.114 - West Millbrook Middle Sch      6/29/2023   J Smith Civil 3032         19175     S   Ferguson Waterworks                                   Inv #2152321                        (540.99)
 20.114 - West Millbrook Middle Sch      6/29/2023   J Smith Civil 3032         19175     S   Ferguson Waterworks                                   Inv #2157917                        (625.90)
 20.114 - West Millbrook Middle Sch       7/6/2023   J Smith Civil 3032          wire    S    J Smith Civil                                         Payroll funding we 6/25/23        (1,159.26)
 20.114 - West Millbrook Middle Sch       7/6/2023   J Smith Civil 3032         19183     S   Wade Moore Equipment Company                          Invoice 14044                     (2,855.60)
 20.114 - West Millbrook Middle Sch      7/10/2023   J Smith Civil 3032         19184     S   B&K Grading And Paving, LLC                           Inv #90279                       (20,155.92)
 20.114 - West Millbrook Middle Sch      7/10/2023   J Smith Civil 3032         19184     S   B&K Grading And Paving, LLC                           Inv #93284                       (32,089.27)
 20.114 - West Millbrook Middle Sch      7/10/2023   J Smith Civil 3032         19189     S   WEX Bank                                              Account #0496-00-743624-9           (447.08)
 20.114 - West Millbrook Middle Sch      7/11/2023   J Smith Civil 3032         19200     S   Complete Construction Site Management Co, LLC         Job #23-13 thru 6/25/23                 -
 20.114 - West Millbrook Middle Sch      7/12/2023   J Smith Civil 3032          wire    S    J Smith Civil                                         Payroll funding we 7/9/23               -
 20.114 - West Millbrook Middle Sch      7/25/2023   J Smith Civil 3032             wire      Richard L Robertson, PA Trust Account                 SiteOne Landscape Settlement     (61,976.98)
 20.114 - West Millbrook Middle Sch      7/25/2023   J Smith Civil 3032         19253     S   Complete Construction Site Management Co, LLC         Job #23-13 thru 7/9/23                  -
 20.114 - West Millbrook Middle Sch      7/31/2023   J Smith Civil 3032         19270     S   James River Equipment                                 P46530                              (540.69)
 20.114 - West Millbrook Middle Sch      7/31/2023   J Smith Civil 3032         19270     S   James River Equipment                                 P53193                              (461.05)
 20.114 - West Millbrook Middle Sch      8/15/2023   J Smith Civil 3032         19297     S   Bolton & Menk, Inc.                                   Inv #50555.00-5                  (10,560.00)
 20.114 - West Millbrook Middle Sch      8/15/2023   J Smith Civil 3032         19297     S   Bolton & Menk, Inc.                                   Inv #50555.02-3                   (1,537.50)
 20.114 - West Millbrook Middle Sch      8/22/2023   J Smith Civil 3032         19315     S   **VOID**Complete Construction Site Management Co, LLC Job #23-13 thru 7/9/23                  -
 20.114 - West Millbrook Middle Sch      8/22/2023   J Smith Civil 3032         19316     S   Complete Construction Site Management Co, LLC         Job #23-13 thru 7/23/23                 -
 20.114 - West Millbrook Middle Sch      8/22/2023   J Smith Civil 3032         19317     S   Complete Construction Site Management Co, LLC         Job #23-13 thru 8/6/23                  -
 20.114 - West Millbrook Middle Sch       9/7/2023   J Smith Civil 3032         19333     S   Complete Construction Site Management Co, LLC         Job #23-13 thru 8/20/23             (278.73)
 21.100 - Carolina Springs Pump Sta       5/5/2023   J Smith Civil 3032         19004     S   Complete Construction Site Management Co, LLC         Job #23-13 thru 4/30/23           (2,054.43)
 21.100 - Carolina Springs Pump Sta       5/5/2023   J Smith Civil 3032         19005     S   Forever Clean Portable Toilets, Inc.                  A-1029828                           (306.33)




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 21.100 - Carolina Springs Pump Sta       5/5/2023   J Smith Civil 3032         19005    S   Forever Clean Portable Toilets, Inc.                    A-1037448                            (306.33)
 21.100 - Carolina Springs Pump Sta       5/5/2023   J Smith Civil 3032         19005    S   Forever Clean Portable Toilets, Inc.                    A-1040920                             (85.66)
 21.100 - Carolina Springs Pump Sta       5/5/2023   J Smith Civil 3032         19005    S   Forever Clean Portable Toilets, Inc.                    A-1044766                            (102.11)
 21.100 - Carolina Springs Pump Sta       5/5/2023   J Smith Civil 3032         19005    S   Forever Clean Portable Toilets, Inc.                    A-1052285                            (102.11)
 21.100 - Carolina Springs Pump Sta       5/5/2023   J Smith Civil 3032         19005    S   Forever Clean Portable Toilets, Inc.                    A-1060009                            (102.11)
 21.100 - Carolina Springs Pump Sta       5/5/2023   J Smith Civil 3032         19005    S   Forever Clean Portable Toilets, Inc.                    A-1064570                             (62.57)
 21.100 - Carolina Springs Pump Sta      5/12/2023   J Smith Civil 3032         19017    S   Marshall's Construction                                 Inv #1427                         (28,006.87)
 21.100 - Carolina Springs Pump Sta      5/12/2023   J Smith Civil 3032         19017    S   Marshall's Construction                                 Inv #1431                          (9,506.25)
 21.100 - Carolina Springs Pump Sta      5/15/2023   J Smith Civil 3032         19023    S   S T Wooten Corporation                                  Inv #73321                         (1,942.06)
 21.100 - Carolina Springs Pump Sta      5/15/2023   J Smith Civil 3032         19023    S   S T Wooten Corporation                                  Inv #73732                         (3,490.89)
 21.100 - Carolina Springs Pump Sta      5/17/2023   J Smith Civil 3032         19024    S   WEX Bank                                                                                     (788.66)
 21.100 - Carolina Springs Pump Sta      5/17/2023   J Smith Civil 3032          wire   S    J Smith Civil                                           Payroll funding we 5/14/23         (4,480.75)
 21.100 - Carolina Springs Pump Sta      5/22/2023   J Smith Civil 3032         19029    S   Complete Construction Site Management Co, LLC           Job #23-13 thru 5/14/23            (1,257.19)
 21.100 - Carolina Springs Pump Sta      5/24/2023   J Smith Civil 3032           19032      Samson Storm and Sewer, LLC                             Invoice 1740, 2/15/23             (38,205.00)
 21.100 - Carolina Springs Pump Sta      5/24/2023   J Smith Civil 3032         19033    S   Triangle Pond Management, LLC                           Invoice 41720, 3/17/23            (32,450.00)
 21.100 - Carolina Springs Pump Sta      5/24/2023   J Smith Civil 3032         19033    S   Triangle Pond Management, LLC                           Invoice 41774, 3/22/23            (52,000.00)
 21.100 - Carolina Springs Pump Sta      5/24/2023   J Smith Civil 3032         19036    S   Atlantic Surveying, P.A.                                Invoice 21060-6, 3/21/23           (3,920.00)
 21.100 - Carolina Springs Pump Sta      5/24/2023   J Smith Civil 3032         19036    S   Atlantic Surveying, P.A.                                Invoice 21060-7, 3/29/23           (1,200.00)
 21.100 - Carolina Springs Pump Sta      5/24/2023   J Smith Civil 3032         Wire    S    Heidelberg Materials Southeast Agg LLC                  Invoice 42035938                     (217.30)
 21.100 - Carolina Springs Pump Sta      5/24/2023   J Smith Civil 3032         Wire    S    Heidelberg Materials Southeast Agg LLC                  Invoice 42035940                     (221.70)
 21.100 - Carolina Springs Pump Sta      5/24/2023   J Smith Civil 3032         Wire    S    J Smith Civil                                           Payroll funding we 5/21/23           (972.36)
 21.100 - Carolina Springs Pump Sta      5/25/2023   J Smith Civil 3032         19048    S   Ellington Contractors, Inc.                             Invoice 23038                     (13,400.00)
 21.100 - Carolina Springs Pump Sta      5/25/2023   J Smith Civil 3032         19048    S   Ellington Contractors, Inc.                             Invoice 23096                      (2,600.00)
 21.100 - Carolina Springs Pump Sta      5/31/2023   J Smith Civil 3032         19059    S   Frye Fence Co, Inc.                                     Inv #16165 - retainage               (111.00)
 21.100 - Carolina Springs Pump Sta      5/31/2023   J Smith Civil 3032         19059    S   Frye Fence Co, Inc.                                     Inv #16625 - retainage               (687.50)
 21.100 - Carolina Springs Pump Sta      5/31/2023   J Smith Civil 3032         19062    S   Ferguson Waterworks                                     Inv #2137761                         (598.23)
 21.100 - Carolina Springs Pump Sta      5/31/2023   J Smith Civil 3032         19062    S   Ferguson Waterworks                                     Inv #2142196                       (1,685.89)
 21.100 - Carolina Springs Pump Sta      5/31/2023   J Smith Civil 3032         19062    S   Ferguson Waterworks                                     Inv #2142355                       (9,361.19)
 21.100 - Carolina Springs Pump Sta      5/31/2023   J Smith Civil 3032          wire   S    J Smith Civil                                           Payroll funding we 5/28/23               -
 21.100 - Carolina Springs Pump Sta       6/6/2023   J Smith Civil 3032         19086    S   Barnes Hauling Company LLC                              230125-03                          (1,673.75)
 21.100 - Carolina Springs Pump Sta       6/6/2023   J Smith Civil 3032         19086    S   Barnes Hauling Company LLC                              230202-03                            (824.00)
 21.100 - Carolina Springs Pump Sta       6/6/2023   J Smith Civil 3032         19086    S   Barnes Hauling Company LLC                              230215-03                            (816.00)
 21.100 - Carolina Springs Pump Sta       6/6/2023   J Smith Civil 3032         19086    S   Barnes Hauling Company LLC                              230223-03                          (1,616.00)
 21.100 - Carolina Springs Pump Sta       6/7/2023   J Smith Civil 3032          wire   S    J Smith Civil                                           Payroll funding we 6/4/23                -
 21.100 - Carolina Springs Pump Sta       6/8/2023   J Smith Civil 3032           19106      Evoqua Water Technologies LLC                           Inv #9054456798                      (158.97)
 21.100 - Carolina Springs Pump Sta      6/14/2023   J Smith Civil 3032         19127    S   Wall Recycling, LLC                                     995336                               (694.40)
 21.100 - Carolina Springs Pump Sta      6/14/2023   J Smith Civil 3032         19127    S   Wall Recycling, LLC                                     1002060                            (4,944.80)
 21.100 - Carolina Springs Pump Sta      6/14/2023   J Smith Civil 3032         19127    S   Wall Recycling, LLC                                     1001961                            (1,028.70)
 21.100 - Carolina Springs Pump Sta      6/14/2023   J Smith Civil 3032          wire   S    J Smith Civil                                           Payroll funding we 6/11/23               -
 21.100 - Carolina Springs Pump Sta      6/16/2023   J Smith Civil 3032         19135    S   Complete Construction Site Management Co, LLC           Job #23-13 thru 5/28/23              (562.15)
 21.100 - Carolina Springs Pump Sta      6/21/2023   J Smith Civil 3032          wire   S    J Smith Civil                                           Payroll funding we 6/18/23               -
 21.100 - Carolina Springs Pump Sta      6/28/2023   J Smith Civil 3032         19166    S   Complete Construction Site Management Co, LLC           Job #23-13 thru 6/11/23                  -
 21.100 - Carolina Springs Pump Sta      6/28/2023   J Smith Civil 3032          wire   S    J Smith Civil                                           Payroll funding we 6/25/23               -
 21.100 - Carolina Springs Pump Sta      6/29/2023   J Smith Civil 3032           19167      Carolina Sunrock, LLC                                   Inv #792412                          (690.52)
 21.100 - Carolina Springs Pump Sta      6/29/2023   J Smith Civil 3032         19171    S   Global Crane Services, Inc.                             20160-02                           (7,380.00)
 21.100 - Carolina Springs Pump Sta      6/29/2023   J Smith Civil 3032         19171    S   Global Crane Services, Inc.                             20160-03                           (5,380.00)
 21.100 - Carolina Springs Pump Sta       7/6/2023   J Smith Civil 3032          wire   S    J Smith Civil                                           Payroll funding we 6/25/23         (1,656.12)
 21.100 - Carolina Springs Pump Sta      7/11/2023   J Smith Civil 3032         19200    S   Complete Construction Site Management Co, LLC           Job #23-13 thru 6/25/23              (746.51)
 21.100 - Carolina Springs Pump Sta      7/11/2023   J Smith Civil 3032           19201      Eddie Morton, LLC                                       Inv #6619                            (405.00)
 21.100 - Carolina Springs Pump Sta      7/12/2023   J Smith Civil 3032          wire   S    J Smith Civil                                           Payroll funding we 7/9/23                -
 21.100 - Carolina Springs Pump Sta      7/18/2023   J Smith Civil 3032         19209    S   Eagle Rock Concrete LLC                                 Invoice 124013                       (854.79)
 21.100 - Carolina Springs Pump Sta      7/19/2023   J Smith Civil 3032         19218    S   ALP Industries, LLC                                     Invoice 06067723                     (191.68)
 21.100 - Carolina Springs Pump Sta      7/19/2023   J Smith Civil 3032         19220    S   Adams Products Company by and through its attorneys Tharrington
                                                                                                                                                     Invoice 302707785                    (312.44)
 21.100 - Carolina Springs Pump Sta      7/25/2023   J Smith Civil 3032         19253    S   Complete Construction Site Management Co, LLC           Job #23-13 thru 7/9/23               (634.86)
 21.100 - Carolina Springs Pump Sta      7/31/2023   J Smith Civil 3032         19263    S   Barnes Hauling Company LLC                              220818-01                            (829.50)
 21.100 - Carolina Springs Pump Sta      7/31/2023   J Smith Civil 3032         19263    S   Barnes Hauling Company LLC                              220818-02                            (829.50)
 21.100 - Carolina Springs Pump Sta       8/2/2023   J Smith Civil 3032          wire   S    J Smith Civil                                           Payroll funding we 7/30/23           (705.00)
 21.100 - Carolina Springs Pump Sta       8/9/2023   J Smith Civil 3032          wire   S    J Smith Civil                                           Payroll funding we 8/6/23            (704.99)
 21.100 - Carolina Springs Pump Sta      8/16/2023   J Smith Civil 3032          wire   S    J Smith Civil                                           Payroll funding we 8/13/23               -
 21.100 - Carolina Springs Pump Sta      8/22/2023   J Smith Civil 3032         19315    S   **VOID**Complete Construction Site Management Co, LLC Job #23-13 thru 7/9/23                     -
 21.100 - Carolina Springs Pump Sta      8/22/2023   J Smith Civil 3032         19316    S   Complete Construction Site Management Co, LLC           Job #23-13 thru 7/23/23            (2,865.52)
 21.100 - Carolina Springs Pump Sta      8/22/2023   J Smith Civil 3032         19317    S   Complete Construction Site Management Co, LLC           Job #23-13 thru 8/6/23            (10,700.90)




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 Project                                      Date     Account                       Num       Description                                           Memo                                Amount
 21.100 - Carolina Springs Pump Sta         9/7/2023   J Smith Civil 3032         19333    S   Complete Construction Site Management Co, LLC         Job #23-13 thru 8/20/23           (4,816.33)
 21.102 - Magnolia MHP Sanitary Sewer       5/5/2023   J Smith Civil 3032         19004    S   Complete Construction Site Management Co, LLC         Job #23-13 thru 4/30/23           (2,054.43)
 21.102 - Magnolia MHP Sanitary Sewer      5/17/2023   J Smith Civil 3032         19024    S   WEX Bank                                              Account #0496-00-743624-9           (923.52)
 21.102 - Magnolia MHP Sanitary Sewer      5/22/2023   J Smith Civil 3032         19029    S   Complete Construction Site Management Co, LLC         Job #23-13 thru 5/14/23           (3,874.90)
 21.102 - Magnolia MHP Sanitary Sewer      5/24/2023   J Smith Civil 3032         Wire    S    J Smith Civil                                         Payroll funding we 5/21/23        (8,198.06)
 21.102 - Magnolia MHP Sanitary Sewer      5/31/2023   J Smith Civil 3032           19058      Frye Fence Co, Inc.                                   Inv #16723 - retainage              (623.20)
 21.102 - Magnolia MHP Sanitary Sewer      5/31/2023   J Smith Civil 3032          wire   S    J Smith Civil                                         Payroll funding we 5/28/23        (7,676.75)
 21.102 - Magnolia MHP Sanitary Sewer       6/2/2023   J Smith Civil 3032           19064      United Rentals (North America), Inc.                  217344362-001                     (1,291.41)
 21.102 - Magnolia MHP Sanitary Sewer       6/6/2023   J Smith Civil 3032           19076      Tarheel Concrete                                      Inv #10742                        (1,264.80)
 21.102 - Magnolia MHP Sanitary Sewer       6/7/2023   J Smith Civil 3032          wire   S    J Smith Civil                                         Payroll funding we 6/4/23        (10,134.38)
 21.102 - Magnolia MHP Sanitary Sewer       6/9/2023   J Smith Civil 3032         19115    S   Carolina Containers & Transport                       49048                                (86.87)
 21.102 - Magnolia MHP Sanitary Sewer       6/9/2023   J Smith Civil 3032         19115    S   Carolina Containers & Transport                       50448                                (86.47)
 21.102 - Magnolia MHP Sanitary Sewer      6/14/2023   J Smith Civil 3032          wire   S    J Smith Civil                                         Payroll funding we 6/11/23        (4,856.39)
 21.102 - Magnolia MHP Sanitary Sewer      6/14/2023   J Smith Civil 3032         19128    S   GFL Environmental                                     Invoice 0059433351                  (323.75)
 21.102 - Magnolia MHP Sanitary Sewer      6/14/2023   J Smith Civil 3032         19128    S   GFL Environmental                                     Invoice 0059999918                  (318.75)
 21.102 - Magnolia MHP Sanitary Sewer      6/14/2023   J Smith Civil 3032         19128    S   GFL Environmental                                     Invoice 0060420577                  (318.75)
 21.102 - Magnolia MHP Sanitary Sewer      6/16/2023   J Smith Civil 3032         19135    S   Complete Construction Site Management Co, LLC         Job #23-13 thru 5/28/23           (7,682.69)
 21.102 - Magnolia MHP Sanitary Sewer      6/21/2023   J Smith Civil 3032          wire   S    J Smith Civil                                         Payroll funding we 6/18/23          (171.83)
 21.102 - Magnolia MHP Sanitary Sewer      6/23/2023   J Smith Civil 3032           19148      Samson Storm and Sewer, LLC                           Invoice 1748, 3/16/23            (26,856.50)
 21.102 - Magnolia MHP Sanitary Sewer      6/28/2023   J Smith Civil 3032         19166    S   Complete Construction Site Management Co, LLC         Job #23-13 thru 6/11/23           (6,694.28)
 21.102 - Magnolia MHP Sanitary Sewer      6/28/2023   J Smith Civil 3032          wire   S    J Smith Civil                                         Payroll funding we 6/25/23        (1,016.68)
 21.102 - Magnolia MHP Sanitary Sewer       7/6/2023   J Smith Civil 3032          wire   S    J Smith Civil                                         Payroll funding we 6/25/23              -
 21.102 - Magnolia MHP Sanitary Sewer      7/10/2023   J Smith Civil 3032           19186      Bryan Kennedy dba Tarheel Concrete                    Invoice 10965                     (1,350.00)
 21.102 - Magnolia MHP Sanitary Sewer      7/10/2023   J Smith Civil 3032         19189    S   WEX Bank                                              Account #0496-00-743624-9         (1,621.73)
 21.102 - Magnolia MHP Sanitary Sewer      7/10/2023   J Smith Civil 3032         19191    S   Heidelberg Materials Southeast Agg LLC                Invoice 42317174                    (670.41)
 21.102 - Magnolia MHP Sanitary Sewer      7/10/2023   J Smith Civil 3032         19191    S   Heidelberg Materials Southeast Agg LLC                Invoice 42320251                    (698.20)
 21.102 - Magnolia MHP Sanitary Sewer      7/10/2023   J Smith Civil 3032           19196      Ellington Contractors, Inc.                           Inv #23037                        (2,975.00)
 21.102 - Magnolia MHP Sanitary Sewer      7/11/2023   J Smith Civil 3032         19200    S   Complete Construction Site Management Co, LLC         Job #23-13 thru 6/25/23           (7,446.48)
 21.102 - Magnolia MHP Sanitary Sewer      7/12/2023   J Smith Civil 3032          wire   S    J Smith Civil                                         Payroll funding we 7/9/23         (1,603.22)
 21.102 - Magnolia MHP Sanitary Sewer      7/19/2023   J Smith Civil 3032          wire   S    J Smith Civil                                         Payroll funding we 7/16/23          (999.96)
 21.102 - Magnolia MHP Sanitary Sewer      7/24/2023   J Smith Civil 3032           19233      Core & Main, LP                                       S548151                           (6,130.44)
 21.102 - Magnolia MHP Sanitary Sewer      7/24/2023   J Smith Civil 3032         19238    S   GFL Environmental                                     Inv #0060784120                     (349.76)
 21.102 - Magnolia MHP Sanitary Sewer      7/24/2023   J Smith Civil 3032         19238    S   GFL Environmental                                     Inv #0061758192                   (1,482.74)
 21.102 - Magnolia MHP Sanitary Sewer      7/24/2023   J Smith Civil 3032         19238    S   GFL Environmental                                     Inv #0061346609                     (350.23)
 21.102 - Magnolia MHP Sanitary Sewer      7/25/2023   J Smith Civil 3032         19253    S   Complete Construction Site Management Co, LLC         Job #23-13 thru 7/9/23            (4,951.93)
 21.102 - Magnolia MHP Sanitary Sewer      7/26/2023   J Smith Civil 3032         19254    S   Duke Energy Payment Processing                        Acct 910134747052, 4/6/23           (104.58)
 21.102 - Magnolia MHP Sanitary Sewer      7/26/2023   J Smith Civil 3032         19254    S   Duke Energy Payment Processing                        Acct 910134747052, 5/5/23            (96.41)
 21.102 - Magnolia MHP Sanitary Sewer      7/26/2023   J Smith Civil 3032         19254    S   Duke Energy Payment Processing                        Acct 910134747052, 6/8/23           (100.35)
 21.102 - Magnolia MHP Sanitary Sewer      7/26/2023   J Smith Civil 3032         19254    S   Duke Energy Payment Processing                        Acct 910134747052, 7/7/23            (51.55)
 21.102 - Magnolia MHP Sanitary Sewer      8/22/2023   J Smith Civil 3032         19311    S   McDavid Associates, Inc.                              Inv #144060                       (5,110.00)
 21.102 - Magnolia MHP Sanitary Sewer      8/22/2023   J Smith Civil 3032         19311    S   McDavid Associates, Inc.                              Inv #144061                       (2,620.00)
 21.102 - Magnolia MHP Sanitary Sewer      8/22/2023   J Smith Civil 3032         19311    S   McDavid Associates, Inc.                              Inv #144062                       (3,065.00)
 21.102 - Magnolia MHP Sanitary Sewer      8/22/2023   J Smith Civil 3032         19311    S   McDavid Associates, Inc.                              Inv #144063                       (2,081.25)
 21.102 - Magnolia MHP Sanitary Sewer      8/22/2023   J Smith Civil 3032         19315    S   **VOID**Complete Construction Site Management Co, LLC Job #23-13 thru 7/9/23                  -
 21.102 - Magnolia MHP Sanitary Sewer      8/22/2023   J Smith Civil 3032         19316    S   Complete Construction Site Management Co, LLC         Job #23-13 thru 7/23/23           (3,222.62)
 21.102 - Magnolia MHP Sanitary Sewer      8/22/2023   J Smith Civil 3032         19317    S   Complete Construction Site Management Co, LLC         Job #23-13 thru 8/6/23            (3,224.70)
 21.102 - Magnolia MHP Sanitary Sewer      8/23/2023   J Smith Civil 3032          wire   S    J Smith Civil                                         Payroll funding we 8/20/23          (288.73)
 21.102 - Magnolia MHP Sanitary Sewer       9/7/2023   J Smith Civil 3032         19333    S   Complete Construction Site Management Co, LLC         Job #23-13 thru 8/20/23           (4,959.80)
 21.109 - Hank's Branch                    8/29/2023   J Smith Civil 3032         19319    S   Dun-Right Services                                    Inv #4962                         (1,274.66)
 21.109 - Hank's Branch                    8/29/2023   J Smith Civil 3032         19319    S   Dun-Right Services                                    Inv #4995                         (2,995.63)
 21.115 - Town of Windsor Wastewater        5/5/2023   J Smith Civil 3032         19004    S   Complete Construction Site Management Co, LLC         Job #23-13 thru 4/30/23           (2,054.43)
 21.115 - Town of Windsor Wastewater       5/22/2023   J Smith Civil 3032         19029    S   Complete Construction Site Management Co, LLC         Job #23-13 thru 5/14/23           (5,235.43)
 21.115 - Town of Windsor Wastewater       6/16/2023   J Smith Civil 3032         19135    S   Complete Construction Site Management Co, LLC         Job #23-13 thru 5/28/23           (8,353.52)
 21.115 - Town of Windsor Wastewater       6/28/2023   J Smith Civil 3032         19166    S   Complete Construction Site Management Co, LLC         Job #23-13 thru 6/11/23           (2,945.48)
 21.115 - Town of Windsor Wastewater       7/11/2023   J Smith Civil 3032         19200    S   Complete Construction Site Management Co, LLC         Job #23-13 thru 6/25/23           (1,362.39)
 21.115 - Town of Windsor Wastewater       7/18/2023   J Smith Civil 3032           19211      Phelps Tree Service, Inc.                             Invoice 4173, 3/13/23             (5,500.00)
 21.115 - Town of Windsor Wastewater       7/19/2023   J Smith Civil 3032         19218    S   ALP Industries, LLC                                   Invoice 06067724                    (306.57)
 21.115 - Town of Windsor Wastewater       7/24/2023   J Smith Civil 3032         19240    S   GFL Environmental                                     Inv #0059493433                      (81.70)
 21.115 - Town of Windsor Wastewater       7/24/2023   J Smith Civil 3032         19240    S   GFL Environmental                                     Inv #0060060790                      (76.70)
 21.115 - Town of Windsor Wastewater       7/24/2023   J Smith Civil 3032         19240    S   GFL Environmental                                     Inv #0060481736                     (875.30)
 21.115 - Town of Windsor Wastewater       7/24/2023   J Smith Civil 3032         19240    S   GFL Environmental                                     Inv #0061823369                      (15.21)
 21.115 - Town of Windsor Wastewater       7/25/2023   J Smith Civil 3032         19253    S   Complete Construction Site Management Co, LLC         Job #23-13 thru 7/9/23            (2,412.48)




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 Project                                     Date     Account                               Num       Description                                           Memo                                 Amount
 21.115 - Town of Windsor Wastewater      8/11/2023   J Smith Civil 3032                   19290      Frye Fence Co, Inc.                                   Inv #16970                         (5,909.00)
 21.115 - Town of Windsor Wastewater      8/15/2023   J Smith Civil 3032                 19299    S   Boyd Copeland Contracting, Inc.                       Inv #6105                          (4,200.00)
 21.115 - Town of Windsor Wastewater      8/15/2023   J Smith Civil 3032                 19299    S   Boyd Copeland Contracting, Inc.                       Inv #6141                            (800.00)
 21.115 - Town of Windsor Wastewater      8/22/2023   J Smith Civil 3032                 19315    S   **VOID**Complete Construction Site Management Co, LLC Job #23-13 thru 7/9/23                   -
 21.115 - Town of Windsor Wastewater      8/22/2023   J Smith Civil 3032                 19316    S   Complete Construction Site Management Co, LLC         Job #23-13 thru 7/23/23            (2,003.25)
 21.115 - Town of Windsor Wastewater      8/22/2023   J Smith Civil 3032                 19317    S   Complete Construction Site Management Co, LLC         Job #23-13 thru 8/6/23             (2,588.24)
 21.115 - Town of Windsor Wastewater       9/7/2023   J Smith Civil 3032                 19333    S   Complete Construction Site Management Co, LLC         Job #23-13 thru 8/20/23            (1,516.63)
 21.117 - EPA-RTP Entrance Gate Imp        5/3/2023   J Smith Civil 3032                  wire   S    J Smith Civil                                         Payroll funding we 4/30/23           (871.93)
 21.117 - EPA-RTP Entrance Gate Imp        5/5/2023   J Smith Civil 3032                 19004    S   Complete Construction Site Management Co, LLC         Job #23-13 thru 4/30/23            (4,108.86)
 21.117 - EPA-RTP Entrance Gate Imp        5/9/2023   J Smith Civil 3032                   19011      Vertical Walls, Inc.                                  Inv #5007 final payment           (34,442.00)
 21.117 - EPA-RTP Entrance Gate Imp       5/11/2023   J Smith Civil 3032                  wire   S    J Smith Civil                                         Payroll funding we 5/7/23                -
 21.117 - EPA-RTP Entrance Gate Imp       5/11/2023   J Smith Civil 3032                   19016      Capital City Curb And Gutter                          Inv #16856                         (4,570.45)
 21.117 - EPA-RTP Entrance Gate Imp       5/17/2023   J Smith Civil 3032                 19024    S   WEX Bank                                              Account #0496-00-743624-9            (950.11)
 21.117 - EPA-RTP Entrance Gate Imp       5/22/2023   J Smith Civil 3032                 19029    S   Complete Construction Site Management Co, LLC         Job #23-13 thru 5/14/23                  -
 21.117 - EPA-RTP Entrance Gate Imp       5/24/2023   J Smith Civil 3032                 Wire    S    J Smith Civil                                         Payroll funding we 5/21/23           (139.98)
 21.117 - EPA-RTP Entrance Gate Imp       5/31/2023   J Smith Civil 3032                   19057      Frye Fence Co, Inc.                                   Inv #16898                           (950.00)
 21.117 - EPA-RTP Entrance Gate Imp       5/31/2023   J Smith Civil 3032                  wire   S    J Smith Civil                                         Payroll funding we 5/28/23               -
 21.117 - EPA-RTP Entrance Gate Imp        6/7/2023   J Smith Civil 3032                  wire   S    J Smith Civil                                         Payroll funding we 6/4/23                -
 21.117 - EPA-RTP Entrance Gate Imp       6/14/2023   J Smith Civil 3032                  wire   S    J Smith Civil                                         Payroll funding we 6/11/23           (279.96)
 21.117 - EPA-RTP Entrance Gate Imp       6/16/2023   J Smith Civil 3032                 19135    S   Complete Construction Site Management Co, LLC         Job #23-13 thru 5/28/23                  -
 21.117 - EPA-RTP Entrance Gate Imp       6/16/2023   J Smith Civil 3032                   19137      Pinion Grading And Clearing, LLC                      Inv #1348                            (936.00)
 21.117 - EPA-RTP Entrance Gate Imp       6/21/2023   J Smith Civil 3032                  wire   S    J Smith Civil                                         Payroll funding we 6/18/23               -
 21.117 - EPA-RTP Entrance Gate Imp       6/28/2023   J Smith Civil 3032                 19166    S   Complete Construction Site Management Co, LLC         Job #23-13 thru 6/11/23                  -
 21.117 - EPA-RTP Entrance Gate Imp       6/28/2023   J Smith Civil 3032                  wire   S    J Smith Civil                                         Payroll funding we 6/25/23               -
 21.117 - EPA-RTP Entrance Gate Imp       6/30/2023   J Smith Civil 3032                 19177    S   Carolina Sunrock, LLC                                 Inv #781725                        (1,991.89)
 21.117 - EPA-RTP Entrance Gate Imp       6/30/2023   J Smith Civil 3032                 19177    S   Carolina Sunrock, LLC                                 Inv #781591                        (2,092.36)
 21.117 - EPA-RTP Entrance Gate Imp       6/30/2023   J Smith Civil 3032                 19177    S   Carolina Sunrock, LLC                                 Inv #783436                          (840.95)
 21.117 - EPA-RTP Entrance Gate Imp       6/30/2023   J Smith Civil 3032                 19177    S   Carolina Sunrock, LLC                                 Inv #783437                          (780.33)
 21.117 - EPA-RTP Entrance Gate Imp       6/30/2023   J Smith Civil 3032                 19177    S   Carolina Sunrock, LLC                                 Inv #782012                        (2,088.68)
 21.117 - EPA-RTP Entrance Gate Imp       6/30/2023   J Smith Civil 3032                 19177    S   Carolina Sunrock, LLC                                 Inv #782013                        (3,295.01)
 21.117 - EPA-RTP Entrance Gate Imp       6/30/2023   J Smith Civil 3032                 19177    S   Carolina Sunrock, LLC                                 Inv #782338                        (2,543.52)
 21.117 - EPA-RTP Entrance Gate Imp       6/30/2023   J Smith Civil 3032                 19177    S   Carolina Sunrock, LLC                                 Inv #782533                        (5,774.89)
 21.117 - EPA-RTP Entrance Gate Imp       6/30/2023   J Smith Civil 3032                 19177    S   Carolina Sunrock, LLC                                 Inv #790545                          (414.92)
 21.117 - EPA-RTP Entrance Gate Imp       6/30/2023   J Smith Civil 3032                 19177    S   Carolina Sunrock, LLC                                 Inv #7896084                         (596.97)
 21.117 - EPA-RTP Entrance Gate Imp       6/30/2023   J Smith Civil 3032                 19177    S   Carolina Sunrock, LLC                                 Inv #796251                          (213.40)
 21.117 - EPA-RTP Entrance Gate Imp        7/6/2023   J Smith Civil 3032                  wire   S    J Smith Civil                                         Payroll funding we 6/25/23               -
 21.117 - EPA-RTP Entrance Gate Imp        7/6/2023   J Smith Civil 3032                 19183    S   Wade Moore Equipment Company                          Invoice 13739                      (1,575.37)
 21.117 - EPA-RTP Entrance Gate Imp       7/10/2023   J Smith Civil 3032                   19195      Gomez & Son's Construction, LLC                       Full & Final Retainage             (2,107.31)
 21.117 - EPA-RTP Entrance Gate Imp       7/11/2023   J Smith Civil 3032                 19200    S   Complete Construction Site Management Co, LLC         Job #23-13 thru 6/25/23                  -
 21.117 - EPA-RTP Entrance Gate Imp       7/12/2023   J Smith Civil 3032                  wire   S    J Smith Civil                                         Payroll funding we 7/9/23                -
 21.117 - EPA-RTP Entrance Gate Imp       7/24/2023   J Smith Civil 3032                 19226    S   Core & Main, LP                                       S233376                               (91.18)
 21.117 - EPA-RTP Entrance Gate Imp       7/24/2023   J Smith Civil 3032                 19226    S   Core & Main, LP                                       S609686                              (377.05)
 21.117 - EPA-RTP Entrance Gate Imp       7/24/2023   J Smith Civil 3032                 19226    S   Core & Main, LP                                       S607269                              (163.01)
 21.117 - EPA-RTP Entrance Gate Imp       7/24/2023   J Smith Civil 3032                 19226    S   Core & Main, LP                                       S622538                              (162.61)
 21.117 - EPA-RTP Entrance Gate Imp       7/24/2023   J Smith Civil 3032                 19226    S   Core & Main, LP                                       S665804                               156.68
 21.117 - EPA-RTP Entrance Gate Imp       7/25/2023   J Smith Civil 3032                 19253    S   Complete Construction Site Management Co, LLC         Job #23-13 thru 7/9/23                   -
 21.117 - EPA-RTP Entrance Gate Imp       8/22/2023   J Smith Civil 3032                 19315    S   **VOID**Complete Construction Site Management Co, LLC Job #23-13 thru 7/9/23                   -
 21.117 - EPA-RTP Entrance Gate Imp       8/22/2023   J Smith Civil 3032                 19316    S   Complete Construction Site Management Co, LLC         Job #23-13 thru 7/23/23                  -
 21.117 - EPA-RTP Entrance Gate Imp       8/22/2023   J Smith Civil 3032                 19317    S   Complete Construction Site Management Co, LLC         Job #23-13 thru 8/6/23                   -
 21.117 - EPA-RTP Entrance Gate Imp        9/7/2023   J Smith Civil 3032                 19333    S   Complete Construction Site Management Co, LLC         Job #23-13 thru 8/20/23                  -
 21.117 - EPA-RTP Entrance Gate Imp       4/27/2023   Westfield Direct Receipts & Pmts    2576207     ECLS Global Inc.                                                                         (3,295.00)
 21.117 - EPA-RTP Entrance Gate Imp        5/3/2023   Westfield Direct Receipts & Pmts    2576235     Driven Contractors LLC                                                                 (298,250.09)
 21.119 - Apex Western Transmission        5/3/2023   J Smith Civil 3032                  wire   S    J Smith Civil                                         Payroll funding we 4/30/23           (271.23)
 21.119 - Apex Western Transmission        5/5/2023   J Smith Civil 3032                 19004    S   Complete Construction Site Management Co, LLC         Job #23-13 thru 4/30/23            (4,108.86)
 21.119 - Apex Western Transmission        5/5/2023   J Smith Civil 3032                 19006    S   Forever Clean Portable Toilets, Inc.                  A-1034718                             (84.09)
 21.119 - Apex Western Transmission        5/5/2023   J Smith Civil 3032                 19006    S   Forever Clean Portable Toilets, Inc.                  A-1042058                             (84.09)
 21.119 - Apex Western Transmission        5/5/2023   J Smith Civil 3032                 19006    S   Forever Clean Portable Toilets, Inc.                  A-1049633                             (84.09)
 21.119 - Apex Western Transmission        5/5/2023   J Smith Civil 3032                 19006    S   Forever Clean Portable Toilets, Inc.                  D-1053923                            (358.40)
 21.119 - Apex Western Transmission        5/5/2023   J Smith Civil 3032                 19006    S   Forever Clean Portable Toilets, Inc.                  A-1056874                             (84.09)
 21.119 - Apex Western Transmission        5/5/2023   J Smith Civil 3032                 19006    S   Forever Clean Portable Toilets, Inc.                  D-1059932                            (358.40)
 21.119 - Apex Western Transmission        5/5/2023   J Smith Civil 3032                 19006    S   Forever Clean Portable Toilets, Inc.                  D-1063538                            (416.10)
 21.119 - Apex Western Transmission        5/5/2023   J Smith Civil 3032                 19006    S   Forever Clean Portable Toilets, Inc.                  A-1064709                             (84.09)




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 Project                                    Date     Account                       Num       Description                                           Memo                                Amount
 21.119 - Apex Western Transmission       5/5/2023   J Smith Civil 3032         19006    S   Forever Clean Portable Toilets, Inc.                  D1066147                            (437.23)
 21.119 - Apex Western Transmission      5/11/2023   J Smith Civil 3032          wire   S    J Smith Civil                                         Payroll funding we 5/7/23               -
 21.119 - Apex Western Transmission      5/17/2023   J Smith Civil 3032         19024    S   WEX Bank                                              Account #0496-00-743624-9         (2,742.41)
 21.119 - Apex Western Transmission      5/17/2023   J Smith Civil 3032          wire   S    J Smith Civil                                         Payroll funding we 5/14/23        (1,130.33)
 21.119 - Apex Western Transmission      5/22/2023   J Smith Civil 3032         19029    S   Complete Construction Site Management Co, LLC         Job #23-13 thru 5/14/23           (5,601.39)
 21.119 - Apex Western Transmission      5/24/2023   J Smith Civil 3032         Wire    S    Heidelberg Materials Southeast Agg LLC                Invoice 42017260                    (179.10)
 21.119 - Apex Western Transmission      5/24/2023   J Smith Civil 3032         Wire    S    J Smith Civil                                         Payroll funding we 5/21/23        (4,344.13)
 21.119 - Apex Western Transmission      5/26/2023   J Smith Civil 3032         19052    S   Gutierrez Asphalt                                     Invoice INV042                   (18,525.00)
 21.119 - Apex Western Transmission      5/26/2023   J Smith Civil 3032         19052    S   Gutierrez Asphalt                                     Invoice INV043                   (12,349.99)
 21.119 - Apex Western Transmission      5/31/2023   J Smith Civil 3032         19060    S   Ferguson Waterworks                                   Inv #2143241                        (140.64)
 21.119 - Apex Western Transmission      5/31/2023   J Smith Civil 3032         19060    S   Ferguson Waterworks                                   Inv #2149391                        (422.42)
 21.119 - Apex Western Transmission      5/31/2023   J Smith Civil 3032         19060    S   Ferguson Waterworks                                   Inv #2152705                        (954.06)
 21.119 - Apex Western Transmission      5/31/2023   J Smith Civil 3032         19060    S   Ferguson Waterworks                                   Inv #2157638                      (2,275.04)
 21.119 - Apex Western Transmission      5/31/2023   J Smith Civil 3032         19060    S   Ferguson Waterworks                                   Inv #2158164                        (318.64)
 21.119 - Apex Western Transmission      5/31/2023   J Smith Civil 3032         19060    S   Ferguson Waterworks                                   Inv #2157638-1                    (1,474.69)
 21.119 - Apex Western Transmission      5/31/2023   J Smith Civil 3032         19060    S   Ferguson Waterworks                                   Inv #2159828                      (3,127.24)
 21.119 - Apex Western Transmission      5/31/2023   J Smith Civil 3032         19060    S   Ferguson Waterworks                                   Inv #2163701                        (292.30)
 21.119 - Apex Western Transmission      5/31/2023   J Smith Civil 3032          wire   S    J Smith Civil                                         Payroll funding we 5/28/23        (8,367.14)
 21.119 - Apex Western Transmission       6/2/2023   J Smith Civil 3032         19072    S   Gutierrez Asphalt                                     Invoice INV021                   (12,400.00)
 21.119 - Apex Western Transmission       6/2/2023   J Smith Civil 3032         19072    S   Gutierrez Asphalt                                     Invoice INV023                    (6,825.00)
 21.119 - Apex Western Transmission       6/6/2023   J Smith Civil 3032         19085    S   Barnes Hauling Company LLC                            221229-05                         (1,808.80)
 21.119 - Apex Western Transmission       6/6/2023   J Smith Civil 3032         19085    S   Barnes Hauling Company LLC                            230117-05                         (4,205.86)
 21.119 - Apex Western Transmission       6/6/2023   J Smith Civil 3032         19085    S   Barnes Hauling Company LLC                            230202-05                           (709.13)
 21.119 - Apex Western Transmission       6/6/2023   J Smith Civil 3032         19085    S   Barnes Hauling Company LLC                            230322-03                         (2,208.75)
 21.119 - Apex Western Transmission       6/6/2023   J Smith Civil 3032         19092    S   Wall Recycling, LLC                                   981007                            (1,120.00)
 21.119 - Apex Western Transmission       6/6/2023   J Smith Civil 3032         19092    S   Wall Recycling, LLC                                   1002762                             (436.80)
 21.119 - Apex Western Transmission       6/6/2023   J Smith Civil 3032         19092    S   Wall Recycling, LLC                                   998453                              (655.20)
 21.119 - Apex Western Transmission       6/6/2023   J Smith Civil 3032         19092    S   Wall Recycling, LLC                                   1021253                             (347.20)
 21.119 - Apex Western Transmission       6/6/2023   J Smith Civil 3032         19092    S   Wall Recycling, LLC                                   1021323                             (873.60)
 21.119 - Apex Western Transmission       6/6/2023   J Smith Civil 3032         19092    S   Wall Recycling, LLC                                   1023112                             (884.80)
 21.119 - Apex Western Transmission       6/6/2023   J Smith Civil 3032         19092    S   Wall Recycling, LLC                                   1022234                           (1,310.40)
 21.119 - Apex Western Transmission       6/6/2023   J Smith Civil 3032         19092    S   Wall Recycling, LLC                                   1024401                             (214.65)
 21.119 - Apex Western Transmission       6/6/2023   J Smith Civil 3032         19092    S   Wall Recycling, LLC                                   1027599                           (1,092.00)
 21.119 - Apex Western Transmission       6/6/2023   J Smith Civil 3032         19092    S   Wall Recycling, LLC                                   1030313                             (218.40)
 21.119 - Apex Western Transmission       6/7/2023   J Smith Civil 3032          wire   S    J Smith Civil                                         Payroll funding we 6/4/23         (7,935.46)
 21.119 - Apex Western Transmission      6/14/2023   J Smith Civil 3032          wire   S    J Smith Civil                                         Payroll funding we 6/11/23        (4,446.92)
 21.119 - Apex Western Transmission      6/16/2023   J Smith Civil 3032         19135    S   Complete Construction Site Management Co, LLC         Job #23-13 thru 5/28/23           (7,068.08)
 21.119 - Apex Western Transmission      6/21/2023   J Smith Civil 3032          wire   S    J Smith Civil                                         Payroll funding we 6/18/23          (280.87)
 21.119 - Apex Western Transmission      6/27/2023   J Smith Civil 3032           19161      John Bruce Sears                                      Full & Final                      (3,430.00)
 21.119 - Apex Western Transmission      6/28/2023   J Smith Civil 3032         19166    S   Complete Construction Site Management Co, LLC         Job #23-13 thru 6/11/23           (6,175.48)
 21.119 - Apex Western Transmission      6/28/2023   J Smith Civil 3032          wire   S    J Smith Civil                                         Payroll funding we 6/25/23        (1,193.95)
 21.119 - Apex Western Transmission       7/6/2023   J Smith Civil 3032          wire   S    J Smith Civil                                         Payroll funding we 6/25/23          (982.75)
 21.119 - Apex Western Transmission      7/10/2023   J Smith Civil 3032         19189    S   WEX Bank                                              Account #0496-00-743624-9         (1,547.60)
 21.119 - Apex Western Transmission      7/11/2023   J Smith Civil 3032         19200    S   Complete Construction Site Management Co, LLC         Job #23-13 thru 6/25/23           (3,639.26)
 21.119 - Apex Western Transmission      7/12/2023   J Smith Civil 3032          wire   S    J Smith Civil                                         Payroll funding we 7/9/23           (347.17)
 21.119 - Apex Western Transmission      7/18/2023   J Smith Civil 3032         19209    S   Eagle Rock Concrete LLC                               Invoice 123816                      (344.28)
 21.119 - Apex Western Transmission      7/18/2023   J Smith Civil 3032         19209    S   Eagle Rock Concrete LLC                               Invoice 123817                      (644.58)
 21.119 - Apex Western Transmission      7/18/2023   J Smith Civil 3032         19209    S   Eagle Rock Concrete LLC                               Invoice 123818                      (644.58)
 21.119 - Apex Western Transmission      7/19/2023   J Smith Civil 3032         19218    S   ALP Industries, LLC                                   Invoice 06069052                     (94.03)
 21.119 - Apex Western Transmission      7/24/2023   J Smith Civil 3032         19235    S   GFL Environmental                                     Inv #0060021101                     (675.00)
 21.119 - Apex Western Transmission      7/25/2023   J Smith Civil 3032         19253    S   Complete Construction Site Management Co, LLC         Job #23-13 thru 7/9/23              (435.33)
 21.119 - Apex Western Transmission      7/31/2023   J Smith Civil 3032           19262      Barnes Hauling Company LLC                            221108-53                           (884.00)
 21.119 - Apex Western Transmission       8/2/2023   J Smith Civil 3032          wire   S    J Smith Civil                                         Payroll funding we 7/30/23          (705.00)
 21.119 - Apex Western Transmission       8/3/2023   J Smith Civil 3032           19277      **VOID**Gutierrez Asphalt                             INV004                                  -
 21.119 - Apex Western Transmission       8/3/2023   J Smith Civil 3032           19281      Gutierrez Asphalt                                     INV006                           (12,500.00)
 21.119 - Apex Western Transmission       8/9/2023   J Smith Civil 3032          wire   S    J Smith Civil                                         Payroll funding we 8/6/23         (1,804.14)
 21.119 - Apex Western Transmission      8/11/2023   J Smith Civil 3032           19292      Stay Safe Traffic Control, LLC                        Inv #10601                        (2,840.60)
 21.119 - Apex Western Transmission      8/11/2023   J Smith Civil 3032           19296      Bullington Construction, Inc.                         Inv #153534                       (2,450.00)
 21.119 - Apex Western Transmission      8/16/2023   J Smith Civil 3032          wire   S    J Smith Civil                                         Payroll funding we 8/13/23          (705.00)
 21.119 - Apex Western Transmission      8/22/2023   J Smith Civil 3032           19312      LMJ Pavement Marking, LLC                             Invoice 2130                      (3,500.00)
 21.119 - Apex Western Transmission      8/22/2023   J Smith Civil 3032         19315    S   **VOID**Complete Construction Site Management Co, LLC Job #23-13 thru 7/9/23                  -
 21.119 - Apex Western Transmission      8/22/2023   J Smith Civil 3032         19316    S   Complete Construction Site Management Co, LLC         Job #23-13 thru 7/23/23           (1,611.31)




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 21.119 - Apex Western Transmission      8/22/2023   J Smith Civil 3032                 19317    S   Complete Construction Site Management Co, LLC   Job #23-13 thru 8/6/23             (7,399.83)
 21.119 - Apex Western Transmission      8/29/2023   J Smith Civil 3032                 19324    S   United Rentals (North America), Inc.            207901334-008                      (2,067.78)
 21.119 - Apex Western Transmission      8/29/2023   J Smith Civil 3032                 19324    S   United Rentals (North America), Inc.            213133010-002                      (2,362.72)
 21.119 - Apex Western Transmission      8/29/2023   J Smith Civil 3032                 19324    S   United Rentals (North America), Inc.            213353531-002                        (934.15)
 21.119 - Apex Western Transmission      8/29/2023   J Smith Civil 3032                 19324    S   United Rentals (North America), Inc.            207388037-009                        (545.90)
 21.119 - Apex Western Transmission      8/29/2023   J Smith Civil 3032                 19324    S   United Rentals (North America), Inc.            207405454-010                        (507.29)
 21.119 - Apex Western Transmission      8/29/2023   J Smith Civil 3032                 19324    S   United Rentals (North America), Inc.            204518831-011                        (398.97)
 21.119 - Apex Western Transmission      8/29/2023   J Smith Civil 3032                 19324    S   United Rentals (North America), Inc.            207428028-011                      (1,338.48)
 21.119 - Apex Western Transmission      8/29/2023   J Smith Civil 3032                 19324    S   United Rentals (North America), Inc.            211829745-004                      (1,888.68)
 21.119 - Apex Western Transmission      8/29/2023   J Smith Civil 3032                 19324    S   United Rentals (North America), Inc.            207901334-009                      (2,067.78)
 21.119 - Apex Western Transmission      8/29/2023   J Smith Civil 3032                 19324    S   United Rentals (North America), Inc.            213133010-003                      (2,362.72)
 21.119 - Apex Western Transmission      8/29/2023   J Smith Civil 3032                 19324    S   United Rentals (North America), Inc.            213353531-003                        (934.15)
 21.119 - Apex Western Transmission      8/29/2023   J Smith Civil 3032                 19324    S   United Rentals (North America), Inc.            207428028-012                        (883.74)
 21.119 - Apex Western Transmission      8/29/2023   J Smith Civil 3032                 19324    S   United Rentals (North America), Inc.            215822022-001                        (120.34)
 21.119 - Apex Western Transmission      8/29/2023   J Smith Civil 3032                 19324    S   United Rentals (North America), Inc.            207388037-010                        (545.90)
 21.119 - Apex Western Transmission      8/29/2023   J Smith Civil 3032                 19324    S   United Rentals (North America), Inc.            207405454-011                        (507.29)
 21.119 - Apex Western Transmission      8/29/2023   J Smith Civil 3032                 19324    S   United Rentals (North America), Inc.            204518831-012                        (398.97)
 21.119 - Apex Western Transmission      8/29/2023   J Smith Civil 3032                 19324    S   United Rentals (North America), Inc.            211829745-005                      (1,888.68)
 21.119 - Apex Western Transmission      8/29/2023   J Smith Civil 3032                 19324    S   United Rentals (North America), Inc.            207405454-012                         (57.92)
 21.119 - Apex Western Transmission      8/29/2023   J Smith Civil 3032                 19324    S   United Rentals (North America), Inc.            207901334-010                      (1,617.33)
 21.119 - Apex Western Transmission      8/29/2023   J Smith Civil 3032                 19324    S   United Rentals (North America), Inc.            215866664-001                        (729.30)
 21.119 - Apex Western Transmission      8/29/2023   J Smith Civil 3032                 19324    S   United Rentals (North America), Inc.            216153163-002                        (525.10)
 21.119 - Apex Western Transmission      8/29/2023   J Smith Civil 3032                 19324    S   United Rentals (North America), Inc.            215866664-002                      (1,338.48)
 21.119 - Apex Western Transmission      8/29/2023   J Smith Civil 3032                 19324    S   United Rentals (North America), Inc.            216326390-001                        (970.34)
 21.119 - Apex Western Transmission      8/29/2023   J Smith Civil 3032                 19324    S   United Rentals (North America), Inc.            207388037-011                        (545.90)
 21.119 - Apex Western Transmission      8/29/2023   J Smith Civil 3032                 19324    S   United Rentals (North America), Inc.            216582083-001                      (1,957.36)
 21.119 - Apex Western Transmission      8/29/2023   J Smith Civil 3032                 19324    S   United Rentals (North America), Inc.            207388037-012                         (61.13)
 21.119 - Apex Western Transmission      8/29/2023   J Smith Civil 3032                 19324    S   United Rentals (North America), Inc.            215866664-003                      (1,030.67)
 21.119 - Apex Western Transmission      8/29/2023   J Smith Civil 3032                 19324    S   United Rentals (North America), Inc.            217098801-003                        (525.10)
 21.119 - Apex Western Transmission      8/29/2023   J Smith Civil 3032                 19324    S   United Rentals (North America), Inc.            217098801-004                        (311.77)
 21.119 - Apex Western Transmission      8/30/2023   J Smith Civil 3032                  wire   S    J Smith Civil                                   Payroll funding we 8/27/23           (111.55)
 21.119 - Apex Western Transmission       9/7/2023   J Smith Civil 3032                 19333    S   Complete Construction Site Management Co, LLC   Job #23-13 thru 8/20/23            (3,484.16)
 21.119 - Apex Western Transmission      4/27/2023   Westfield Direct Receipts & Pmts    2576205     LMJ Pavement Marking, LLC                                                          (3,200.00)
 21.123 - Woods Creek - Site Work         5/3/2023   J Smith Civil 3032                  wire   S    J Smith Civil                                   Payroll funding we 4/30/23         (1,419.46)
 21.123 - Woods Creek - Site Work         5/4/2023   J Smith Civil 3032                 19003    S   Bolton & Menk, Inc.                             Inv #50575.00-3                   (11,313.00)
 21.123 - Woods Creek - Site Work         5/4/2023   J Smith Civil 3032                 19003    S   Bolton & Menk, Inc.                             Inv #50575.01-4                    (5,737.50)
 21.123 - Woods Creek - Site Work         5/4/2023   J Smith Civil 3032                 19003    S   Bolton & Menk, Inc.                             Inv #50575.04-5                    (6,138.75)
 21.123 - Woods Creek - Site Work         5/4/2023   J Smith Civil 3032                 19003    S   Bolton & Menk, Inc.                             Inv #50575.05-1                    (3,951.25)
 21.123 - Woods Creek - Site Work         5/4/2023   J Smith Civil 3032                 19003    S   Bolton & Menk, Inc.                             Inv #50575.04-6                    (6,138.75)
 21.123 - Woods Creek - Site Work         5/4/2023   J Smith Civil 3032                 19003    S   Bolton & Menk, Inc.                             Inv #50575.05-2                    (3,490.00)
 21.123 - Woods Creek - Site Work         5/4/2023   J Smith Civil 3032                 19003    S   Bolton & Menk, Inc.                             Inv #50575.01-5                   (12,432.50)
 21.123 - Woods Creek - Site Work         5/5/2023   J Smith Civil 3032                 19004    S   Complete Construction Site Management Co, LLC   Job #23-13 thru 4/30/23            (8,217.71)
 21.123 - Woods Creek - Site Work         5/5/2023   J Smith Civil 3032                 19007    S   Forever Clean Portable Toilets, Inc.            A-1029868                            (102.11)
 21.123 - Woods Creek - Site Work         5/5/2023   J Smith Civil 3032                 19007    S   Forever Clean Portable Toilets, Inc.            A-1037485                            (102.11)
 21.123 - Woods Creek - Site Work         5/5/2023   J Smith Civil 3032                 19007    S   Forever Clean Portable Toilets, Inc.            A-1052318                            (102.11)
 21.123 - Woods Creek - Site Work         5/5/2023   J Smith Civil 3032                 19007    S   Forever Clean Portable Toilets, Inc.            A-1060038                            (102.11)
 21.123 - Woods Creek - Site Work         5/5/2023   J Smith Civil 3032                 19007    S   Forever Clean Portable Toilets, Inc.            B-1060541                          (1,200.00)
 21.123 - Woods Creek - Site Work        5/11/2023   J Smith Civil 3032                  wire   S    J Smith Civil                                   Payroll funding we 5/7/23          (1,945.24)
 21.123 - Woods Creek - Site Work        5/17/2023   J Smith Civil 3032                 19024    S   WEX Bank                                        Account #0496-00-743624-9            (988.20)
 21.123 - Woods Creek - Site Work        5/17/2023   J Smith Civil 3032                  wire   S    J Smith Civil                                   Payroll funding we 5/14/23           (590.75)
 21.123 - Woods Creek - Site Work        5/19/2023   J Smith Civil 3032                 19028    S   Gulley's Backhoe Service                        Inv #22483                        (14,563.75)
 21.123 - Woods Creek - Site Work        5/19/2023   J Smith Civil 3032                 19028    S   Gulley's Backhoe Service                        Inv #22468                         (2,640.00)
 21.123 - Woods Creek - Site Work        5/22/2023   J Smith Civil 3032                 19029    S   Complete Construction Site Management Co, LLC   Job #23-13 thru 5/14/23            (9,859.48)
 21.123 - Woods Creek - Site Work        5/24/2023   J Smith Civil 3032                 Wire    S    Heidelberg Materials Southeast Agg LLC          Invoice 42050364                   (1,030.96)
 21.123 - Woods Creek - Site Work        5/24/2023   J Smith Civil 3032                 Wire    S    Heidelberg Materials Southeast Agg LLC          Invoice 42050365                   (2,008.72)
 21.123 - Woods Creek - Site Work        5/24/2023   J Smith Civil 3032                 Wire    S    J Smith Civil                                   Payroll funding we 5/21/23           (668.98)
 21.123 - Woods Creek - Site Work        5/25/2023   J Smith Civil 3032                 19049    S   Ellington Contractors, Inc.                     Invoice 22399                     (22,775.00)
 21.123 - Woods Creek - Site Work        5/25/2023   J Smith Civil 3032                 19049    S   Ellington Contractors, Inc.                     Invoice 23011                     (12,662.50)
 21.123 - Woods Creek - Site Work        5/25/2023   J Smith Civil 3032                 19049    S   Ellington Contractors, Inc.                     Invoice 23060                      (7,643.75)
 21.123 - Woods Creek - Site Work        5/25/2023   J Smith Civil 3032                 19049    S   Ellington Contractors, Inc.                     Invoice 23097                      (2,497.50)
 21.123 - Woods Creek - Site Work        5/26/2023   J Smith Civil 3032                   19053      Wake Stone Corporation                          Invoice M65272                     (2,253.36)
 21.123 - Woods Creek - Site Work        5/31/2023   J Smith Civil 3032                  wire   S    J Smith Civil                                   Payroll funding we 5/28/23               -




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 21.123 - Woods Creek - Site Work       6/2/2023   J Smith Civil 3032           19069      J.R. Hoe, Inc.                                  Inv #178214                        (1,318.63)
 21.123 - Woods Creek - Site Work       6/2/2023   J Smith Civil 3032           19071      Tarheel Tooling & Precision Machining, Inc.     Inv #072118                        (8,000.00)
 21.123 - Woods Creek - Site Work       6/2/2023   J Smith Civil 3032         19074    S   G Civil Erosion Control                         JSC0000003                            (76.50)
 21.123 - Woods Creek - Site Work       6/2/2023   J Smith Civil 3032         19074    S   G Civil Erosion Control                         JSC0000008                         (6,870.00)
 21.123 - Woods Creek - Site Work       6/2/2023   J Smith Civil 3032         19074    S   G Civil Erosion Control                         JSC0000011                         (9,515.00)
 21.123 - Woods Creek - Site Work       6/2/2023   J Smith Civil 3032         19074    S   G Civil Erosion Control                         JSC0000012                        (11,825.00)
 21.123 - Woods Creek - Site Work       6/2/2023   J Smith Civil 3032         19074    S   G Civil Erosion Control                         JSC0000014                        (11,543.00)
 21.123 - Woods Creek - Site Work       6/2/2023   J Smith Civil 3032         19074    S   G Civil Erosion Control                         JSC0000017                         (3,030.00)
 21.123 - Woods Creek - Site Work       6/2/2023   J Smith Civil 3032         19074    S   G Civil Erosion Control                         JSC0000018                         (2,837.85)
 21.123 - Woods Creek - Site Work       6/6/2023   J Smith Civil 3032           19088      Barnes Hauling Company LLC                      230301-04                            (553.96)
 21.123 - Woods Creek - Site Work       6/7/2023   J Smith Civil 3032          wire   S    J Smith Civil                                   Payroll funding we 6/4/23                -
 21.123 - Woods Creek - Site Work       6/9/2023   J Smith Civil 3032         19113    S   Carolina Containers & Transport                 49188                                (268.13)
 21.123 - Woods Creek - Site Work       6/9/2023   J Smith Civil 3032         19113    S   Carolina Containers & Transport                 49189                                 (86.87)
 21.123 - Woods Creek - Site Work       6/9/2023   J Smith Civil 3032         19113    S   Carolina Containers & Transport                 50585                                 (86.87)
 21.123 - Woods Creek - Site Work       6/9/2023   J Smith Civil 3032         19113    S   Carolina Containers & Transport                 50575                                (268.13)
 21.123 - Woods Creek - Site Work       6/9/2023   J Smith Civil 3032         19113    S   Carolina Containers & Transport                 51933                                 (86.87)
 21.123 - Woods Creek - Site Work       6/9/2023   J Smith Civil 3032         19113    S   Carolina Containers & Transport                 51934                                (268.13)
 21.123 - Woods Creek - Site Work       6/9/2023   J Smith Civil 3032         19113    S   Carolina Containers & Transport                 53316                                 (86.87)
 21.123 - Woods Creek - Site Work       6/9/2023   J Smith Civil 3032         19113    S   Carolina Containers & Transport                 53317                                (268.13)
 21.123 - Woods Creek - Site Work      6/13/2023   J Smith Civil 3032           19119      Gregory Poole Equipment Company                 IN1391678                            (372.73)
 21.123 - Woods Creek - Site Work      6/14/2023   J Smith Civil 3032         19125    S   Wall Recycling, LLC                             986716                               (686.88)
 21.123 - Woods Creek - Site Work      6/14/2023   J Smith Civil 3032         19125    S   Wall Recycling, LLC                             997577                               (772.74)
 21.123 - Woods Creek - Site Work      6/14/2023   J Smith Civil 3032         19125    S   Wall Recycling, LLC                             1024401                              (643.95)
 21.123 - Woods Creek - Site Work      6/14/2023   J Smith Civil 3032         19125    S   Wall Recycling, LLC                             1026770                            (2,947.86)
 21.123 - Woods Creek - Site Work      6/14/2023   J Smith Civil 3032          wire   S    J Smith Civil                                   Payroll funding we 6/11/23               -
 21.123 - Woods Creek - Site Work      6/16/2023   J Smith Civil 3032           19134      Stay Safe Traffic Control, LLC                  Inv #8621                            (753.43)
 21.123 - Woods Creek - Site Work      6/16/2023   J Smith Civil 3032         19135    S   Complete Construction Site Management Co, LLC   Job #23-13 thru 5/28/23            (1,128.04)
 21.123 - Woods Creek - Site Work      6/28/2023   J Smith Civil 3032         19166    S   Complete Construction Site Management Co, LLC   Job #23-13 thru 6/11/23            (5,773.82)
 21.123 - Woods Creek - Site Work      6/28/2023   J Smith Civil 3032          wire   S    J Smith Civil                                   Payroll funding we 6/25/23           (386.42)
 21.123 - Woods Creek - Site Work       7/6/2023   J Smith Civil 3032          wire   S    J Smith Civil                                   Payroll funding we 6/25/23           (772.89)
 21.123 - Woods Creek - Site Work       7/6/2023   J Smith Civil 3032           19182      Carolina Containers & Transport                 Invoice 24718, 5/19/23                (86.87)
 21.123 - Woods Creek - Site Work      7/10/2023   J Smith Civil 3032           19198      Carolina Containers & Transport                 Invoice 53407, 4/20/23               (268.13)
 21.123 - Woods Creek - Site Work      7/11/2023   J Smith Civil 3032         19200    S   Complete Construction Site Management Co, LLC   Job #23-13 thru 6/25/23            (7,495.01)
 21.123 - Woods Creek - Site Work      7/12/2023   J Smith Civil 3032          wire   S    J Smith Civil                                   Payroll funding we 7/9/23          (1,932.17)
 21.123 - Woods Creek - Site Work      7/25/2023   J Smith Civil 3032         19253    S   Complete Construction Site Management Co, LLC   Job #23-13 thru 7/9/23            (14,692.53)
 21.123 - Woods Creek - Site Work      7/28/2023   J Smith Civil 3032          wire   S    Ferguson Waterworks                             2108233                           (36,341.13)
 21.123 - Woods Creek - Site Work      7/28/2023   J Smith Civil 3032          wire   S    Ferguson Waterworks                             2115853                           (23,562.83)
 21.123 - Woods Creek - Site Work      7/28/2023   J Smith Civil 3032          wire   S    Ferguson Waterworks                             2145736                              (331.10)
 21.123 - Woods Creek - Site Work      7/28/2023   J Smith Civil 3032          wire   S    Ferguson Waterworks                             2147215                              (392.27)
 21.123 - Woods Creek - Site Work      7/28/2023   J Smith Civil 3032          wire   S    Ferguson Waterworks                             2143155                           (11,559.89)
 21.123 - Woods Creek - Site Work      7/28/2023   J Smith Civil 3032          wire   S    Ferguson Waterworks                             2148407                              (608.75)
 21.123 - Woods Creek - Site Work      7/28/2023   J Smith Civil 3032          wire   S    Ferguson Waterworks                             2148827                              (489.17)
 21.123 - Woods Creek - Site Work      7/28/2023   J Smith Civil 3032          wire   S    Ferguson Waterworks                             2148946                              (791.15)
 21.123 - Woods Creek - Site Work      7/28/2023   J Smith Civil 3032          wire   S    Ferguson Waterworks                             2149152                            (2,284.57)
 21.123 - Woods Creek - Site Work      7/28/2023   J Smith Civil 3032          wire   S    Ferguson Waterworks                             2149293                              (632.41)
 21.123 - Woods Creek - Site Work      7/28/2023   J Smith Civil 3032          wire   S    Ferguson Waterworks                             2149471                              (824.69)
 21.123 - Woods Creek - Site Work      7/28/2023   J Smith Civil 3032          wire   S    Ferguson Waterworks                             2144928                            (1,934.98)
 21.123 - Woods Creek - Site Work      7/28/2023   J Smith Civil 3032          wire   S    Ferguson Waterworks                             2144272                               (69.44)
 21.123 - Woods Creek - Site Work      7/28/2023   J Smith Civil 3032          wire   S    Ferguson Waterworks                             2152329                              (854.18)
 21.123 - Woods Creek - Site Work      7/28/2023   J Smith Civil 3032          wire   S    Ferguson Waterworks                             2153150                              (123.34)
 21.123 - Woods Creek - Site Work      7/28/2023   J Smith Civil 3032          wire   S    Ferguson Waterworks                             2153299                              (319.99)
 21.123 - Woods Creek - Site Work      7/28/2023   J Smith Civil 3032          wire   S    Ferguson Waterworks                             CM207929                              201.73
 21.123 - Woods Creek - Site Work      7/28/2023   J Smith Civil 3032          wire   S    Ferguson Waterworks                             2154455                              (402.30)
 21.123 - Woods Creek - Site Work      7/28/2023   J Smith Civil 3032          wire   S    Ferguson Waterworks                             CM209038                            1,119.92
 21.123 - Woods Creek - Site Work      7/28/2023   J Smith Civil 3032          wire   S    Ferguson Waterworks                             2142018                            (4,659.80)
 21.123 - Woods Creek - Site Work      7/31/2023   J Smith Civil 3032         19272    S   James River Equipment                           P30006                                (20.87)
 21.123 - Woods Creek - Site Work      7/31/2023   J Smith Civil 3032         19272    S   James River Equipment                           P23054                               (154.61)
 21.123 - Woods Creek - Site Work      7/31/2023   J Smith Civil 3032         19272    S   James River Equipment                           P24938                               (103.23)
 21.123 - Woods Creek - Site Work      7/31/2023   J Smith Civil 3032         19272    S   James River Equipment                           P24941                               (205.62)
 21.123 - Woods Creek - Site Work      7/31/2023   J Smith Civil 3032         19272    S   James River Equipment                           P25433                               (264.69)
 21.123 - Woods Creek - Site Work      7/31/2023   J Smith Civil 3032         19272    S   James River Equipment                           W37443                               (990.09)
 21.123 - Woods Creek - Site Work       8/3/2023   J Smith Civil 3032         19278    S   **VOID**Gutierrez Asphalt                       INV003                                   -




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 21.123 - Woods Creek - Site Work               8/3/2023   J Smith Civil 3032         19278   S   **VOID**Gutierrez Asphalt                             INV005                                 -
 21.123 - Woods Creek - Site Work               8/3/2023   J Smith Civil 3032         19282   S   Gutierrez Asphalt                                     INV004                          (19,000.00)
 21.123 - Woods Creek - Site Work               8/3/2023   J Smith Civil 3032         19282   S   Gutierrez Asphalt                                     INV005                           (9,000.00)
 21.123 - Woods Creek - Site Work              8/15/2023   J Smith Civil 3032           19302     Gutierrez Asphalt                                     INV007                           (9,000.00)
 21.123 - Woods Creek - Site Work              8/22/2023   J Smith Civil 3032         19315   S   **VOID**Complete Construction Site Management Co, LLC Job #23-13 thru 7/9/23                 -
 21.123 - Woods Creek - Site Work              8/22/2023   J Smith Civil 3032         19316   S   Complete Construction Site Management Co, LLC         Job #23-13 thru 7/23/23          (8,844.80)
 21.123 - Woods Creek - Site Work              8/22/2023   J Smith Civil 3032         19317   S   Complete Construction Site Management Co, LLC         Job #23-13 thru 8/6/23          (12,559.34)
 21.123 - Woods Creek - Site Work               9/7/2023   J Smith Civil 3032         19333   S   Complete Construction Site Management Co, LLC         Job #23-13 thru 8/20/23         (11,682.17)
 21.123 - Woods Creek - Site Work              9/13/2023   J Smith Civil 3032         19334   S   LMJ Pavement Marking LLC                              Invoice 1862                     (2,059.64)
 21.123 - Woods Creek - Site Work              9/13/2023   J Smith Civil 3032         19334   S   LMJ Pavement Marking LLC                              Invoice 2132                    (16,146.40)
 21.123 - Woods Creek - Site Work              9/13/2023   J Smith Civil 3032           19335     Gutierrez Asphalt                                     INV008                           (7,000.00)
 21.123 - Woods Creek - Site Work              9/14/2023   J Smith Civil 3032           19339     White Cap, L.P.                                       Invoice 10017493546                 (60.06)
 21.125 - Pleasant Grove Ch Rd Industrial       5/5/2023   J Smith Civil 3032         19004   S   Complete Construction Site Management Co, LLC         Job #23-13 thru 4/30/23          (2,054.43)
 21.125 - Pleasant Grove Ch Rd Industrial      5/11/2023   J Smith Civil 3032         19015   S   Capital City Curb And Gutter                          15166                              (983.70)
 21.125 - Pleasant Grove Ch Rd Industrial      5/11/2023   J Smith Civil 3032         19015   S   Capital City Curb And Gutter                          15167                               (67.38)
 21.125 - Pleasant Grove Ch Rd Industrial      5/11/2023   J Smith Civil 3032         19015   S   Capital City Curb And Gutter                          15220                              (836.25)
 21.125 - Pleasant Grove Ch Rd Industrial      5/11/2023   J Smith Civil 3032         19015   S   Capital City Curb And Gutter                          15221                               (28.88)
 21.125 - Pleasant Grove Ch Rd Industrial      5/11/2023   J Smith Civil 3032         19015   S   Capital City Curb And Gutter                          15503                              (181.87)
 21.125 - Pleasant Grove Ch Rd Industrial      5/11/2023   J Smith Civil 3032         19015   S   Capital City Curb And Gutter                          15640                               (68.04)
 21.125 - Pleasant Grove Ch Rd Industrial      5/11/2023   J Smith Civil 3032         19015   S   Capital City Curb And Gutter                          15689                              (178.78)
 21.125 - Pleasant Grove Ch Rd Industrial      5/11/2023   J Smith Civil 3032         19015   S   Capital City Curb And Gutter                          15743                              (129.74)
 21.125 - Pleasant Grove Ch Rd Industrial      5/11/2023   J Smith Civil 3032         19015   S   Capital City Curb And Gutter                          16188                           (16,199.63)
 21.125 - Pleasant Grove Ch Rd Industrial      5/11/2023   J Smith Civil 3032         19015   S   Capital City Curb And Gutter                          16228                              (454.97)
 21.125 - Pleasant Grove Ch Rd Industrial      5/11/2023   J Smith Civil 3032         19015   S   Capital City Curb And Gutter                          16359                            (3,078.56)
 21.125 - Pleasant Grove Ch Rd Industrial      5/11/2023   J Smith Civil 3032         19015   S   Capital City Curb And Gutter                          16517                            (6,315.08)
 21.125 - Pleasant Grove Ch Rd Industrial      5/11/2023   J Smith Civil 3032         19015   S   Capital City Curb And Gutter                          16518                              (979.88)
 21.125 - Pleasant Grove Ch Rd Industrial      5/11/2023   J Smith Civil 3032         19015   S   Capital City Curb And Gutter                          16627                            (2,135.69)
 21.125 - Pleasant Grove Ch Rd Industrial      5/11/2023   J Smith Civil 3032         19015   S   Capital City Curb And Gutter                          16628                           (23,869.41)
 21.125 - Pleasant Grove Ch Rd Industrial      5/11/2023   J Smith Civil 3032         19015   S   Capital City Curb And Gutter                          16629                            (2,404.59)
 21.125 - Pleasant Grove Ch Rd Industrial      5/11/2023   J Smith Civil 3032         19015   S   Capital City Curb And Gutter                          16759                            (2,637.86)
 21.125 - Pleasant Grove Ch Rd Industrial      5/11/2023   J Smith Civil 3032         19015   S   Capital City Curb And Gutter                          16760                           (10,019.73)
 21.125 - Pleasant Grove Ch Rd Industrial      5/11/2023   J Smith Civil 3032         19015   S   Capital City Curb And Gutter                          16761                           (10,788.13)
 21.125 - Pleasant Grove Ch Rd Industrial      5/17/2023   J Smith Civil 3032         19024   S   WEX Bank                                              Account #0496-00-743624-9          (532.32)
 21.125 - Pleasant Grove Ch Rd Industrial      5/22/2023   J Smith Civil 3032         19029   S   Complete Construction Site Management Co, LLC         Job #23-13 thru 5/14/23          (1,937.45)
 21.125 - Pleasant Grove Ch Rd Industrial      5/25/2023   J Smith Civil 3032         19050   S   Concrete Pipe & Precast, LLC                          Invoice 693788                   (1,583.60)
 21.125 - Pleasant Grove Ch Rd Industrial       6/6/2023   J Smith Civil 3032         19082   S   Martin Marietta Materials                             38154947                           (262.34)
 21.125 - Pleasant Grove Ch Rd Industrial       6/6/2023   J Smith Civil 3032         19082   S   Martin Marietta Materials                             38243537                           (260.78)
 21.125 - Pleasant Grove Ch Rd Industrial       6/6/2023   J Smith Civil 3032         19084   S   Barnes Hauling Company LLC                            221222-02                        (5,165.51)
 21.125 - Pleasant Grove Ch Rd Industrial       6/6/2023   J Smith Civil 3032         19084   S   Barnes Hauling Company LLC                            230117-02                        (1,019.61)
 21.125 - Pleasant Grove Ch Rd Industrial       6/6/2023   J Smith Civil 3032         19084   S   Barnes Hauling Company LLC                            230125-02                          (462.88)
 21.125 - Pleasant Grove Ch Rd Industrial       6/6/2023   J Smith Civil 3032         19084   S   Barnes Hauling Company LLC                            230202-02                          (909.17)
 21.125 - Pleasant Grove Ch Rd Industrial       6/6/2023   J Smith Civil 3032         19084   S   Barnes Hauling Company LLC                            230208-01                          (918.00)
 21.125 - Pleasant Grove Ch Rd Industrial       6/6/2023   J Smith Civil 3032         19084   S   Barnes Hauling Company LLC                            230223-02                        (2,561.87)
 21.125 - Pleasant Grove Ch Rd Industrial       6/7/2023   J Smith Civil 3032         19101   S   Erosion Supply Company                                434692                             (236.36)
 21.125 - Pleasant Grove Ch Rd Industrial       6/7/2023   J Smith Civil 3032         19101   S   Erosion Supply Company                                434711                             (157.15)
 21.125 - Pleasant Grove Ch Rd Industrial       6/7/2023   J Smith Civil 3032         19101   S   Erosion Supply Company                                435104                             (132.78)
 21.125 - Pleasant Grove Ch Rd Industrial       6/7/2023   J Smith Civil 3032         19101   S   Erosion Supply Company                                435105                             (104.03)
 21.125 - Pleasant Grove Ch Rd Industrial       6/7/2023   J Smith Civil 3032         19103   S   Digiacomo Land Surveying, PLLC                        120722c                            (545.00)
 21.125 - Pleasant Grove Ch Rd Industrial       6/7/2023   J Smith Civil 3032         19103   S   Digiacomo Land Surveying, PLLC                        121922                             (575.00)
 21.125 - Pleasant Grove Ch Rd Industrial       6/7/2023   J Smith Civil 3032         19103   S   Digiacomo Land Surveying, PLLC                        010523b                            (605.00)
 21.125 - Pleasant Grove Ch Rd Industrial       6/7/2023   J Smith Civil 3032         19103   S   Digiacomo Land Surveying, PLLC                        011723c                            (525.00)
 21.125 - Pleasant Grove Ch Rd Industrial       6/7/2023   J Smith Civil 3032         19103   S   Digiacomo Land Surveying, PLLC                        22023                              (615.00)
 21.125 - Pleasant Grove Ch Rd Industrial      6/13/2023   J Smith Civil 3032           19117     B&K Grading And Paving, LLC                           Inv #91729                      (90,000.00)
 21.125 - Pleasant Grove Ch Rd Industrial      6/15/2023   J Smith Civil 3032           19130     EJ USA, Inc.                                          Inv #110230002620                  (347.04)
 21.125 - Pleasant Grove Ch Rd Industrial      6/16/2023   J Smith Civil 3032         19132   S   Stay Safe Traffic Control, LLC                        Inv #8909                        (4,668.44)
 21.125 - Pleasant Grove Ch Rd Industrial      6/16/2023   J Smith Civil 3032         19132   S   Stay Safe Traffic Control, LLC                        Inv #8982                        (1,876.10)
 21.125 - Pleasant Grove Ch Rd Industrial      6/16/2023   J Smith Civil 3032         19132   S   Stay Safe Traffic Control, LLC                        Inv #9038                        (7,048.60)
 21.125 - Pleasant Grove Ch Rd Industrial      6/16/2023   J Smith Civil 3032         19132   S   Stay Safe Traffic Control, LLC                        Inv #9101                        (5,628.30)
 21.125 - Pleasant Grove Ch Rd Industrial      6/16/2023   J Smith Civil 3032         19132   S   Stay Safe Traffic Control, LLC                        Inv #9258                        (1,876.10)
 21.125 - Pleasant Grove Ch Rd Industrial      6/16/2023   J Smith Civil 3032         19132   S   Stay Safe Traffic Control, LLC                        Inv #9203                        (8,040.40)
 21.125 - Pleasant Grove Ch Rd Industrial      6/16/2023   J Smith Civil 3032         19132   S   Stay Safe Traffic Control, LLC                        Inv #9145                        (9,380.50)
 21.125 - Pleasant Grove Ch Rd Industrial      6/16/2023   J Smith Civil 3032         19132   S   Stay Safe Traffic Control, LLC                        Inv #9314                          (710.15)




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 21.125 - Pleasant Grove Ch Rd Industrial      6/16/2023   J Smith Civil 3032         19132    S   Stay Safe Traffic Control, LLC                        Inv #9430                          (4,269.60)
 21.125 - Pleasant Grove Ch Rd Industrial      6/16/2023   J Smith Civil 3032         19132    S   Stay Safe Traffic Control, LLC                        Inv #9611                            (811.60)
 21.125 - Pleasant Grove Ch Rd Industrial      6/16/2023   J Smith Civil 3032         19135    S   Complete Construction Site Management Co, LLC         Job #23-13 thru 5/28/23            (2,687.07)
 21.125 - Pleasant Grove Ch Rd Industrial      6/23/2023   J Smith Civil 3032         19147    S   Ellington Contractors, Inc.                           Inv #22204                         (1,137.50)
 21.125 - Pleasant Grove Ch Rd Industrial      6/23/2023   J Smith Civil 3032         19147    S   Ellington Contractors, Inc.                           Inv #22414                           (568.75)
 21.125 - Pleasant Grove Ch Rd Industrial      6/23/2023   J Smith Civil 3032         19147    S   Ellington Contractors, Inc.                           Inv #23109                        (41,127.85)
 21.125 - Pleasant Grove Ch Rd Industrial      6/28/2023   J Smith Civil 3032         19166    S   Complete Construction Site Management Co, LLC         Job #23-13 thru 6/11/23            (5,405.63)
 21.125 - Pleasant Grove Ch Rd Industrial      6/29/2023   J Smith Civil 3032           19168      Carolina Sunrock, LLC                                 Inv #787653                          (418.61)
 21.125 - Pleasant Grove Ch Rd Industrial      6/29/2023   J Smith Civil 3032         19173    S   B&K Grading And Paving, LLC                           Inv #93165                        (27,023.10)
 21.125 - Pleasant Grove Ch Rd Industrial      6/29/2023   J Smith Civil 3032         19173    S   B&K Grading And Paving, LLC                           Inv #93276                        (81,564.46)
 21.125 - Pleasant Grove Ch Rd Industrial      6/29/2023   J Smith Civil 3032         19174    S   National Trench Safety                                10032194                           (2,457.85)
 21.125 - Pleasant Grove Ch Rd Industrial      6/29/2023   J Smith Civil 3032         19174    S   National Trench Safety                                10035891                           (2,457.85)
 21.125 - Pleasant Grove Ch Rd Industrial      6/29/2023   J Smith Civil 3032         19174    S   National Trench Safety                                10039660                           (2,457.85)
 21.125 - Pleasant Grove Ch Rd Industrial      6/29/2023   J Smith Civil 3032         19174    S   National Trench Safety                                10043124                           (2,457.85)
 21.125 - Pleasant Grove Ch Rd Industrial      6/29/2023   J Smith Civil 3032         19174    S   National Trench Safety                                10046641                           (2,457.85)
 21.125 - Pleasant Grove Ch Rd Industrial      6/29/2023   J Smith Civil 3032         19174    S   National Trench Safety                                10047343                             (516.00)
 21.125 - Pleasant Grove Ch Rd Industrial      6/29/2023   J Smith Civil 3032         19174    S   National Trench Safety                                10048037                             (618.14)
 21.125 - Pleasant Grove Ch Rd Industrial      6/29/2023   J Smith Civil 3032         19174    S   National Trench Safety                                10050567                           (1,604.92)
 21.125 - Pleasant Grove Ch Rd Industrial       7/6/2023   J Smith Civil 3032          wire   S    J Smith Civil                                         Payroll funding we 6/25/23         (1,165.64)
 21.125 - Pleasant Grove Ch Rd Industrial      7/10/2023   J Smith Civil 3032         19188    S   Stay Alert Safety Services, LLC                       Invoice 120278                     (2,643.71)
 21.125 - Pleasant Grove Ch Rd Industrial      7/10/2023   J Smith Civil 3032         19188    S   Stay Alert Safety Services, LLC                       Invoice 120474                       (686.40)
 21.125 - Pleasant Grove Ch Rd Industrial      7/11/2023   J Smith Civil 3032         19200    S   Complete Construction Site Management Co, LLC         Job #23-13 thru 6/25/23            (4,367.11)
 21.125 - Pleasant Grove Ch Rd Industrial      7/18/2023   J Smith Civil 3032         19214    S   Ferguson Waterworks                                   Inv #2143347                         (774.58)
 21.125 - Pleasant Grove Ch Rd Industrial      7/18/2023   J Smith Civil 3032         19214    S   Ferguson Waterworks                                   Inv #2144650                          (34.38)
 21.125 - Pleasant Grove Ch Rd Industrial      7/18/2023   J Smith Civil 3032         19214    S   Ferguson Waterworks                                   Inv #2147211                          (60.06)
 21.125 - Pleasant Grove Ch Rd Industrial      7/18/2023   J Smith Civil 3032         19214    S   Ferguson Waterworks                                   Inv #2147504                       (3,334.65)
 21.125 - Pleasant Grove Ch Rd Industrial      7/18/2023   J Smith Civil 3032         19214    S   Ferguson Waterworks                                   Inv #2148148                         (453.92)
 21.125 - Pleasant Grove Ch Rd Industrial      7/18/2023   J Smith Civil 3032         19214    S   Ferguson Waterworks                                   Inv #CM207928                         390.03
 21.125 - Pleasant Grove Ch Rd Industrial      7/18/2023   J Smith Civil 3032         19214    S   Ferguson Waterworks                                   Inv #2159070                         (315.55)
 21.125 - Pleasant Grove Ch Rd Industrial      7/18/2023   J Smith Civil 3032         19214    S   Ferguson Waterworks                                   Inv #2159399                          (66.42)
 21.125 - Pleasant Grove Ch Rd Industrial      7/18/2023   J Smith Civil 3032         19215    S   Jarco Supply, a Division of Colony Hardware           Invoice 335140 IN                    (496.39)
 21.125 - Pleasant Grove Ch Rd Industrial      7/18/2023   J Smith Civil 3032         19215    S   Jarco Supply, a Division of Colony Hardware           Invoice 335862 IN                  (1,991.53)
 21.125 - Pleasant Grove Ch Rd Industrial      7/18/2023   J Smith Civil 3032         19215    S   Jarco Supply, a Division of Colony Hardware           Invoice 336610 IN                    (170.80)
 21.125 - Pleasant Grove Ch Rd Industrial      7/18/2023   J Smith Civil 3032         19215    S   Jarco Supply, a Division of Colony Hardware           Invoice 337455 IN                    (903.80)
 21.125 - Pleasant Grove Ch Rd Industrial      7/18/2023   J Smith Civil 3032         19215    S   Jarco Supply, a Division of Colony Hardware           Invoice 338468 IN                  (1,245.17)
 21.125 - Pleasant Grove Ch Rd Industrial      7/18/2023   J Smith Civil 3032         19215    S   Jarco Supply, a Division of Colony Hardware           Invoice 340289 IN                    (536.53)
 21.125 - Pleasant Grove Ch Rd Industrial      7/24/2023   J Smith Civil 3032           19227      Core & Main, LP                                       S644512                               (52.65)
 21.125 - Pleasant Grove Ch Rd Industrial      7/24/2023   J Smith Civil 3032         19245    S   Concrete Supply Co, LLC                               5166727                              (900.37)
 21.125 - Pleasant Grove Ch Rd Industrial      7/24/2023   J Smith Civil 3032         19245    S   Concrete Supply Co, LLC                               5168167                              (982.94)
 21.125 - Pleasant Grove Ch Rd Industrial      7/24/2023   J Smith Civil 3032         19245    S   Concrete Supply Co, LLC                               5168637                              (999.57)
 21.125 - Pleasant Grove Ch Rd Industrial      7/24/2023   J Smith Civil 3032         19245    S   Concrete Supply Co, LLC                               5174390                              (693.91)
 21.125 - Pleasant Grove Ch Rd Industrial      7/24/2023   J Smith Civil 3032         19245    S   Concrete Supply Co, LLC                               5176054                              (940.59)
 21.125 - Pleasant Grove Ch Rd Industrial      7/24/2023   J Smith Civil 3032           19246      Double R Vending                                      Inv #23-0191                          (45.00)
 21.125 - Pleasant Grove Ch Rd Industrial      7/24/2023   J Smith Civil 3032         19247    S   Fogleman Landfill                                     44926                              (1,011.50)
 21.125 - Pleasant Grove Ch Rd Industrial      7/24/2023   J Smith Civil 3032         19247    S   Fogleman Landfill                                     44957                              (1,105.00)
 21.125 - Pleasant Grove Ch Rd Industrial      7/24/2023   J Smith Civil 3032           19248      National Equipment Dealers                            Inv #03041774                         (76.51)
 21.125 - Pleasant Grove Ch Rd Industrial      7/24/2023   J Smith Civil 3032           19249      ProClean Property Maintenance                         Inv #10725                         (3,610.00)
 21.125 - Pleasant Grove Ch Rd Industrial      7/24/2023   J Smith Civil 3032           19250      United Rentals (North America), Inc.                  215065644-001                        (346.49)
 21.125 - Pleasant Grove Ch Rd Industrial      7/25/2023   J Smith Civil 3032         19253    S   Complete Construction Site Management Co, LLC         Job #23-13 thru 7/9/23             (1,650.64)
 21.125 - Pleasant Grove Ch Rd Industrial      7/31/2023   J Smith Civil 3032           19261      Barnes Hauling Company LLC                            221108-51                            (872.00)
 21.125 - Pleasant Grove Ch Rd Industrial      7/31/2023   J Smith Civil 3032           19273      LMJ Pavement Marking, LLC                             Pay App #2, March                 (18,288.11)
 21.125 - Pleasant Grove Ch Rd Industrial       8/3/2023   J Smith Civil 3032           19279      Capital City Curb And Gutter                          Full & Final retainage             (4,637.30)
 21.125 - Pleasant Grove Ch Rd Industrial       8/3/2023   J Smith Civil 3032           19280      Vertical Walls, Inc.                                  Full & Final retainage            (10,794.60)
 21.125 - Pleasant Grove Ch Rd Industrial      8/22/2023   J Smith Civil 3032         19315    S   **VOID**Complete Construction Site Management Co, LLC Job #23-13 thru 7/9/23                   -
 21.125 - Pleasant Grove Ch Rd Industrial      8/22/2023   J Smith Civil 3032         19316    S   Complete Construction Site Management Co, LLC         Job #23-13 thru 7/23/23            (1,589.54)
 21.125 - Pleasant Grove Ch Rd Industrial      8/22/2023   J Smith Civil 3032         19317    S   Complete Construction Site Management Co, LLC         Job #23-13 thru 8/6/23             (1,527.49)
 21.125 - Pleasant Grove Ch Rd Industrial      8/29/2023   J Smith Civil 3032         19323    S   United Rentals (North America), Inc.                  200825281-015                      (2,950.38)
 21.125 - Pleasant Grove Ch Rd Industrial      8/29/2023   J Smith Civil 3032         19323    S   United Rentals (North America), Inc.                  215295096-001                        (763.63)
 21.125 - Pleasant Grove Ch Rd Industrial      8/29/2023   J Smith Civil 3032         19323    S   United Rentals (North America), Inc.                  200825281-016                      (2,997.74)
 21.125 - Pleasant Grove Ch Rd Industrial       9/7/2023   J Smith Civil 3032         19333    S   Complete Construction Site Management Co, LLC         Job #23-13 thru 8/20/23              (368.91)
 21.126 - On Site Utilities Wood's Creek        5/3/2023   J Smith Civil 3032          wire   S    J Smith Civil                                         Payroll funding we 4/30/23           (641.33)
 21.126 - On Site Utilities Wood's Creek        5/5/2023   J Smith Civil 3032         19004    S   Complete Construction Site Management Co, LLC         Job #23-13 thru 4/30/23                  -




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 Project                                          Date     Account                       Num       Description                                           Memo                                    Amount
 21.126 - On Site Utilities Wood's Creek        5/5/2023   J Smith Civil 3032         19008    S   Forever Clean Portable Toilets, Inc.                  B-1055524                             (1,600.00)
 21.126 - On Site Utilities Wood's Creek        5/5/2023   J Smith Civil 3032         19008    S   Forever Clean Portable Toilets, Inc.                  B-1056451                               (800.00)
 21.126 - On Site Utilities Wood's Creek        5/5/2023   J Smith Civil 3032         19008    S   Forever Clean Portable Toilets, Inc.                  B-1058834                               (800.00)
 21.126 - On Site Utilities Wood's Creek        5/5/2023   J Smith Civil 3032         19008    S   Forever Clean Portable Toilets, Inc.                  B-1059753                               (800.00)
 21.126 - On Site Utilities Wood's Creek        5/5/2023   J Smith Civil 3032         19008    S   Forever Clean Portable Toilets, Inc.                  B-1060878                             (2,000.00)
 21.126 - On Site Utilities Wood's Creek        5/5/2023   J Smith Civil 3032         19008    S   Forever Clean Portable Toilets, Inc.                  B-1061732                             (1,600.00)
 21.126 - On Site Utilities Wood's Creek        5/5/2023   J Smith Civil 3032         19008    S   Forever Clean Portable Toilets, Inc.                  B-1062390                             (2,000.00)
 21.126 - On Site Utilities Wood's Creek        5/5/2023   J Smith Civil 3032         19008    S   Forever Clean Portable Toilets, Inc.                  B-1063436                             (1,200.00)
 21.126 - On Site Utilities Wood's Creek       5/11/2023   J Smith Civil 3032          wire   S    J Smith Civil                                         Payroll funding we 5/7/23                   -
 21.126 - On Site Utilities Wood's Creek       5/17/2023   J Smith Civil 3032          wire   S    J Smith Civil                                         Payroll funding we 5/14/23              (778.13)
 21.126 - On Site Utilities Wood's Creek       5/22/2023   J Smith Civil 3032         19029    S   Complete Construction Site Management Co, LLC         Job #23-13 thru 5/14/23                     -
 21.126 - On Site Utilities Wood's Creek       5/24/2023   J Smith Civil 3032         Wire    S    J Smith Civil                                         Payroll funding we 5/21/23              (139.98)
 21.126 - On Site Utilities Wood's Creek       6/16/2023   J Smith Civil 3032         19135    S   Complete Construction Site Management Co, LLC         Job #23-13 thru 5/28/23                     -
 21.126 - On Site Utilities Wood's Creek       6/28/2023   J Smith Civil 3032         19166    S   Complete Construction Site Management Co, LLC         Job #23-13 thru 6/11/23                     -
 21.126 - On Site Utilities Wood's Creek       6/28/2023   J Smith Civil 3032          wire   S    J Smith Civil                                         Payroll funding we 6/25/23              (386.49)
 21.126 - On Site Utilities Wood's Creek       6/29/2023   J Smith Civil 3032           19169      Carolina Sunrock, LLC                                 Inv #789460                           (1,100.30)
 21.126 - On Site Utilities Wood's Creek        7/6/2023   J Smith Civil 3032          wire   S    J Smith Civil                                         Payroll funding we 6/25/23              (277.75)
 21.126 - On Site Utilities Wood's Creek       7/11/2023   J Smith Civil 3032         19200    S   Complete Construction Site Management Co, LLC         Job #23-13 thru 6/25/23                     -
 21.126 - On Site Utilities Wood's Creek       7/25/2023   J Smith Civil 3032         19253    S   Complete Construction Site Management Co, LLC         Job #23-13 thru 7/9/23                      -
 21.126 - On Site Utilities Wood's Creek       7/31/2023   J Smith Civil 3032           19265      Consolidated Pipe & Supply Co, Inc.                   Inv #7323640-00-002                  (34,481.32)
 21.126 - On Site Utilities Wood's Creek       8/22/2023   J Smith Civil 3032         19315    S   **VOID**Complete Construction Site Management Co, LLC Job #23-13 thru 7/9/23                      -
 21.126 - On Site Utilities Wood's Creek       8/22/2023   J Smith Civil 3032         19316    S   Complete Construction Site Management Co, LLC         Job #23-13 thru 7/23/23                     -
 21.126 - On Site Utilities Wood's Creek       8/22/2023   J Smith Civil 3032         19317    S   Complete Construction Site Management Co, LLC         Job #23-13 thru 8/6/23                      -
 21.126 - On Site Utilities Wood's Creek        9/7/2023   J Smith Civil 3032         19333    S   Complete Construction Site Management Co, LLC         Job #23-13 thru 8/20/23                     -
 21.127 - Off Site Utilities Wood's Creek       5/3/2023   J Smith Civil 3032          wire   S    J Smith Civil                                         Payroll funding we 4/30/23            (1,971.45)
 21.127 - Off Site Utilities Wood's Creek       5/5/2023   J Smith Civil 3032         19004    S   Complete Construction Site Management Co, LLC         Job #23-13 thru 4/30/23                     -
 21.127 - Off Site Utilities Wood's Creek       5/5/2023   J Smith Civil 3032         19009    S   Forever Clean Portable Toilets, Inc.                  B-1039821                             (1,120.00)
 21.127 - Off Site Utilities Wood's Creek       5/5/2023   J Smith Civil 3032         19009    S   Forever Clean Portable Toilets, Inc.                  A-1044805                               (102.11)
 21.127 - Off Site Utilities Wood's Creek       5/5/2023   J Smith Civil 3032         19009    S   Forever Clean Portable Toilets, Inc.                  B-1050893                             (2,400.00)
 21.127 - Off Site Utilities Wood's Creek       5/5/2023   J Smith Civil 3032         19009    S   Forever Clean Portable Toilets, Inc.                  B-1055756                             (1,600.00)
 21.127 - Off Site Utilities Wood's Creek       5/5/2023   J Smith Civil 3032         19009    S   Forever Clean Portable Toilets, Inc.                  B-1054000                             (1,600.00)
 21.127 - Off Site Utilities Wood's Creek       5/5/2023   J Smith Civil 3032         19009    S   Forever Clean Portable Toilets, Inc.                  B-1054837                             (1,600.00)
 21.127 - Off Site Utilities Wood's Creek       5/5/2023   J Smith Civil 3032         19009    S   Forever Clean Portable Toilets, Inc.                  B-1058449                             (2,000.00)
 21.127 - Off Site Utilities Wood's Creek      5/11/2023   J Smith Civil 3032          wire   S    J Smith Civil                                         Payroll funding we 5/7/23                   -
 21.127 - Off Site Utilities Wood's Creek      5/15/2023   J Smith Civil 3032         19021    S   S T Wooten Corporation                                Inv #72526                              (781.10)
 21.127 - Off Site Utilities Wood's Creek      5/15/2023   J Smith Civil 3032         19021    S   S T Wooten Corporation                                Inv #72801                              (465.45)
 21.127 - Off Site Utilities Wood's Creek      5/17/2023   J Smith Civil 3032         19024    S   WEX Bank                                              Account #0496-00-743624-9               (841.76)
 21.127 - Off Site Utilities Wood's Creek      5/17/2023   J Smith Civil 3032          wire   S    J Smith Civil                                         Payroll funding we 5/14/23              (389.04)
 21.127 - Off Site Utilities Wood's Creek      5/22/2023   J Smith Civil 3032         19029    S   Complete Construction Site Management Co, LLC         Job #23-13 thru 5/14/23                 (512.35)
 21.127 - Off Site Utilities Wood's Creek       6/8/2023   J Smith Civil 3032           19107      Evoqua Water Technologies LLC                         Inv #905714956                       (14,168.80)
 21.127 - Off Site Utilities Wood's Creek       6/9/2023   J Smith Civil 3032           19111      JWC Environmental                                     Inv #113952                           (7,904.33)
 21.127 - Off Site Utilities Wood's Creek      6/16/2023   J Smith Civil 3032         19135    S   Complete Construction Site Management Co, LLC         Job #23-13 thru 5/28/23                     -
 21.127 - Off Site Utilities Wood's Creek      6/21/2023   J Smith Civil 3032          wire   S    J Smith Civil                                         Payroll funding we 6/18/23              (772.84)
 21.127 - Off Site Utilities Wood's Creek      6/23/2023   J Smith Civil 3032           19142      Water & Waste Systems Construction, Inc.              Pay app #4                           (95,000.00)
 21.127 - Off Site Utilities Wood's Creek      6/28/2023   J Smith Civil 3032         19166    S   Complete Construction Site Management Co, LLC         Job #23-13 thru 6/11/23                     -
 21.127 - Off Site Utilities Wood's Creek      6/28/2023   J Smith Civil 3032          wire   S    J Smith Civil                                         Payroll funding we 6/25/23              (386.42)
 21.127 - Off Site Utilities Wood's Creek      6/30/2023   J Smith Civil 3032           19176      Vortex Drainage Systems                               Pay app 17 thru 1/31/23 - partial   (150,000.00)
 21.127 - Off Site Utilities Wood's Creek      7/11/2023   J Smith Civil 3032         19200    S   Complete Construction Site Management Co, LLC         Job #23-13 thru 6/25/23                     -
 21.127 - Off Site Utilities Wood's Creek      7/11/2023   J Smith Civil 3032         19202    S   Global Crane Services, Inc.                           21128-01                             (35,714.25)
 21.127 - Off Site Utilities Wood's Creek      7/11/2023   J Smith Civil 3032         19202    S   Global Crane Services, Inc.                           21128-02                              (4,000.00)
 21.127 - Off Site Utilities Wood's Creek      7/11/2023   J Smith Civil 3032         19202    S   Global Crane Services, Inc.                           21128-03                              (4,100.00)
 21.127 - Off Site Utilities Wood's Creek      7/24/2023   J Smith Civil 3032         19228    S   Core & Main, LP                                       S252332                               (3,868.48)
 21.127 - Off Site Utilities Wood's Creek      7/24/2023   J Smith Civil 3032         19228    S   Core & Main, LP                                       S599912                                 (257.41)
 21.127 - Off Site Utilities Wood's Creek      7/25/2023   J Smith Civil 3032         19253    S   Complete Construction Site Management Co, LLC         Job #23-13 thru 7/9/23                      -
 21.127 - Off Site Utilities Wood's Creek      8/22/2023   J Smith Civil 3032         19315    S   **VOID**Complete Construction Site Management Co, LLC Job #23-13 thru 7/9/23                      -
 21.127 - Off Site Utilities Wood's Creek      8/22/2023   J Smith Civil 3032         19316    S   Complete Construction Site Management Co, LLC         Job #23-13 thru 7/23/23                     -
 21.127 - Off Site Utilities Wood's Creek      8/22/2023   J Smith Civil 3032         19317    S   Complete Construction Site Management Co, LLC         Job #23-13 thru 8/6/23                      -
 21.127 - Off Site Utilities Wood's Creek       9/7/2023   J Smith Civil 3032         19333    S   Complete Construction Site Management Co, LLC         Job #23-13 thru 8/20/23                     -
 21.128 - Atlantic Ave Widening-Raleigh         5/3/2023   J Smith Civil 3032          wire   S    J Smith Civil                                         Payroll funding we 4/30/23            (2,066.21)
 21.128 - Atlantic Ave Widening-Raleigh         5/5/2023   J Smith Civil 3032         19004    S   Complete Construction Site Management Co, LLC         Job #23-13 thru 4/30/23              (10,272.14)
 21.128 - Atlantic Ave Widening-Raleigh        5/11/2023   J Smith Civil 3032          wire   S    J Smith Civil                                         Payroll funding we 5/7/23             (2,201.69)
 21.128 - Atlantic Ave Widening-Raleigh        5/15/2023   J Smith Civil 3032           19018      Certified Concrete Construction                       Inv #21811                            (8,497.00)




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 Project                                        Date     Account                       Num        Description                                             Memo                                Amount
 21.128 - Atlantic Ave Widening-Raleigh      5/17/2023   J Smith Civil 3032         19024     S   WEX Bank                                                Account #0496-00-743624-9           (733.76)
 21.128 - Atlantic Ave Widening-Raleigh      5/17/2023   J Smith Civil 3032          wire    S    J Smith Civil                                           Payroll funding we 5/14/23        (1,102.50)
 21.128 - Atlantic Ave Widening-Raleigh      5/22/2023   J Smith Civil 3032         19029     S   Complete Construction Site Management Co, LLC           Job #23-13 thru 5/14/23           (1,420.80)
 21.128 - Atlantic Ave Widening-Raleigh      5/24/2023   J Smith Civil 3032           19035       Atlantic Surveying, P.A.                                Invoice 22108, 12/21/22           (3,910.00)
 21.128 - Atlantic Ave Widening-Raleigh      5/31/2023   J Smith Civil 3032          wire    S    J Smith Civil                                           Payroll funding we 5/28/23          (268.95)
 21.128 - Atlantic Ave Widening-Raleigh       6/2/2023   J Smith Civil 3032         19065     S   United Rentals (North America), Inc.                    215023435-001                     (1,038.40)
 21.128 - Atlantic Ave Widening-Raleigh       6/2/2023   J Smith Civil 3032         19065     S   United Rentals (North America), Inc.                    215038944-001                       (558.77)
 21.128 - Atlantic Ave Widening-Raleigh       6/2/2023   J Smith Civil 3032         19065     S   United Rentals (North America), Inc.                    215038944-002                     (1,521.88)
 21.128 - Atlantic Ave Widening-Raleigh       6/2/2023   J Smith Civil 3032         19065     S   United Rentals (North America), Inc.                    215038944-003                     (1,521.88)
 21.128 - Atlantic Ave Widening-Raleigh       6/2/2023   J Smith Civil 3032         19065     S   United Rentals (North America), Inc.                    215038944-004                     (1,029.60)
 21.128 - Atlantic Ave Widening-Raleigh       6/6/2023   J Smith Civil 3032         19095     S   Pacific Trucking Inc.                                   8918                                 (42.50)
 21.128 - Atlantic Ave Widening-Raleigh       6/6/2023   J Smith Civil 3032         19095     S   Pacific Trucking Inc.                                   9292                              (2,437.93)
 21.128 - Atlantic Ave Widening-Raleigh       6/6/2023   J Smith Civil 3032         19095     S   Pacific Trucking Inc.                                   9346                              (1,560.00)
 21.128 - Atlantic Ave Widening-Raleigh       6/6/2023   J Smith Civil 3032         19095     S   Pacific Trucking Inc.                                   9389                                (350.00)
 21.128 - Atlantic Ave Widening-Raleigh       6/6/2023   J Smith Civil 3032         19095     S   Pacific Trucking Inc.                                   9428                              (2,640.11)
 21.128 - Atlantic Ave Widening-Raleigh       6/6/2023   J Smith Civil 3032         19095     S   Pacific Trucking Inc.                                   9460                              (4,323.85)
 21.128 - Atlantic Ave Widening-Raleigh       6/6/2023   J Smith Civil 3032         19095     S   Pacific Trucking Inc.                                   9498                                (765.00)
 21.128 - Atlantic Ave Widening-Raleigh       6/7/2023   J Smith Civil 3032          wire    S    J Smith Civil                                           Payroll funding we 6/4/23         (1,538.39)
 21.128 - Atlantic Ave Widening-Raleigh      6/14/2023   J Smith Civil 3032          wire    S    J Smith Civil                                           Payroll funding we 6/11/23          (442.22)
 21.128 - Atlantic Ave Widening-Raleigh      6/16/2023   J Smith Civil 3032         19135     S   Complete Construction Site Management Co, LLC           Job #23-13 thru 5/28/23           (8,938.16)
 21.128 - Atlantic Ave Widening-Raleigh      6/21/2023   J Smith Civil 3032          wire    S    J Smith Civil                                           Payroll funding we 6/18/23          (704.99)
 21.128 - Atlantic Ave Widening-Raleigh      6/28/2023   J Smith Civil 3032         19166     S   Complete Construction Site Management Co, LLC           Job #23-13 thru 6/11/23           (7,042.39)
 21.128 - Atlantic Ave Widening-Raleigh      6/28/2023   J Smith Civil 3032          wire    S    J Smith Civil                                           Payroll funding we 6/25/23          (705.00)
 21.128 - Atlantic Ave Widening-Raleigh       7/6/2023   J Smith Civil 3032          wire    S    J Smith Civil                                           Payroll funding we 6/25/23        (4,659.23)
 21.128 - Atlantic Ave Widening-Raleigh      7/10/2023   J Smith Civil 3032         19189     S   WEX Bank                                                Account #0496-00-743624-9            (60.00)
 21.128 - Atlantic Ave Widening-Raleigh      7/11/2023   J Smith Civil 3032         19200     S   Complete Construction Site Management Co, LLC           Job #23-13 thru 6/25/23           (1,821.50)
 21.128 - Atlantic Ave Widening-Raleigh      7/12/2023   J Smith Civil 3032          wire    S    J Smith Civil                                           Payroll funding we 7/9/23        (15,206.94)
 21.128 - Atlantic Ave Widening-Raleigh      7/18/2023   J Smith Civil 3032           19213       Curtin Co.                                              Invoice 238609                   (92,660.05)
 21.128 - Atlantic Ave Widening-Raleigh      7/19/2023   J Smith Civil 3032         19218     S   ALP Industries, LLC                                     Invoice 06067722                    (257.40)
 21.128 - Atlantic Ave Widening-Raleigh      7/19/2023   J Smith Civil 3032         19218     S   ALP Industries, LLC                                     Invoice 06067761                    (164.63)
 21.128 - Atlantic Ave Widening-Raleigh      7/19/2023   J Smith Civil 3032         19218     S   ALP Industries, LLC                                     Invoice 06067799                  (2,120.44)
 21.128 - Atlantic Ave Widening-Raleigh      7/19/2023   J Smith Civil 3032         19218     S   ALP Industries, LLC                                     Invoice 06068255                    (182.12)
 21.128 - Atlantic Ave Widening-Raleigh      7/19/2023   J Smith Civil 3032         19220     S   Adams Products Company by and through its attorneys Tharrington
                                                                                                                                                          Invoice 302699466                   (619.11)
 21.128 - Atlantic Ave Widening-Raleigh      7/19/2023   J Smith Civil 3032          wire    S    J Smith Civil                                           Payroll funding we 7/16/23        (8,441.04)
 21.128 - Atlantic Ave Widening-Raleigh      7/25/2023   J Smith Civil 3032         19253     S   Complete Construction Site Management Co, LLC           Job #23-13 thru 7/9/23            (1,904.59)
 21.128 - Atlantic Ave Widening-Raleigh      7/26/2023   J Smith Civil 3032          wire    S    J Smith Civil                                           Payroll funding we 7/23/23        (7,745.84)
 21.128 - Atlantic Ave Widening-Raleigh      7/28/2023   J Smith Civil 3032           19257       Curtin Co.                                              Full & Final Retainage            (3,812.75)
 21.128 - Atlantic Ave Widening-Raleigh      7/31/2023   J Smith Civil 3032         19266     S   James River Equipment                                   R03008                            (4,803.75)
 21.128 - Atlantic Ave Widening-Raleigh      7/31/2023   J Smith Civil 3032         19266     S   James River Equipment                                   R03053                            (4,803.75)
 21.128 - Atlantic Ave Widening-Raleigh      7/31/2023   J Smith Civil 3032         19266     S   James River Equipment                                   R03065                            (6,298.25)
 21.128 - Atlantic Ave Widening-Raleigh      7/31/2023   J Smith Civil 3032         19266     S   James River Equipment                                   R02884                            (9,927.75)
 21.128 - Atlantic Ave Widening-Raleigh      7/31/2023   J Smith Civil 3032         19266     S   James River Equipment                                   R03040                           (13,343.75)
 21.128 - Atlantic Ave Widening-Raleigh      7/31/2023   J Smith Civil 3032           19275       LMJ Pavement Marking, LLC                               Inv #1843 - Full & Final            (180.00)
 21.128 - Atlantic Ave Widening-Raleigh       8/2/2023   J Smith Civil 3032          wire    S    J Smith Civil                                           Payroll funding we 7/30/23        (5,178.20)
 21.128 - Atlantic Ave Widening-Raleigh       8/2/2023   J Smith Civil 3032             wire      Richard L Robertson, PA Trust Account                   Mack Industries Settlement       (27,724.13)
 21.128 - Atlantic Ave Widening-Raleigh       8/9/2023   J Smith Civil 3032          wire    S    J Smith Civil                                           Payroll funding we 8/6/23           (704.99)
 21.128 - Atlantic Ave Widening-Raleigh      8/16/2023   J Smith Civil 3032          wire    S    J Smith Civil                                           Payroll funding we 8/13/23        (1,410.00)
 21.128 - Atlantic Ave Widening-Raleigh      8/22/2023   J Smith Civil 3032           19308       Jones And Associates                                    8/15/23 Invoice                   (3,479.00)
 21.128 - Atlantic Ave Widening-Raleigh      8/22/2023   J Smith Civil 3032           19309       Mark Salmon                                             Inv #0037                         (1,600.00)
 21.128 - Atlantic Ave Widening-Raleigh      8/22/2023   J Smith Civil 3032         19315     S   **VOID**Complete Construction Site Management Co, LLC Job #23-13 thru 7/9/23                    -
 21.128 - Atlantic Ave Widening-Raleigh      8/22/2023   J Smith Civil 3032         19316     S   Complete Construction Site Management Co, LLC           Job #23-13 thru 7/23/23           (2,351.64)
 21.128 - Atlantic Ave Widening-Raleigh      8/22/2023   J Smith Civil 3032         19317     S   Complete Construction Site Management Co, LLC           Job #23-13 thru 8/6/23            (3,521.71)
 21.128 - Atlantic Ave Widening-Raleigh      8/23/2023   J Smith Civil 3032          wire    S    J Smith Civil                                           Payroll funding we 8/20/23        (1,410.05)
 21.128 - Atlantic Ave Widening-Raleigh      8/29/2023   J Smith Civil 3032         19326     S   United Rentals (North America), Inc.                    204065456-013                     (3,379.26)
 21.128 - Atlantic Ave Widening-Raleigh      8/29/2023   J Smith Civil 3032         19326     S   United Rentals (North America), Inc.                    214064446-001                       (945.95)
 21.128 - Atlantic Ave Widening-Raleigh      8/29/2023   J Smith Civil 3032         19326     S   United Rentals (North America), Inc.                    213540257-003                     (1,036.04)
 21.128 - Atlantic Ave Widening-Raleigh      8/29/2023   J Smith Civil 3032         19326     S   United Rentals (North America), Inc.                    204259421-012                       (247.76)
 21.128 - Atlantic Ave Widening-Raleigh      8/29/2023   J Smith Civil 3032         19326     S   United Rentals (North America), Inc.                    214839170-001                     (1,640.93)
 21.128 - Atlantic Ave Widening-Raleigh      8/29/2023   J Smith Civil 3032         19326     S   United Rentals (North America), Inc.                    204065456-014                     (3,379.26)
 21.128 - Atlantic Ave Widening-Raleigh      8/29/2023   J Smith Civil 3032         19326     S   United Rentals (North America), Inc.                    204065456-015                        (24.82)
 21.128 - Atlantic Ave Widening-Raleigh      8/29/2023   J Smith Civil 3032         19326     S   United Rentals (North America), Inc.                    213540257-005                        (66.50)
 21.128 - Atlantic Ave Widening-Raleigh      8/29/2023   J Smith Civil 3032         19326     S   United Rentals (North America), Inc.                    204259421-013                       (247.76)




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 Project                                         Date     Account                               Num       Description                                     Memo                                 Amount
 21.128 - Atlantic Ave Widening-Raleigh       8/29/2023   J Smith Civil 3032                 19326    S   United Rentals (North America), Inc.            214839170-002                      (1,158.31)
 21.128 - Atlantic Ave Widening-Raleigh       8/29/2023   J Smith Civil 3032                 19326    S   United Rentals (North America), Inc.            213540257-006                         (66.50)
 21.128 - Atlantic Ave Widening-Raleigh       8/29/2023   J Smith Civil 3032                 19326    S   United Rentals (North America), Inc.            204259421-014                        (247.76)
 21.128 - Atlantic Ave Widening-Raleigh       8/29/2023   J Smith Civil 3032                 19326    S   United Rentals (North America), Inc.            214839170-003                        (459.03)
 21.128 - Atlantic Ave Widening-Raleigh       8/29/2023   J Smith Civil 3032                 19326    S   United Rentals (North America), Inc.            214839170-004                        (651.01)
 21.128 - Atlantic Ave Widening-Raleigh       8/29/2023   J Smith Civil 3032                 19326    S   United Rentals (North America), Inc.            214839170-005                          64.35
 21.128 - Atlantic Ave Widening-Raleigh       8/29/2023   J Smith Civil 3032                 19326    S   United Rentals (North America), Inc.            214839170-006                          64.35
 21.128 - Atlantic Ave Widening-Raleigh       8/29/2023   J Smith Civil 3032                 19326    S   United Rentals (North America), Inc.            214839170-007                          64.35
 21.128 - Atlantic Ave Widening-Raleigh       8/29/2023   J Smith Civil 3032                 19326    S   United Rentals (North America), Inc.            204259421-015                        (247.76)
 21.128 - Atlantic Ave Widening-Raleigh       8/29/2023   J Smith Civil 3032                 19326    S   United Rentals (North America), Inc.            214839170-008                        (586.66)
 21.128 - Atlantic Ave Widening-Raleigh       8/29/2023   J Smith Civil 3032                 19326    S   United Rentals (North America), Inc.            204259421-016                        (247.76)
 21.128 - Atlantic Ave Widening-Raleigh       8/29/2023   J Smith Civil 3032                 19326    S   United Rentals (North America), Inc.            214839170-009                        (586.66)
 21.128 - Atlantic Ave Widening-Raleigh       8/29/2023   J Smith Civil 3032                 19326    S   United Rentals (North America), Inc.            204259421-017                        (247.76)
 21.128 - Atlantic Ave Widening-Raleigh        9/7/2023   J Smith Civil 3032                 19333    S   Complete Construction Site Management Co, LLC   Job #23-13 thru 8/20/23            (3,562.04)
 21.128 - Atlantic Ave Widening-Raleigh       4/27/2023   Westfield Direct Receipts & Pmts    2576206     LMJ Pavement Marking, LLC                                                         (28,988.55)
 21.132 - Montlieu Ave Roadway & Utility       5/3/2023   J Smith Civil 3032                  wire   S    J Smith Civil                                   Payroll funding we 4/30/23         (7,254.80)
 21.132 - Montlieu Ave Roadway & Utility       5/5/2023   J Smith Civil 3032                  wire   S    Cruz Brothers Concrete, Inc                     Inv #14019                         (8,474.56)
 21.132 - Montlieu Ave Roadway & Utility       5/5/2023   J Smith Civil 3032                  wire   S    Cruz Brothers Concrete, Inc                     Inv #14020                         (4,897.01)
 21.132 - Montlieu Ave Roadway & Utility       5/5/2023   J Smith Civil 3032                  wire   S    Cruz Brothers Concrete, Inc                     Inv #14021                         (3,182.03)
 21.132 - Montlieu Ave Roadway & Utility       5/5/2023   J Smith Civil 3032                  wire   S    Cruz Brothers Concrete, Inc                     Inv #14043                        (50,962.56)
 21.132 - Montlieu Ave Roadway & Utility       5/5/2023   J Smith Civil 3032                 19004    S   Complete Construction Site Management Co, LLC   Job #23-13 thru 4/30/23            (4,108.86)
 21.132 - Montlieu Ave Roadway & Utility      5/11/2023   J Smith Civil 3032                  wire   S    J Smith Civil                                   Payroll funding we 5/7/23         (21,091.48)
 21.132 - Montlieu Ave Roadway & Utility      5/17/2023   J Smith Civil 3032                 19024    S   WEX Bank                                        Account #0496-00-743624-9          (2,575.24)
 21.132 - Montlieu Ave Roadway & Utility      5/17/2023   J Smith Civil 3032                  wire   S    J Smith Civil                                   Payroll funding we 5/14/23        (17,289.04)
 21.132 - Montlieu Ave Roadway & Utility      5/22/2023   J Smith Civil 3032                 19029    S   Complete Construction Site Management Co, LLC   Job #23-13 thru 5/14/23           (11,749.57)
 21.132 - Montlieu Ave Roadway & Utility      5/24/2023   J Smith Civil 3032                 Wire    S    J Smith Civil                                   Payroll funding we 5/21/23        (12,457.58)
 21.132 - Montlieu Ave Roadway & Utility      5/30/2023   J Smith Civil 3032                 19054    S   LMJ Pavement Marking, LLC                       Invoice 1899                       (8,886.77)
 21.132 - Montlieu Ave Roadway & Utility      5/30/2023   J Smith Civil 3032                 19054    S   LMJ Pavement Marking, LLC                       Invoice 1939                       (8,152.42)
 21.132 - Montlieu Ave Roadway & Utility      5/31/2023   J Smith Civil 3032                 19061    S   Ferguson Waterworks                             Inv #2147043                         (335.96)
 21.132 - Montlieu Ave Roadway & Utility      5/31/2023   J Smith Civil 3032                 19061    S   Ferguson Waterworks                             Inv #2152170                         (108.43)
 21.132 - Montlieu Ave Roadway & Utility      5/31/2023   J Smith Civil 3032                 19061    S   Ferguson Waterworks                             Inv #2154409                         (544.94)
 21.132 - Montlieu Ave Roadway & Utility      5/31/2023   J Smith Civil 3032                 19061    S   Ferguson Waterworks                             Inv #2158089                         (128.09)
 21.132 - Montlieu Ave Roadway & Utility      5/31/2023   J Smith Civil 3032                 19061    S   Ferguson Waterworks                             Inv #2158765                         (559.65)
 21.132 - Montlieu Ave Roadway & Utility      5/31/2023   J Smith Civil 3032                 19061    S   Ferguson Waterworks                             Inv #2159918                         (202.69)
 21.132 - Montlieu Ave Roadway & Utility      5/31/2023   J Smith Civil 3032                 19061    S   Ferguson Waterworks                             Inv #2160147                         (215.26)
 21.132 - Montlieu Ave Roadway & Utility      5/31/2023   J Smith Civil 3032                  wire   S    J Smith Civil                                   Payroll funding we 5/28/23         (3,874.94)
 21.132 - Montlieu Ave Roadway & Utility       6/2/2023   J Smith Civil 3032                   19075      ALS Of North Carolina, LLC                      Inv #0228C23                      (15,004.30)
 21.132 - Montlieu Ave Roadway & Utility       6/6/2023   J Smith Civil 3032                 19081    S   Martin Marietta Materials                       38243782                             (225.75)
 21.132 - Montlieu Ave Roadway & Utility       6/6/2023   J Smith Civil 3032                 19081    S   Martin Marietta Materials                       38332538                             (183.24)
 21.132 - Montlieu Ave Roadway & Utility       6/6/2023   J Smith Civil 3032                   19090      Advance Concrete LLC                            Inv #807926 - retainage              (240.21)
 21.132 - Montlieu Ave Roadway & Utility       6/7/2023   J Smith Civil 3032                   19100      Stay Alert Safety Services, LLC                 Inv #121896                       (16,253.93)
 21.132 - Montlieu Ave Roadway & Utility       6/7/2023   J Smith Civil 3032                  wire   S    J Smith Civil                                   Payroll funding we 6/4/23          (3,525.02)
 21.132 - Montlieu Ave Roadway & Utility       6/8/2023   J Smith Civil 3032                   19105      Cruz Brothers Concrete, Inc                     Pay App #7 thru 3/31/23           (32,624.53)
 21.132 - Montlieu Ave Roadway & Utility       6/8/2023   J Smith Civil 3032                 19108    S   Tom Cat Trucking, Inc.                          10597                              (1,257.00)
 21.132 - Montlieu Ave Roadway & Utility       6/8/2023   J Smith Civil 3032                 19108    S   Tom Cat Trucking, Inc.                          10608                             (13,035.75)
 21.132 - Montlieu Ave Roadway & Utility       6/8/2023   J Smith Civil 3032                 19108    S   Tom Cat Trucking, Inc.                          10628                             (11,372.00)
 21.132 - Montlieu Ave Roadway & Utility       6/8/2023   J Smith Civil 3032                 19108    S   Tom Cat Trucking, Inc.                          10651                              (6,942.00)
 21.132 - Montlieu Ave Roadway & Utility       6/8/2023   J Smith Civil 3032                 19108    S   Tom Cat Trucking, Inc.                          10663                              (4,301.00)
 21.132 - Montlieu Ave Roadway & Utility       6/8/2023   J Smith Civil 3032                 19108    S   Tom Cat Trucking, Inc.                          10673                             (13,629.00)
 21.132 - Montlieu Ave Roadway & Utility       6/8/2023   J Smith Civil 3032                 19108    S   Tom Cat Trucking, Inc.                          10700                              (1,189.00)
 21.132 - Montlieu Ave Roadway & Utility       6/8/2023   J Smith Civil 3032                 19108    S   Tom Cat Trucking, Inc.                          10701                             (25,357.50)
 21.132 - Montlieu Ave Roadway & Utility       6/8/2023   J Smith Civil 3032                 19108    S   Tom Cat Trucking, Inc.                          10723                             (17,243.00)
 21.132 - Montlieu Ave Roadway & Utility       6/8/2023   J Smith Civil 3032                 19108    S   Tom Cat Trucking, Inc.                          10750                              (2,516.50)
 21.132 - Montlieu Ave Roadway & Utility       6/8/2023   J Smith Civil 3032                 19108    S   Tom Cat Trucking, Inc.                          10773                              (2,400.00)
 21.132 - Montlieu Ave Roadway & Utility       6/8/2023   J Smith Civil 3032                 19108    S   Tom Cat Trucking, Inc.                          10803                              (2,004.50)
 21.132 - Montlieu Ave Roadway & Utility       6/8/2023   J Smith Civil 3032                 19108    S   Tom Cat Trucking, Inc.                          10834                              (2,673.00)
 21.132 - Montlieu Ave Roadway & Utility       6/9/2023   J Smith Civil 3032                 19114    S   Carolina Containers & Transport                 50238                                 (86.47)
 21.132 - Montlieu Ave Roadway & Utility       6/9/2023   J Smith Civil 3032                 19114    S   Carolina Containers & Transport                 51630                                 (86.47)
 21.132 - Montlieu Ave Roadway & Utility       6/9/2023   J Smith Civil 3032                 19114    S   Carolina Containers & Transport                 53642                              (2,091.38)
 21.132 - Montlieu Ave Roadway & Utility      6/14/2023   J Smith Civil 3032                  wire   S    J Smith Civil                                   Payroll funding we 6/11/23         (8,665.74)
 21.132 - Montlieu Ave Roadway & Utility      6/16/2023   J Smith Civil 3032                   19131      Metalcrafters Of Wayne County, Inc.             Inv #1000000576                   (11,271.75)
 21.132 - Montlieu Ave Roadway & Utility      6/16/2023   J Smith Civil 3032                 19135    S   Complete Construction Site Management Co, LLC   Job #23-13 thru 5/28/23            (7,270.45)




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 21.132 - Montlieu Ave Roadway & Utility      6/21/2023   J Smith Civil 3032          wire   S    J Smith Civil                                           Payroll funding we 6/18/23                  (2,394.58)
 21.132 - Montlieu Ave Roadway & Utility      6/23/2023   J Smith Civil 3032           19143      Atlantic Contracting Company, Inc                       Inv #3534                                  (23,450.00)
 21.132 - Montlieu Ave Roadway & Utility      6/23/2023   J Smith Civil 3032           19145      Delta Contracting, Inc.                                 Final Settlement - Case No. 23 CVS 4657    (47,707.87)
 21.132 - Montlieu Ave Roadway & Utility      6/26/2023   J Smith Civil 3032         19157    S   GFL Environmental                                       Inv #0061532445                               (454.57)
 21.132 - Montlieu Ave Roadway & Utility      6/26/2023   J Smith Civil 3032         19157    S   GFL Environmental                                       Inv #0061410847                                (93.50)
 21.132 - Montlieu Ave Roadway & Utility      6/28/2023   J Smith Civil 3032         19166    S   Complete Construction Site Management Co, LLC           Job #23-13 thru 6/11/23                       (870.26)
 21.132 - Montlieu Ave Roadway & Utility      6/28/2023   J Smith Civil 3032          wire   S    J Smith Civil                                           Payroll funding we 6/25/23                  (1,768.45)
 21.132 - Montlieu Ave Roadway & Utility      6/29/2023   J Smith Civil 3032         19172    S   APAC Atlantic, Inc.                                     628205-01                                  (33,321.53)
 21.132 - Montlieu Ave Roadway & Utility      6/29/2023   J Smith Civil 3032         19172    S   APAC Atlantic, Inc.                                     628205-02                                  (36,306.53)
 21.132 - Montlieu Ave Roadway & Utility       7/6/2023   J Smith Civil 3032          wire   S    J Smith Civil                                           Payroll funding we 6/25/23                    (982.83)
 21.132 - Montlieu Ave Roadway & Utility      7/10/2023   J Smith Civil 3032         19189    S   WEX Bank                                                Account #0496-00-743624-9                     (960.82)
 21.132 - Montlieu Ave Roadway & Utility      7/10/2023   J Smith Civil 3032         19197    S   A-1 Sandrock, Inc.                                      Inv #44476                                    (666.08)
 21.132 - Montlieu Ave Roadway & Utility      7/10/2023   J Smith Civil 3032         19197    S   A-1 Sandrock, Inc.                                      Inv #44866                                  (2,156.25)
 21.132 - Montlieu Ave Roadway & Utility      7/11/2023   J Smith Civil 3032         19200    S   Complete Construction Site Management Co, LLC           Job #23-13 thru 6/25/23                       (522.56)
 21.132 - Montlieu Ave Roadway & Utility      7/12/2023   J Smith Civil 3032          wire   S    J Smith Civil                                           Payroll funding we 7/9/23                         -
 21.132 - Montlieu Ave Roadway & Utility      7/18/2023   J Smith Civil 3032           19205      G.W. Underwood Paving & Grading, Inc.                   Invoice 5706, 5/8/23                        (4,000.00)
 21.132 - Montlieu Ave Roadway & Utility      7/18/2023   J Smith Civil 3032           19207      Brandon's Excavating & Landscaping                      5/23/23 Invoice                               (200.00)
 21.132 - Montlieu Ave Roadway & Utility      7/19/2023   J Smith Civil 3032         19220    S   Adams Products Company by and through its attorneys Tharrington
                                                                                                                                                          Invoice 302736939                             (324.16)
 21.132 - Montlieu Ave Roadway & Utility      7/19/2023   J Smith Civil 3032          wire   S    J Smith Civil                                           Payroll funding we 7/16/23                  (1,410.00)
 21.132 - Montlieu Ave Roadway & Utility      7/24/2023   J Smith Civil 3032         19229    S   Core & Main, LP                                         S333748                                       (678.78)
 21.132 - Montlieu Ave Roadway & Utility      7/24/2023   J Smith Civil 3032         19229    S   Core & Main, LP                                         S374029                                       (936.62)
 21.132 - Montlieu Ave Roadway & Utility      7/24/2023   J Smith Civil 3032         19229    S   Core & Main, LP                                         S401511                                       (250.41)
 21.132 - Montlieu Ave Roadway & Utility      7/24/2023   J Smith Civil 3032         19236    S   GFL Environmental                                       Inv #0060846190                               (254.30)
 21.132 - Montlieu Ave Roadway & Utility      7/24/2023   J Smith Civil 3032         19236    S   GFL Environmental                                       Inv #0060901490                               (701.96)
 21.132 - Montlieu Ave Roadway & Utility      7/24/2023   J Smith Civil 3032         19236    S   GFL Environmental                                       Inv #0061821670                                (26.82)
 21.132 - Montlieu Ave Roadway & Utility      7/25/2023   J Smith Civil 3032         19253    S   Complete Construction Site Management Co, LLC           Job #23-13 thru 7/9/23                            -
 21.132 - Montlieu Ave Roadway & Utility      7/26/2023   J Smith Civil 3032          wire   S    J Smith Civil                                           Payroll funding we 7/23/23                  (1,409.98)
 21.132 - Montlieu Ave Roadway & Utility      7/28/2023   J Smith Civil 3032           19258      JRT Asphalt LLC                                         Inv #0000090                               (14,077.48)
 21.132 - Montlieu Ave Roadway & Utility      7/31/2023   J Smith Civil 3032         19268    S   James River Equipment                                   P29429                                        (150.93)
 21.132 - Montlieu Ave Roadway & Utility      7/31/2023   J Smith Civil 3032         19268    S   James River Equipment                                   P50926                                        (196.84)
 21.132 - Montlieu Ave Roadway & Utility      7/31/2023   J Smith Civil 3032         19268    S   James River Equipment                                   P23055                                        (736.48)
 21.132 - Montlieu Ave Roadway & Utility      7/31/2023   J Smith Civil 3032         19268    S   James River Equipment                                   P14912                                        (197.27)
 21.132 - Montlieu Ave Roadway & Utility      7/31/2023   J Smith Civil 3032         19268    S   James River Equipment                                   P14925                                         (83.76)
 21.132 - Montlieu Ave Roadway & Utility      7/31/2023   J Smith Civil 3032         19268    S   James River Equipment                                   P14926                                          (2.32)
 21.132 - Montlieu Ave Roadway & Utility       8/2/2023   J Smith Civil 3032          wire   S    J Smith Civil                                           Payroll funding we 7/30/23                    (705.00)
 21.132 - Montlieu Ave Roadway & Utility       8/9/2023   J Smith Civil 3032          wire   S    J Smith Civil                                           Payroll funding we 8/6/23                     (705.05)
 21.132 - Montlieu Ave Roadway & Utility       8/9/2023   J Smith Civil 3032           19283      Paveway Systems, Inc.                                   Pay app #1 thru 5/31/23                   (132,608.05)
 21.132 - Montlieu Ave Roadway & Utility      8/10/2023   J Smith Civil 3032           19287      GFL Environmental                                       Inv #0060481858                                (93.50)
 21.132 - Montlieu Ave Roadway & Utility      8/11/2023   J Smith Civil 3032           19291      Precast Solutions                                       Inv #14201                                  (1,622.60)
 21.132 - Montlieu Ave Roadway & Utility      8/15/2023   J Smith Civil 3032           19305      RoadSafe Traffic Systems, Inc.                          Inv #167365                                 (2,037.76)
 21.132 - Montlieu Ave Roadway & Utility      8/16/2023   J Smith Civil 3032          wire   S    J Smith Civil                                           Payroll funding we 8/13/23                    (705.03)
 21.132 - Montlieu Ave Roadway & Utility      8/22/2023   J Smith Civil 3032         19306    S   Cruz Brothers Concrete, Inc                             Inv #14122                                  (5,716.71)
 21.132 - Montlieu Ave Roadway & Utility      8/22/2023   J Smith Civil 3032         19306    S   Cruz Brothers Concrete, Inc                             Inv #14123                                  (1,923.75)
 21.132 - Montlieu Ave Roadway & Utility      8/22/2023   J Smith Civil 3032         19315    S   **VOID**Complete Construction Site Management Co, LLC Job #23-13 thru 7/9/23                              -
 21.132 - Montlieu Ave Roadway & Utility      8/22/2023   J Smith Civil 3032         19316    S   Complete Construction Site Management Co, LLC           Job #23-13 thru 7/23/23                           -
 21.132 - Montlieu Ave Roadway & Utility      8/22/2023   J Smith Civil 3032         19317    S   Complete Construction Site Management Co, LLC           Job #23-13 thru 8/6/23                        (297.01)
 21.132 - Montlieu Ave Roadway & Utility      8/23/2023   J Smith Civil 3032          wire   S    J Smith Civil                                           Payroll funding we 8/20/23                  (1,409.98)
 21.132 - Montlieu Ave Roadway & Utility      8/29/2023   J Smith Civil 3032           19321      APAC Atlantic, Inc.                                     Invoice 628205-003                        (190,147.98)
 21.132 - Montlieu Ave Roadway & Utility      8/29/2023   J Smith Civil 3032         19325    S   United Rentals (North America), Inc.                    210017558-005                               (9,847.69)
 21.132 - Montlieu Ave Roadway & Utility      8/29/2023   J Smith Civil 3032         19325    S   United Rentals (North America), Inc.                    214716542-001                               (2,679.35)
 21.132 - Montlieu Ave Roadway & Utility      8/29/2023   J Smith Civil 3032         19325    S   United Rentals (North America), Inc.                    211500991-004                               (2,428.14)
 21.132 - Montlieu Ave Roadway & Utility      8/29/2023   J Smith Civil 3032         19325    S   United Rentals (North America), Inc.                    210017558-006                               (9,847.69)
 21.132 - Montlieu Ave Roadway & Utility      8/29/2023   J Smith Civil 3032         19325    S   United Rentals (North America), Inc.                    211500991-005                               (2,428.14)
 21.132 - Montlieu Ave Roadway & Utility      8/29/2023   J Smith Civil 3032         19325    S   United Rentals (North America), Inc.                    215903529-001                               (2,275.70)
 21.132 - Montlieu Ave Roadway & Utility      8/29/2023   J Smith Civil 3032         19325    S   United Rentals (North America), Inc.                    216560464-001                               (1,107.69)
 21.132 - Montlieu Ave Roadway & Utility      8/29/2023   J Smith Civil 3032         19325    S   United Rentals (North America), Inc.                    211500991-006                               (2,428.14)
 21.132 - Montlieu Ave Roadway & Utility      8/29/2023   J Smith Civil 3032         19325    S   United Rentals (North America), Inc.                    215903529-002                               (2,275.70)
 21.132 - Montlieu Ave Roadway & Utility      8/29/2023   J Smith Civil 3032         19325    S   United Rentals (North America), Inc.                    211500991-007                               (2,428.14)
 21.132 - Montlieu Ave Roadway & Utility      8/30/2023   J Smith Civil 3032         19329    S   64 Portables, Inc.                                      Inv #62836                                    (106.75)
 21.132 - Montlieu Ave Roadway & Utility      8/30/2023   J Smith Civil 3032         19329    S   64 Portables, Inc.                                      Inv #63132                                    (213.50)
 21.132 - Montlieu Ave Roadway & Utility      8/30/2023   J Smith Civil 3032         19329    S   64 Portables, Inc.                                      Inv #63411                                    (106.75)
 21.132 - Montlieu Ave Roadway & Utility      8/30/2023   J Smith Civil 3032         19329    S   64 Portables, Inc.                                      Inv #63726                                    (213.50)




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 21.132 - Montlieu Ave Roadway & Utility      8/30/2023   J Smith Civil 3032                 19329     S   64 Portables, Inc.                              Inv #64007                            (106.75)
 21.132 - Montlieu Ave Roadway & Utility      8/30/2023   J Smith Civil 3032                 19329     S   64 Portables, Inc.                              Inv #64315                            (213.50)
 21.132 - Montlieu Ave Roadway & Utility      8/30/2023   J Smith Civil 3032                 19329     S   64 Portables, Inc.                              Inv #64618                            (106.75)
 21.132 - Montlieu Ave Roadway & Utility       9/7/2023   J Smith Civil 3032                 19333     S   Complete Construction Site Management Co, LLC   Job #23-13 thru 8/20/23                   -
 21.132 - Montlieu Ave Roadway & Utility      9/14/2023   J Smith Civil 3032                 19338     S   White Cap, L.P.                                 Invoice 10017602564                   (336.20)
 21.132 - Montlieu Ave Roadway & Utility      9/14/2023   J Smith Civil 3032                 19338     S   White Cap, L.P.                                 Invoice 10017627441                 (1,225.90)
 21.132 - Montlieu Ave Roadway & Utility      9/14/2023   J Smith Civil 3032                 19338     S   White Cap, L.P.                                 Invoice 10017639740                 (1,030.64)
 21.132 - Montlieu Ave Roadway & Utility      4/18/2023   Westfield Direct Receipts & Pmts    2576178      Thompson-Arthur Paving & Construction                                              (79,073.55)
 21.132 - Montlieu Ave Roadway & Utility      4/27/2023   Westfield Direct Receipts & Pmts    2576197      Thompson-Arthur Paving & Construction                                              (24,624.64)
 21.132 - Montlieu Ave Roadway & Utility      4/28/2023   Westfield Direct Receipts & Pmts    2576209      Blue Stream Environmental                                                          (10,402.50)
 21.132 - Montlieu Ave Roadway & Utility       5/1/2023   Westfield Direct Receipts & Pmts    2576227      GFL Environmental                                                                   (1,072.53)
 21.132 - Montlieu Ave Roadway & Utility       5/3/2023   Westfield Direct Receipts & Pmts    2576236      LMJ Pavement Marking, LLC                                                          (11,386.78)
 22.102 - UPS Mebane - Samet                   5/3/2023   J Smith Civil 3032                  wire    S    Couch Oil Company, Inc                          Inv #607692                         (1,071.03)
 22.102 - UPS Mebane - Samet                   5/3/2023   J Smith Civil 3032                  wire    S    Couch Oil Company, Inc                          Inv #610991                         (4,596.52)
 22.102 - UPS Mebane - Samet                   5/3/2023   J Smith Civil 3032                  wire    S    Couch Oil Company, Inc                          Inv #611852                           (720.56)
 22.102 - UPS Mebane - Samet                   5/3/2023   J Smith Civil 3032                  wire    S    Couch Oil Company, Inc                          Inv #611976                         (1,382.95)
 22.102 - UPS Mebane - Samet                   5/3/2023   J Smith Civil 3032                  wire    S    Couch Oil Company, Inc                          Inv #613228                           (781.11)
 22.102 - UPS Mebane - Samet                   5/3/2023   J Smith Civil 3032                  wire    S    Couch Oil Company, Inc                          Inv #613691                         (3,893.86)
 22.102 - UPS Mebane - Samet                   5/3/2023   J Smith Civil 3032                  wire    S    Couch Oil Company, Inc                          Inv #616928                         (3,709.43)
 22.102 - UPS Mebane - Samet                   5/3/2023   J Smith Civil 3032                  wire    S    Couch Oil Company, Inc                          Inv #617829                         (2,296.73)
 22.102 - UPS Mebane - Samet                   5/3/2023   J Smith Civil 3032                  wire    S    J Smith Civil                                   Payroll funding we 4/30/23         (67,535.61)
 22.102 - UPS Mebane - Samet                   5/3/2023   J Smith Civil 3032                 DEP      S    Couch Oil Company, Inc                          Inv #607692                          1,071.03
 22.102 - UPS Mebane - Samet                   5/3/2023   J Smith Civil 3032                 DEP      S    Couch Oil Company, Inc                          Inv #610991                          4,596.52
 22.102 - UPS Mebane - Samet                   5/3/2023   J Smith Civil 3032                 DEP      S    Couch Oil Company, Inc                          Inv #611852                            720.56
 22.102 - UPS Mebane - Samet                   5/3/2023   J Smith Civil 3032                 DEP      S    Couch Oil Company, Inc                          Inv #611976                          1,382.95
 22.102 - UPS Mebane - Samet                   5/3/2023   J Smith Civil 3032                 DEP      S    Couch Oil Company, Inc                          Inv #613228                            781.11
 22.102 - UPS Mebane - Samet                   5/3/2023   J Smith Civil 3032                 DEP      S    Couch Oil Company, Inc                          Inv #613691                          3,893.86
 22.102 - UPS Mebane - Samet                   5/3/2023   J Smith Civil 3032                 DEP      S    Couch Oil Company, Inc                          Inv #616928                          3,709.43
 22.102 - UPS Mebane - Samet                   5/3/2023   J Smith Civil 3032                 DEP      S    Couch Oil Company, Inc                          Inv #617829                          2,296.73
 22.102 - UPS Mebane - Samet                   5/4/2023   J Smith Civil 3032                 19001     S   Highland Tank, LLC                              Inv #300468                         (8,738.59)
 22.102 - UPS Mebane - Samet                   5/4/2023   J Smith Civil 3032                 19001     S   Highland Tank, LLC                              Inv #300623                         (1,079.69)
 22.102 - UPS Mebane - Samet                   5/4/2023   J Smith Civil 3032                   19002       Ruston Paving Company, Inc.                     JB App #22, Inv #39231             (13,089.60)
 22.102 - UPS Mebane - Samet                   5/5/2023   J Smith Civil 3032                     wire      Razorback Boring, Inc.                          Inv #513-02                       (118,293.09)
 22.102 - UPS Mebane - Samet                   5/5/2023   J Smith Civil 3032                 19004     S   Complete Construction Site Management Co, LLC   Job #23-13 thru 4/30/23            (20,544.26)
 22.102 - UPS Mebane - Samet                   5/9/2023   J Smith Civil 3032                  wire    S    Couch Oil Company, Inc                          Inv #607692                         (1,071.03)
 22.102 - UPS Mebane - Samet                   5/9/2023   J Smith Civil 3032                  wire    S    Couch Oil Company, Inc                          Inv #610991                         (4,596.52)
 22.102 - UPS Mebane - Samet                   5/9/2023   J Smith Civil 3032                  wire    S    Couch Oil Company, Inc                          Inv #611852                           (720.56)
 22.102 - UPS Mebane - Samet                   5/9/2023   J Smith Civil 3032                  wire    S    Couch Oil Company, Inc                          Inv #611976                         (1,382.95)
 22.102 - UPS Mebane - Samet                   5/9/2023   J Smith Civil 3032                  wire    S    Couch Oil Company, Inc                          Inv #613228                           (781.11)
 22.102 - UPS Mebane - Samet                   5/9/2023   J Smith Civil 3032                  wire    S    Couch Oil Company, Inc                          Inv #613691                         (3,893.86)
 22.102 - UPS Mebane - Samet                   5/9/2023   J Smith Civil 3032                  wire    S    Couch Oil Company, Inc                          Inv #616928                         (3,709.43)
 22.102 - UPS Mebane - Samet                   5/9/2023   J Smith Civil 3032                  wire    S    Couch Oil Company, Inc                          Inv #617829                         (2,296.73)
 22.102 - UPS Mebane - Samet                   5/9/2023   J Smith Civil 3032                 19012     S   B&K Grading And Paving, LLC                     Inv #92209                        (191,199.38)
 22.102 - UPS Mebane - Samet                   5/9/2023   J Smith Civil 3032                 19012     S   B&K Grading And Paving, LLC                     Inv #92375                         (70,247.70)
 22.102 - UPS Mebane - Samet                  5/11/2023   J Smith Civil 3032                   19014       Capital City Curb And Gutter                    Inv #16757                          (4,725.18)
 22.102 - UPS Mebane - Samet                  5/11/2023   J Smith Civil 3032                  wire    S    J Smith Civil                                   Payroll funding we 5/7/23          (64,064.73)
 22.102 - UPS Mebane - Samet                  5/12/2023   J Smith Civil 3032                  wire    S    Couch Oil Company, Inc                          Inv #621859                         (2,855.41)
 22.102 - UPS Mebane - Samet                  5/12/2023   J Smith Civil 3032                  wire    S    Couch Oil Company, Inc                          Inv #625176                         (3,708.65)
 22.102 - UPS Mebane - Samet                  5/12/2023   J Smith Civil 3032                  wire    S    Couch Oil Company, Inc                          Inv #626510                         (2,412.56)
 22.102 - UPS Mebane - Samet                  5/12/2023   J Smith Civil 3032                  wire    S    Couch Oil Company, Inc                          Inv #627996                         (2,563.85)
 22.102 - UPS Mebane - Samet                  5/12/2023   J Smith Civil 3032                  wire    S    Couch Oil Company, Inc                          Inv #631096                         (3,658.65)
 22.102 - UPS Mebane - Samet                  5/12/2023   J Smith Civil 3032                     wire      Ruston Paving Company, Inc.                     JB App #24, Inv #39340             (54,818.96)
 22.102 - UPS Mebane - Samet                  5/17/2023   J Smith Civil 3032                 19024     S   WEX Bank                                        Account #0496-00-743624-9          (17,096.47)
 22.102 - UPS Mebane - Samet                  5/17/2023   J Smith Civil 3032                  wire    S    J Smith Civil                                   Payroll funding we 5/14/23         (88,977.17)
 22.102 - UPS Mebane - Samet                  5/18/2023   J Smith Civil 3032                  wire    S    Copperhead Cove Marine, Inc                     JSC203                             (24,384.64)
 22.102 - UPS Mebane - Samet                  5/18/2023   J Smith Civil 3032                  wire    S    Copperhead Cove Marine, Inc                     JSC210                             (16,549.85)
 22.102 - UPS Mebane - Samet                  5/18/2023   J Smith Civil 3032                  wire    S    Copperhead Cove Marine, Inc                     JSC303                             (14,154.96)
 22.102 - UPS Mebane - Samet                  5/19/2023   J Smith Civil 3032                     wire      Ruston Paving Company, Inc.                     JB App #25, Inv #39368             (46,743.97)
 22.102 - UPS Mebane - Samet                  5/19/2023   J Smith Civil 3032                 19027     S   United Rentals (North America), Inc.            209239900-006                       (4,206.15)
 22.102 - UPS Mebane - Samet                  5/19/2023   J Smith Civil 3032                 19027     S   United Rentals (North America), Inc.            209239900-007                       (4,206.15)
 22.102 - UPS Mebane - Samet                  5/19/2023   J Smith Civil 3032                 19027     S   United Rentals (North America), Inc.            209239900-008                       (4,206.15)
 22.102 - UPS Mebane - Samet                  5/19/2023   J Smith Civil 3032                 19027     S   United Rentals (North America), Inc.            209239900-009                       (4,206.15)




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 Project                             Date     Account                       Num        Description                                     Memo                                 Amount
 22.102 - UPS Mebane - Samet      5/19/2023   J Smith Civil 3032         19027     S   United Rentals (North America), Inc.            209239900-010                      (4,206.15)
 22.102 - UPS Mebane - Samet      5/22/2023   J Smith Civil 3032         19029     S   Complete Construction Site Management Co, LLC   Job #23-13 thru 5/14/23           (29,651.62)
 22.102 - UPS Mebane - Samet      5/24/2023   J Smith Civil 3032         Wire     S    J Smith Civil                                   Payroll funding we 5/21/23        (62,961.46)
 22.102 - UPS Mebane - Samet      5/26/2023   J Smith Civil 3032          wire    S    Ruston Paving Company, Inc.                     JB App #16, Inv #39166            (98,132.21)
 22.102 - UPS Mebane - Samet      5/26/2023   J Smith Civil 3032          wire    S    Ruston Paving Company, Inc.                     JB App #26, Inv #39412            (40,186.57)
 22.102 - UPS Mebane - Samet      5/31/2023   J Smith Civil 3032         19055     S   Chandler Concrete Co, Inc.                      Inv #202778                        (8,545.34)
 22.102 - UPS Mebane - Samet      5/31/2023   J Smith Civil 3032         19055     S   Chandler Concrete Co, Inc.                      Inv #203099                        (1,051.49)
 22.102 - UPS Mebane - Samet      5/31/2023   J Smith Civil 3032         19055     S   Chandler Concrete Co, Inc.                      Inv #203676                        (5,127.20)
 22.102 - UPS Mebane - Samet      5/31/2023   J Smith Civil 3032         19055     S   Chandler Concrete Co, Inc.                      Inv #204809                          (887.09)
 22.102 - UPS Mebane - Samet      5/31/2023   J Smith Civil 3032         19055     S   Chandler Concrete Co, Inc.                      Inv #209302                        (2,586.55)
 22.102 - UPS Mebane - Samet      5/31/2023   J Smith Civil 3032         19055     S   Chandler Concrete Co, Inc.                      Inv #214817                        (1,041.88)
 22.102 - UPS Mebane - Samet      5/31/2023   J Smith Civil 3032          wire    S    J Smith Civil                                   Payroll funding we 5/28/23        (55,758.49)
 22.102 - UPS Mebane - Samet       6/6/2023   J Smith Civil 3032         19077     S   Martin Marietta Materials                       38101963                           (2,800.98)
 22.102 - UPS Mebane - Samet       6/6/2023   J Smith Civil 3032         19077     S   Martin Marietta Materials                       38145717                             (628.43)
 22.102 - UPS Mebane - Samet       6/6/2023   J Smith Civil 3032         19077     S   Martin Marietta Materials                       38221014                             (920.16)
 22.102 - UPS Mebane - Samet       6/6/2023   J Smith Civil 3032         19077     S   Martin Marietta Materials                       38244034                             (638.00)
 22.102 - UPS Mebane - Samet       6/6/2023   J Smith Civil 3032         19077     S   Martin Marietta Materials                       38306080                             (634.17)
 22.102 - UPS Mebane - Samet       6/6/2023   J Smith Civil 3032         19077     S   Martin Marietta Materials                       38332879                             (409.65)
 22.102 - UPS Mebane - Samet       6/6/2023   J Smith Civil 3032         19077     S   Martin Marietta Materials                       38541526                           (3,097.09)
 22.102 - UPS Mebane - Samet       6/6/2023   J Smith Civil 3032         19077     S   Martin Marietta Materials                       38848563                           (1,193.12)
 22.102 - UPS Mebane - Samet       6/6/2023   J Smith Civil 3032         19077     S   Martin Marietta Materials                       38941378                             (905.36)
 22.102 - UPS Mebane - Samet       6/6/2023   J Smith Civil 3032          wire    S    Couch Oil Company, Inc                          Inv #633884                        (2,490.06)
 22.102 - UPS Mebane - Samet       6/6/2023   J Smith Civil 3032          wire    S    Couch Oil Company, Inc                          Inv #636691                        (2,919.68)
 22.102 - UPS Mebane - Samet       6/6/2023   J Smith Civil 3032          wire    S    Couch Oil Company, Inc                          Inv #637553                        (1,111.91)
 22.102 - UPS Mebane - Samet       6/6/2023   J Smith Civil 3032          wire    S    Couch Oil Company, Inc                          Inv #638006                        (3,246.63)
 22.102 - UPS Mebane - Samet       6/6/2023   J Smith Civil 3032          wire    S    Couch Oil Company, Inc                          Inv #639252                        (2,212.06)
 22.102 - UPS Mebane - Samet       6/6/2023   J Smith Civil 3032          wire    S    Couch Oil Company, Inc                          Inv #640458                        (1,929.83)
 22.102 - UPS Mebane - Samet       6/7/2023   J Smith Civil 3032         19099     S   Secure Traffic Control Inc.                     1124                               (3,675.00)
 22.102 - UPS Mebane - Samet       6/7/2023   J Smith Civil 3032         19099     S   Secure Traffic Control Inc.                     1170                              (25,725.00)
 22.102 - UPS Mebane - Samet       6/7/2023   J Smith Civil 3032         19099     S   Secure Traffic Control Inc.                     1186                               (2,502.50)
 22.102 - UPS Mebane - Samet       6/7/2023   J Smith Civil 3032          wire    S    J Smith Civil                                   Payroll funding we 6/4/23         (38,647.55)
 22.102 - UPS Mebane - Samet       6/9/2023   J Smith Civil 3032             wire      Ruston Paving Company, Inc.                     JB App #28, Inv #39519            (36,345.85)
 22.102 - UPS Mebane - Samet       6/9/2023   J Smith Civil 3032           19110       Ferguson Waterworks                             Inv #2184179                         (446.34)
 22.102 - UPS Mebane - Samet      6/14/2023   J Smith Civil 3032          wire    S    J Smith Civil                                   Payroll funding we 6/11/23        (45,210.19)
 22.102 - UPS Mebane - Samet      6/15/2023   J Smith Civil 3032           19129       Ferguson Waterworks                             Inv #2186644                       (1,467.58)
 22.102 - UPS Mebane - Samet      6/16/2023   J Smith Civil 3032         19135     S   Complete Construction Site Management Co, LLC   Job #23-13 thru 5/28/23           (29,321.66)
 22.102 - UPS Mebane - Samet      6/21/2023   J Smith Civil 3032          wire    S    J Smith Civil                                   Payroll funding we 6/18/23        (51,422.89)
 22.102 - UPS Mebane - Samet      6/23/2023   J Smith Civil 3032           19140       East Coast Drilling & Blasting                  Inv #114306                       (23,829.20)
 22.102 - UPS Mebane - Samet      6/28/2023   J Smith Civil 3032         19163     S   Colony Hardware Corporation Dba Jarco Supply    329315                               (501.73)
 22.102 - UPS Mebane - Samet      6/28/2023   J Smith Civil 3032         19163     S   Colony Hardware Corporation Dba Jarco Supply    329581                             (2,707.18)
 22.102 - UPS Mebane - Samet      6/28/2023   J Smith Civil 3032         19163     S   Colony Hardware Corporation Dba Jarco Supply    331577                             (1,494.50)
 22.102 - UPS Mebane - Samet      6/28/2023   J Smith Civil 3032         19163     S   Colony Hardware Corporation Dba Jarco Supply    332517                             (1,242.57)
 22.102 - UPS Mebane - Samet      6/28/2023   J Smith Civil 3032         19163     S   Colony Hardware Corporation Dba Jarco Supply    332518                               (986.37)
 22.102 - UPS Mebane - Samet      6/28/2023   J Smith Civil 3032         19163     S   Colony Hardware Corporation Dba Jarco Supply    333015                             (3,090.41)
 22.102 - UPS Mebane - Samet      6/28/2023   J Smith Civil 3032         19163     S   Colony Hardware Corporation Dba Jarco Supply    333214                             (4,094.40)
 22.102 - UPS Mebane - Samet      6/28/2023   J Smith Civil 3032         19163     S   Colony Hardware Corporation Dba Jarco Supply    333246                             (2,076.29)
 22.102 - UPS Mebane - Samet      6/28/2023   J Smith Civil 3032         19163     S   Colony Hardware Corporation Dba Jarco Supply    333518                             (2,485.14)
 22.102 - UPS Mebane - Samet      6/28/2023   J Smith Civil 3032         19163     S   Colony Hardware Corporation Dba Jarco Supply    334425                             (3,795.50)
 22.102 - UPS Mebane - Samet      6/28/2023   J Smith Civil 3032         19163     S   Colony Hardware Corporation Dba Jarco Supply    335262                             (2,622.85)
 22.102 - UPS Mebane - Samet      6/28/2023   J Smith Civil 3032         19163     S   Colony Hardware Corporation Dba Jarco Supply    335337                             (1,239.63)
 22.102 - UPS Mebane - Samet      6/28/2023   J Smith Civil 3032         19163     S   Colony Hardware Corporation Dba Jarco Supply    335081                               (904.17)
 22.102 - UPS Mebane - Samet      6/28/2023   J Smith Civil 3032         19163     S   Colony Hardware Corporation Dba Jarco Supply    336273                             (1,335.44)
 22.102 - UPS Mebane - Samet      6/28/2023   J Smith Civil 3032         19163     S   Colony Hardware Corporation Dba Jarco Supply    337465                             (2,693.30)
 22.102 - UPS Mebane - Samet      6/28/2023   J Smith Civil 3032         19163     S   Colony Hardware Corporation Dba Jarco Supply    337603                             (2,238.55)
 22.102 - UPS Mebane - Samet      6/28/2023   J Smith Civil 3032         19163     S   Colony Hardware Corporation Dba Jarco Supply    339507                               (234.85)
 22.102 - UPS Mebane - Samet      6/28/2023   J Smith Civil 3032         19163     S   Colony Hardware Corporation Dba Jarco Supply    340937                               (418.98)
 22.102 - UPS Mebane - Samet      6/28/2023   J Smith Civil 3032         19163     S   Colony Hardware Corporation Dba Jarco Supply    342303                               (180.94)
 22.102 - UPS Mebane - Samet      6/28/2023   J Smith Civil 3032         19166     S   Complete Construction Site Management Co, LLC   Job #23-13 thru 6/11/23           (21,545.54)
 22.102 - UPS Mebane - Samet      6/28/2023   J Smith Civil 3032          wire    S    J Smith Civil                                   Payroll funding we 6/25/23        (29,471.77)
 22.102 - UPS Mebane - Samet      6/29/2023   J Smith Civil 3032         19170     S   Digiacomo Land Surveying, PLLC                  DLS042523                          (1,000.00)
 22.102 - UPS Mebane - Samet      6/29/2023   J Smith Civil 3032         19170     S   Digiacomo Land Surveying, PLLC                  DLS051223                          (1,500.00)
 22.102 - UPS Mebane - Samet      6/29/2023   J Smith Civil 3032         19170     S   Digiacomo Land Surveying, PLLC                  DLS060623                          (2,600.00)




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 Project                             Date     Account                       Num        Description                                             Memo                                      Amount
 22.102 - UPS Mebane - Samet      6/29/2023   J Smith Civil 3032          wire    S    Couch Oil Company, Inc                                  Inv #651970                             (4,944.97)
 22.102 - UPS Mebane - Samet      6/29/2023   J Smith Civil 3032          wire    S    Couch Oil Company, Inc                                  Inv #648671                             (2,688.67)
 22.102 - UPS Mebane - Samet      6/29/2023   J Smith Civil 3032          wire    S    Couch Oil Company, Inc                                  Inv #644953                             (5,705.80)
 22.102 - UPS Mebane - Samet      6/30/2023   J Smith Civil 3032          wire    S    Ruston Paving Company, Inc.                             JB App #23, Inv #39234                (124,439.76)
 22.102 - UPS Mebane - Samet      6/30/2023   J Smith Civil 3032          wire    S    Ruston Paving Company, Inc.                             JB App #29, Inv #39608                 (21,532.14)
 22.102 - UPS Mebane - Samet       7/5/2023   J Smith Civil 3032          wire    S    Copperhead Cove Marine, Inc                             CO2                                     (8,800.00)
 22.102 - UPS Mebane - Samet       7/5/2023   J Smith Civil 3032          wire    S    Copperhead Cove Marine, Inc                             CO3                                    (12,665.52)
 22.102 - UPS Mebane - Samet       7/5/2023   J Smith Civil 3032          wire    S    Copperhead Cove Marine, Inc                             CO5                                     (2,400.00)
 22.102 - UPS Mebane - Samet       7/6/2023   J Smith Civil 3032             wire      Copperhead Cove Marine, Inc                             Inv #JSC601                            (60,013.55)
 22.102 - UPS Mebane - Samet       7/6/2023   J Smith Civil 3032          wire    S    J Smith Civil                                           Payroll funding we 6/25/23             (33,773.24)
 22.102 - UPS Mebane - Samet      7/10/2023   J Smith Civil 3032         19187     S   Capital City Curb & Gutter, LLC                         Invoice 16857                          (10,768.14)
 22.102 - UPS Mebane - Samet      7/10/2023   J Smith Civil 3032         19187     S   Capital City Curb & Gutter, LLC                         Invoice 17056                          (25,614.45)
 22.102 - UPS Mebane - Samet      7/10/2023   J Smith Civil 3032         19187     S   Capital City Curb & Gutter, LLC                         Invoice 17217                          (40,722.66)
 22.102 - UPS Mebane - Samet      7/10/2023   J Smith Civil 3032         19189     S   WEX Bank                                                Account #0496-00-743624-9              (13,543.32)
 22.102 - UPS Mebane - Samet      7/10/2023   J Smith Civil 3032           19192       Couch Oil Company of Durham, Inc                        Inv #660106                             (2,998.61)
 22.102 - UPS Mebane - Samet      7/11/2023   J Smith Civil 3032         19200     S   Complete Construction Site Management Co, LLC           Job #23-13 thru 6/25/23                (23,164.35)
 22.102 - UPS Mebane - Samet      7/12/2023   J Smith Civil 3032          wire    S    J Smith Civil                                           Payroll funding we 7/9/23              (21,285.98)
 22.102 - UPS Mebane - Samet      7/13/2023   J Smith Civil 3032         19203     S   B&K Grading And Paving, LLC                             Inv #92626                            (165,204.81)
 22.102 - UPS Mebane - Samet      7/13/2023   J Smith Civil 3032         19203     S   B&K Grading And Paving, LLC                             Inv #92786                             (36,987.52)
 22.102 - UPS Mebane - Samet      7/18/2023   J Smith Civil 3032             wire      Ruston Paving Company, Inc.                             JB App #30, Inv #39696                 (34,581.42)
 22.102 - UPS Mebane - Samet      7/18/2023   J Smith Civil 3032           19206       Digiacomo Land Surveying PLLC                           Invoice DLS062023, 6/20/23             (16,900.00)
 22.102 - UPS Mebane - Samet      7/19/2023   J Smith Civil 3032         19220     S   Adams Products Company by and through its attorneys Tharrington
                                                                                                                                               Invoice 302705644                       (4,021.06)
 22.102 - UPS Mebane - Samet      7/19/2023   J Smith Civil 3032          wire    S    J Smith Civil                                           Payroll funding we 7/16/23             (16,854.94)
 22.102 - UPS Mebane - Samet      7/20/2023   J Smith Civil 3032             wire      Ruston Paving Company, Inc.                             JB App #27, Inv #39417                 (93,317.40)
 22.102 - UPS Mebane - Samet      7/21/2023   J Smith Civil 3032         19223     S   Ferguson Waterworks                                     Inv #2144056                           (27,829.50)
 22.102 - UPS Mebane - Samet      7/21/2023   J Smith Civil 3032         19223     S   Ferguson Waterworks                                     Inv #2136429-1                            (775.09)
 22.102 - UPS Mebane - Samet      7/21/2023   J Smith Civil 3032         19223     S   Ferguson Waterworks                                     Inv #2145975                              (933.04)
 22.102 - UPS Mebane - Samet      7/21/2023   J Smith Civil 3032         19223     S   Ferguson Waterworks                                     Inv #2146709                            (6,564.45)
 22.102 - UPS Mebane - Samet      7/21/2023   J Smith Civil 3032         19223     S   Ferguson Waterworks                                     Inv #CM207751                            4,798.41
 22.102 - UPS Mebane - Samet      7/21/2023   J Smith Civil 3032         19223     S   Ferguson Waterworks                                     Inv #2150885                            (1,904.63)
 22.102 - UPS Mebane - Samet      7/21/2023   J Smith Civil 3032         19223     S   Ferguson Waterworks                                     Inv #2150715                            (3,829.00)
 22.102 - UPS Mebane - Samet      7/21/2023   J Smith Civil 3032         19223     S   Ferguson Waterworks                                     Inv #2151955                            (4,353.73)
 22.102 - UPS Mebane - Samet      7/24/2023   J Smith Civil 3032         19242     S   Eddie Morton, LLC                                       Inv #7091                                 (450.00)
 22.102 - UPS Mebane - Samet      7/24/2023   J Smith Civil 3032         19242     S   Eddie Morton, LLC                                       Inv #7113                                 (510.00)
 22.102 - UPS Mebane - Samet      7/25/2023   J Smith Civil 3032             wire      Ruston Paving Co. Inc.                                  JB App #30, Inv #39696                 (32,623.56)
 22.102 - UPS Mebane - Samet      7/25/2023   J Smith Civil 3032         19253     S   Complete Construction Site Management Co, LLC           Job #23-13 thru 7/9/23                 (23,399.21)
 22.102 - UPS Mebane - Samet      7/26/2023   J Smith Civil 3032          wire    S    J Smith Civil                                           Payroll funding we 7/23/23             (14,213.03)
 22.102 - UPS Mebane - Samet      7/28/2023   J Smith Civil 3032          wire    S    Ferguson Waterworks                                     2185092                                 (6,472.51)
 22.102 - UPS Mebane - Samet      7/28/2023   J Smith Civil 3032          wire    S    Ferguson Waterworks                                     2187904                                 (7,384.58)
 22.102 - UPS Mebane - Samet      7/28/2023   J Smith Civil 3032          wire    S    Ferguson Waterworks                                     2184648                                (36,723.61)
 22.102 - UPS Mebane - Samet      7/28/2023   J Smith Civil 3032          wire    S    Ferguson Waterworks                                     2186507                                 (4,532.18)
 22.102 - UPS Mebane - Samet      7/28/2023   J Smith Civil 3032          wire    S    Ferguson Waterworks                                     2184648-1                               (6,575.95)
 22.102 - UPS Mebane - Samet      7/28/2023   J Smith Civil 3032          wire    S    Ferguson Waterworks                                     2184070                                (11,968.33)
 22.102 - UPS Mebane - Samet      7/28/2023   J Smith Civil 3032          wire    S    Ferguson Waterworks                                     2192064                                 (1,342.84)
 22.102 - UPS Mebane - Samet      7/28/2023   J Smith Civil 3032             wire      Ferguson Waterworks                                     Full & Final - JSmith Civil Acct       (79,260.17)
 22.102 - UPS Mebane - Samet      7/31/2023   J Smith Civil 3032         19259     S   B&K Grading And Paving, LLC                             Inv #93278                             (62,415.00)
 22.102 - UPS Mebane - Samet      7/31/2023   J Smith Civil 3032         19259     S   B&K Grading And Paving, LLC                             Inv #93283                             (14,459.48)
 22.102 - UPS Mebane - Samet      7/31/2023   J Smith Civil 3032         19269     S   James River Equipment                                   P46529                                    (153.12)
 22.102 - UPS Mebane - Samet      7/31/2023   J Smith Civil 3032         19269     S   James River Equipment                                   P30432                                    (434.96)
 22.102 - UPS Mebane - Samet      7/31/2023   J Smith Civil 3032         19269     S   James River Equipment                                   P34203                                    (177.93)
 22.102 - UPS Mebane - Samet      7/31/2023   J Smith Civil 3032         19269     S   James River Equipment                                   P34204                                     102.41
 22.102 - UPS Mebane - Samet      7/31/2023   J Smith Civil 3032         19269     S   James River Equipment                                   P50981                                    (294.91)
 22.102 - UPS Mebane - Samet      7/31/2023   J Smith Civil 3032         19269     S   James River Equipment                                   P53552                                    (299.72)
 22.102 - UPS Mebane - Samet      7/31/2023   J Smith Civil 3032         19269     S   James River Equipment                                   P36992                                     (51.06)
 22.102 - UPS Mebane - Samet      7/31/2023   J Smith Civil 3032         19269     S   James River Equipment                                   P53929                                  (1,241.42)
 22.102 - UPS Mebane - Samet      7/31/2023   J Smith Civil 3032         19269     S   James River Equipment                                   P21544                                  (1,349.56)
 22.102 - UPS Mebane - Samet      7/31/2023   J Smith Civil 3032         19269     S   James River Equipment                                   P41574                                    (827.22)
 22.102 - UPS Mebane - Samet       8/2/2023   J Smith Civil 3032          wire    S    J Smith Civil                                           Payroll funding we 7/30/23             (14,355.30)
 22.102 - UPS Mebane - Samet       8/3/2023   J Smith Civil 3032          wire    S    Copperhead Cove Marine, Inc                             WSER721                                 (8,000.00)
 22.102 - UPS Mebane - Samet       8/3/2023   J Smith Civil 3032          wire    S    Copperhead Cove Marine, Inc                             WSS714                                  (9,440.19)
 22.102 - UPS Mebane - Samet       8/3/2023   J Smith Civil 3032          wire    S    Copperhead Cove Marine, Inc                             WSS707                                  (1,391.40)
 22.102 - UPS Mebane - Samet       8/3/2023   J Smith Civil 3032          wire    S    Copperhead Cove Marine, Inc                             WSS721                                  (7,160.49)




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 Project                                 Date     Account                               Num        Description                                           Memo                                       Amount
 22.102 - UPS Mebane - Samet           8/3/2023   J Smith Civil 3032                  wire    S    Copperhead Cove Marine, Inc                           WSER728                                  (6,400.00)
 22.102 - UPS Mebane - Samet           8/3/2023   J Smith Civil 3032                  wire    S    Copperhead Cove Marine, Inc                           WSS728                                   (9,440.19)
 22.102 - UPS Mebane - Samet           8/3/2023   J Smith Civil 3032                   19276       Baxter Protective Coatings, LLC                       Pay app #1 through 6/25/23              (64,492.50)
 22.102 - UPS Mebane - Samet           8/9/2023   J Smith Civil 3032                  wire    S    J Smith Civil                                         Payroll funding we 8/6/23               (13,444.48)
 22.102 - UPS Mebane - Samet          8/11/2023   J Smith Civil 3032                   19293       Digiacomo Land Surveying PLLC                         Invoice DLS071323                        (3,435.00)
 22.102 - UPS Mebane - Samet          8/11/2023   J Smith Civil 3032                  wire    S    Copperhead Cove Marine, Inc                           WSER804                                  (2,200.00)
 22.102 - UPS Mebane - Samet          8/11/2023   J Smith Civil 3032                  wire    S    Copperhead Cove Marine, Inc                           WSS804                                   (8,996.50)
 22.102 - UPS Mebane - Samet          8/15/2023   J Smith Civil 3032                   19301       Capital City Curb And Gutter                          Inv #17518, 7/25/23                     (27,165.60)
 22.102 - UPS Mebane - Samet          8/15/2023   J Smith Civil 3032                   19304       Couch Oil Company of Durham, Inc                      Inv #674486                              (1,606.05)
 22.102 - UPS Mebane - Samet          8/16/2023   J Smith Civil 3032                  wire    S    J Smith Civil                                         Payroll funding we 8/13/23               (1,710.19)
 22.102 - UPS Mebane - Samet          8/22/2023   J Smith Civil 3032                 19307     S   B&K Grading And Paving, LLC                           Inv #93683                             (298,662.00)
 22.102 - UPS Mebane - Samet          8/22/2023   J Smith Civil 3032                 19307     S   B&K Grading And Paving, LLC                           Inv #94456                             (434,812.08)
 22.102 - UPS Mebane - Samet          8/22/2023   J Smith Civil 3032                   19310       Digiacomo Land Surveying PLLC                         Invoice DLS081523, 8/15/23               (1,435.00)
 22.102 - UPS Mebane - Samet          8/22/2023   J Smith Civil 3032                  wire    S    Copperhead Cove Marine, Inc                           WSER811                                  (9,600.00)
 22.102 - UPS Mebane - Samet          8/22/2023   J Smith Civil 3032                  wire    S    Copperhead Cove Marine, Inc                           WSS811                                   (4,297.47)
 22.102 - UPS Mebane - Samet          8/22/2023   J Smith Civil 3032                  wire    S    Copperhead Cove Marine, Inc                           WSS812                                   (5,779.75)
 22.102 - UPS Mebane - Samet          8/22/2023   J Smith Civil 3032                 19313     S   Fortiline, Inc.                                       5705562                                 (19,059.37)
 22.102 - UPS Mebane - Samet          8/22/2023   J Smith Civil 3032                 19313     S   Fortiline, Inc.                                       6021802                                    (418.52)
 22.102 - UPS Mebane - Samet          8/22/2023   J Smith Civil 3032                 19313     S   Fortiline, Inc.                                       6028901                                  (1,710.99)
 22.102 - UPS Mebane - Samet          8/22/2023   J Smith Civil 3032                 19313     S   Fortiline, Inc.                                       5685539                                  (5,932.73)
 22.102 - UPS Mebane - Samet          8/22/2023   J Smith Civil 3032                 19314     S   Bullington Construction, Inc.                         Inv #151732                             (23,265.50)
 22.102 - UPS Mebane - Samet          8/22/2023   J Smith Civil 3032                 19314     S   Bullington Construction, Inc.                         Inv #152101                             (33,543.91)
 22.102 - UPS Mebane - Samet          8/22/2023   J Smith Civil 3032                 19315     S   **VOID**Complete Construction Site Management Co, LLC Job #23-13 thru 7/9/23                         -
 22.102 - UPS Mebane - Samet          8/22/2023   J Smith Civil 3032                 19316     S   Complete Construction Site Management Co, LLC         Job #23-13 thru 7/23/23                 (27,893.12)
 22.102 - UPS Mebane - Samet          8/22/2023   J Smith Civil 3032                 19317     S   Complete Construction Site Management Co, LLC         Job #23-13 thru 8/6/23                  (16,131.97)
 22.102 - UPS Mebane - Samet          8/23/2023   J Smith Civil 3032                  wire    S    J Smith Civil                                         Payroll funding we 8/20/23               (1,733.28)
 22.102 - UPS Mebane - Samet          8/29/2023   J Smith Civil 3032                  wire    S    Copperhead Cove Marine, Inc                           WSER818                                 (11,800.00)
 22.102 - UPS Mebane - Samet          8/29/2023   J Smith Civil 3032                  wire    S    Copperhead Cove Marine, Inc                           WSER825                                 (12,200.00)
 22.102 - UPS Mebane - Samet          8/29/2023   J Smith Civil 3032                  wire    S    Copperhead Cove Marine, Inc                           WSS818                                  (15,997.14)
 22.102 - UPS Mebane - Samet          8/29/2023   J Smith Civil 3032                  wire    S    Copperhead Cove Marine, Inc                           WSS825                                  (13,307.14)
 22.102 - UPS Mebane - Samet          8/29/2023   J Smith Civil 3032                  wire    S    Copperhead Cove Marine, Inc                           JSC604                                  (64,536.26)
 22.102 - UPS Mebane - Samet          8/29/2023   J Smith Civil 3032                  wire    S    Copperhead Cove Marine, Inc                           JSC606                                  (50,770.76)
 22.102 - UPS Mebane - Samet          8/29/2023   J Smith Civil 3032                 19318     S   Baxter Protective Coatings, LLC                       Pay app #2 Bridge Pipe thru 8/24/23     (64,492.50)
 22.102 - UPS Mebane - Samet          8/29/2023   J Smith Civil 3032                 19318     S   Baxter Protective Coatings, LLC                       Pay app #1 Site Work thru 8/20/23       (72,800.00)
 22.102 - UPS Mebane - Samet          8/29/2023   J Smith Civil 3032                 19318     S   Baxter Protective Coatings, LLC                       Pay app #1 Utility Work thru 8/20/23    (49,375.00)
 22.102 - UPS Mebane - Samet          8/29/2023   J Smith Civil 3032                   19320       Lake County Sewer Co, Inc.                            Inv #15728                              (43,384.00)
 22.102 - UPS Mebane - Samet          8/29/2023   J Smith Civil 3032                   19322       LMJ Pavement Marking, LLC                             Invoice 2101, pay app 1 thru 7/31/23    (44,965.22)
 22.102 - UPS Mebane - Samet          8/30/2023   J Smith Civil 3032                     wire      Ferguson Enterprises                                  Westfield account                       (36,217.98)
 22.102 - UPS Mebane - Samet           9/7/2023   J Smith Civil 3032                 19333     S   Complete Construction Site Management Co, LLC         Job #23-13 thru 8/20/23                 (23,921.80)
 22.102 - UPS Mebane - Samet          9/14/2023   J Smith Civil 3032                   19337       LMJ Pavement Marking LLC                              Pay app #2 less retainage               (75,273.43)
 22.102 - UPS Mebane - Samet          9/14/2023   J Smith Civil 3032                 19341     S   Couch Oil Company of Durham, Inc                      Inv #682529                              (1,494.07)
 22.102 - UPS Mebane - Samet          9/14/2023   J Smith Civil 3032                 19341     S   Couch Oil Company of Durham, Inc                      Inv #686959                              (1,846.24)
 22.102 - UPS Mebane - Samet          9/18/2023   J Smith Civil 3032                 19343     S   C3 Builders And Tom Cat Trucking, Inc.                Tom Cat Inv #11292                       (3,632.50)
 22.102 - UPS Mebane - Samet          9/18/2023   J Smith Civil 3032                 19343     S   C3 Builders And Tom Cat Trucking, Inc.                Tom Cat Inv #11307                       (8,692.50)
 22.102 - UPS Mebane - Samet          9/18/2023   J Smith Civil 3032                 19343     S   C3 Builders And Tom Cat Trucking, Inc.                Tom Cat Inv #11361                         (210.00)
 22.102 - UPS Mebane - Samet          9/18/2023   J Smith Civil 3032                 19343     S   C3 Builders And Tom Cat Trucking, Inc.                Tom Cat Inv #11514                         (467.50)
 22.102 - UPS Mebane - Samet          9/18/2023   J Smith Civil 3032                 19344     S   C3 Builders And Bird Dog Traffic Control, LLC         Bird Dog Inv #292765                       (600.00)
 22.102 - UPS Mebane - Samet          9/18/2023   J Smith Civil 3032                 19344     S   C3 Builders And Bird Dog Traffic Control, LLC         Bird Dog Inv #292766                     (5,228.00)
 22.102 - UPS Mebane - Samet          9/18/2023   J Smith Civil 3032                 19344     S   C3 Builders And Bird Dog Traffic Control, LLC         Bird Dog Inv #292783                     (3,164.00)
 22.102 - UPS Mebane - Samet          9/18/2023   J Smith Civil 3032                 19344     S   C3 Builders And Bird Dog Traffic Control, LLC         Bird Dog Inv #292792                     (3,164.00)
 22.102 - UPS Mebane - Samet          9/18/2023   J Smith Civil 3032                 19344     S   C3 Builders And Bird Dog Traffic Control, LLC         Bird Dog Inv #292799                     (2,736.00)
 22.102 - UPS Mebane - Samet          9/18/2023   J Smith Civil 3032                 19344     S   C3 Builders And Bird Dog Traffic Control, LLC         Bird Dog Inv #292806                     (3,726.50)
 22.102 - UPS Mebane - Samet          9/18/2023   J Smith Civil 3032                 19344     S   C3 Builders And Bird Dog Traffic Control, LLC         Bird Dog Inv #292834                     (8,890.50)
 22.102 - UPS Mebane - Samet          9/18/2023   J Smith Civil 3032                 19344     S   C3 Builders And Bird Dog Traffic Control, LLC         Bird Dog Inv #292884                     (2,577.00)
 22.102 - UPS Mebane - Samet          9/18/2023   J Smith Civil 3032                 19344     S   C3 Builders And Bird Dog Traffic Control, LLC         Bird Dog Inv #292897                     (1,986.00)
 22.102 - UPS Mebane - Samet          4/19/2023   Westfield Direct Receipts & Pmts    2576182      Digiacomo Land Surveying PLLC                                                                 (22,384.00)
 22.102 - UPS Mebane - Samet          4/20/2023   Westfield Direct Receipts & Pmts    2576185      Ruston Paving Company, Inc.                                                                  (377,058.20)
 22.102 - UPS Mebane - Samet          4/25/2023   Westfield Direct Receipts & Pmts    2576191      Capital City Curb & Gutter, LLC                                                               (19,105.25)
 22.102 - UPS Mebane - Samet          4/25/2023   Westfield Direct Receipts & Pmts    2576195      Ruston Paving Company, Inc.                           JB App #12, Inv #39077                 (204,720.93)
 22.102 - UPS Mebane - Samet          4/27/2023   Westfield Direct Receipts & Pmts    2576201      Fortiline Waterworks                                                                          (32,351.94)
 22.104 - NCDOT Brunswick County       5/3/2023   J Smith Civil 3032                  wire    S    J Smith Civil                                         Payroll funding we 4/30/23               (5,858.58)
 22.104 - NCDOT Brunswick County       5/5/2023   J Smith Civil 3032                 19004     S   Complete Construction Site Management Co, LLC         Job #23-13 thru 4/30/23                  (4,108.86)




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 22.104 - NCDOT Brunswick County      5/11/2023   J Smith Civil 3032          wire   S    J Smith Civil                                   Payroll funding we 5/7/23                 (4,533.71)
 22.104 - NCDOT Brunswick County      5/15/2023   J Smith Civil 3032           19019      Colonial Oil Industries, Inc.                   Inv # IN-913265 / Acct ID 1323646         (2,916.89)
 22.104 - NCDOT Brunswick County      5/17/2023   J Smith Civil 3032         19024    S   WEX Bank                                        Account #0496-00-743624-9                 (3,733.36)
 22.104 - NCDOT Brunswick County      5/17/2023   J Smith Civil 3032          wire   S    J Smith Civil                                   Payroll funding we 5/14/23                  (764.19)
 22.104 - NCDOT Brunswick County      5/22/2023   J Smith Civil 3032         19029    S   Complete Construction Site Management Co, LLC   Job #23-13 thru 5/14/23                   (5,881.24)
 22.104 - NCDOT Brunswick County      5/24/2023   J Smith Civil 3032         19034    S   Joseph Beaman                                   Invoice JSC 0010, 4/11/23                 (1,790.00)
 22.104 - NCDOT Brunswick County      5/24/2023   J Smith Civil 3032         19034    S   Joseph Beaman                                   Invoice JSC 0020, 4/11/23                 (2,290.00)
 22.104 - NCDOT Brunswick County      5/24/2023   J Smith Civil 3032         19034    S   Joseph Beaman                                   Invoice 1113, 2/27/23                     (2,190.00)
 22.104 - NCDOT Brunswick County      5/24/2023   J Smith Civil 3032         19041    S   GFL Environmental                               Invoice 0059487668, 1/31/23                 (118.54)
 22.104 - NCDOT Brunswick County      5/24/2023   J Smith Civil 3032         19041    S   GFL Environmental                               Invoice 0060054899, 2/28/23                 (164.11)
 22.104 - NCDOT Brunswick County      5/24/2023   J Smith Civil 3032         19041    S   GFL Environmental                               Invoice 0060475738, 3/31/23                 (108.00)
 22.104 - NCDOT Brunswick County      5/24/2023   J Smith Civil 3032         19042    S   Triple AAA Portable Toilets                     Invoice 13449, 12/14/22                     (400.31)
 22.104 - NCDOT Brunswick County      5/24/2023   J Smith Civil 3032         19042    S   Triple AAA Portable Toilets                     Invoice 13580, 1/4/23                        (90.74)
 22.104 - NCDOT Brunswick County      5/24/2023   J Smith Civil 3032         19042    S   Triple AAA Portable Toilets                     Invoice 13929, 2/6/23                        (90.74)
 22.104 - NCDOT Brunswick County      5/24/2023   J Smith Civil 3032         19042    S   Triple AAA Portable Toilets                     Invoice 14166, 3/6/23                        (90.74)
 22.104 - NCDOT Brunswick County      5/24/2023   J Smith Civil 3032         19042    S   Triple AAA Portable Toilets                     Invoice 14404, 4/3/23                        (90.74)
 22.104 - NCDOT Brunswick County      5/24/2023   J Smith Civil 3032         Wire    S    J Smith Civil                                   Payroll funding we 5/21/23                (1,023.43)
 22.104 - NCDOT Brunswick County      5/31/2023   J Smith Civil 3032          wire   S    J Smith Civil                                   Payroll funding we 5/28/23                      -
 22.104 - NCDOT Brunswick County       6/2/2023   J Smith Civil 3032         19066    S   **VOID**United Rentals (North America), Inc.    212522771-003                                   -
 22.104 - NCDOT Brunswick County       6/2/2023   J Smith Civil 3032         19066    S   **VOID**United Rentals (North America), Inc.    214922513-001                                   -
 22.104 - NCDOT Brunswick County       6/2/2023   J Smith Civil 3032         19066    S   **VOID**United Rentals (North America), Inc.    212522771-004                                   -
 22.104 - NCDOT Brunswick County       6/2/2023   J Smith Civil 3032         19066    S   **VOID**United Rentals (North America), Inc.    214922513-002                                   -
 22.104 - NCDOT Brunswick County       6/2/2023   J Smith Civil 3032         19066    S   **VOID**United Rentals (North America), Inc.    212522771-005                                   -
 22.104 - NCDOT Brunswick County       6/2/2023   J Smith Civil 3032         19066    S   **VOID**United Rentals (North America), Inc.    214922513-003                                   -
 22.104 - NCDOT Brunswick County       6/2/2023   J Smith Civil 3032         19073    S   United Rentals (North America), Inc.            212522771-003                             (3,466.04)
 22.104 - NCDOT Brunswick County       6/2/2023   J Smith Civil 3032         19073    S   United Rentals (North America), Inc.            214922513-001                             (3,538.77)
 22.104 - NCDOT Brunswick County       6/2/2023   J Smith Civil 3032         19073    S   United Rentals (North America), Inc.            212522771-004                             (3,466.04)
 22.104 - NCDOT Brunswick County       6/2/2023   J Smith Civil 3032         19073    S   United Rentals (North America), Inc.            214922513-002                             (3,538.77)
 22.104 - NCDOT Brunswick County       6/2/2023   J Smith Civil 3032         19073    S   United Rentals (North America), Inc.            212522771-005                             (3,466.04)
 22.104 - NCDOT Brunswick County       6/2/2023   J Smith Civil 3032         19073    S   United Rentals (North America), Inc.            214922513-003                             (3,538.77)
 22.104 - NCDOT Brunswick County       6/2/2023   J Smith Civil 3032         19073    S   United Rentals (North America), Inc.            212522771-006                             (3,848.42)
 22.104 - NCDOT Brunswick County       6/2/2023   J Smith Civil 3032         19073    S   United Rentals (North America), Inc.            214922513-004                             (3,520.38)
 22.104 - NCDOT Brunswick County       6/7/2023   J Smith Civil 3032          wire   S    J Smith Civil                                   Payroll funding we 6/4/23                       -
 22.104 - NCDOT Brunswick County       6/9/2023   J Smith Civil 3032           19112      LMJ Pavement Marking, LLC                       Pay App #11 thru 4/22/23                 (34,751.80)
 22.104 - NCDOT Brunswick County      6/13/2023   J Smith Civil 3032           19120      Gregory Poole Equipment Company                 IN1445605                                   (108.14)
 22.104 - NCDOT Brunswick County      6/13/2023   J Smith Civil 3032         19122    S   Tom Chestnut & Son LLC                          Inv #2457                                    (80.00)
 22.104 - NCDOT Brunswick County      6/13/2023   J Smith Civil 3032         19122    S   Tom Chestnut & Son LLC                          Inv #2477                                 (1,152.00)
 22.104 - NCDOT Brunswick County      6/13/2023   J Smith Civil 3032         19122    S   Tom Chestnut & Son LLC                          Inv #2478                                 (2,040.00)
 22.104 - NCDOT Brunswick County      6/13/2023   J Smith Civil 3032         19122    S   Tom Chestnut & Son LLC                          Inv #2484                                   (216.00)
 22.104 - NCDOT Brunswick County      6/13/2023   J Smith Civil 3032         19122    S   Tom Chestnut & Son LLC                          Inv #2486                                   (504.00)
 22.104 - NCDOT Brunswick County      6/13/2023   J Smith Civil 3032         19122    S   Tom Chestnut & Son LLC                          Inv #2487                                   (216.00)
 22.104 - NCDOT Brunswick County      6/13/2023   J Smith Civil 3032         19122    S   Tom Chestnut & Son LLC                          Inv #2493                                   (144.00)
 22.104 - NCDOT Brunswick County      6/13/2023   J Smith Civil 3032         19122    S   Tom Chestnut & Son LLC                          Inv #2494                                   (360.00)
 22.104 - NCDOT Brunswick County      6/13/2023   J Smith Civil 3032         19122    S   Tom Chestnut & Son LLC                          Inv #2510                                    (40.00)
 22.104 - NCDOT Brunswick County      6/14/2023   J Smith Civil 3032          wire   S    J Smith Civil                                   Payroll funding we 6/11/23                      -
 22.104 - NCDOT Brunswick County      6/16/2023   J Smith Civil 3032         19135    S   Complete Construction Site Management Co, LLC   Job #23-13 thru 5/28/23                   (3,114.30)
 22.104 - NCDOT Brunswick County      6/21/2023   J Smith Civil 3032          wire   S    J Smith Civil                                   Payroll funding we 6/18/23                      -
 22.104 - NCDOT Brunswick County      6/23/2023   J Smith Civil 3032           19144      Delta Contracting, Inc.                         Final Settlement - Case No. 23 CVS 654   (80,344.23)
 22.104 - NCDOT Brunswick County      6/26/2023   J Smith Civil 3032         19156    S   Super Cast, Inc.                                Inv #1329                                 (1,082.45)
 22.104 - NCDOT Brunswick County      6/26/2023   J Smith Civil 3032         19156    S   Super Cast, Inc.                                Inv #1356                                   (360.82)
 22.104 - NCDOT Brunswick County      6/28/2023   J Smith Civil 3032         19166    S   Complete Construction Site Management Co, LLC   Job #23-13 thru 6/11/23                   (1,707.04)
 22.104 - NCDOT Brunswick County      6/28/2023   J Smith Civil 3032          wire   S    J Smith Civil                                   Payroll funding we 6/25/23                      -
 22.104 - NCDOT Brunswick County       7/6/2023   J Smith Civil 3032          wire   S    J Smith Civil                                   Payroll funding we 6/25/23                      -
 22.104 - NCDOT Brunswick County      7/10/2023   J Smith Civil 3032         19185    S   Stay Alert Safety Services, LLC                 Inv #120882                               (3,449.69)
 22.104 - NCDOT Brunswick County      7/10/2023   J Smith Civil 3032         19185    S   Stay Alert Safety Services, LLC                 Inv #121538                               (4,590.94)
 22.104 - NCDOT Brunswick County      7/10/2023   J Smith Civil 3032         19185    S   Stay Alert Safety Services, LLC                 Inv #122166                               (4,590.94)
 22.104 - NCDOT Brunswick County      7/10/2023   J Smith Civil 3032           19194      GETSCo, Inc.                                    Inv #0158279                                (710.48)
 22.104 - NCDOT Brunswick County      7/11/2023   J Smith Civil 3032         19200    S   Complete Construction Site Management Co, LLC   Job #23-13 thru 6/25/23                   (1,194.42)
 22.104 - NCDOT Brunswick County      7/12/2023   J Smith Civil 3032          wire   S    J Smith Civil                                   Payroll funding we 7/9/23                   (347.21)
 22.104 - NCDOT Brunswick County      7/18/2023   J Smith Civil 3032         19212    S   GeoInnovation, PC                               Invoice 22043.06                          (8,148.00)
 22.104 - NCDOT Brunswick County      7/18/2023   J Smith Civil 3032         19212    S   GeoInnovation, PC                               Invoice 22043.07                          (4,074.00)
 22.104 - NCDOT Brunswick County      7/20/2023   J Smith Civil 3032           19222      North Carolina Department of Transportation     Previous Overpayment                      (2,656.85)




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 22.104 - NCDOT Brunswick County         7/24/2023   J Smith Civil 3032                 19230    S   Core & Main, LP                                       S288750                                   164.65
 22.104 - NCDOT Brunswick County         7/24/2023   J Smith Civil 3032                 19230    S   Core & Main, LP                                       S355234                                 3,310.17
 22.104 - NCDOT Brunswick County         7/24/2023   J Smith Civil 3032                 19230    S   Core & Main, LP                                       R867306                                (2,577.79)
 22.104 - NCDOT Brunswick County         7/24/2023   J Smith Civil 3032                 19230    S   Core & Main, LP                                       S243607                               (14,343.91)
 22.104 - NCDOT Brunswick County         7/24/2023   J Smith Civil 3032                 19239    S   GFL Environmental                                     Inv #0060839899                          (646.32)
 22.104 - NCDOT Brunswick County         7/24/2023   J Smith Civil 3032                 19239    S   GFL Environmental                                     Inv #0061817665                            (9.79)
 22.104 - NCDOT Brunswick County         7/25/2023   J Smith Civil 3032                 19253    S   Complete Construction Site Management Co, LLC         Job #23-13 thru 7/9/23                 (3,736.62)
 22.104 - NCDOT Brunswick County         7/31/2023   J Smith Civil 3032                 19271    S   James River Equipment                                 P29430                                   (138.21)
 22.104 - NCDOT Brunswick County         7/31/2023   J Smith Civil 3032                 19271    S   James River Equipment                                 P34916                                   (297.84)
 22.104 - NCDOT Brunswick County         7/31/2023   J Smith Civil 3032                 19271    S   James River Equipment                                 P23449                                 (1,957.88)
 22.104 - NCDOT Brunswick County         7/31/2023   J Smith Civil 3032                 19271    S   James River Equipment                                 P37668                                   (871.16)
 22.104 - NCDOT Brunswick County         7/31/2023   J Smith Civil 3032                 19271    S   James River Equipment                                 P37669                                   (852.55)
 22.104 - NCDOT Brunswick County         7/31/2023   J Smith Civil 3032                   19274      LMJ Pavement Marking, LLC                             Pay App #11 thru 4/22/23 - balance     (2,117.64)
 22.104 - NCDOT Brunswick County         8/15/2023   J Smith Civil 3032                   19300      LMJ Pavement Marking, LLC                             Pay App #12 thru 6/22/23               (4,995.50)
 22.104 - NCDOT Brunswick County         8/22/2023   J Smith Civil 3032                 19315    S   **VOID**Complete Construction Site Management Co, LLC Job #23-13 thru 7/9/23                       -
 22.104 - NCDOT Brunswick County         8/22/2023   J Smith Civil 3032                 19316    S   Complete Construction Site Management Co, LLC         Job #23-13 thru 7/23/23                (5,247.65)
 22.104 - NCDOT Brunswick County         8/22/2023   J Smith Civil 3032                 19317    S   Complete Construction Site Management Co, LLC         Job #23-13 thru 8/6/23                 (1,145.62)
 22.104 - NCDOT Brunswick County          9/7/2023   J Smith Civil 3032                 19333    S   Complete Construction Site Management Co, LLC         Job #23-13 thru 8/20/23                      -
 22.104 - NCDOT Brunswick County         9/18/2023   J Smith Civil 3032                   19345      Highland Paving Co. LLC                               Estimate #1 thru 8/14/23             (218,801.90)
 22.104 - NCDOT Brunswick County         4/21/2023   Westfield Direct Receipts & Pmts    2576186     Highland Paving Co. LLC                                                                    (658,020.31)
 22.104 - NCDOT Brunswick County         4/27/2023   Westfield Direct Receipts & Pmts    2576203     1st & Goal Hauling Inc.                                                                     (27,438.65)
 22.104 - NCDOT Brunswick County         4/27/2023   Westfield Direct Receipts & Pmts    2576200     Freeman Concrete Company                                                                   (112,109.40)
 22.104 - NCDOT Brunswick County         4/27/2023   Westfield Direct Receipts & Pmts    2576199     Highland Paving Co. LLC                                                                     (31,457.96)
 22.104 - NCDOT Brunswick County         4/27/2023   Westfield Direct Receipts & Pmts    2576204     LMJ Pavement Marking, LLC                                                                   (62,307.77)
 22.105 - NCDOT Pitt County C204070       5/3/2023   J Smith Civil 3032                  wire   S    J Smith Civil                                         Payroll funding we 4/30/23             (2,835.17)
 22.105 - NCDOT Pitt County C204070       5/5/2023   J Smith Civil 3032                 19004    S   Complete Construction Site Management Co, LLC         Job #23-13 thru 4/30/23                      -
 22.105 - NCDOT Pitt County C204070      5/11/2023   J Smith Civil 3032                  wire   S    J Smith Civil                                         Payroll funding we 5/7/23                    -
 22.105 - NCDOT Pitt County C204070      5/15/2023   J Smith Civil 3032                 19022    S   S T Wooten Corporation                                Inv #71709                               (754.35)
 22.105 - NCDOT Pitt County C204070      5/15/2023   J Smith Civil 3032                 19022    S   S T Wooten Corporation                                Inv #72253                               (321.01)
 22.105 - NCDOT Pitt County C204070      5/17/2023   J Smith Civil 3032                 19024    S   WEX Bank                                              Account #0496-00-743624-9              (2,292.96)
 22.105 - NCDOT Pitt County C204070      5/17/2023   J Smith Civil 3032                  wire   S    J Smith Civil                                         Payroll funding we 5/14/23             (5,911.11)
 22.105 - NCDOT Pitt County C204070      5/22/2023   J Smith Civil 3032                 19029    S   Complete Construction Site Management Co, LLC         Job #23-13 thru 5/14/23                (3,254.92)
 22.105 - NCDOT Pitt County C204070      5/24/2023   J Smith Civil 3032                 19043    S   GFL Environmental                                     Invoice 0060008893, 2/28/23              (430.33)
 22.105 - NCDOT Pitt County C204070      5/24/2023   J Smith Civil 3032                 19043    S   GFL Environmental                                     Invoice 0060429404, 3/31/23              (426.89)
 22.105 - NCDOT Pitt County C204070      5/24/2023   J Smith Civil 3032                 19043    S   GFL Environmental                                     Invoice 0060792680, 4/30/23              (430.70)
 22.105 - NCDOT Pitt County C204070      5/24/2023   J Smith Civil 3032                 19044    S   Williams Scotsman, Inc.                               Invoice 9016580067, 1/18/23            (1,296.79)
 22.105 - NCDOT Pitt County C204070      5/24/2023   J Smith Civil 3032                 19044    S   Williams Scotsman, Inc.                               Invoice 9016591345, 1/19/23            (1,710.32)
 22.105 - NCDOT Pitt County C204070      5/24/2023   J Smith Civil 3032                 19044    S   Williams Scotsman, Inc.                               Invoice 9016787546, 2/8/23                141.35
 22.105 - NCDOT Pitt County C204070      5/24/2023   J Smith Civil 3032                 19044    S   Williams Scotsman, Inc.                               Invoice 9016787545, 2/8/23                 96.32
 22.105 - NCDOT Pitt County C204070      5/24/2023   J Smith Civil 3032                 19044    S   Williams Scotsman, Inc.                               Invoice 9016857123, 2/15/23            (1,555.04)
 22.105 - NCDOT Pitt County C204070      5/24/2023   J Smith Civil 3032                 19044    S   Williams Scotsman, Inc.                               Invoice 9016869874, 2/16/23            (2,032.57)
 22.105 - NCDOT Pitt County C204070      5/24/2023   J Smith Civil 3032                 19044    S   Williams Scotsman, Inc.                               Invoice 9017070936, 3/8/23                 54.45
 22.105 - NCDOT Pitt County C204070      5/24/2023   J Smith Civil 3032                 19044    S   Williams Scotsman, Inc.                               Invoice 9017070937, 3/8/23                 60.65
 22.105 - NCDOT Pitt County C204070      5/24/2023   J Smith Civil 3032                 19044    S   Williams Scotsman, Inc.                               Invoice 9017136602, 3/15/23            (1,578.37)
 22.105 - NCDOT Pitt County C204070      5/24/2023   J Smith Civil 3032                 19044    S   Williams Scotsman, Inc.                               Invoice 9017148361, 3/16/23            (2,052.36)
 22.105 - NCDOT Pitt County C204070      5/24/2023   J Smith Civil 3032                 19044    S   Williams Scotsman, Inc.                               Invoice 9017401110, 4/12/23            (1,578.37)
 22.105 - NCDOT Pitt County C204070      5/24/2023   J Smith Civil 3032                 19044    S   Williams Scotsman, Inc.                               Invoice 9017412172, 4/13/23            (2,052.36)
 22.105 - NCDOT Pitt County C204070      5/24/2023   J Smith Civil 3032                 19044    S   Williams Scotsman, Inc.                               Invoice 9017663847, 5/10/23            (1,602.04)
 22.105 - NCDOT Pitt County C204070      5/24/2023   J Smith Civil 3032                 19044    S   Williams Scotsman, Inc.                               Invoice 9017674461, 5/11/23            (2,083.15)
 22.105 - NCDOT Pitt County C204070      5/24/2023   J Smith Civil 3032                 19045    S   Greenville Utilities Commission                       3/29/23 Billing, Acct 5662113246         (230.48)
 22.105 - NCDOT Pitt County C204070      5/24/2023   J Smith Civil 3032                 19045    S   Greenville Utilities Commission                       3/29/23 Billing, Acct 2142500290         (189.75)
 22.105 - NCDOT Pitt County C204070      5/24/2023   J Smith Civil 3032                 19045    S   Greenville Utilities Commission                       4/27/23 Billing, Acct 5662113246         (133.23)
 22.105 - NCDOT Pitt County C204070      5/24/2023   J Smith Civil 3032                 19045    S   Greenville Utilities Commission                       4/27/23 Billing, Acct 2142500290          (86.92)
 22.105 - NCDOT Pitt County C204070      5/24/2023   J Smith Civil 3032                 19046    S   Advanced Portable Toilets                             Invoice 84186H-5, 2/21/23                 (80.06)
 22.105 - NCDOT Pitt County C204070      5/24/2023   J Smith Civil 3032                 19046    S   Advanced Portable Toilets                             Invoice 84186I-5, 3/21/23                 (80.06)
 22.105 - NCDOT Pitt County C204070      5/24/2023   J Smith Civil 3032                 19046    S   Advanced Portable Toilets                             Invoice 84186J-5, 4/18/23                 (80.06)
 22.105 - NCDOT Pitt County C204070      5/24/2023   J Smith Civil 3032                 19047    S   Parks Portable Toilets, Inc.                          Invoice A-120665, 1/28/23                (460.87)
 22.105 - NCDOT Pitt County C204070      5/24/2023   J Smith Civil 3032                 19047    S   Parks Portable Toilets, Inc.                          Invoice A-121478, 2/25/23                (460.87)
 22.105 - NCDOT Pitt County C204070      5/24/2023   J Smith Civil 3032                 19047    S   Parks Portable Toilets, Inc.                          Invoice A-122346, 3/25/23                (460.87)
 22.105 - NCDOT Pitt County C204070      5/24/2023   J Smith Civil 3032                 19047    S   Parks Portable Toilets, Inc.                          Invoice A-123220, 4/22/23                (460.87)
 22.105 - NCDOT Pitt County C204070      5/24/2023   J Smith Civil 3032                 Wire    S    Heidelberg Materials Southeast Agg LLC                Invoice 42114528                       (1,998.25)
 22.105 - NCDOT Pitt County C204070      5/24/2023   J Smith Civil 3032                 Wire    S    Heidelberg Materials Southeast Agg LLC                Invoice 42128943                       (2,028.75)




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 Project                                    Date     Account                       Num       Description                                     Memo                                          Amount
 22.105 - NCDOT Pitt County C204070      5/24/2023   J Smith Civil 3032         Wire    S    J Smith Civil                                   Payroll funding we 5/21/23                  (9,348.88)
 22.105 - NCDOT Pitt County C204070      5/25/2023   J Smith Civil 3032         19050    S   Concrete Pipe & Precast, LLC                    Invoice 686674                              (7,537.46)
 22.105 - NCDOT Pitt County C204070      5/31/2023   J Smith Civil 3032          wire   S    J Smith Civil                                   Payroll funding we 5/28/23                  (6,526.12)
 22.105 - NCDOT Pitt County C204070       6/2/2023   J Smith Civil 3032         19067    S   United Rentals (North America), Inc.            213076513-002                               (2,149.63)
 22.105 - NCDOT Pitt County C204070       6/2/2023   J Smith Civil 3032         19067    S   United Rentals (North America), Inc.            213216071-002                               (1,029.34)
 22.105 - NCDOT Pitt County C204070       6/2/2023   J Smith Civil 3032         19067    S   United Rentals (North America), Inc.            214138384-001                               (1,869.29)
 22.105 - NCDOT Pitt County C204070       6/2/2023   J Smith Civil 3032         19067    S   United Rentals (North America), Inc.            214762909-001                                 (168.20)
 22.105 - NCDOT Pitt County C204070       6/2/2023   J Smith Civil 3032         19067    S   United Rentals (North America), Inc.            213512591-002                                 (984.40)
 22.105 - NCDOT Pitt County C204070       6/2/2023   J Smith Civil 3032         19067    S   United Rentals (North America), Inc.            213076513-003                                 (642.00)
 22.105 - NCDOT Pitt County C204070       6/2/2023   J Smith Civil 3032         19067    S   United Rentals (North America), Inc.            213216071-003                                 (135.89)
 22.105 - NCDOT Pitt County C204070       6/2/2023   J Smith Civil 3032         19067    S   United Rentals (North America), Inc.            213076513-004                               (1,211.24)
 22.105 - NCDOT Pitt County C204070       6/2/2023   J Smith Civil 3032         19067    S   United Rentals (North America), Inc.            215064793-001                                 (569.65)
 22.105 - NCDOT Pitt County C204070       6/2/2023   J Smith Civil 3032         19067    S   United Rentals (North America), Inc.            216976630-003                                 (569.65)
 22.105 - NCDOT Pitt County C204070       6/6/2023   J Smith Civil 3032         19087    S   Barnes Hauling Company LLC                      221222-06                                   (8,501.50)
 22.105 - NCDOT Pitt County C204070       6/6/2023   J Smith Civil 3032         19087    S   Barnes Hauling Company LLC                      221229-04                                  (10,566.37)
 22.105 - NCDOT Pitt County C204070       6/6/2023   J Smith Civil 3032         19087    S   Barnes Hauling Company LLC                      230111-05                                  (19,925.40)
 22.105 - NCDOT Pitt County C204070       6/6/2023   J Smith Civil 3032         19087    S   Barnes Hauling Company LLC                      230117-09                                  (43,576.59)
 22.105 - NCDOT Pitt County C204070       6/6/2023   J Smith Civil 3032         19087    S   Barnes Hauling Company LLC                      230125-08                                  (63,889.37)
 22.105 - NCDOT Pitt County C204070       6/6/2023   J Smith Civil 3032         19087    S   Barnes Hauling Company LLC                      230201-03                                   (1,870.36)
 22.105 - NCDOT Pitt County C204070       6/6/2023   J Smith Civil 3032         19087    S   Barnes Hauling Company LLC                      230202-09                                  (37,122.34)
 22.105 - NCDOT Pitt County C204070       6/6/2023   J Smith Civil 3032         19087    S   Barnes Hauling Company LLC                      230208-05                                   (2,654.65)
 22.105 - NCDOT Pitt County C204070       6/6/2023   J Smith Civil 3032         19087    S   Barnes Hauling Company LLC                      230301-12                                     (800.00)
 22.105 - NCDOT Pitt County C204070       6/6/2023   J Smith Civil 3032         19087    S   Barnes Hauling Company LLC                      230315-05                                   (2,524.50)
 22.105 - NCDOT Pitt County C204070       6/6/2023   J Smith Civil 3032         19087    S   Barnes Hauling Company LLC                      230322-06                                     (784.00)
 22.105 - NCDOT Pitt County C204070       6/6/2023   J Smith Civil 3032         19087    S   Barnes Hauling Company LLC                      230330-07                                     (744.00)
 22.105 - NCDOT Pitt County C204070       6/7/2023   J Smith Civil 3032         19098    S   Alcrete Industries LLC                          40650                                         (347.75)
 22.105 - NCDOT Pitt County C204070       6/7/2023   J Smith Civil 3032         19098    S   Alcrete Industries LLC                          40773                                         (556.40)
 22.105 - NCDOT Pitt County C204070       6/7/2023   J Smith Civil 3032         19098    S   Alcrete Industries LLC                          40775                                       (5,226.95)
 22.105 - NCDOT Pitt County C204070       6/7/2023   J Smith Civil 3032         19102    S   Old Castle Infrastructure, Inc.                 450495379                                   (4,307.83)
 22.105 - NCDOT Pitt County C204070       6/7/2023   J Smith Civil 3032         19102    S   Old Castle Infrastructure, Inc.                 450496299                                  (13,383.56)
 22.105 - NCDOT Pitt County C204070       6/7/2023   J Smith Civil 3032          wire   S    J Smith Civil                                   Payroll funding we 6/4/23                   (8,710.98)
 22.105 - NCDOT Pitt County C204070      6/13/2023   J Smith Civil 3032         19118    S   Gregory Poole Equipment Company                 PIN1390681                                 (10,120.54)
 22.105 - NCDOT Pitt County C204070      6/13/2023   J Smith Civil 3032         19118    S   Gregory Poole Equipment Company                 PIN1407769                                  (3,030.45)
 22.105 - NCDOT Pitt County C204070      6/13/2023   J Smith Civil 3032         19118    S   Gregory Poole Equipment Company                 IN1429120                                     (276.94)
 22.105 - NCDOT Pitt County C204070      6/13/2023   J Smith Civil 3032         19121    S   Busbee Concrete Services, Inc.                  Inv #19488                                  (1,212.00)
 22.105 - NCDOT Pitt County C204070      6/13/2023   J Smith Civil 3032         19121    S   Busbee Concrete Services, Inc.                  Inv #19535                                    (735.00)
 22.105 - NCDOT Pitt County C204070      6/14/2023   J Smith Civil 3032          wire   S    J Smith Civil                                   Payroll funding we 6/11/23                  (3,684.15)
 22.105 - NCDOT Pitt County C204070      6/16/2023   J Smith Civil 3032         19133    S   Stay Safe Traffic Control, LLC                  Inv #8857                                     (986.49)
 22.105 - NCDOT Pitt County C204070      6/16/2023   J Smith Civil 3032         19133    S   Stay Safe Traffic Control, LLC                  Inv #8897                                     (776.34)
 22.105 - NCDOT Pitt County C204070      6/16/2023   J Smith Civil 3032         19135    S   Complete Construction Site Management Co, LLC   Job #23-13 thru 5/28/23                     (1,817.61)
 22.105 - NCDOT Pitt County C204070      6/21/2023   J Smith Civil 3032          wire   S    J Smith Civil                                   Payroll funding we 6/18/23                  (4,522.73)
 22.105 - NCDOT Pitt County C204070      6/23/2023   J Smith Civil 3032           19146      Extra Duty Solutions And SBF                    Inv #403113                                   (191.09)
 22.105 - NCDOT Pitt County C204070      6/26/2023   J Smith Civil 3032           19152      Garris Grading & Paving, Inc.                   Invoice #10532, pay app #3 thru 5/31/23   (157,318.10)
 22.105 - NCDOT Pitt County C204070      6/26/2023   J Smith Civil 3032           19153      Bullington Construction, Inc.                   Inv #152643, pay app #3 thru 5/31/23        (7,003.40)
 22.105 - NCDOT Pitt County C204070      6/26/2023   J Smith Civil 3032         19155    S   Super Cast, Inc.                                Inv #1308                                     (943.67)
 22.105 - NCDOT Pitt County C204070      6/26/2023   J Smith Civil 3032         19155    S   Super Cast, Inc.                                Inv #1527                                   (1,919.58)
 22.105 - NCDOT Pitt County C204070      6/27/2023   J Smith Civil 3032           19162      Stay Safe Traffic Control, LLC                  Inv #8837                                   (1,625.60)
 22.105 - NCDOT Pitt County C204070      6/28/2023   J Smith Civil 3032         19166    S   Complete Construction Site Management Co, LLC   Job #23-13 thru 6/11/23                     (5,388.90)
 22.105 - NCDOT Pitt County C204070      6/28/2023   J Smith Civil 3032          wire   S    J Smith Civil                                   Payroll funding we 6/25/23                  (4,173.05)
 22.105 - NCDOT Pitt County C204070       7/6/2023   J Smith Civil 3032          wire   S    J Smith Civil                                   Payroll funding we 6/25/23                  (2,193.00)
 22.105 - NCDOT Pitt County C204070      7/10/2023   J Smith Civil 3032         19189    S   WEX Bank                                        Account #0496-00-743624-9                     (624.10)
 22.105 - NCDOT Pitt County C204070      7/11/2023   J Smith Civil 3032         19200    S   Complete Construction Site Management Co, LLC   Job #23-13 thru 6/25/23                       (261.28)
 22.105 - NCDOT Pitt County C204070      7/12/2023   J Smith Civil 3032          wire   S    J Smith Civil                                   Payroll funding we 7/9/23                   (2,161.07)
 22.105 - NCDOT Pitt County C204070      7/18/2023   J Smith Civil 3032           19210      Old Castle Infrastructure, Inc.                 Invoice 450497427                           (7,701.01)
 22.105 - NCDOT Pitt County C204070      7/19/2023   J Smith Civil 3032           19216      Luna's Welding & Construction LLC               Invoice 0441                                (1,375.00)
 22.105 - NCDOT Pitt County C204070      7/19/2023   J Smith Civil 3032         19218    S   ALP Industries, LLC                             Invoice 06067840                              (687.23)
 22.105 - NCDOT Pitt County C204070      7/19/2023   J Smith Civil 3032         19219    S   Williams Scotsman, Inc.                         Invoice 9017920539, 6/7/23                  (1,500.59)
 22.105 - NCDOT Pitt County C204070      7/19/2023   J Smith Civil 3032         19219    S   Williams Scotsman, Inc.                         Invoice 9017932847, 6/8/23                  (1,961.22)
 22.105 - NCDOT Pitt County C204070      7/19/2023   J Smith Civil 3032         19219    S   Williams Scotsman, Inc.                         Invoice 9018177021, 7/5/23                  (1,500.59)
 22.105 - NCDOT Pitt County C204070      7/19/2023   J Smith Civil 3032         19219    S   Williams Scotsman, Inc.                         Invoice 9018189304, 7/6/23                  (1,961.22)
 22.105 - NCDOT Pitt County C204070      7/19/2023   J Smith Civil 3032          wire   S    J Smith Civil                                   Payroll funding we 7/16/23                    (705.00)
 22.105 - NCDOT Pitt County C204070      7/21/2023   J Smith Civil 3032         19224    S   Ferguson Waterworks                             Inv #2157796                                (8,257.42)




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 Project                                    Date     Account                               Num       Description                                           Memo                                  Amount
 22.105 - NCDOT Pitt County C204070      7/21/2023   J Smith Civil 3032                 19224    S   Ferguson Waterworks                                   Inv #2174181                        (4,899.36)
 22.105 - NCDOT Pitt County C204070      7/21/2023   J Smith Civil 3032                 19224    S   Ferguson Waterworks                                   Inv #2080199-7                     (48,531.12)
 22.105 - NCDOT Pitt County C204070      7/21/2023   J Smith Civil 3032                 19224    S   Ferguson Waterworks                                   Inv #2101118                       (12,366.85)
 22.105 - NCDOT Pitt County C204070      7/21/2023   J Smith Civil 3032                 19224    S   Ferguson Waterworks                                   Inv #2157796-1                      (6,143.36)
 22.105 - NCDOT Pitt County C204070      7/21/2023   J Smith Civil 3032                 19224    S   Ferguson Waterworks                                   Inv #2157796-2                      (6,436.35)
 22.105 - NCDOT Pitt County C204070      7/21/2023   J Smith Civil 3032                 19224    S   Ferguson Waterworks                                   Inv #2157796-3                      (1,389.57)
 22.105 - NCDOT Pitt County C204070      7/21/2023   J Smith Civil 3032                 19224    S   Ferguson Waterworks                                   Inv #2178964                          (238.51)
 22.105 - NCDOT Pitt County C204070      7/24/2023   J Smith Civil 3032                 19237    S   GFL Environmental                                     Inv #0061354940                       (457.88)
 22.105 - NCDOT Pitt County C204070      7/24/2023   J Smith Civil 3032                 19237    S   GFL Environmental                                     Inv #0061765862                       (838.42)
 22.105 - NCDOT Pitt County C204070      7/25/2023   J Smith Civil 3032                 19253    S   Complete Construction Site Management Co, LLC         Job #23-13 thru 7/9/23              (1,516.41)
 22.105 - NCDOT Pitt County C204070      7/26/2023   J Smith Civil 3032                  wire   S    J Smith Civil                                         Payroll funding we 7/23/23            (705.05)
 22.105 - NCDOT Pitt County C204070      7/27/2023   J Smith Civil 3032                   19256      Sadler Landscaping, LLC                               Inv #2803                           (7,467.26)
 22.105 - NCDOT Pitt County C204070      7/31/2023   J Smith Civil 3032                 19260    S   Watson Electrical Construction Co                     Application 16724-2                (14,611.93)
 22.105 - NCDOT Pitt County C204070      7/31/2023   J Smith Civil 3032                 19260    S   Watson Electrical Construction Co                     Application 16724-3                 (8,118.03)
 22.105 - NCDOT Pitt County C204070      7/31/2023   J Smith Civil 3032                 19260    S   Watson Electrical Construction Co                     Application 16724-4                (31,026.83)
 22.105 - NCDOT Pitt County C204070      7/31/2023   J Smith Civil 3032                   19264      Barnes Hauling Company LLC                            221108-58                           (3,558.00)
 22.105 - NCDOT Pitt County C204070       8/2/2023   J Smith Civil 3032                  wire   S    J Smith Civil                                         Payroll funding we 7/30/23            (705.03)
 22.105 - NCDOT Pitt County C204070       8/9/2023   J Smith Civil 3032                  wire   S    J Smith Civil                                         Payroll funding we 8/6/23             (704.99)
 22.105 - NCDOT Pitt County C204070      8/10/2023   J Smith Civil 3032                 19289    S   Stay Alert Safety Services, LLC                       Invoice 121328                      (4,047.81)
 22.105 - NCDOT Pitt County C204070      8/10/2023   J Smith Civil 3032                 19289    S   Stay Alert Safety Services, LLC                       Invoice 121670                      (3,893.16)
 22.105 - NCDOT Pitt County C204070      8/10/2023   J Smith Civil 3032                 19289    S   Stay Alert Safety Services, LLC                       Invoice 121812                        (883.86)
 22.105 - NCDOT Pitt County C204070      8/10/2023   J Smith Civil 3032                 19289    S   Stay Alert Safety Services, LLC                       Invoice 121813                        (457.74)
 22.105 - NCDOT Pitt County C204070      8/16/2023   J Smith Civil 3032                  wire   S    J Smith Civil                                         Payroll funding we 8/13/23            (705.00)
 22.105 - NCDOT Pitt County C204070      8/22/2023   J Smith Civil 3032                 19315    S   **VOID**Complete Construction Site Management Co, LLC Job #23-13 thru 7/9/23                    -
 22.105 - NCDOT Pitt County C204070      8/22/2023   J Smith Civil 3032                 19316    S   Complete Construction Site Management Co, LLC         Job #23-13 thru 7/23/23               (304.84)
 22.105 - NCDOT Pitt County C204070      8/22/2023   J Smith Civil 3032                 19317    S   Complete Construction Site Management Co, LLC         Job #23-13 thru 8/6/23                (636.45)
 22.105 - NCDOT Pitt County C204070      8/23/2023   J Smith Civil 3032                  wire   S    J Smith Civil                                         Payroll funding we 8/20/23            (704.99)
 22.105 - NCDOT Pitt County C204070      8/29/2023   J Smith Civil 3032                 19328    S   United Rentals (North America), Inc.                  210253966-005                       (2,385.15)
 22.105 - NCDOT Pitt County C204070      8/29/2023   J Smith Civil 3032                 19328    S   United Rentals (North America), Inc.                  212475858-003                       (3,058.75)
 22.105 - NCDOT Pitt County C204070      8/29/2023   J Smith Civil 3032                 19328    S   United Rentals (North America), Inc.                  211640169-005                       (2,848.94)
 22.105 - NCDOT Pitt County C204070      8/29/2023   J Smith Civil 3032                 19328    S   United Rentals (North America), Inc.                  211775905-005                       (1,369.60)
 22.105 - NCDOT Pitt County C204070      8/29/2023   J Smith Civil 3032                 19328    S   United Rentals (North America), Inc.                  211795498-004                         (342.40)
 22.105 - NCDOT Pitt County C204070      8/29/2023   J Smith Civil 3032                 19328    S   United Rentals (North America), Inc.                  207024785-010                       (3,345.14)
 22.105 - NCDOT Pitt County C204070      8/29/2023   J Smith Civil 3032                 19328    S   United Rentals (North America), Inc.                  215037880-001                         (495.61)
 22.105 - NCDOT Pitt County C204070      8/29/2023   J Smith Civil 3032                 19328    S   United Rentals (North America), Inc.                  210253966-006                       (2,385.15)
 22.105 - NCDOT Pitt County C204070      8/29/2023   J Smith Civil 3032                 19328    S   United Rentals (North America), Inc.                  212475858-004                       (3,058.75)
 22.105 - NCDOT Pitt County C204070      8/29/2023   J Smith Civil 3032                 19328    S   United Rentals (North America), Inc.                  215368199-001                       (3,126.68)
 22.105 - NCDOT Pitt County C204070      8/29/2023   J Smith Civil 3032                 19328    S   United Rentals (North America), Inc.                  211640169-006                       (2,848.94)
 22.105 - NCDOT Pitt County C204070      8/29/2023   J Smith Civil 3032                 19328    S   United Rentals (North America), Inc.                  207024785-012                       (1,478.85)
 22.105 - NCDOT Pitt County C204070      8/29/2023   J Smith Civil 3032                 19328    S   United Rentals (North America), Inc.                  210253966-007                         (814.93)
 22.105 - NCDOT Pitt County C204070      8/29/2023   J Smith Civil 3032                 19328    S   United Rentals (North America), Inc.                  207024785-013                         (347.07)
 22.105 - NCDOT Pitt County C204070      8/29/2023   J Smith Civil 3032                 19328    S   United Rentals (North America), Inc.                  212475858-005                       (3,058.75)
 22.105 - NCDOT Pitt County C204070      8/29/2023   J Smith Civil 3032                 19328    S   United Rentals (North America), Inc.                  216403814-001                       (3,196.43)
 22.105 - NCDOT Pitt County C204070      8/29/2023   J Smith Civil 3032                 19328    S   United Rentals (North America), Inc.                  211640169-007                       (2,848.94)
 22.105 - NCDOT Pitt County C204070      8/29/2023   J Smith Civil 3032                 19328    S   United Rentals (North America), Inc.                  216403814-003                          (10.70)
 22.105 - NCDOT Pitt County C204070      8/29/2023   J Smith Civil 3032                 19328    S   United Rentals (North America), Inc.                  207024785-014                         (351.16)
 22.105 - NCDOT Pitt County C204070      8/29/2023   J Smith Civil 3032                 19328    S   United Rentals (North America), Inc.                  211640169-008                       (1,456.57)
 22.105 - NCDOT Pitt County C204070      8/29/2023   J Smith Civil 3032                 19328    S   United Rentals (North America), Inc.                  207024785-015                         (351.16)
 22.105 - NCDOT Pitt County C204070      8/29/2023   J Smith Civil 3032                 19328    S   United Rentals (North America), Inc.                  207024785-016                         (351.16)
 22.105 - NCDOT Pitt County C204070       9/7/2023   J Smith Civil 3032                 19333    S   Complete Construction Site Management Co, LLC         Job #23-13 thru 8/20/23               (143.47)
 22.105 - NCDOT Pitt County C204070      4/19/2023   Westfield Direct Receipts & Pmts    2576184     Garris Grading & Paving Inc.                                                            (192,666.72)
 22.105 - NCDOT Pitt County C204070      4/21/2023   Westfield Direct Receipts & Pmts    2576188     Cruz Brothers Concrete, Inc                                                             (107,278.78)
 22.105 - NCDOT Pitt County C204070      4/21/2023   Westfield Direct Receipts & Pmts    2576189     Ferguson Waterworks                                                                     (555,569.36)
 22.105 - NCDOT Pitt County C204070      4/24/2023   Westfield Direct Receipts & Pmts    2576190     WEX Bank                                                                                 (68,343.35)
 22.105 - NCDOT Pitt County C204070      4/25/2023   Westfield Direct Receipts & Pmts    2576196     J Smith Civil                                         Payroll funding we 4/27/23        (185,000.00)
 22.105 - NCDOT Pitt County C204070      4/25/2023   Westfield Direct Receipts & Pmts    2576194     Cruz Brothers Concrete, Inc                                                             (189,110.63)
 22.105 - NCDOT Pitt County C204070      4/25/2023   Westfield Direct Receipts & Pmts    2576193     Garris Grading & Paving Inc.                                                            (138,006.95)
 22.105 - NCDOT Pitt County C204070      4/27/2023   Westfield Direct Receipts & Pmts    2576202     Bullington Construction Inc.                                                              (3,753.90)
 22.105 - NCDOT Pitt County C204070      4/28/2023   Westfield Direct Receipts & Pmts    2576208     The East Group, PA                                                                       (31,040.00)
 22.105 - NCDOT Pitt County C204070       5/1/2023   Westfield Direct Receipts & Pmts    2576228     Jenns Hardscape Construction                                                             (34,509.17)
 22.105 - NCDOT Pitt County C204070       5/4/2023   Westfield Direct Receipts & Pmts    2576239     J Smith Civil                                         Payroll funding we 5/4/23         (169,573.39)
 22.106 - Cumberland C204404              5/3/2023   J Smith Civil 3032                  wire   S    J Smith Civil                                         Payroll funding we 4/30/23         (12,990.53)




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 Project                             Date     Account                       Num       Description                                      Memo                                 Amount
 22.106 - Cumberland C204404       5/5/2023   J Smith Civil 3032         19004    S   Complete Construction Site Management Co, LLC    Job #23-13 thru 4/30/23           (20,544.26)
 22.106 - Cumberland C204404      5/11/2023   J Smith Civil 3032          wire   S    J Smith Civil                                    Payroll funding we 5/7/23          (7,953.34)
 22.106 - Cumberland C204404      5/15/2023   J Smith Civil 3032          wire   S    Williams Mullen For S&W Ready Mix Concrete       3001040173                         (5,776.93)
 22.106 - Cumberland C204404      5/15/2023   J Smith Civil 3032          wire   S    Williams Mullen For S&W Ready Mix Concrete       3001042436                         (2,386.10)
 22.106 - Cumberland C204404      5/17/2023   J Smith Civil 3032         19024    S   WEX Bank                                         Account #0496-00-743624-9          (2,391.58)
 22.106 - Cumberland C204404      5/17/2023   J Smith Civil 3032          wire   S    J Smith Civil                                    Payroll funding we 5/14/23         (6,524.72)
 22.106 - Cumberland C204404      5/22/2023   J Smith Civil 3032         19029    S   Complete Construction Site Management Co, LLC    Job #23-13 thru 5/14/23           (18,044.13)
 22.106 - Cumberland C204404      5/24/2023   J Smith Civil 3032           19031      Borco, Inc.                                      Invoice 032523, 3/23/23           (12,150.00)
 22.106 - Cumberland C204404      5/24/2023   J Smith Civil 3032         Wire    S    J Smith Civil                                    Payroll funding we 5/21/23         (3,526.69)
 22.106 - Cumberland C204404      5/31/2023   J Smith Civil 3032          wire   S    J Smith Civil                                    Payroll funding we 5/28/23         (3,395.02)
 22.106 - Cumberland C204404       6/2/2023   J Smith Civil 3032         19068    S   United Rentals (North America), Inc.             206984708-008                      (2,998.08)
 22.106 - Cumberland C204404       6/2/2023   J Smith Civil 3032         19068    S   United Rentals (North America), Inc.             207024785-009                      (3,345.14)
 22.106 - Cumberland C204404       6/2/2023   J Smith Civil 3032         19068    S   United Rentals (North America), Inc.             206565422-011                      (5,337.70)
 22.106 - Cumberland C204404       6/2/2023   J Smith Civil 3032         19068    S   United Rentals (North America), Inc.             214980791-001                        (829.46)
 22.106 - Cumberland C204404       6/2/2023   J Smith Civil 3032         19068    S   United Rentals (North America), Inc.             206984708-009                      (2,998.08)
 22.106 - Cumberland C204404       6/2/2023   J Smith Civil 3032         19068    S   United Rentals (North America), Inc.             206565422-012                      (2,088.13)
 22.106 - Cumberland C204404       6/2/2023   J Smith Civil 3032         19068    S   United Rentals (North America), Inc.             210017558-008                         422.65
 22.106 - Cumberland C204404       6/2/2023   J Smith Civil 3032         19068    S   United Rentals (North America), Inc.             215861144-001                      (1,607.85)
 22.106 - Cumberland C204404       6/2/2023   J Smith Civil 3032         19068    S   United Rentals (North America), Inc.             206984708-010                      (2,998.08)
 22.106 - Cumberland C204404       6/2/2023   J Smith Civil 3032         19068    S   United Rentals (North America), Inc.             215861144-002                        (736.78)
 22.106 - Cumberland C204404       6/2/2023   J Smith Civil 3032         19068    S   United Rentals (North America), Inc.             206984708-011                      (2,998.08)
 22.106 - Cumberland C204404       6/2/2023   J Smith Civil 3032         19068    S   United Rentals (North America), Inc.             206984708-012                      (2,998.08)
 22.106 - Cumberland C204404       6/2/2023   J Smith Civil 3032         19068    S   United Rentals (North America), Inc.             206984708-013                      (2,998.08)
 22.106 - Cumberland C204404       6/6/2023   J Smith Civil 3032         19080    S   Ferguson Waterworks                              Inv #2155733-1                       (138.31)
 22.106 - Cumberland C204404       6/6/2023   J Smith Civil 3032         19080    S   Ferguson Waterworks                              Inv #2157775-1                    (63,596.74)
 22.106 - Cumberland C204404       6/6/2023   J Smith Civil 3032         19080    S   Ferguson Waterworks                              Inv #2157826-2                     (3,598.97)
 22.106 - Cumberland C204404       6/6/2023   J Smith Civil 3032         19080    S   Ferguson Waterworks                              Inv #2177423                       (7,963.78)
 22.106 - Cumberland C204404       6/6/2023   J Smith Civil 3032         19080    S   Ferguson Waterworks                              Inv #2177837                       (5,831.22)
 22.106 - Cumberland C204404       6/6/2023   J Smith Civil 3032         19080    S   Ferguson Waterworks                              Inv #2179607                      (12,305.00)
 22.106 - Cumberland C204404       6/6/2023   J Smith Civil 3032         19080    S   Ferguson Waterworks                              Inv #2176195                      (31,434.24)
 22.106 - Cumberland C204404       6/6/2023   J Smith Civil 3032         19080    S   Ferguson Waterworks                              Inv #2177883                      (13,136.51)
 22.106 - Cumberland C204404       6/7/2023   J Smith Civil 3032          wire   S    J Smith Civil                                    Payroll funding we 6/4/23          (6,599.43)
 22.106 - Cumberland C204404      6/14/2023   J Smith Civil 3032          wire   S    J Smith Civil                                    Payroll funding we 6/11/23         (6,306.04)
 22.106 - Cumberland C204404      6/16/2023   J Smith Civil 3032         19135    S   Complete Construction Site Management Co, LLC    Job #23-13 thru 5/28/23           (15,429.09)
 22.106 - Cumberland C204404      6/21/2023   J Smith Civil 3032          wire   S    J Smith Civil                                    Payroll funding we 6/18/23        (16,524.32)
 22.106 - Cumberland C204404      6/23/2023   J Smith Civil 3032           19141      **VOID**Heidelberg Materials Southeast Agg LLC   Inv #42289274                            -
 22.106 - Cumberland C204404      6/26/2023   J Smith Civil 3032           19150      Heidelberg Materials Southeast Agg LLC           Inv #42289274                      (1,727.18)
 22.106 - Cumberland C204404      6/27/2023   J Smith Civil 3032           19159      Kennedy Water Works                              Inv #3001578                      (10,663.58)
 22.106 - Cumberland C204404      6/27/2023   J Smith Civil 3032           19160      Fill Er Up TruckN                                Inv #ComCon1                       (1,395.42)
 22.106 - Cumberland C204404      6/28/2023   J Smith Civil 3032         19166    S   Complete Construction Site Management Co, LLC    Job #23-13 thru 6/11/23           (11,547.64)
 22.106 - Cumberland C204404      6/28/2023   J Smith Civil 3032          wire   S    J Smith Civil                                    Payroll funding we 6/25/23         (8,928.86)
 22.106 - Cumberland C204404       7/6/2023   J Smith Civil 3032          wire   S    J Smith Civil                                    Payroll funding we 6/25/23        (18,051.79)
 22.106 - Cumberland C204404      7/10/2023   J Smith Civil 3032         19189    S   WEX Bank                                         Account #0496-00-743624-9          (3,461.79)
 22.106 - Cumberland C204404      7/10/2023   J Smith Civil 3032         19190    S   Heidelberg Materials Southeast Agg LLC           Invoice 42328623                     (516.36)
 22.106 - Cumberland C204404      7/10/2023   J Smith Civil 3032         19190    S   Heidelberg Materials Southeast Agg LLC           Invoice 42331834                     (471.12)
 22.106 - Cumberland C204404      7/10/2023   J Smith Civil 3032         19190    S   Heidelberg Materials Southeast Agg LLC           Invoice 42335250                   (1,051.70)
 22.106 - Cumberland C204404      7/11/2023   J Smith Civil 3032         19200    S   Complete Construction Site Management Co, LLC    Job #23-13 thru 6/25/23           (19,207.83)
 22.106 - Cumberland C204404      7/12/2023   J Smith Civil 3032          wire   S    J Smith Civil                                    Payroll funding we 7/9/23         (12,601.02)
 22.106 - Cumberland C204404      7/19/2023   J Smith Civil 3032         19221    S   Heidelberg Materials Southeast Agg LLC           Invoice 42366909                   (1,734.05)
 22.106 - Cumberland C204404      7/19/2023   J Smith Civil 3032         19221    S   Heidelberg Materials Southeast Agg LLC           Invoice 42305706                     (531.44)
 22.106 - Cumberland C204404      7/19/2023   J Smith Civil 3032          wire   S    J Smith Civil                                    Payroll funding we 7/16/23        (13,039.69)
 22.106 - Cumberland C204404      7/21/2023   J Smith Civil 3032         19225    S   Ferguson Waterworks                              Inv #2176537                       (1,476.69)
 22.106 - Cumberland C204404      7/21/2023   J Smith Civil 3032         19225    S   Ferguson Waterworks                              Inv #2177497                     (236,138.11)
 22.106 - Cumberland C204404      7/24/2023   J Smith Civil 3032         19231    S   Core & Main, LP                                  S351407                              (239.25)
 22.106 - Cumberland C204404      7/24/2023   J Smith Civil 3032         19231    S   Core & Main, LP                                  S333167                              (214.00)
 22.106 - Cumberland C204404      7/24/2023   J Smith Civil 3032         19231    S   Core & Main, LP                                  S360371                            (7,106.40)
 22.106 - Cumberland C204404      7/24/2023   J Smith Civil 3032         19231    S   Core & Main, LP                                  S380940                              (125.12)
 22.106 - Cumberland C204404      7/24/2023   J Smith Civil 3032         19231    S   Core & Main, LP                                  S489177                              (451.61)
 22.106 - Cumberland C204404      7/24/2023   J Smith Civil 3032         19231    S   Core & Main, LP                                  S547210                           (10,089.63)
 22.106 - Cumberland C204404      7/24/2023   J Smith Civil 3032         19231    S   Core & Main, LP                                  S579082                              (452.61)
 22.106 - Cumberland C204404      7/24/2023   J Smith Civil 3032         19231    S   Core & Main, LP                                  S597543                           (11,794.31)
 22.106 - Cumberland C204404      7/24/2023   J Smith Civil 3032         19231    S   Core & Main, LP                                  S610962                            (3,242.79)




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 Project                             Date     Account                               Num        Description                                           Memo                                      Amount
 22.106 - Cumberland C204404      7/24/2023   J Smith Civil 3032                 19231     S   Core & Main, LP                                       R334405                                   (888.11)
 22.106 - Cumberland C204404      7/24/2023   J Smith Civil 3032                   19241       Old Castle Infrastructure, Inc.                       Invoice 450500091                       (5,772.66)
 22.106 - Cumberland C204404      7/24/2023   J Smith Civil 3032                 19243     S   Fill Er Up TruckN                                     Inv #gf7725                             (1,049.23)
 22.106 - Cumberland C204404      7/24/2023   J Smith Civil 3032                 19243     S   Fill Er Up TruckN                                     Inv #SS62825                            (1,019.59)
 22.106 - Cumberland C204404      7/25/2023   J Smith Civil 3032                   19251       Garrison Enterprise, Inc.                             Inv # NC04972                             (675.00)
 22.106 - Cumberland C204404      7/25/2023   J Smith Civil 3032                   19252       Heidelberg Materials Southeast Agg LLC                Invoice 42302155                          (532.22)
 22.106 - Cumberland C204404      7/25/2023   J Smith Civil 3032                 19253     S   Complete Construction Site Management Co, LLC         Job #23-13 thru 7/9/23                 (14,260.82)
 22.106 - Cumberland C204404      7/26/2023   J Smith Civil 3032                  wire    S    J Smith Civil                                         Payroll funding we 7/23/23             (18,968.11)
 22.106 - Cumberland C204404      7/28/2023   J Smith Civil 3032                  wire    S    Ferguson Waterworks                                   2184769                                (26,322.00)
 22.106 - Cumberland C204404      7/28/2023   J Smith Civil 3032                  wire    S    Ferguson Waterworks                                   2184786                                   (509.13)
 22.106 - Cumberland C204404      7/28/2023   J Smith Civil 3032                  wire    S    Ferguson Waterworks                                   2187729                                 (4,732.91)
 22.106 - Cumberland C204404      7/28/2023   J Smith Civil 3032                  wire    S    Ferguson Waterworks                                   2188128                                   (174.16)
 22.106 - Cumberland C204404      7/28/2023   J Smith Civil 3032                  wire    S    Ferguson Waterworks                                   2188828                                    (44.94)
 22.106 - Cumberland C204404      7/28/2023   J Smith Civil 3032                  wire    S    Ferguson Waterworks                                   2189380                                     (5.68)
 22.106 - Cumberland C204404      7/28/2023   J Smith Civil 3032                  wire    S    Ferguson Waterworks                                   2184809                                 (5,992.68)
 22.106 - Cumberland C204404      7/28/2023   J Smith Civil 3032                  wire    S    Ferguson Waterworks                                   2187909                                 (1,052.09)
 22.106 - Cumberland C204404      7/28/2023   J Smith Civil 3032                  wire    S    Ferguson Waterworks                                   2184325                               (314,797.28)
 22.106 - Cumberland C204404      7/28/2023   J Smith Civil 3032                  wire    S    Ferguson Waterworks                                   2190326                                   (635.17)
 22.106 - Cumberland C204404      7/28/2023   J Smith Civil 3032                  wire    S    Ferguson Waterworks                                   2184318                               (100,643.04)
 22.106 - Cumberland C204404      7/28/2023   J Smith Civil 3032                  wire    S    Ferguson Waterworks                                   2190952                                   (486.88)
 22.106 - Cumberland C204404      7/28/2023   J Smith Civil 3032                  wire    S    Ferguson Waterworks                                   2190720                                (18,327.54)
 22.106 - Cumberland C204404      7/28/2023   J Smith Civil 3032                  wire    S    Ferguson Waterworks                                   2190468                                 (6,972.39)
 22.106 - Cumberland C204404       8/2/2023   J Smith Civil 3032                  wire    S    J Smith Civil                                         Payroll funding we 7/30/23             (21,494.14)
 22.106 - Cumberland C204404       8/9/2023   J Smith Civil 3032                  wire    S    J Smith Civil                                         Payroll funding we 8/6/23              (17,514.20)
 22.106 - Cumberland C204404       8/9/2023   J Smith Civil 3032                   19285       Old Castle Infrastructure, Inc.                       Invoice 450500926                         (112.35)
 22.106 - Cumberland C204404      8/15/2023   J Smith Civil 3032                 19298     S   Fill Er Up TruckN                                     Inv #cc72823                              (270.66)
 22.106 - Cumberland C204404      8/15/2023   J Smith Civil 3032                 19298     S   Fill Er Up TruckN                                     Inv #CC8223                               (788.84)
 22.106 - Cumberland C204404      8/16/2023   J Smith Civil 3032                  wire    S    J Smith Civil                                         Payroll funding we 8/13/23             (13,512.75)
 22.106 - Cumberland C204404      8/22/2023   J Smith Civil 3032                 19315     S   **VOID**Complete Construction Site Management Co, LLC Job #23-13 thru 7/9/23                        -
 22.106 - Cumberland C204404      8/22/2023   J Smith Civil 3032                 19316     S   Complete Construction Site Management Co, LLC         Job #23-13 thru 7/23/23                (21,051.58)
 22.106 - Cumberland C204404      8/22/2023   J Smith Civil 3032                 19317     S   Complete Construction Site Management Co, LLC         Job #23-13 thru 8/6/23                 (19,080.87)
 22.106 - Cumberland C204404      8/23/2023   J Smith Civil 3032                  wire    S    J Smith Civil                                         Payroll funding we 8/20/23             (26,404.07)
 22.106 - Cumberland C204404      8/23/2023   J Smith Civil 3032                  wire    S    J Smith Civil                                         Marty Waters we 8/13 adj                  (653.70)
 22.106 - Cumberland C204404      8/29/2023   J Smith Civil 3032                 19327     S   United Rentals (North America), Inc.                  214695371-001                             (136.68)
 22.106 - Cumberland C204404      8/29/2023   J Smith Civil 3032                 19327     S   United Rentals (North America), Inc.                  214695371-002                             (350.23)
 22.106 - Cumberland C204404      8/29/2023   J Smith Civil 3032                 19327     S   United Rentals (North America), Inc.                  214541685-001                           (3,121.73)
 22.106 - Cumberland C204404      8/29/2023   J Smith Civil 3032                 19327     S   United Rentals (North America), Inc.                  214683202-001                           (1,169.51)
 22.106 - Cumberland C204404      8/29/2023   J Smith Civil 3032                 19327     S   United Rentals (North America), Inc.                  214669481-001                           (3,201.06)
 22.106 - Cumberland C204404      8/29/2023   J Smith Civil 3032                 19327     S   United Rentals (North America), Inc.                  214669481-002                              (87.63)
 22.106 - Cumberland C204404      8/29/2023   J Smith Civil 3032                 19327     S   United Rentals (North America), Inc.                  216609292-001                             (109.03)
 22.106 - Cumberland C204404      8/29/2023   J Smith Civil 3032                 19327     S   United Rentals (North America), Inc.                  216337020-001                           (2,758.72)
 22.106 - Cumberland C204404      8/29/2023   J Smith Civil 3032                 19327     S   United Rentals (North America), Inc.                  216440608-001                           (2,392.78)
 22.106 - Cumberland C204404      8/29/2023   J Smith Civil 3032                 19327     S   United Rentals (North America), Inc.                  217147578-001                             (451.54)
 22.106 - Cumberland C204404      8/29/2023   J Smith Civil 3032                 19327     S   United Rentals (North America), Inc.                  217245100-001                             (298.94)
 22.106 - Cumberland C204404      8/29/2023   J Smith Civil 3032                 19327     S   United Rentals (North America), Inc.                  216337020-002                           (2,062.96)
 22.106 - Cumberland C204404      8/29/2023   J Smith Civil 3032                 19327     S   United Rentals (North America), Inc.                  217501038-001                           (3,619.00)
 22.106 - Cumberland C204404      8/29/2023   J Smith Civil 3032                 19327     S   United Rentals (North America), Inc.                  216440608-002                           (1,697.02)
 22.106 - Cumberland C204404      8/29/2023   J Smith Civil 3032                 19327     S   United Rentals (North America), Inc.                  217501038-002                           (1,208.03)
 22.106 - Cumberland C204404      8/29/2023   J Smith Civil 3032                 19327     S   United Rentals (North America), Inc.                  218476462-001                             (948.28)
 22.106 - Cumberland C204404      8/29/2023   J Smith Civil 3032                 19327     S   United Rentals (North America), Inc.                  216337020-003                             (457.96)
 22.106 - Cumberland C204404      8/29/2023   J Smith Civil 3032                 19327     S   United Rentals (North America), Inc.                  218476462-002                             (826.04)
 22.106 - Cumberland C204404      8/30/2023   J Smith Civil 3032                     wire      Ferguson Enterprises                                  Westfield account                     (472,119.38)
 22.106 - Cumberland C204404      8/30/2023   J Smith Civil 3032                  wire    S    J Smith Civil                                         Payroll funding we 8/27/23              (3,969.28)
 22.106 - Cumberland C204404       9/6/2023   J Smith Civil 3032                 19331     S   Heidelberg Materials Southeast Agg LLC                Invoice 42411194                          (541.32)
 22.106 - Cumberland C204404       9/6/2023   J Smith Civil 3032                 19331     S   Heidelberg Materials Southeast Agg LLC                Invoice 42411195                        (1,051.70)
 22.106 - Cumberland C204404       9/7/2023   J Smith Civil 3032                 19333     S   Complete Construction Site Management Co, LLC         Job #23-13 thru 8/20/23                (15,826.27)
 22.106 - Cumberland C204404      4/19/2023   Westfield Direct Receipts & Pmts    2576181      Ferguson Waterworks                                                                       (1,187,096.84)
 NC DOT - New Hanover              7/7/2023   Westfield Direct Receipts & Pmts    2576394      Bullington Construction Inc.                                                                 (89,246.91)
 Overhead                          5/3/2023   J Smith Civil 3032                  wire    S    J Smith Civil                                         Payroll funding we 4/30/23             (37,964.09)
 Overhead                          5/3/2023   J Smith Civil 3032                  wire    S    J Smith Civil                                         Credit to be applied to we 5/7/23       (8,631.00)
 Overhead                          5/3/2023   J Smith Civil 3032                 DEP      S    Couch Oil Company, Inc                                Returned wire fee                          (20.00)
 Overhead                         5/11/2023   J Smith Civil 3032                  wire    S    J Smith Civil                                         Payroll funding we 5/7/23              (34,186.90)




Report                                                                                           Exhibit 2-2 to SOFA                                                                             Page 27
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 Project          Date     Account                       Num        Description                                        Memo                                               Amount
 Overhead      5/11/2023   J Smith Civil 3032          wire    S    J Smith Civil                                      Credit to be applied to we 5/7/23                 8,631.00
 Overhead      5/17/2023   J Smith Civil 3032         19024     S   WEX Bank                                           Account #0496-00-743624-9                       (18,028.54)
 Overhead      5/17/2023   J Smith Civil 3032          wire    S    J Smith Civil                                      Payroll funding we 5/14/23                      (18,343.73)
 Overhead      5/24/2023   J Smith Civil 3032         Wire     S    J Smith Civil                                      Payroll funding we 5/21/23                      (18,366.92)
 Overhead      5/31/2023   J Smith Civil 3032          wire    S    J Smith Civil                                      Payroll funding we 5/28/23                      (17,738.86)
 Overhead       6/6/2023   J Smith Civil 3032           19083       Verizon                                            Acct #0542092782-00001                           (5,746.45)
 Overhead       6/7/2023   J Smith Civil 3032          wire    S    J Smith Civil                                      Payroll funding we 6/4/23                       (40,652.73)
 Overhead      6/13/2023   J Smith Civil 3032             wire      J Smith Civil                                      Funding for Builders Mutual insurance           (17,407.46)
 Overhead      6/14/2023   J Smith Civil 3032          wire    S    J Smith Civil                                      Payroll funding we 6/11/23                      (18,297.05)
 Overhead      6/21/2023   J Smith Civil 3032          wire    S    J Smith Civil                                      Payroll funding we 6/18/23                      (16,632.43)
 Overhead      6/26/2023   J Smith Civil 3032             wire      J Smith Civil                                      Funding for GCL, Umbrella, Auto insurance       (70,632.52)
 Overhead      6/27/2023   J Smith Civil 3032         19158     S   Builders Mutual Insurance Company                  Audit installment                                (9,732.50)
 Overhead      6/27/2023   J Smith Civil 3032         19158     S   Builders Mutual Insurance Company                  Installment Premium 6/16/23                      (8,703.76)
 Overhead      6/28/2023   J Smith Civil 3032           19165       Verizon                                            Acct #0542092782-00001                           (5,225.70)
 Overhead      6/28/2023   J Smith Civil 3032          wire    S    J Smith Civil                                      Payroll funding we 6/25/23                      (19,160.31)
 Overhead       7/6/2023   J Smith Civil 3032          wire    S    J Smith Civil                                      Payroll funding we 6/25/23                      (19,930.89)
 Overhead      7/10/2023   J Smith Civil 3032         19189     S   WEX Bank                                           Account #0496-00-743624-9                        (8,439.62)
 Overhead      7/12/2023   J Smith Civil 3032          wire    S    J Smith Civil                                      Payroll funding we 7/9/23                       (81,135.42)
 Overhead      7/19/2023   J Smith Civil 3032          wire    S    J Smith Civil                                      Payroll funding we 7/16/23                      (14,165.12)
 Overhead      7/26/2023   J Smith Civil 3032          wire    S    J Smith Civil                                      Funding for GCL, Umbrella, Auto insurance       (70,632.53)
 Overhead      7/26/2023   J Smith Civil 3032          wire    S    J Smith Civil                                      Funding for WC insurance                         (8,703.76)
 Overhead      7/26/2023   J Smith Civil 3032          wire    S    J Smith Civil                                      Funding for WC Audit premium                     (9,732.49)
 Overhead      7/26/2023   J Smith Civil 3032          wire    S    J Smith Civil                                      Payroll funding we 7/23/23                      (13,567.50)
 Overhead       8/2/2023   J Smith Civil 3032          wire    S    J Smith Civil                                      Payroll funding we 7/30/23                      (13,544.50)
 Overhead       8/9/2023   J Smith Civil 3032          wire    S    J Smith Civil                                      Payroll funding we 8/6/23                       (13,495.65)
 Overhead      8/16/2023   J Smith Civil 3032          wire    S    J Smith Civil                                      Payroll funding we 8/13/23                      (63,894.36)
 Overhead      8/23/2023   J Smith Civil 3032          wire    S    J Smith Civil                                      Payroll funding we 8/20/23                      (34,051.44)
 Overhead      8/30/2023   J Smith Civil 3032          wire    S    J Smith Civil                                      Payroll funding we 8/27/23                       (7,557.19)
 Overhead      5/31/2023   J Smith Civil 3032             Fee       PNC Bank Fee                                       Corporate Account Analaysis Charge                 (105.00)
 Overhead      6/30/2023   J Smith Civil 3032             Fee       PNC Bank Fee                                       Corporate Account Analaysis Charge                 (411.46)
 Overhead      7/31/2023   J Smith Civil 3032             Fee       PNC Bank Fee                                       Corporate Account Analaysis Charge                 (292.92)


                                                                                            TOTAL PAYMENTS MADE BY WESTFIELD INSURANCE COMPANY                     (18,340,960.97)




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               JSMITH CIVIL, LLC
           BK CASE NO. 23-02437-5-JNC                              ITEMIZED LISTING OF SALES OF VEHICLES WITHIN 1 YEAR OF PETITION DATE
                                                                  [SOLD BY ENTERPRISE FLEET MANAGEMENT, INC. TO VARIOUS THIRD PARTIES]

JSC Equip.                                                                                                                                                                                              Gross Sale       Sale Costs / Fees /
  Code                 VIN              Year    Make             Model                                  Series                     Mileage   Sale Date     Sale Price    Lienholder    Lien Amount      Proceeds             Expenses          Credits      Net Settlement Amt
 121.011       1C6RR6FG7MS574083        2021     RAM              1500        Tradesman 4x2 Quad Cab 140.5 in. WB                   64442     7/6/2023   $ 22,000.00      Enteprise        $18,209.17        $2,872.20               $175.00        $0.00               $2,872.20
 121.009       1C6RR6FG3MS574081        2021     RAM              1500        Tradesman 4x2 Quad Cab 140.5 in. WB                   48971    4/11/2023   $ 24,200.00      Enterprise       $19,641.42        $3,989.90               $240.00        $0.00               $3,989.90
 121.010       1C6RR6FG5MS574082        2021     RAM              1500        Tradesman 4x2 Quad Cab 140.5 in. WB                   68126    5/24/2023   $ 20,900.00      Enterprise       $18,690.92          $965.89               $240.00        $0.00                 $965.89
 127.020       3C6UR5JJ1MG647723        2021     RAM              2500        Big Horn 4x4 Crew Cab 8 ft. box 169 in. WB            51781    4/11/2023   $ 41,500.00      Enterprise       $26,251.54       $14,712.06               $175.00        $0.00              $14,712.06
 123.019       1C6SRFFT0MN764742        2021     RAM              1500        Big Horn/Lone Star 4x4 Crew Cab 144.5 in. WB          60806    7/28/2023   $ 32,000.00      Enterprise       $23,688.32        $7,585.41               $240.00        $0.00               $7,585.41
 123.002       3GCUYAEF5KG100591        2019   Chevrolet    Silverado 1500    Work Truck 4x4 Crew Cab 5.75 ft. box 147.4 in. WB               7/3/2023   $ 21,802.00         N/A                $0.00       $21,307.00                 $0.00        $0.00                   $0.00
 126.004       1GC1CUEG7FF673527        2015   Chevrolet   Silverado 2500HD   WT 4x2 Crew Cab 6.6 ft. box 153.7 in. WB                        5/8/2023   $    8,765.00       N/A                $0.00        $8,270.00                 $0.00        $0.00                   $0.00
 126.001       1GC1CUEG8FF677103        2015   Chevrolet   Silverado 2500HD   WT 4x2 Crew Cab 6.6 ft. box 153.7 in. WB                        5/1/2023   $    8,805.00       N/A                $0.00        $8,310.00                 $0.00        $0.00                   $0.00
 121.015       1C6SRECG9NN211610        2022     RAM              1500        Tradesman 4x2 Quad Cab 140.5 in. WB                  38360     8/10/2023   $ 28,500.00      Enterprise       $21,689.88        $6,570.12               $240.00        $0.00               $6,570.12
 121.013       1C6SRECG2NN211612        2022     RAM              1500        Tradesman 4x2 Quad Cab 140.5 in. WB                  15540     4/13/2023   $ 32,000.00      Enterprise       $22,577.83        $9,322.17               $100.00        $0.00               $9,322.17
 121.014       1C6SRECG4NN211613        2022     RAM              1500        Tradesman 4x2 Quad Cab 140.5 in. WB                  43745     4/26/2023   $ 30,000.00      Enterprise       $22,577.83        $6,853.63               $100.00        $0.00               $6,853.63
 121.012       1C6SRECG0NN211611        2022     RAM              1500        Tradesman 4x2 Quad Cab 140.5 in. WB                  31468     5/23/2023   $ 31,500.00      Enterprise       $21,902.92        $9,422.08               $175.00        $0.00               $9,422.08
 123.020       1C6SRFFT0NN215057        2022     RAM              1500        Big Horn/Lone Star 4x4 Crew Cab 144.5 in. WB         18439     4/13/2023   $ 45,500.00      Enterprise       $29,691.89       $15,643.11               $165.00        $0.00              $15,643.11
 123.021       1C6SRFFT4NN215062        2022     RAM              1500        Big Horn/Lone Star 4x4 Crew Cab 144.5 in. WB         44632     4/13/2023   $ 42,500.00      Enterprise       $29,691.89       $12,134.65               $165.00        $0.00              $12,134.65
 127.025        3C6UR5JL3NG272520       2022     RAM              2500        Big Horn 4x4 Crew Cab 8 ft. box 169 in. WB           32092     9/15/2023   $ 49,000.00      Enterprise       $38,434.28       $10,100.31               $240.00        $0.00              $10,100.31
 128.004       3C63R3GL6NG206826        2022     RAM              3500        Tradesman 4x4 Crew Cab 8 ft. box 169.5 in. WB        56000     9/25/2023   $ 56,000.00      Enterprise       $40,903.13       $13,867.69             $1,190.03        $0.00              $13,867.69
 113.006       1GKS2JKL6MR415491        2021    GMC            Yukon XL       Denali 4x4                                           40212     5/26/2023   $ 51,539.10      Enterprise       $50,349.07        $1,190.03                 $0.00        $0.00               $1,190.03
 127.024       1FT8W2BT9NED10243        2022     Ford            F-250        Lariat 4x4 SD Crew Cab 6.75 ft. box 160 in. WB SRW   23300     4/21/2023   $ 68,000.00      Enterprise       $52,797.23       $15,202.77                 $0.00        $0.00              $15,202.77
 113.007       1GNSKNKD9NR175082        2022   Chevrolet         Tahoe        LT 4x4                                               31822     5/22/2023   $ 63,000.00      Enterprise       $40,585.80       $22,074.20               $340.00        $0.00              $22,074.20
 123.023       3GTU9FEL0NG205205        2022    GMC         Sierra 1500 Ltd   Denali 4x4 Crew Cab 5.75 ft. box 147.4 in. WB        21301      5/5/2023   $ 52,474.14      Enterprise       $51,477.61          $996.53                 $0.00        $0.00                 $996.53
 126.009       3C6UR4CJ1NG200785        2022     RAM              2500        Tradesman 4x2 Crew Cab 6.3 ft. box 149 in. WB        38269     8/15/2023   $ 34,000.00      Enterprise       $25,992.74        $7,235.15               $175.00        $0.00               $7,235.15
 123.008        1C6SRFFT4LN370675       2020     RAM              1500        Big Horn 4x4 Crew Cab 144.5 in. WB                              5/3/2023   $ 31,000.00         N/A                $0.00       $30,505.00                 $0.00        $0.00                   $0.00
 126.002       1GT11REG6GF115138        2016    GMC         Sierra 2500HD     Base 4x2 Crew Cab 6.6 ft. box 153.7 in. WB                     5/10/2023   $    7,765.00       N/A                $0.00        $7,270.00                 $0.00        $0.00                   $0.00
 127.004       1GC1KWE84GF243169        2016   Chevrolet   Silverado 2500HD   LTZ 4x4 Crew Cab 6.6 ft. box 153.7 in. WB                      5/10/2023   $ 19,805.00         N/A                $0.00       $19,310.00                 $0.00        $0.00                   $0.00
               5UX43DP0XN9N13974        2022    BMW                X3         sDrive30i (A8) 4dr 4x2 Sports Activity Vehicle       11150      5/5/2023   $ 36,424.09      Enterprise       $35,878.57          $545.52                 $0.00        $0.00                 $545.52
 127.016       3C6UR5HJ0MG647640        2021     RAM            2500          Tradesman 4x4 Crew Cab 8 ft. box 169 in. WB          46401     9/6/2023    $   36,200.00   Enterprise        $19,528.52       $36,200.00               $240.00        $0.00             $16,431.48
 127.017       3C6UR5HJ9MG647717        2021     RAM            2500          Tradesman 4x4 Crew Cab 8 ft. box 169 in. WB          80170     9/6/2026    $   34,700.00   Enterprise        $19,943.24       $34,700.00               $240.00        $0.00             $13,346.62
 123.022       1C6SRFFT2NN215061        2021     RAM            2500          Big Horn/Lone Star 4x4 Crew Cab 144.5 in. WB         57966     9/1/2023            37000   Enterprise        $28,703.00       $37,000.00               $240.00        $0.00              $7,135.81




                                                                                                                                                                                                                                                    EXHIBIT

                                                                                                                                                                                                                                                       SOFA 3
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                                                                                                                               EXHIBIT
 JSMITH CIVIL, LLC
 BK CASE NO. 23-02734-5-JNC
                                                                                                                                  SOFA 4
 Statement of Financial Affairs, Item No. 5 – Repossessions, foreclosures, and returns

 List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by
 a creditor, sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property
 listed in line 6.

                  Name of Creditor                         Description of Property                     Date         Value of Property
     Caterpillar Financial Services Corporation       2016 CAT336L Hydraulic Excavator              06/21/2023        $125,000.00
                                                                 (SN RKB01928)
     Caterpillar Financial Services Corporation       2016 CAT336L Hydraulic Excavator              06/21/2023          $150,000.00
                                                                   (SN00260)
     Caterpillar Financial Services Corporation       2016 CAT336L Hydraulic Excavator              06/21/2023          $90,000.00
                                                                   (SN00275)
     Caterpillar Financial Services Corporation     2019 CAT D5K2LGP Track Type Tractor             6/21/2023           $125,000.00
                                                                 (SN KY207356)
     Caterpillar Financial Services Corporation           2019 CAT D6K2LGP Dozer                    6/21/2023           $200,000.00
                                                                 (SN EL700485)
           First Financial Holdings, LLC          Four (4) Bell B30E Articulated Dump Trucks         07/2023           $1,000,000.00
                                                       (SN ***0102, 0188, 0184, & 0190)
      Komtasu Financial Limited Partnership1        Komatsu D39PXI-24 Crawler Dozer (SN              06/2023             Unknown
                                                                     96851)
      Komtasu Financial Limited Partnership         Komatsu D61PXI-24 Crawler Dozer (SN              06/2023             Unknown
                                                                    B61346)
      Komtasu Financial Limited Partnership         Komatsu D51PXI-24 Crawler Dozer (SN              06/2023             Unknown
                                                                    B61346)
      Komtasu Financial Limited Partnership         Komatsu D71PXI-24 Crawler Dozer (SN              06/2023             Unknown
                                                             70616) & Rear Ripper
      Komtasu Financial Limited Partnership       Komatsu PC360LCi-11 Hydraulic Excavator            06/2023             Unknown
                                                         (SN A38653) With 60” Bucket
                  CIT Bank, N.A.                  2020        Hyundai        HX235       (SN         06/2023             Unknown
                                                  HHKHK604CK0000481); 36" HD Bucket
                                                  (SN 2943B); 2021 Hyundai HL940TM (SN
                                                  HHKHW401HK0000346); 60" Forks (SN
                                                  293839); 3.0 CY Bucket (SN 5157B); 2022
                                                  Hyundai             HX330L             (SN
                                                  HHKHK901VL0000417); Hydraulic Quick
                                                  Coupler (SN ATTQC); 36" Digging Bucket
                                                  (SN 280640); 2021 Hyundai HX330L (SN
                                                  HHKHK901JK0000400); 36" Bucket (SN
                                                  24154-9-1); & Quick Coupler (SN H1-Y105);
                                                  2021       Hyundai        HX330L       (SN
                                                  HHKHK901VK0000400); 36" Bucket (SN
                                                  24154-9-2)




 1
  With the exception of the Komatsu D71PXi-24 Crawler Dozer, all of the collateral that was repossessed by
 Komatsu Financial Limited Partnership from the Debtor JSmith Civil, LLC, due to default in payment of amounts
 owed, were transferred and all interest assigned therein to Civil Contracting, LLC, which cured the monetary
 defaults and paid the amounts due and owing to Komatsu Financial Limited Partnership in accordance with the
 Transfer of Equity and Assumption Agreements dated June 30, 2022.
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1st & Goal Hauling Inc.                 64 Portables Inc.                 A & M Construction Services, Inc.
Attn: Manager, Agent, Officer           Attn: Manager, Agent, Officer     Attn: Manager, Agent, Officer
1735 Chatham Ridge Cir Unit 307         280 Cunningham Brickyard Rd       PO Box 4277
Charlotte, NC 28273                     Lexington, NC 27292               Asheboro, NC 27204



A&B Portable Toilets                    A-1 Sandrock Inc.                 AA Grading Construction LLC
Attn: Manager, Agent, Officer           Attn: Manager, Agent, Officer     Attn: Manager, Agent, Officer
2544 Alamance Church Road               PO Box 77077                      1930 Gurganus Rd
Greensboro, NC 27406                    Greensboro, NC 27417-7077         Snow Hill, NC 28580



AAA Paving of Winston-Salem             Adams Products                    Advance Auto Parts
Attn: Manager, Agent, Officer           Attn: Manager, Agent, Officer     Attn: Manager, Agent, Officer
120 Peddycord Park Drive                PO Box 281479                     PO Box 742063
Kernersville, NC 27284                  Atlanta, GA 30384-1479            Atlanta, GA 30374-2063



Advance Concrete LLC                    Advanced Portable Toilets         Aero Photo
Attn: Manager, Agent, Officer           Attn: Manager, Agent, Officer     Attn: Manager, Agent, Officer
4500 Waterfield Drive                   321 Jeffreys Road                 100 Cessna Lane
Garner, NC 27529                        Rocky Mount, NC 27804             Spicewood, TX 78669



Aguila's Masonry Services               Ahern Rentals                     Airflow Products Company, Inc.
Attn: Manager, Agent, Officer           Attn: Manager, Agent, Officer     Attn: Manager, Agent, Officer
PO Box 837                              PO Box 271390                     100 Oak Tree Drive
Siler City, NC 27344                    Las Vegas, NV 89127-1390          Selma, NC 27576



Airgas USA, LLC                         Alcrete Industries LLC            All Carolina Crane Rental
Attn: Manager, Agent, Officer           Attn: Manager, Agent, Officer     Attn: Manager, Agent, Officer
PO Box 734672                           620 Mildred Thomas Court          6108 Triangle Drive
Dallas, TX 75373-4672                   Jacksonville, NC 28540            Raleigh, NC 27617



Alliance Hose & Tube Works Inc.         Allied Fence Company of Raleigh   Allied Trailers - Raleigh
Attn: Manager, Agent, Officer           Attn: Manager, Agent, Officer     Attn: Manager, Agent, Officer
6212-A West Gate Rd                     5840 Lease Lane                   PO Box 427
Raleigh, NC 27617                       Raleigh, NC 27617                 Savage, MD 20763



Ally Bank                               Ally Financial, Inc.              Alonso's Construction Company
Attn: Payment Processing Center         Attn: Manager, Agent, Officer     Attn: Manager, Agent, Officer
PO Box 9001951                          PO Box 380901                     536 Madison Ave
Louisville, KY 40290-1951               Minneapolis, MN 55438             Princeton, NC 27569



ALP Industries, Inc.                    ALS of North Carolina, LLC        American Materials Company, LLC
Attn: Manager, Agent, Officer           Attn: Manager, Agent, Officer     Attn: Manager, Agent, Officer
PO Box 781712                           502 Klumac Road                   PO Box 745852
Philadelphia, PA 19178-1712             Salisbury, NC 28144               Atlanta, GA 30374-5258
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Amezquita Construction LLC             Antonio Vega Avila                    Arborex Tree Services
Attn: Manager, Agent, Officer          3753 Arrington Bridge Rd              Attn: Manager, Agent, Officer
201 Meadow Lane                        Seven Springs, NC 28578               4605 Windy Know Road
Clayton, NC 27520                                                            Raleigh, NC 27616



Ascendum Machinery Inc.                Ashley Henderson                      Asphalt Emulsion Industries, LLC
Attn: Manager, Agent, Officer          240 Sambo Road                        Attn: Manager, Agent, Officer
3561 Jones Sausage Road                Goldsboro, NC 27530                   3617 Nine Mile Road
Garner, NC 27529                                                             Richmond, VA 23223



Asphalt Services on Demand Inc         Atlantic Surveying PA                 Auto Value Parts Stores
Attn: Manager, Agent, Officer          Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer
959 Short Journey Road                 111 S. Queen Street                   PO Box 30170
Smithfield, NC 27577                   Kinston, NC 28501                     Rochester, NY 14603-3170



B&K Grading and Paving, LLC            Balfour Beatty Construction           Bank of America
Attn: Manager, Agent, Officer          Attn: Manager, Agent, Officer         Attn: Equipment Finance
2929 Quality Drive                     406 S. McDowell Street, Ste. 200      PO Box 7167
Petersburg, VA 23805                   Raleigh, NC 27601                     Pasadena, CA 91109-7167



Bank of the West                       Bank of the West                      Barbco Inc.
Attn: Equipment Finance                Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer
PO Box 7167                            1625 West Fountainhead Parkway        PO Box 30189
Pasadena, CA 91109-7167                Tempe, AZ 85282                       East Canton, OH 44730



Barnes Hauling Company, LLC            Barnes Transportation Services Inc.   Barnhill Contracting Company
Attn: Manager, Agent, Officer          Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer
3640 Eagle Farm Drive N                2309 Whitley Road                     800 Tiffany Blvd, Ste. 200
Wilson, NC 27896                       Wilson, NC 27896                      Rocky Mount, NC 27804



Batteries of NC, LLC                   Bee Legend Grading and Construction   Benchmark Tool & Supply, Inc.
Attn: Manager, Agent, Officer          Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer
PO Box 1969                            195 Eatmon Rd                         2720 Discovery Drive
Lillington, NC 27546                   Zebulon, NC 27597                     Raleigh, NC 27616



Best Logistics Group                   Black's Tire Service                  Blackhawk Network, Inc.
Attn: Manager, Agent, Officer          Attn: Manager, Agent, Officer         c/o Wells Fargo
829 Graves Street                      PO Box 919                            420 Montgomery Street
Kernersville, NC 27284                 Whiteville, NC 28472                  San Francisco, CA 94104



Blackmon Companies                     Blackstock Consulting, Inc.           Blue Stream Environmental LLC
Attn: Manager, Agent, Officer          Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer
724 S. 3rd Street                      2228 Colony Road                      2591 King William Drive
Smithfield, NC 27577                   Charlotte, NC 28209                   Kernersville, NC 27284
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Booth Trucking                            Borco Inc.                           Branch Civil, Inc.
Attn: Manager, Agent, Officer             Attn: Manager, Agent, Officer        Attn: Manager, Agent, Officer
146 Slate Top Road                        216 Estuary Court                    PO Box 40004
Clayton, NC 27520                         Winnabow, NC 28479                   Roanoke, VA 24022



Bridgepoint Construction Services         BridgePoint General Contracting      Brightspeed
Attn: Manager, Agent, Officer             Attn: Manager, Agent, Officer        Attn: Manager, Agent, Officer
600 N. Duke Street                        600 N. Duke Street                   PO Box 6102
Durham, NC 27701                          Durham, NC 27701                     Carol Stream, IL 60197-6102



Brodie Contractors                        Bruce Spears                         Bullington Construction Inc
Attn: Manager, Agent, Officer             7605 Jenks Road                      Attn: Manager, Agent, Officer
3901 Computer Drive                       Apex, NC 27523                       164 American Drive
Raleigh, NC 27609                                                              Oakboro, NC 28129



Burtch Trucking Company                   Busbee Concrete Services Inc.        C & R Tree Service, Inc.
Attn: Manager, Agent, Officer             Attn: Manager, Agent, Officer        Attn: Manager, Agent, Officer
605 Indian Camp Rd                        PO Box 106                           522 North 3rd Street
Smithfield, NC 27577                      Benson, NC 27504                     Saint Pauls, NC 28384



C&B Piping Inc                            C&C Industrial Inc.                  Caliber Builders, LLC
Attn: Manager, Agent, Officer             Attn: Manager, Agent, Officer        Attn: Manager, Agent, Officer
PO Box 942                                7991 Beasley Road                    3924 Browning Place
Leeds, AL 35094                           Whitakers, NC 27891                  Raleigh, NC 27609



Campbell Oil Company, Inc.                Canady's Heavy Truck Parts, Inc.     Cape Fear Precast, LLC
Attn: Manager, Agent, Officer             Attn: Manager, Agent, Officer        Attn: Manager, Agent, Officer
PO 637                                    5779 Hwy 70 West                     PO Box 98
Elizabethtown, NC 28337                   La Grange, NC 28551                  Jacksonville, NC 28541



Capital City Curb & Gutter, LLC           Carolina Cat                         Carolina Containers & Transport
Attn: Manager, Agent, Officer             Attn: Manager, Agent, Officer        Attn: Manager, Agent, Officer
2607 Leighton Ridge Drive                 PO Box 75054                         3608 S. Wilmington Street
Wake Forest, NC 27587                     Charlotte, NC 28275-0054             Raleigh, NC 27603



Carolina Drilling Inc.                    Carolina Environmental Contracting   Carolina Form & Shoring Supply
Attn: Manager, Agent, Officer             Attn: Manager, Agent, Officer        Attn: Manager, Agent, Officer
326 Railroad Street                       PO Box 1905                          PO Box 155
Mocksville, NC 27028                      Mount Airy, NC 27030                 Eola, IL 60519



Carolina Ice Co., Inc.                    Carolina Multifamily Construction    Carolina Pavement Technology, Inc
Attn: Manager, Agent, Officer             Attn: Manager, Agent, Officer        Attn: Manager, Agent, Officer
2466 Old Poole Road                       403 Corporate Center Dr Ste 201      930 West Chatham Street
Kinston, NC 28504                         Stockbridge, GA 30281                Cary, NC 27511
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Carolina Sunrock LLC                        Carquest Auto Parts                   Cat Financial Services
Attn: Manager, Agent, Officer               Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer
200 Horizon Drive, Ste. 100                 PO Box 404875                         PO Box 730681
Raleigh, NC 27615                           Atlanta, GA 30384-4875                Dallas, TX 75373



Caterpillar Financial Services Corp         CCS                                   Central Carolina Seeding Inc.
Attn: Manager, Agent, Officer               Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer
2120 West End Ave                           5428 NC Hwy 96 W                      7255 US Hwy 64E
Nashville, TN 37209                         Youngsville, NC 27596                 Lexington, NC 27292



CenturyLink                                 Certified Concrete Construction Inc   Certified Laboratories Division
Attn: Manager, Agent, Officer               Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer
PO Box 2348                                 PO Box 91298                          23261 Network Place
Seattle, WA 98111-2348                      Raleigh, NC 27675                     Chicago, IL 60673



Chandler Concrete Co., Inc.                 Chase Ink                             Chase Sapphire
Attn: Manager, Agent, Officer               Card Member Services                  Card Member Services
PO Box 131                                  PO Box 1423                           PO Box 1423
Burlington, NC 27216                        Charlotte, NC 28201-1423              Charlotte, NC 28201-1423



Childers Concrete Company                   Christian Acosta                      CIT
Attn: Manager, Agent, Officer               4069 County Line Road                 Attn: Manager, Agent, Officer
200 Wise Avenue                             La Grange, NC 28551                   21146 Network Place
High Point, NC 27260                                                              Chicago, IL 60673-1211



CITI, LLC                                   Citizens One Auto Finance             City of Durham
Attn: Manager, Agent, Officer               Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer
PO Box 33758                                PO Box 42113                          PO Box 30041
Charlotte, NC 28233                         Providence, RI 02940-2113             Durham, NC 27702-3041



City of Fayetteville                        City of Goldsboro                     City of Greenville
Safelite Program                            Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer
PO Box 742503                               200 N Center Street                   200 West Fifth Street
Cincinnati, OH 45274-2503                   Goldsboro, NC 27530                   Greenville, NC 27858



City of High Point                          City of Jacksonville                  City of Raleigh
Attn: Manager, Agent, Officer               Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer
PO Box 230                                  PO Box 128                            PO Box 71081
High Point, NC 27261                        Jacksonville, NC 28541                Charlotte, NC 28272-1081



City of Thomasville                         City of Winston-Salem                 Civil Contracting, LLC
Attn: Manager, Agent, Officer               Attn: Manager, Agent, Officer         Attn: Matthew P. Jones, Reg. Agen
10 Salem Street                             PO Box 2511                           101 Preston Road
Thomasville, NC 27360                       Winston Salem, NC 27102               Smithfield, NC 27577
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Clancy & Theys Construction Co         Clark Pavement Marking, Inc.        Classic Chrysler Dodge Jeep Ram
Attn: Manager, Agent, Officer          Attn: Manager, Agent, Officer       Attn: Manager, Agent, Officer
516 West Cabarrus Street               PO Box 1029                         306 N. Oak Forest Road
Raleigh, NC 27603                      Apex, NC 27502                      Goldsboro, NC 27534



Clear-Con, LLC                         ClearElectric                       Clearwater, Inc
Attn: Manager, Agent, Officer          Attn: Manager, Agent, Officer       Attn: Manager, Agent, Officer
5423 US 70 Bus W                       PO Box 2676                         PO Box 1469
Clayton, NC 27520                      Hickory, NC 28603                   Hickory, NC 28603



Coastal Carolina Pumping Inc.          Coastal Cleaning & Grading Inc      Coastal Lasers Inc.
Attn: Manager, Agent, Officer          Attn: Manager, Agent, Officer       Attn: Manager, Agent, Officer
PO Box 7767                            PO Box 412                          1406-1 Castle Hayne Road
Charlotte, NC 28241                    Pantego, NC 27860                   Wilmington, NC 28401



Colonial Oil Industries Inc.           Commercial Ready Mix Products Inc   Concrete Pipe & Precast
Attn: Manager, Agent, Officer          Attn: Manager, Agent, Officer       Attn: Manager, Agent, Officer
PO Box 744934                          PO Box 189                          210 Stone Spring Road
Atlanta, GA 30374-4934                 Winton, NC 27986                    Harrisonburg, VA 22801



Concrete Supply Co., LLC               Conequip Parts & Equipment          Conner Gwyn Schenck PLLC
Attn: Manager, Agent, Officer          Attn: Manager, Agent, Officer       Attn: Manager, Agent, Officer
PO Box 890568                          2712 West Avenue                    3141 John Humphries Wynd Ste 10
Charlotte, NC 28289-0568               Newfane, NY 14108                   Raleigh, NC 27612



Consolidated Pipe & Supply Co., Inc    Construction Software Solutions     Cooper Electrical Constuction Co
Attn: Manager, Agent, Officer          Attn: Manager, Agent, Officer       Attn: Manager, Agent, Officer
PO Box 2153                            4195 Douglas Ave Unit 570           PO Box 20282
Birmingham, AL 35287-3147              Sedalia, CO 80135                   Greensboro, NC 27420-0282



Copperhead Cove Marine, Inc.           CopyPro                             Cor Supply and Rental
Attn: Manager, Agent, Officer          Attn: Manager, Agent, Officer       Attn: Manager, Agent, Officer
2971 Vicky Drive                       3103 Landmark Street                220 Airport Road
Dillon, SC 29536                       Greenville, NC 27834                Greenville, NC 27834



Core & Main, LP                        County of Brunswick                 County of Montgomery
Attn: Manager, Agent, Officer          Attn: Manager, Agent, Officer       Attn: Manager, Agent, Officer
PO Box 28330                           PO Box 249                          102 East Spring Street
Saint Louis, MO 63146                  Bolivia, NC 28422                   Troy, NC 27371



Court One                              Covenant Crew Construction, LLC     Cozart Company, Inc.
Attn: Manager, Agent, Officer          Attn: Manager, Agent, Officer       Attn: Manager, Agent, Officer
59 Craftsman Drive                     245 Beckwith Ave                    7260 Schooner Road
Youngsville, NC 27596                  Clayton, NC 27527                   Bailey, NC 27807
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Creative Contrete Construction          Crowder Trucking                    Crown Screening
Attn: Manager, Agent, Officer           Attn: Manager, Agent, Officer       Attn: Manager, Agent, Officer
608 White Oak Pond Rd                   6776 St. Julian Way                 PO Box 10748
Apex, NC 27523                          Fayetteville, NC 28314              Goldsboro, NC 27532



Cruz Brothers Concrete, Inc.            CS Tree Services, Inc.              CSC Awnings, Inc
Attn: Manager, Agent, Officer           Attn: Manager, Agent, Officer       Attn: Manager, Agent, Officer
1572 Payne Road, Lot 75                 1612 Burgess Hill Court             3950 N. Liberty Street
Graham, NC 27253                        Apex, NC 27539                      Winston Salem, NC 27105



CSX Transportation, Inc.                Cumberland County Tax Collector     Curtin Co
Attn: Manager, Agent, Officer           Attn: Manager, Agent, Officer       Attn: Manager, Agent, Officer
500 Water Street (C-115)                117 Dick Street, Rm 530             11900 Goodrich Drive
Jacksonville, FL 32202                  Fayetteville, NC 28301              Charlotte, NC 28273



D&A Lincoln's Trucking                  D&J Sand and Gravel Inc             Daigh Company, Inc.
Attn: Manager, Agent, Officer           Attn: Manager, Agent, Officer       Attn: Manager, Agent, Officer
PO Box 48416                            226 Old Grantham Road               84 Buford Dam Road
Cumberland, NC 28331                    Goldsboro, NC 27530                 Cumming, GA 30040



Daniel Zepeda Cossio                    Datagroup Technologies, Inc.        David McConnell White
131 Bridgers Road                       Attn: Manager, Agent, Officer       1520 Crenshaw Point
Princeton, NC 27569                     100 Fox Haven Drive                 Wake Forest, NC 27587
                                        Greenville, NC 27858



Davidson and Jones Construction         De Lage Landen Financial Services   Dean's Inc.
Attn: Manager, Agent, Officer           Attn: Manager, Agent, Officer       Attn: Manager, Agent, Officer
1207 Front Street, Ste. 200             1111 Old Eagle School Rd            3200 Northside Drive
Raleigh, NC 27609                       Wayne, PA 19087                     Raleigh, NC 27615



Dean's Wrecker Service, Inc.            DeLage Landen Financial             Dell Business Credit
Attn: Manager, Agent, Officer           Attn: Manager, Agent, Officer       Attn: Manager, Agent, Officer
6901 Old Wake Forest Road               PO Box 41602                        PO Box 5275
Raleigh, NC 27616                       Philadelphia, PA 19101-1602         Carol Stream, IL 60197-5275



Delta Contracting, Inc.                 Denton Contracting                  Digiacomo Land Surveying PLLC
Attn: Manager, Agent, Officer           Attn: Manager, Agent, Officer       Attn: Manager, Agent, Officer
580 Trollingwood Road                   2916 Nahunta Rd                     4845 Frankie Road
Haw River, NC 27258                     Pikeville, NC 27863                 Fuquay Varina, NC 27526



Dillard's Tree Service LLC              Dillon Supply Co                    Directional Services, Inc.
Attn: Manager, Agent, Officer           Attn: Manager, Agent, Officer       Attn: Manager, Agent, Officer
6862 Brookbank Rad                      PO Box 896595                       PO Box 385
Summerfield, NC 27358                   Charlotte, NC 28289-6595            Hope Mills, NC 28348
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Dixon Paving and Milling, Inc.           Double R Vending Inc.                 Draper Aden Associates
Attn: Manager, Agent, Officer            Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer
PO Box 598                               2624 Hamlin Road                      1030 Wilmer Ave
Zebulon, NC 27597                        Durham, NC 27704                      Richmond, VA 23227



Driven Contractors                       Duke Realty                           Dun-Right Services Inc.
Attn: Manager, Agent, Officer            Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer
701 W. Dr. Martin Luther King Jr Dr      8001 T W Alexander Drive              1516 West Palmetto Street
Maxton, NC 28364                         Raleigh, NC 27617                     Florence, SC 29501



DWB Speed & Custom, LLC                  E R Lewis Construction Co Inc.        E S Chachi Concrete, LLC
Attn: Manager, Agent, Officer            Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer
1176 Gibson Branch Road                  PO Box 565                            4423 Pine Need Lane
Maysville, NC 28555                      Greenville, NC 27835                  Sophia, NC 27350



E. Zurdo Trucking, Inc.                  Eagle Rock 50, LLC                    Eagle Rock Concrete LLC
Attn: Manager, Agent, Officer            2nd Floor 21 York Place               Attn: Manager, Agent, Officer
302 Indian Trail                         2900 Highwoods Blvd                   8311 Bandford Way Ste. 007
Wendell, NC 27591                        Raleigh, NC 27604                     Raleigh, NC 27615



Earthtec of NC Inc.                      East Coast Drilling & Blasting Inc.   Eastern Access & Security LLC
Attn: Manager, Agent, Officer            Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer
PO Box 130                               481 Airport Rd                        5488 Gilbert School Rd
Sanford, NC 27331                        Louisburg, NC 27549                   Grifton, NC 28530



Eastern Earthscapes & Construction       Eastern NC Underground Inc            ECLS Global Inc.
Attn: Manager, Agent, Officer            Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer
3109 NC Hwy 222 E                        96 Red Angus Drive                    PO Box 1029
Stantonsburg, NC 27883                   Smithfield, NC 27577                  Coats, NC 27521



EcoTurf Inc                              Edwards Inc.                          Efrain Herrera
Attn: Manager, Agent, Officer            Attn: Manager, Agent, Officer         105 Spring Drive
PO Box 91505                             3530 US 421 North                     Dudley, NC 28333
Raleigh, NC 27675                        Wilmington, NC 28401



EJ USA, Inc.                             Electrical Contracting Svcs of NC     Ellington Contractors Inc.
Attn: Manager, Agent, Officer            Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer
PO Box 644873                            7630 US Hwy 117 N                     4617 Zebulon Road
Pittsburgh, PA 15264-4873                Fremont, NC 27830                     Zebulon, NC 27597



Ellington Digital Forensics, LLC         Engs Commercial Finance Co.           Enhanced Protective Industrial Coa
Attn: Manager, Agent, Officer            Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer
PO Box 1202                              PO Box 128                            PO Box 38338
Wake Forest, NC 27587                    Itasca, IL 60143                      Greensboro, NC 27438
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Enterprise Fleet Management, Inc.         Environmental Conservation Lab       EPC Material Placement LLC
Attn: Manager, Agent, Officer             Attn: Manager, Agent, Officer        Attn: Manager, Agent, Officer
PO Box 800089                             10775 Central Port Drive             1000 Duncan Farm Rd
Kansas City, MO 64180                     Orlando, FL 32824                    Siler City, NC 27344



EquipmentWatch                            Eric Torres                          Erosion Control Solutions LLC
Attn: Manager, Agent, Officer             9400 Triston Court                   Attn: Manager, Agent, Officer
24653 Network Place                       Kenly, NC 27542                      10340 Globe Road
Chicago, IL 60673-1246                                                         Morrisville, NC 27560



Erosion Supply Company                    Etowah Explosives LLC                Evelyn Baysden Trucking Inc.
Attn: Manager, Agent, Officer             Attn: Manager, Agent, Officer        Attn: Manager, Agent, Officer
PO Box 125                                PO Box 3081                          PO Box 799
Jensen Beach, FL 34958                    Cartersville, GA 30120               Gloucester, VA 23061



Evoqua Water Technologies LLC             Excel Concrete Cutting Inc.          Excel Hose & Hydraulics
Attn: Manager, Agent, Officer             Attn: Manager, Agent, Officer        Attn: Manager, Agent, Officer
2650 Tallevast Rd                         8801 Durant Nixon Road               PO Box 848
Sarasota, FL 34243                        Linden, NC 28356                     Farmville, VA 23901



Extra Duty Solutions                      Extra Space Management Inc.          F and S Land Management, LLC
Attn: Manager, Agent, Officer             Attn: Manager, Agent, Officer        Attn: Manager, Agent, Officer
1 Waterview Drive Ste 101                 2795 E. Cottonwood Pkwy #400         439 Eva James Road
Shelton, CT 06484                         Salt Lake City, UT 84121             Warsaw, NC 28398



F&S Grading Company, LLC                  Faidley Consulting and Investments   Falcon Engineering, Inc.
Attn: Manager, Agent, Officer             Attn: Manager, Agent, Officer        Attn: Manager, Agent, Officer
439 Eva James Road                        920 NW 132 Avenue                    PO Box 4309
Warsaw, NC 28398                          Sunrise, FL 33325                    Cary, NC 27519



FastMed Urgent Care                       Faulconer Construction Co            Fayetteville PWC
Attn: Manager, Agent, Officer             Attn: Manager, Agent, Officer        Attn: Manager, Agent, Officer
935 Shotwell Rd., Ste. 108                2496 Old Ivy Road                    955 Old Wilmington Rd
Clayton, NC 27520-5598                    Charlottesville, VA 22903            Fayetteville, NC 28302



FEI                                       Ferguson Enterprises                 Ferguson Enterprises, Inc.
Attn: Manager, Agent, Officer             Attn: Manager, Agent, Officer        Attn: Manager, Agent, Officer
PO Box 8774                               PO Box 100289                        190 North Oberlin Ave
Greensboro, NC 27419                      Atlanta, GA 30384-0286               Lakewood, NJ 08701



First Citizens Bank                       First Citizens Bank                  First Citizens Bank & Trust Co
Attn: Manager, Agent, Officer             Attn: Manager, Agent, Officer        Attn: Manager, Agent, Officer
Mail Code CLN82                           PO Box 63068                         PO Box 25187
Raleigh, NC 27603                         Charlotte, NC 28263-3068             Raleigh, NC 27611-5187
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First Citizens Credit Card              First Financial Holdings, LLC      First Horizon
Attn: Manager, Agent, Officer           Attn: Manager, Agent, Officer      Attn: Manager, Agent, Officer
PO Box 63001                            750 The City Drive S., Ste. 300    1 Corporate Drive, Ste. 360
Charlotte, NC 28263-3001                Orange, CA 92868                   Lake Zurich, IL 60047-8945



Fitzgerald Truck Parts                  Fogleman Landfill                  Ford Companies, Inc.
Attn: Manager, Agent, Officer           Attn: Manager, Agent, Officer      Attn: Manager, Agent, Officer
1225 Livingston Hwy                     4005 Intermere Road                35 Syphrona Circle
Byrdstown, TN 38549                     Durham, NC 27704                   Clayton, NC 27527



Forever Clean Portable Toilets, Inc     Fortiline, Inc.                    Fourth Elm Construction LLC
Attn: Manager, Agent, Officer           Attn: Manager, Agent, Officer      Attn: Manager, Agent, Officer
116 West Academy Street                 PO Box 744053                      408 E. Mountain Street
Fuquay Varina, NC 27526                 Atlanta, GA 30384-4053             Kernersville, NC 27824



Fred Adams Paving Co., Inc.             Fredy Valencia Guzman              Freeman Concrete Co Inc
Attn: Manager, Agent, Officer           439 Old Jason Rd                   Attn: Manager, Agent, Officer
PO Box 227                              La Grange, NC 28551                PO Box 402
Morrisville, NC 27560                                                      Rocky Point, NC 28457



Frye Fence Co., Inc.                    Fulcher Electric of Fayetteville   G Civil Erosion Control LLC
Attn: Manager, Agent, Officer           Attn: Manager, Agent, Officer      Attn: Manager, Agent, Officer
3221 Durham Drive, Ste. 115             PO Box 2799                        703 Anson Street
Raleigh, NC 27603                       Fayetteville, NC 28302             Wilson, NC 27893



Gaines Oil Company                      Garcia's Masonry                   Garley Rebar, LLC
Attn: Manager, Agent, Officer           Attn: Manager, Agent, Officer      Attn: Manager, Agent, Officer
PO Box 421                              156 W. Shaw Mill Road              PO Box 836
Goldston, NC 27252                      Saint Pauls, NC 28384              Smithfield, NC 27577



Garris Grading & Paving, Inc.           Garrison Enterprises, Inc.         Gaskins Design Group Inc.
Attn: Manager, Agent, Officer           Attn: Manager, Agent, Officer      Attn: Manager, Agent, Officer
5950 Gay Road                           211 West Elmer Road                420 W. Hanrahan Road
Farmville, NC 27828                     Vineland, NJ 08360                 Grifton, NC 28530



GATS Investments, LLC                   Geneva Capital                     Geolnnovation, PC
Attn: Manager, Agent, Officer           Attn: Manager, Agent, Officer      Attn: Manager, Agent, Officer
135 Buckthorn Court                     1311 Broadway Street               402 Jewell Point
Mount Gilead, NC 27306                  Alexandria, MN 56308               Wilmington, NC 28411



George's Body Shop                      Geotechnics Inc.                   GETSCo, Inc.
Attn: Manager, Agent, Officer           Attn: Manager, Agent, Officer      Attn: Manager, Agent, Officer
175 Claridge Nursery Road               544 Braddock Ave                   PO Box 159
Goldsboro, NC 27530                     East Pittsburgh, PA 15112          Middlesex, NC 27557
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Global Crane Services                     Global Industrial                 GM Financial
Attn: Manager, Agent, Officer             Attn: Manager, Agent, Officer     Attn: Manager, Agent, Officer
PO Box 18624                              29833 Network Place               PO Box 78143
Greensboro, NC 27419                      Chicago, IL 60673-1298            Phoenix, AZ 85062-8143



Gomez & Son's Construction Inc.           Gomez & Sons Construction, LLC    Gon & Clark Group, LLC
Attn: Manager, Agent, Officer             Attn: Manager, Agent, Officer     Attn: Manager, Agent, Officer
147 Meghan Circle                         375 Madison Avenue                29 Reilly Court
Selma, NC 27576                           Princeton, NC 27569               Metuchen, NJ 08840



Goodall Brazier Ltd.                      Goshen Medical Center Inc         GPAC, LLC
Attn: Manager, Agent, Officer             Attn: Manager, Agent, Officer     Attn: Manager, Agent, Officer
Leeds UK LS1 4BN                          PO Box 187                        116 W. 69 Street Ste 200
ENGLAND                                   Faison, NC 28341-0187             Sioux Falls, SD 57108



Grahams Construction Inc.                 GreatAmerica Financial Services   Green Resource LLC
Attn: Manager, Agent, Officer             Attn: Manager, Agent, Officer     Attn: Manager, Agent, Officer
27278 Andrew Jackson Hwy E, Ste. D        PO Box 660831                     PO Box 429
Delco, NC 28436                           Dallas, TX 75266-0831             Colfax, NC 27235



Greenville Utilities Commission           Gregory Poole Equipment Co.       Gregory Poole Equipment Co.
Attn: Manager, Agent, Officer             Attn: Manager, Agent, Officer     Attn: Manager, Agent, Officer
PO Box 1432                               PO Box 60457                      4807 Beryl Road
Charlotte, NC 28201-1432                  Charlotte, NC 28260               Raleigh, NC 27606



Griffeth Auto Glass Surfside Inc.         Guadalupe Gonzalez-Pineda         Gulley's Backhoe Service LLP
Attn: Manager, Agent, Officer             122 Nuggett Drive                 Attn: Manager, Agent, Officer
203 Cilmar Court                          Dudley, NC 28333                  108 Rossell Park Circle
Hampstead, NC 28443                                                         Garner, NC 27529



Gutierrez Asphalt Company                 H&A Directional Boring, LLC       Hall's Tree Service
Attn: Manager, Agent, Officer             Attn: Manager, Agent, Officer     Attn: Manager, Agent, Officer
5041 Derry Down Lane                      225 Sheep Rock Rd                 977 Ellis Road
Apex, NC 27539                            Snow Camp, NC 27349               Lumber Bridge, NC 28357



Hanes Geo Components                      HCSS                              HDR Engineering Inc of the Carol
Attn: Manager, Agent, Officer             Attn: Manager, Agent, Officer     Attn: Manager, Agent, Officer
PO Box 60984                              PO Box 734695                     PO Box 74008202
Charlotte, NC 28260                       Dallas, TX 75373-4695             Chicago, IL 60674-8202



Heavy Equipment Leasing of NC             Heidelberg Materials Southeast    Herc Rentals, Inc.
Attn: Manager, Agent, Officer             Attn: Manager, Agent, Officer     Attn: Manager, Agent, Officer
101 Preston Road                          300 East John Carpenter Freeway   PO Box 936257
Smithfield, NC 27577                      Irving, TX 75062                  Atlanta, GA 31193-6257
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Heritage Transportation Company         Highland Paving Co LLC                Highland Tank LLC
Attn: Manager, Agent, Officer           Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer
PO Box 2115                             PO Box 1843                           PO Box 645620
Albemarle, NC 28002                     Fayetteville, NC 28302                Pittsburgh, PA 15264-5620



Hilco Transport, Inc.                   Hinnant's Electrical Service LLC      Hoke Emergency Group PC
Attn: Manager, Agent, Officer           Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer
PO Box 6307                             313 Parkins Drive                     210 Medical Pavilion Drive
Hermitage, PA 16148-0923                Emerald Isle, NC 28594                Raeford, NC 28376



Hurley Backhoe Services, Inc.           HydroExcavators LLC                   Imperium Global Search Ltd
Attn: Manager, Agent, Officer           Attn: Manager, Agent, Officer         Sedulo, Ground Floor
116 Rock Hill Drive                     2095 Plunkett Rd                      St. Paul's House, 23 Park Square
Star, NC 27356                          Conyers, GA 30012                     Leeds UNITED KINGDOM



Insight Branding                        Insightsoftware, LLC                  Internal Revenue Service
Finance Department                      Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer
4173 Raphael Street                     8529 Six Forks Road, Ste. 400         PO Box 7346
Covington, GA 30014                     Raleigh, NC 27615                     Philadelphia, PA 19101-7346



Intragrade                              J & A Utilities LLC                   J & N Hauling, LLC
Attn: Manager, Agent, Officer           Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer
4617 Zebulon Road                       169 Madison Avenue                    109 May Drive
Zebulon, NC 27597                       Princeton, NC 27569                   Smithfield, NC 27577



J&M Executive Leasing LLC               J.R. Hoe & Sons, Inc.                 James L. Morgan Trucking Inc.
Attn: Manager, Agent, Officer           Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer
PO Box 790448                           PO Box1737                            2090 Turkey Trap Rd SW
Saint Louis, MO 63179-0448              Middlesboro, KY 40965                 Supply, NC 28462



James Rd Stump Dump                     James River Equipment                 Jarco Supply LLC
Attn: Manager, Agent, Officer           Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer
420 James Road                          PO Box 745475                         PO Box 688
Clemmons, NC 27012                      Atlanta, GA 30374-5475                Youngsville, NC 27596



JENNS, LLC                              Jeremy Smith                          Jernigan Oil Company
Attn: Manager, Agent, Officer           118 Crosswinds Drive                  Attn: Manager, Agent, Officer
1809 Colwell Ave                        Goldsboro, NC 27530                   PO Box 688
Wilmington, NC 28403                                                          Ahoskie, NC 27910



John Deere Financial                    John R. Adams Co., Inc.               Jones and Associates
Attn: Manager, Agent, Officer           Attn: CT Corporation Sys, Reg Agent   Attn: Manager, Agent, Officer
PO Box 4450                             160 Mine Lake Court, Ste 200          4966 Old Tar Road
Carol Stream, IL 60197                  Raleigh, NC 27615                     Winterville, NC 28590
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Jose E. Sanchez                          JRT Asphalt LLC                    JSC Enterprises, LLC
203 Big Daddy's Rd                       Attn: Manager, Agent, Officer      Attn: Manager, Agent, Officer
Pikeville, NC 27863                      104 Harvest Lane                   PO Box 857
                                         Goldsboro, NC 27530                Goldsboro, NC 27533



JSC Holdings, LLC                        JSC Holdings, LLC                  Juan Rodriguez Sanchez
Attn: HLG Agent, LLC, Reg. Agent         Attn: Manager, Agent, Officer      109 Nuggett Drive
701 Corporate Center Dr Ste 250          PO Box 857                         Dudley, NC 28333
Raleigh, NC 27607                        Goldsboro, NC 27533



Juan Sandoval Carrasco                   JWC Environmental Inc.             Jymco Construction Company
1709 Harrell Street                      Attn: Manager, Agent, Officer      Attn: Manager, Agent, Officer
Goldsboro, NC 27530                      2850 S. Red Hill Ave, Ste. 125     1586 Yelverton Grover Road
                                         Santa Ana, CA 92705                Smithfield, NC 27577



Kaufman Trailers of NC                   KCI Associates of North Carolina   Keith Grading and Hauling Inc.
Attn: Manager, Agent, Officer            Attn: Manager, Agent, Officer      Attn: Manager, Agent, Officer
702B N Silver Street                     PO Box 791479                      51 Morning Chase Lane
Lexington, NC 27292                      Baltimore, MD 21279-1479           Clayton, NC 27527



Kennedy Water Works                      Kevin Battle Trucking              King Tutt Graphics
Attn: Manager, Agent, Officer            Attn: Manager, Agent, Officer      Attn: Manager, Agent, Officer
125 6th Street, Suite 100                PO Box 801                         1113 Transport Drive
Mount Laurel, NJ 08054                   Greenville, NC 27835               Raleigh, NC 27603



Knapheide Truck Equipment                Komatsu Financial                  Komatsu Financial Limited Part
Attn: Manager, Agent, Officer            Attn: Manager, Agent, Officer      Attn: Manager, Agent, Officer
3613 Jones Sausage Road                  PO Box 99303                       8770 West Bryn Mawr Ave Ste 100
Garner, NC 27529                         Chicago, IL 60693                  Chicago, IL 60631



Komatsu Financial Limited Part           Komatsu Financial Limited Part     Komatsu Financial Limited Part
Attn: Manager, Agent, Officer            Attn: Manager, Agent, Officer      Attn: Manager, Agent, Officer
8771 West Bryn Mawr Ave Ste 100          8772 West Bryn Mawr Ave Ste 100    8773 West Bryn Mawr Ave Ste 100
Chicago, IL 60631                        Chicago, IL 60631                  Chicago, IL 60631



Komatsu Financial Limited Part           L.G. Jordan Oil Co., Inc.          L.L. Vann Electric, Inc.
Attn: Manager, Agent, Officer            Attn: Manager, Agent, Officer      Attn: Manager, Agent, Officer
8774 West Bryn Mawr Ave Ste 100          PO Box 220                         833 Purser Drive
Chicago, IL 60631                        Apex, NC 27502                     Raleigh, NC 27603



LabCorp                                  Land Levelers LLC                  Larry C. Parker
Attn: Manager, Agent, Officer            Attn: Manager, Agent, Officer      106 Fort Street
PO Box 12140                             PO Box 916                         Pikeville, NC 27863
Burlington, NC 27216-2140                Morrisville, NC 27560
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Leaf                                    Lehigh Hanson                     Lemon's Backhoe & Loader Servic
Attn: Manager, Agent, Officer           Attn: Manager, Agent, Officer     Attn: Manager, Agent, Officer
PO Box 5066                             PO Box 412345                     PO Box 422
Hartford, CT 06102-5066                 Boston, MA 02241-2345             Troy, NC 27371



Lennar Companies                        Linder Industrial Machinery       Lindsay Precast LLC
Attn: Manager, Agent, Officer           Attn: Manager, Agent, Officer     Attn: Manager, Agent, Officer
1100 Perimeter Park Dr Ste 112          PO Box 743637                     PO Box 580
Morrisville, NC 27560                   Atlanta, GA 30374-3637            Franklinton, NC 27525



LKC Engineering, PLLC                   LMJ Pavement Marking LLC          Lucas Pavement Maintenance & C
Attn: Adam P. Kiker, Reg. Agent         Attn: Manager, Agent, Officer     Attn: Manager, Agent, Officer
140 Aqua Shed Court                     76 Oak Fern Lane                  1101 Diane Blvd
Aberdeen, NC 28315                      Willow Spring, NC 27592           Kinston, NC 28504



Luna's Welding & Construction LLC       Mac Jones Construction LLC        Mac-Con Concrete Construction In
Attn: Manager, Agent, Officer           Attn: Manager, Agent, Officer     Attn: Manager, Agent, Officer
1429 W Hanrahan Rd                      PO Box 610                        PO Box 1689
Ayden, NC 28513                         Pine Level, NC 27568              Clayton, NC 27528



Mack Industries                         Mainline Construction, LLC        Mangum's
Attn: Manager, Agent, Officer           Attn: Manager, Agent, Officer     Attn: Manager, Agent, Officer
PO Box 936468                           332 Potters Hill Rd               PO Box 7177
Atlanta, GA 31193-6468                  Richlands, NC 28574               Wilson, NC 27895



Mangum's Towing and Road Service        Marco Lopez Perez                 Margarito Maldonado-Morales
Attn: Manager, Agent, Officer           1839 N. McCullen Road             425 Chelsea Drive
2811 Yukon Road                         Faison, NC 28341                  Snow Hill, NC 28580
Wilson, NC 27893



Markham, Mitchell & Stroud, PLLC        Marks Clearing and Grading, Inc   Marshall's Construction Asphalt
Attn: Ralph D. Stroud, Jr.              Attn: Tyler Marks, Reg. Agent     Attn: Manager, Agent, Officer
PO Box 10788                            5537 Watkins Road                 3983 W. Old Spring Hope Road
Goldsboro, NC 27532                     Wendell, NC 27591                 Nashville, NC 27856



Martin Marietta                         Marvin Joseph Beaman, Jr.         Matthew K. Lilly
Attn: Manager, Agent, Officer           1240 O'Berry Road                 Bradley Arant Boult Cummings LLP
PO Box 935043                           Mount Olive, NC 28365             214 North Tryon Street 3700
Atlanta, GA 31193-5043                                                    Charlotte, NC 28202-1078



MC Turrone, Inc.                        McDavid Associates, Inc.          McGriff Insurance Services Inc
Attn: Manager, Agent, Officer           Attn: Manager, Agent, Officer     Attn: Manager, Agent, Officer
PO Box 403                              PO Drawer 49                      214 N Tryon Street 46
Simpson, NC 27879                       Farmville, NC 27828               Charlotte, NC 28202
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McLamb Development, LLC                  Mecklenburg Restoration, LLC       Mercer Transportation Co.
Attn: Manager, Agent, Officer            Attn: Manager, Agent, Officer      Attn: Manager, Agent, Officer
PO Box 105                               4012 N. Graham Street              PO Box 644011
Smithfield, NC 27577                     Charlotte, NC 28206                Pittsburgh, PA 15264-4011



Metalcrafters of Wayne Co Inc.           METCON                             MHC Kenworth-Clinton
Attn: Manager, Agent, Officer            Attn: Manager, Agent, Officer      Attn: Manager, Agent, Officer
584 Isaac Smith Road                     3050 Hammond Business Place        PO Box 879269
Goldsboro, NC 27530                      Raleigh, NC 27603                  Kansas City, MO 64187-9269



Michael Page International, Inc.         Micro-Comm Inc                     Mike Oehler Trucking, Inc.
Attn: 392604                             Attn: Manager, Agent, Officer      Attn: Manager, Agent, Officer
500 Ross Street 154-0460                 15895 S. Pflumm Rd                 12310 Jimmy Oehler Road
Pittsburgh, PA 15262-0001                Olathe, KS 66062                   Charlotte, NC 28269



MKH Search Limited                       Mobile Mini Inc                    Monteith Construction Corp.
71-75 Shelton Street                     Attn: Manager, Agent, Officer      Attn: N. John Monteith, Reg. Agent
London, Greater London WC2H 9JQ          4646 E Van Buren St., Ste 400      208 Princess Street
UNITED KINGDOM                           Phoenix, AZ 85008                  Wilmington, NC 28401



Mr. Rooter Plumbing of Pitt & Wake       Nash County Tax Collector          National Equipment Dealers LLC
Attn: Manager, Agent, Officer            Attn: Manager, Agent, Officer      Dept 720049
4735 J Reedy Branch Rd                   120 W Washington Street Ste 2058   PO Box 1335
Winterville, NC 28590                    Nashville, NC 27856                Charlotte, NC 28201-1335



National Trench Safety                   NAWIC                              NC Department of Revenue
Attn: Manager, Agent, Officer            c/o Custom Building Co             Office Serv. Div, Bankruptcy Unit
PO Box 750963                            PO Box 781                         P.O. Box 1168
Houston, TX 77275-0963                   Greenville, NC 27835               Raleigh, NC 27602-1168



NC Department of Transportation          NC Earthworks Inc                  NC Elite Contracting LLC
Attn: Manager, Agent, Officer            Attn: Manager, Agent, Officer      Attn: Manager, Agent, Officer
1 S. Wilmington Street                   4221 NC 11 North                   175 Batten Pond Rd
Raleigh, NC 27601                        Greenville, NC 27834               Selma, NC 27576



NCCU                                     NCDPS Central Engineering          Nehrenz Enterprises
Attn: Manager, Agent, Officer            Attn: Manager, Agent, Officer      Attn: Manager, Agent, Officer
616 E. Lawson Street                     2020 Yonkers Road                  7001 Cedric Drive
Durham, NC 27701                         Raleigh, NC 27699                  Raleigh, NC 27603



Neuse Colony Association Inc             New Atlantic Contracting Inc       New Field Inc
Attn: Manager, Agent, Officer            Attn: Manager, Agent, Officer      Attn: Manager, Agent, Officer
112 Jasmine Drive                        2635 Reynolds Road                 10451 Dow-Gil Road
Clayton, NC 27527                        Winston Salem, NC 27106            Ashland, VA 23005
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Next Level Cleaning Services            NextCare North Carolina             Nickelston Industries, Inc.
Attn: Manager, Agent, Officer           Attn: Manager, Agent, Officer       Attn: Manager, Agent, Officer
PO Box 30822                            PO Box 843833                       PO Box 83
Greenville, NC 27833                    Los Angeles, CA 90084-3833          Lawsonville, NC 27022



Nixon Contracting                       Noble Oil Services                  Norman Retaining Walls
Attn: Manager, Agent, Officer           Attn: Manager, Agent, Officer       Attn: Manager, Agent, Officer
5072 Glendale Road                      PO Box 4419                         117 Trackside Road
Kenly, NC 27542                         Sanford, NC 27331                   Troutman, NC 28166



NWR Construction, LLC                   NYC Underground Construction Inc.   Oldcastle Precast Inc.
Attn: Manager, Agent, Officer           Attn: Manager, Agent, Officer       Attn: Manager, Agent, Officer
127 Scaleybark Rd                       106 East Health Ave                 PO Box 402721
Charlotte, NC 28209                     Smithfield, NC 27577                Atlanta, GA 30384-2721



On-Site Hose Inc.                       Optum Bank                          Orlando Villapando
2nd Floor 21 York Place                 Attn: Manager, Agent, Officer       109 Nuggett Drive
1001-102 Goodworth Road                 12921 S Vista Station Blvd          Dudley, NC 28333
Apex, NC 27539                          Draper, UT 84020



Ormond Energy                           PA Turnpike Toll By Plate           PAB Logistics LLC
Attn: Manager, Agent, Officer           Attn: Manager, Agent, Officer       Attn: Manager, Agent, Officer
9535 US 70                              PO Box 645631                       PO Box 536801
Princeton, NC 27569                     Pittsburgh, PA 15264-5254           Pittsburgh, PA 15253-6800



Pacific Trucking Inc.                   Paul D. Williams                    Paveway Systems Inc.
Attn: Manager, Agent, Officer           PO Box 1385                         Attn: Manager, Agent, Officer
1110 Navaho Drive Ste 107               Dunn, NC 28335                      114 Indian Lakes Lane
Raleigh, NC 27609                                                           Florahome, FL 32140



Peggy Person                            Penhall Company                     Pete Duty & Associates
3750 NC Highway 111 N                   Attn: Manager, Agent, Officer       Attn: Manager, Agent, Officer
Pikeville, NC 27863                     PO Box 842911                       2219 Leah Drive
                                        Los Angeles, CA 90084-2911          Hillsborough, NC 27278



Phelps Tree Service, Inc.               Piedmont Automation, Inc            Pineville West
Attn: Manager, Agent, Officer           Attn: Manager, Agent, Officer       Attn: Manager, Agent, Officer
320 Furlough Road                       154 Kapp Street                     23 Waltrus Drive
Creswell, NC 27928                      Winston Salem, NC 27105             Clayton, NC 27527



Pinion Grading and Clearing Inc         Pipeline Restoration Services       Pirtek Sound End
Attn: Manager, Agent, Officer           Attn: Manager, Agent, Officer       Attn: Manager, Agent, Officer
1390 Langdon Road                       1725 Corcus Ferry Road              3401 Saint Vardell Lane, Ste. K
Angier, NC 27501                        Hampstead, NC 28443                 Charlotte, NC 28217
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PNC Bank                               PNC Commercial Loan                 PNC Credit Card
Attn: Manager, Agent, Officer          Attn: Manager, Agent, Officer       Attn: Manager, Agent, Officer
PO Box 3180                            PO Box 340777                       PO Box 3180
Pittsburgh, PA 15230-3180              Pittsburgh, PA 15230-7777           Pittsburgh, PA 15230-3180



PNC Equipment Finance                  PNC Equipment Finance, LLC          Powertrain Products
Attn: Manager, Agent, Officer          Attn: Manager, Agent, Officer       Attn: Manager, Agent, Officer
PO Box 94931                           995 Dalton Avenue                   2501 Route 73 South
Cleveland, OH 44101-4931               Cincinnati, OH 45203                Cinnaminson, NJ 08077



Precast Solutions                      Precision Earth & Pipe LLC          Preston H. Roberts, Inc.
Attn: Manager, Agent, Officer          Attn: Manager, Agent, Officer       DBA CJGeo/Concrete Jack
PO Box 127                             2000 Brentwood Rd Unit #9           3402 Acorn Street, Ste. 101
Browns Summit, NC 27214                Raleigh, NC 27604                   Williamsburg, VA 23188



ProClean Property Management           Professional Touch                  ProSite, LLC
Attn: Manager, Agent, Officer          Attn: Manager, Agent, Officer       Attn: Manager, Agent, Officer
PO Box 617                             31 Brook Meadow                     675 Ervin Farm Rd
Tarboro, NC 27886                      La Grange, NC 28551                 Mooresville, NC 28115



Protecs                                Public Works Commission             Purpose Driven Seeding & Mulchin
Attn: Manager, Agent, Officer          PWC Operations Complex              Attn: Manager, Agent, Officer
5110 Campus Drive                      955 Old Wilmington Road             1337 Brayboy Rd
Plymouth Meeting, PA 19462             Fayetteville, NC 28301              Rowland, NC 28383



Quality Asphalt Service Inc            Quality Oil Company LLC             Quality Pavement Repair
Attn: Manager, Agent, Officer          Attn: Manager, Agent, Officer       Attn: Manager, Agent, Officer
PO Box 1170                            PO Box 2736                         PO Box 930134
Coats, NC 27521                        Winston Salem, NC 27102             Atlanta, GA 31193-0134



R. Lee Robertson, Jr.                  Ragland Productions                 Rah Trucking
Robertson & Associates, PA             Attn: Manager, Agent, Officer       Attn: Manager, Agent, Officer
2730 East W T Harris Blvd #101         250 West Main Street                2432 Impatien Drive
Charlotte, NC 28213                    Clayton, NC 27520                   Charlotte, NC 28215



RailPros Field Services, Inc.          Rain for Rent                       Raleigh Office 1, LLC
Attn: Manager, Agent, Officer          Attn: Manager, Agent, Officer       Attn: Manager, Agent, Officer
1320 Greenway Drive, Ste. 490          4350 Golf Acres Drive               150 Greenwich Street, FL 52
Irving, TX 75038                       Charlotte, NC 28208                 New York, NY 10007-2446



RamTool Construction Supply Co         Ranger Engineering Consulting Inc   Raul Tolentino Andres
Attn: Manager, Agent, Officer          Attn: Manager, Agent, Officer       102 Burl Drive
PO Box 743487                          3111 N. Caden Ct., Ste. 200         Princeton, NC 27569
Atlanta, GA 30374-3487                 Flagstaff, AZ 86004
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Razorback Boring, Inc.                  Ready Mix Concrete Company          Ricasha, Inc.
Attn: Manager, Agent, Officer           Argos USA LLC                       Attn: Manager, Agent, Officer
PO Box 1010                             PO Box 733134                       PO Box 1771
Morrisville, NC 27560                   Dallas, TX 75373-3134               Robbinsville, NC 28771



RoadSafe Traffic Systems, Inc.          Roadworks Construction Company      Rob's Hydraulics, Inc.
Attn: Manager, Agent, Officer           Attn: Manager, Agent, Officer       Attn: Manager, Agent, Officer
8750 W Bryn Mawr Ave #400               5401 Buckwood Drive                 PO Box 636
Chicago, IL 60631                       Apex, NC 27539                      Grimesland, NC 27837



Roberto Lopez Avila                     Robinsons Water Works               Rodrigo Castaneda-Garcia
570 Bogue Road                          Attn: Manager, Agent, Officer       408 Lucky Oak Rd
Fremont, NC 27830                       196 Johnnie Smith Road              Goldsboro, NC 27530
                                        Deep Run, NC 28525



Rogers Tapping Service                  Ronald Moore                        Ruppert Companies
Attn: Manager, Agent, Officer           326 Crantock Road                   Attn: Manager, Agent, Officer
2808 Connector Drive                    Smithfield, NC 27577                23601 Laytonsville Road
Wake Forest, NC 27587                                                       Laytonsville, MD 20882



Ruston Paving Company, Inc.             S & S Contracting and Landscaping   S & W Ready Mix Concrete Co
Attn: Manager, Agent, Officer           Attn: Manager, Agent, Officer       Attn: Manager, Agent, Officer
3874 South Alston Ave, Ste. 101         6349 River Road                     PO Box 930266
Durham, NC 27713                        Fuquay Varina, NC 27526             Atlanta, GA 31193-0266



S&ME, Inc.                              S.T. Wooten Corporation             Sadler Landscaping, LLC
Attn: Manager, Agent, Officer           Attn: Manager, Agent, Officer       Attn: Manager, Agent, Officer
PO Box 277523                           PO Box 2408                         8122 NC Hwy 32 S
Atlanta, GA 30384-7523                  Wilson, NC 27893                    Plymouth, NC 27962



Saf-Cut Concrete Cutting, Inc.          Samet Corporation                   Samson Storm and Sewer
Attn: Manager, Agent, Officer           Attn: Manager, Agent, Officer       Attn: Manager, Agent, Officer
1317-108 Kirkland Road                  309 Gallimore Dairy Rd Ste 102      PO Box 1196
Raleigh, NC 27603                       Greensboro, NC 27409                Benson, NC 27504



Second Wind Consultants                 Secure Traffic Control Inc.         Seegars Fence Co of Raleigh
Attn: Manager, Agent, Officer           Attn: Manager, Agent, Officer       Attn: Manager, Agent, Officer
136 West Street                         102 E. Heath Ave                    PO Box 98206
Northampton, MA 01060                   Smithfield, NC 27577                Raleigh, NC 27624



Seegars Fence Co. - Greensboro          Servando Castaneda-Herrera          Sharpe Business Systems
Attn: Manager, Agent, Officer           2546 Indian Springs Rd              Attn: Manager, Agent, Officer
PO Box 19406                            Dudley, NC 28333                    Dept AT 40322
Greensboro, NC 27419                                                        Atlanta, GA 31192-0322
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Sharpe Co.                               Shaun Lakey Excavating LLC        Shawmine LLC
Attn: Manager, Agent, Officer            Attn: Manager, Agent, Officer     Attn: Manager, Agent, Officer
PO Box 90028                             309 Johnson Farm Rd               PO Box 3167
Charlotte, NC 28290                      Hiddenite, NC 28636               Wilmington, NC 28406



Shelco                                   Shelley McPhatter                 Sherwin Williams
Attn: Manager, Agent, Officer            1520 Crenshaw Point               Attn: Manager, Agent, Officer
3600 Glenwood Ave., Ste. 300             Wake Forest, NC 27587             101 West Prospect Ave
Raleigh, NC 27612                                                          Cleveland, OH 44115



Simmons Public Utility Site Work         Site Shots LLC                    Sitebox Storage
Attn: Manager, Agent, Officer            Attn: Manager, Agent, Officer     Attn: Manager, Agent, Officer
6545 Dothan Road                         2515 Straford Crossing Rd         4340 S West Street
Tabor City, NC 28463                     Winston Salem, NC 27103           Wichita, KS 67217



SiteOne Landscape Supply Inc.            SiteOne Landscape Supply LLC      Skyrock Construction LLC
Attn: Manager, Agent, Officer            Attn: Manager, Agent, Officer     Attn: Manager, Agent, Officer
300 Colonial Center Parkway, #600        24110 Network Place               1000 Olde Milburnie Rd., Ste. A
Roswell, GA 30076                        Chicago, IL 60673-1241            Raleigh, NC 27604



Slurry Pavers, Inc.                      Smelcer Contractor Inc.           Smith Brothers Gas Co.
Attn: Manager, Agent, Officer            Attn: Manager, Agent, Officer     Attn: Manager, Agent, Officer
3617 Nine Mile Road                      3209 Boone Trail                  PO Box 219
Richmond, VA 23223                       Fayetteville, NC 28306            Magnolia, NC 28453



Smith Terry Johnson & Windle             Smith-Midland                     Smith-Rowe, LLC
Attn: Manager, Agent, Officer            Attn: Manager, Agent, Officer     Attn: Manager, Agent, Officer
11525 N Community House Rd #425          654 Freeway                       639 Old US 52 South
Charlotte, NC 28277                      Reidsville, NC 27320              Mount Airy, NC 27030



Smithfield Sign Design, Inc.             Soilworks Inc.                    Soule Law Firm PLLC
Attn: Manager, Agent, Officer            Attn: Manager, Agent, Officer     Attn: Manager, Agent, Officer
331 Peedin Road                          1109 Sumter Court                 PO Box 97552
Smithfield, NC 27577                     Salisbury, NC 28144               Raleigh, NC 27624



Southern Auto Parts                      Southern Sign of NC               Southern Stone and Block LLC
Attn: Manager, Agent, Officer            Attn: Manager, Agent, Officer     Attn: Manager, Agent, Officer
101 NW Railroad Street                   119 Carriage Road                 120 East Morehouse Ave
Pikeville, NC 27863                      Goldsboro, NC 27534               Mooresville, NC 28117



Spence Water Systems                     Square Solutions LLC              Stafford Land Company, Inc.
Attn: Manager, Agent, Officer            Attn: Manager, Agent, Officer     Attn: Manager, Agent, Officer
1407 Rhem Street                         125 Sambar Deer Lane              246 Valleyvield Lane
Kinston, NC 28501                        Garner, NC 27529                  Southern Pines, NC 28387
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Stamford International LTD                 State Electric Supply Company     Stay Alert
Montacs, Intl House, Kingsfield Ct         Attn: Manager, Agent, Officer     Attn: Manager, Agent, Officer
Chester Business House, CH4 9RF            2010 2nd Avenue                   PO Box 467
UNITED KINGDOM                             Huntington, WV 25703              Kernersville, NC 27285-0467



Stay Safe Traffic Control, LLC             Stone Throwers LLC                Stormwater Concepts Inc
Attn: Manager, Agent, Officer              Attn: Manager, Agent, Officer     Attn: Manager, Agent, Officer
2027 West Garner Road                      504 Olive Branch Road             4441-106 Six Forks Road #278
Garner, NC 27529                           Durham, NC 27703                  Raleigh, NC 27609



Strickland Waterproofing Co., Inc.         Subsurface Construction Company   Summit Design and Engineering
Attn: Manager, Agent, Officer              Attn: Manager, Agent, Officer     Attn: Manager, Agent, Officer
500 North Hoskins Road                     1107 Fuller Street                320 Executive Court
Charlotte, NC 28216                        Raleigh, NC 27603                 Hillsborough, NC 27278



Sunbelt Rentals, Inc.                      Super Cast Inc                    Superior Concrete
Attn: Manager, Agent, Officer              Attn: Manager, Agent, Officer     Attn: Manager, Agent, Officer
PO Box 409211                              PO Box 1894                       5351 Reedy Branch Rd
Atlanta, GA 30384-9211                     Goldsboro, NC 27534               Winterville, NC 28590



Superior Plus Propane                      Surveying Solutions, P.C.         Suttles Surveying, P.A.
Attn: Manager, Agent, Officer              Attn: Manager, Agent, Officer     Attn: Manager, Agent, Officer
1870 Winston Road South Ste200             307 East Main Street              40 S. Main Street Ste 200
Rochester, NY 14618                        Youngsville, NC 27596             Marion, NC 28752



SW Promotions                              Synergi Partners Inc.             T-Mobile
Attn: Manager, Agent, Officer              Attn: Manager, Agent, Officer     Attn: Manager, Agent, Officer
601-A North James Street                   PO Box 5599                       PO Box 37380
Goldsboro, NC 27530                        Florence, SC 29502-5599           Albuquerque, NM 87176-4380



T.D. Goodwin Construction                  TA Loving Company                 Takeuchi Financial Services
Attn: Manager, Agent, Officer              Attn: Manager, Agent, Officer     Bank of the West
PO Box 3462                                PO Drawer 919                     PO Box 7167
Greenville, NC 27836                       Goldsboro, NC 27533               Pasadena, CA 91109-7167



TamRon's Hauling, Grading/Landscape        Tarheel Concrete                  Tarheel Tooling & Precision Mach
Attn: Manager, Agent, Officer              Attn: Manager, Agent, Officer     Attn: Manager, Agent, Officer
51 Lou Court                               PO Box 67                         PO Box 1063
Willow Spring, NC 27592                    Warsaw, NC 28398                  Smithfield, NC 27577



TBI Trucking                               TCA Durham Logistics Center       Team Work Safety, LLC
Attn: Manager, Agent, Officer              Attn: Manager, Agent, Officer     Attn: Manager, Agent, Officer
PO Box 128                                 440 S. Church Street Ste 800      1006B N Bragg Blvd Ste 194
Ayden, NC 28513                            Charlotte, NC 28202               Spring Lake, NC 28390
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Tech USA LLC                          Terracon                            The Car Park
Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer       Attn: Manager, Agent, Officer
8334 Veterans Highway                 PO Box 959673                       PO Box 781
Millersville, MD 21108                Saint Louis, MO 63195-9673          Raleigh, NC 27602



The East Group, PA                    The Erosion Company, LLC            The John R McAdams Company
Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer       Attn: Manager, Agent, Officer
324 Evans Street                      3207 South Cherokee Lane            621 Hillsborough Street Ste 500
Greenville, NC 27858                  Woodstock, GA 30188                 Raleigh, NC 27603



The Wooten Company                    Thomas Concrete of Carolina, Inc.   Thomas Construction
Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer       Attn: Manager, Agent, Officer
300 S. Main Street                    DEPT AT 952698                      1022 Ashes Drive Ste 200
Winston Salem, NC 27101               Atlanta, GA 31192-2698              Wilmington, NC 28405



Thompson-Arthur Division              Tina Smith                          Tom Cat Trucking, Inc.
Attn: Manager, Agent, Officer         118 Crosswinds Drive                Attn: Manager, Agent, Officer
PO Box 21088                          Goldsboro, NC 27530                 4162 Kivett Drive
Greensboro, NC 27420-1088                                                 Jamestown, NC 27282



Tom E. Chestnut & Son, LLC            Town of Apex                        Town of Cary
Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer       Attn: Manager, Agent, Officer
PO Box 2972                           73 Hunter Street                    316 North Academy
Shallotte, NC 28459                   Apex, NC 27502                      Cary, NC 27513



Town of Faison                        Town of Farmville                   Town of Holly Springs
Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer       Attn: Manager, Agent, Officer
PO Box 365                            PO Box 86                           128 South Main Street
Faison, NC 28341-0365                 Farmville, NC 27828                 Holly Springs, NC 27540



Town of Knightdale                    Town of Magnolia                    Town of Middlesex
Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer       Attn: Manager, Agent, Officer
950 Steeple Square Court              PO Box 459                          PO Box 69
Knightdale, NC 27545                  Magnolia, NC 28453                  Middlesex, NC 27557



Town of Mount Olive                   Town of Pikeville                   Town of Princeton
Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer       Attn: Manager, Agent, Officer
114 East James Street                 105 W School Street                 503 Doctor Donnie H Jones Dr BlvW
Mount Olive, NC 28365                 Pikeville, NC 27863                 Princeton, NC 27569



Town of Selma                         Town of Smithfield                  Town of St. Pauls
Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer       Attn: Manager, Agent, Officer
114 N. Raiford Street                 PO Box 761                          210 W Blue Street
Selma, NC 27576                       Smithfield, NC 27577                Saint Pauls, NC 28384
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Town of Windsor                        Town of Zebulon                   Traffic Control Safety Services Inc
Attn: Manager, Agent, Officer          Attn: Manager, Agent, Officer     Attn: Manager, Agent, Officer
PO Box 508                             1003 N. Arendell Ave              PO Box 24511
Windsor, NC 27983                      Zebulon, NC 27597                 Winston Salem, NC 27114



Transaxle, LLC                         Trejo Construction LLC            Trench Drain Supply
Attn: Manager, Agent, Officer          Attn: Manager, Agent, Officer     Attn: Manager, Agent, Officer
PO Box 825382                          2130 Gurganus Road                5621 Raby Road
Philadelphia, PA 19182-5382            Snow Hill, NC 28580               Norfolk, VA 23502



Trew Backflow Testing & Irrigation     Tri-State Utilities               Triangle Area Earth Corporation
Attn: Manager, Agent, Officer          Attn: Manager, Agent, Officer     Attn: Manager, Agent, Officer
1531 Rains Crossroads                  2111 Smith Avenue                 336 Deton Lane
Princeton, NC 27569                    Chesapeake, VA 23320              Zebulon, NC 27597



Triangle Pond Management, LLC          Triple AAA Portable Toilets       Tripp Auto and Cycle Sales, Inc.
Attn: Manager, Agent, Officer          Attn: Manager, Agent, Officer     Attn: Manager, Agent, Officer
PO Box 61207                           5779 Manlley Smith Road           5823 NC 33E
Raleigh, NC 27661                      Nakina, NC 28455                  Grimesland, NC 27837



Tripp Bro's Inc.                       Truist Bank                       Truist Equipment Finance Corp
Attn: Manager, Agent, Officer          Attn: Manager, Agent, Officer     Attn: Manager, Agent, Officer
PO Box 128                             PO Box 896024                     PO Box 4418
Ayden, NC 28513                        Charlotte, NC 28289-6024          Atlanta, GA 30302



Turf Services, LLC                     Unifirst Corporation              United Rentals
Attn: Manager, Agent, Officer          Attn: Manager, Agent, Officer     Attn: Manager, Agent, Officer
403 Pickens Drive                      PO Box 650481                     PO Box 100711
Goldsboro, NC 27530                    Dallas, TX 75265-0481             Atlanta, GA 30384-0711



Universal Search Group Limited         US Standard Products              Utilities Conservation Company
2nd Floor, 21 York Place               Attn: Manager, Agent, Officer     Attn: Manager, Agent, Officer
Leeds LS1 2EX                          PO Box 5509                       PO Box C
UNITED KINGDOM                         Englewood, NJ 07631               North East, MD 21901



Vance-Granville Community College      Vermeer All Roads                 Vernon Stapleton
Attn: Manager, Agent, Officer          Attn: Manager, Agent, Officer     549 Siloam Lane
210 W. Ridgeway Street                 925 Merritt Blvd                  South Shore, KY 41175
Warrenton, NC 27589                    Dundalk, MD 21222



Vertical Walls, Inc.                   Vision NC                         Vortex Drainage Systems, LLC
Attn: Manager, Agent, Officer          Attn: Manager, Agent, Officer     Attn: Manager, Agent, Officer
710 W. Lane Street                     7424 ACC Blvd., Ste. 106          1113 Fairview Street
Raleigh, NC 27603                      Raleigh, NC 27617                 Durham, NC 27707
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Vulcan Construction Materials, LLC     W W Landscaping Inc                Wade Moore Equipment Co
Attn: Manager, Agent, Officer          Attn: Manager, Agent, Officer      Attn: Manager, Agent, Officer
PO Box 75219                           4403 NC 122 S                      9712 Dorval Avenue
Charlotte, NC 28275                    Macclesfield, NC 27852             Upper Marlboro, MD 20772



Wake County Tax Collector              Wake Stone Corporation             Wall Recycling, LLC
Attn: Manager, Agent, Officer          Attn: Manager, Agent, Officer      Attn: Manager, Agent, Officer
P.O. Box 2331                          PO Box 190                         PO Box 749566
Raleigh, NC 27602                      Knightdale, NC 27545               Atlanta, GA 30374-9566



Walter Heilig Trucking                 Ward and Smith, P.A.               Water & Waste Systems Construc
Attn: Manager, Agent, Officer          Attn: Manager, Agent, Officer      Attn: Manager, Agent, Officer
12815 Old Beatty Ford Road             PO Box 867                         14 Apothecary Court
Rockwell, NC 28138                     New Bern, NC 28563-0867            Garner, NC 27529



Water Works, Inc.                      Waterproofing Specialities, Inc.   Watson Electrical Construction Co
Kennedy Culvert & Supply               Attn: Manager, Agent, Officer      Attn: Manager, Agent, Officer
125 Sixth Avenue, Ste. 100             8086 Waterford Drive               1500 Charleston St SE
Mount Laurel, NJ 08054                 Stanley, NC 28164                  Wilson, NC 27893



Wayne County Tax Collector             Wayne Grissett                     Weaver Trucking LLC
Attn: Manager, Agent, Officer          1001 Russtown Road NW              Attn: Manager, Agent, Officer
224 E. Walnut Street                   Ocean Isle Beach, NC 28469         PO Box 985
Goldsboro, NC 27530                                                       Angier, NC 27501



Wells Fargo Bank, N.A.                 Wells Fargo Bank, NA               Wells Fargo Dealer Services
Attn: Manager, Agent, Officer          Equipment & Vendor Finance         Attn: Manager, Agent, Officer
800 Walnut Street                      PO Box 77101                       PO Box 17900
Des Moines, IA 50309                   Minneapolis, MN 55480-7101         Denver, CO 80217-0900



West Lawn & Landscaping LLC            Westfield Insurance Company        Wex Bank
Attn: Manager, Agent, Officer          Attn: Manager, Agent, Officer      Attn: Manager, Agent, Officer
284 Reedy Creek Road                   PO Box 5001                        PO Box 6293
Four Oaks, NC 27524                    Westfield Center, OH 44251         Carol Stream, IL 60197-6293



WG Lewis Trucking, Inc.                White Cap, L.P.                    White's International
Attn: Manager, Agent, Officer          Attn: Manager, Agent, Officer      White/Herring Tractor & Truck
PO Box 7081                            PO Box 4852                        PO Box 3817
High Point, NC 27264                   Orlando, FL 32802-4852             Wilson, NC 27895



White's Tractor & Truck                Whitehurst Sand Company            Wiarcom, Inc.
Attn: Manager, Agent, Officer          Attn: Manager, Agent, Officer      Attn: Manager, Agent, Officer
PO Box 3817                            233 Woodville Road                 6001 Savoy Drive, Ste. 202
Wilson, NC 27895                       Hertford, NC 27944                 Houston, TX 77036
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William Parrish Plumbing Inc          Williams Land Clearing Grading     Williams Mullen
Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer      Attn: Manager, Agent, Officer
504 Lewis Drive                       PO Box 41671                       PO Box 800
Carolina Beach, NC 28428              Raleigh, NC 27629                  Richmond, VA 23218-0800



Williams Scotsman, Inc.               Willoughby 2000, PLLC              Wilson Clearing & Mulching
Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer      Attn: Manager, Agent, Officer
901 S Bond Street, Ste. 600           PO Box 2255                        5948 New Hope Church Road
Baltimore, MD 21231                   Davidson, NC 28036                 Wade, NC 28395



Windel Terry Bimbo Construction Law   Xylem Dewatering Solutions, Inc.   Young Construction Company, Inc.
Attn: Don Terry                       Attn: Manager, Agent, Officer      Attn: Manager, Agent, Officer
150 Milestone Way, Suite C            26717 Network Place                2808 Connector Drive
Greenville, SC 29615                  Chicago, IL 60673-1267             Wake Forest, NC 27587



Zachary Construction                  Zachary Industrial
Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer
8870 Westgate Drive                   200 Regency Forest Drive
Raleigh, NC 27617                     Cary, NC 27518
